                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

                                                      §
                                                            CHAPTER 11 CASE
In re:                                                §
                                                            CASE NO. 18-50608-cag-11
EDEN HOME, INC.                                       §
         Debtor.                                      §
                                                      §

    Global Notes and Statement of Limitations, Methodology, and Disclaimer Regarding
                           Debtor’s Schedules and Statement

        The Schedules of Assets and Liabilities (the “Schedules”) and the Statement of Financial
Affairs (the “Statement” and collectively with the Schedules, the “Schedules and Statement”) of
Eden Home, Inc., dba EdenHill Communities, (the “Debtor”), as debtor and debtor-in-
possession, in this Chapter 11 case, have been prepared pursuant to 11 U.S.C. § 521 and Rule
1007 of the Federal Rules of Bankruptcy Procedure by management of the Debtor. Such
preparation has been completed with the assistance of counsel, and without auditing such
financial information.

        While management has made reasonable efforts to ensure that the Schedules and
Statement are accurate and complete based on information that was available to them at the time
of preparation, subsequent information or discovery may result in material changes to these
Schedules and Statement, and inadvertent errors or omissions may exist. Moreover, because the
Schedules and Statement contain unaudited information that is subject to further review and
potential adjustment, there can be no assurance that these Schedules and Statement are complete.
Furthermore, nothing contained in the Schedules and Statement shall constitute a waiver of rights
with respect to this Chapter 11 case and specifically with respect to any issues involving
equitable subordination and/or causes of action arising under the provisions of Chapter 5 of the
bankruptcy code and other relevant nonbankruptcy laws to recover assets or avoid transfers.

        These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding Debtor’s Schedules and Statement (the “Global Notes”) are incorporated by reference
in, and comprise an integral part of, the Schedules and Statement, and should be referred to and
reviewed in connection with any review of the Schedules and Statement.

Description of Cases and Information Dates
         On March 16, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for relief
under Chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1330 (as amended, the
“Bankruptcy Code”). The Debtor remains in possession of its property and is managing its
business as debtor-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy code.
No trustee has been appointed and no official committee has been established in this case. The
information provided herein, except as otherwise noted, generally represents the asset and
liability data of the Debtor as of the Petition Date.


GLOBAL NOTES TO SCHEDULES AND STATEMENT                                          PAGE 1 OF 3

4814-7161-8658.1
Amendment
        While reasonable efforts were made to file complete and accurate Schedules and
Statement, inadvertent errors or omissions may exist. The Debtor reserves all rights to amend
and/or supplement its Schedules and Statement as is necessary and appropriate.

Causes of Action
        The Debtor, despite efforts, may not have set forth all of its causes of action against third
parties as assets in its Schedules and Statement. The Debtor reserves all of its rights with respect
to any causes of action it may have and neither these Global Notes nor the Schedules and
Statement shall be deemed a waiver of any such causes of action.

Claims Description
        By failing to designate a claim on the Schedules and Statement as “disputed,”
“contingent,” and/or “unliquidated,” the Debtor indicates no intentions for such claim to be
allowed and paid pursuant to the proposed plan. The Debtor reserves the right to amend the
Schedules or object to any scheduled claims if it discovers reasons to dispute any claims.1
Moreover, these Schedules shall not be construed as an admission by the Debtor in the event that
a creditor files a proof of claim. The Debtor expressly reserve the right to object to any filed
claims.

Contracts and Leases
       Schedule G of the Debtor’s Schedules includes all known contracts and/or leases with the
Debtor. The inclusion of the agreements in Schedule G is made without a determination by the
Debtor of the extent to which such agreements are binding, enforceable or constitute an
“executory contract” or an “unexpired lease” as such terms are used in section 365 of the
Bankruptcy Code. The inclusion of an agreement on the Debtor’s Schedules is made out of an
abundance of caution and to ensure notice of these bankruptcy cases to such counterparties.

Basis of Presentation
       These Schedules and Statement do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principals.

Current Market Value of Assets
        It would be prohibitively expensive, unduly burdensome, and an inefficient use of estate
assets for the Debtor to obtain current market valuations of all of its assets. Accordingly, unless
otherwise indicated, the book values are reflected on the Debtor’s Schedules and Statement for
assets. For this reason, the amount ultimately realized from assets may vary from book value
and such variance may be material. Exceptions to this include operating cash and certain other
assets. Account balances are presented as the book balances as of February 28, 2018 (the month-
end prior to the Petition Date) and March 16, 2018 (Petition Date), as available to the Debtor.
Fixed assets are presented as of December 31, 2017.

Excluded Assets and Liabilities

1 If it becomes necessary to amend the Schedules for such purposes, the Debtor will agree to an extension of the
claims bar date for the affected creditors. Presently, the Court has designated July 23, 2018, as the general claims
bar date for non-government agency creditors.
GLOBAL NOTES TO SCHEDULES AND STATEMENT                                                            PAGE 2 OF 3

4814-7161-8658.1
       The Debtor has excluded certain categories of assets and liabilities from the Schedules
and Statement such as any good will, employee benefit accruals, and deferred assets, losses and
gains. Other nonmaterial assets and liabilities may also have been excluded.

General Reservation of Rights
        The Debtor specifically reserves the rights to amend, modify, supply, correct, change or
alter any part of its Schedules and Statement as and to the extent necessary and appropriate.




GLOBAL NOTES TO SCHEDULES AND STATEMENT                                         PAGE 3 OF 3

4814-7161-8658.1
 Fill in this information to identify the case:

 Debtor name            Eden Home, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)               18-50608-cag-11
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      10,996,569.25

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      10,996,569.25


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      59,282,375.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$           673,999.38


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        59,956,375.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Eden Home, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         18-50608-cag-11
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                             $904.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Wells Fargo (Resident Trust Account)                     Checking                     4953                                  $20,318.63



                   Frost National Bank (Scholarship
            3.2.   Account)                                                 checking                     0604                                  $31,544.08




            3.3.   Prosperity Bank                                          Certificate of Deposit       0413                                 $278,334.00



                   First Commercial Bank, N.A. (401(k)
            3.4.   Account)                                                 checking                     4218                                  $10,700.04



                   Broadway Bank (Pinnacle Deposit
            3.5.   Account)                                                 deposit account              3869                                 $132,254.25




            3.6.   Broadway Bank (operating account)                        checking                     3867                               $1,183,796.25



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
 Debtor            Eden Home, Inc.                                                             Case number (If known) 18-50608-cag-11
                   Name




            3.7.     Broadway Bank (fund development)                       checking                         3871                        $207,873.09




            3.8.     Broadway Bank (payroll account)                        checking                         8639                                  $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                      $1,865,724.34
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Deposit to Morrison Management Specialists                                                                            $63,161.13



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     pre-payments to credits per normal billing practices                                                                  $42,590.14




 9.         Total of Part 2.                                                                                                        $105,751.27
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        1,638,790.00    -                        119,955.00 = ....                 $1,518,835.00
                                              face amount                        doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                      $1,518,835.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
 Debtor         Eden Home, Inc.                                                                  Case number (If known) 18-50608-cag-11
                Name

                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:
                     Churchill Management Group (Ameritrade Institutional):
                     Cash and Cash Alterntaive - 6.54%
                     Exchange Traded Funds - 50.54%
                     Fixed Incom - 34.83%
           14.1.     Stocks - 8.09%                                                                                                       $1,823,186.23



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                         $1,823,186.23
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used    Current value of
                                                      physical inventory         debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           See Exhibit A                                                                 $46,342.00                                          $46,342.00



 23.       Total of Part 5.                                                                                                               $46,342.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
 Debtor         Eden Home, Inc.                                                               Case number (If known) 18-50608-cag-11
                Name


     Yes Fill in the information below.

 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office furniture, fixtures and equipment
           (owned or leased) - See Exhibit A                                       $1,480,704.41     Depreciation                      $1,480,704.41



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                         $1,480,704.41
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     vehicles                                                        $104,639.73                                         $104,639.73



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See Exhibit A                                                           $4,051,386.27                                       $4,051,386.27

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
 Debtor         Eden Home, Inc.                                                               Case number (If known) 18-50608-cag-11
                Name




 51.       Total of Part 8.                                                                                                       $4,156,026.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 631 Lakeview Blvd.,
                     New Braunfels,
                     Texas - EdenHill
                     Communities nursing
                     facilities, building is
                     109,740 square feet
                     sitting on
                     approximately 15
                     acres                                                             Unknown                                              Unknown


           55.2.     52 El Paso East #38 4
                     to 6 on approximately
                     .41 acres (valuation
                     is from the CAD tax
                     appraisal)                                                             $4.00     Appraisal                             Unknown


           55.3.     The Landing -
                     Section 3, Block 15,
                     Lot 13, Willow Oak                                                Unknown                                              Unknown


           55.4.     Texas Acres #1-3
                     Block 5, Lot 41,
                     Section 2, Onalaska,
                     TX                                                                Unknown                                              Unknown




 56.       Total of Part 9.                                                                                                                    $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
 Debtor         Eden Home, Inc.                                                               Case number (If known) 18-50608-cag-11
                Name



 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            See Exhibit A-62                                                                $0.00                                                 $0.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
 Debtor         Eden Home, Inc.                                                              Case number (If known) 18-50608-cag-11
                Name

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           J.E. Dunn Construction v. Eden Home, et al., 433rd
           District Court, Comal County, Case No. C2015-0183D                                                                              Unknown
           Nature of claim         Construction defect lawsuit
           Amount requested                             $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                  $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
 Debtor          Eden Home, Inc.                                                                                     Case number (If known) 18-50608-cag-11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,865,724.34

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $105,751.27

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,518,835.00

 83. Investments. Copy line 17, Part 4.                                                                         $1,823,186.23

 84. Inventory. Copy line 23, Part 5.                                                                               $46,342.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $1,480,704.41

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $4,156,026.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $10,996,569.25             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $10,996,569.25




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name          Eden Home, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)              18-50608-cag-11
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.

 2.1
        Comal County Tax
        Assessor                                      Describe debtor's property that is subject to a lien                      $154.25               Unknown
        Creditor's Name                               631 Lakeview Blvd., New Braunfels, TX
        Attn: Kathy Talcott
        P.O. Box
        New Braunfels, TX
        78131-1445
        Creditor's mailing address                    Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Prosperity Bank                               Describe debtor's property that is subject to a lien                $257,802.00                 Unknown
        Creditor's Name                               Certificate of Deposit
        Attn: Linc Lutrick
        1301 N. Mechanic St.
        El Campo, TX 77437
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0413
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                          Case number (if know)       18-50608-cag-11
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.3    UMB Bank, N.A., Trustee                       Describe debtor's property that is subject to a lien               $59,024,419.50               Unknown
        Creditor's Name                               631 Lakeview Blvd., New Braunfels, Texas -
        c/o Kevin Walsh                               EdenHill Communities nursing facilities,
        Mintz Levin Cohn Ferris                       building is 109,740 square feet sitting on
        Glovsky & Popeo                               approximately 15 acres
        One Financial Center
        Boston, MA 02111
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $59,282,375.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       75

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Eden Home, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)          18-50608-cag-11
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           AACOG                                                              Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:    NOTICE ONLY
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $92.20
           Admiral Linen Uniform Service, Inc.                                Contingent
           4353 Baldwin Blvd.                                                 Unliquidated
           Corpus Christi, TX 78408                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $1,997.79
           Airgas USA, LLC                                                    Contingent
           P.O. Box 676015                                                    Unliquidated
           Dallas, TX 75267-6015                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $683.68
           Alimed, Inc.                                                       Contingent
           P.O. Box 9135                                                      Unliquidated
           Dedham, MA 02027-9135                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                         24788                                               Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,577.95
          American Health Tech                                                Contingent
          574 Highland Colony Pkwy., #200                                     Unliquidated
          Ridgeland, MS 39157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,883.38
          Anchor Claims Management                                            Contingent
          P.O. Box 819045                                                     Unliquidated
          Dallas, TX 75381-9045                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $400.00
          Aqua Oasis Pool Service                                             Contingent
          P.O. Box 312568                                                     Unliquidated
          New Braunfels, TX 78131                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,203.03
          Bestcare Laboratory Service, Inc.                                   Contingent
          202 North Texas Ave., #100                                          Unliquidated
          Webster, TX 77598                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $32.70
          BHS Physicians Network, Inc.                                        Contingent
          P.O. Box 5750                                                       Unliquidated
          Belfast, ME 04915-5700                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,009.80
          Biomedical Waste Solutions, LLC                                     Contingent
          P.O. Box 1147                                                       Unliquidated
          Port Neches, TX 77651                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,232.96
          Birch Communications                                                Contingent
          P.O. Box 105066                                                     Unliquidated
          Atlanta, GA 30348-5066                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,010.54
          Broadlink                                                           Contingent
          5760 Legacy Dr., Suite B3-392                                       Unliquidated
          Plano, TX 75024-7103                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt (no longer in business)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Centers for Medicare & Medicaid Services                            Contingent
          James Bailey                                                        Unliquidated
          Medicare Pharmaceutical & Technology                                Disputed
          Ombudsman
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $100.00
          Central Texas Advocates for Seniors                                 Contingent
          P.O. Box 310328                                                     Unliquidated
          New Braunfels, TX 78131                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.53
          Doris Childress                                                     Contingent
          1720 Old Ranch Rd. 12                                               Unliquidated
          San Marcos, TX 78666                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $766.55
          Christus SR New Braunfels                                           Contingent
          P.O. Box 846131                                                     Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $100.00
          Compass Paper Recycling                                             Contingent
          P.O. Box 312628                                                     Unliquidated
          New Braunfels, TX 78131                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,864.00
          Council for Health & Human Services                                 Contingent
          700 Prospect Ave.                                                   Unliquidated
          Cleveland, OH 44115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,661.16
          Cure Healthcare Staffing                                            Contingent
          7000 North Mopac, #2101                                             Unliquidated
          San Antonio, TX 78231                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,882.03
          Digital Media, LLC                                                  Contingent
          782 Clinton Ave.                                                    Unliquidated
          Bridgeport, CT 06604                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $471.77
          Direct Supply Healthcare Equipment                                  Contingent
          Box 88201                                                           Unliquidated
          Milwaukee, WI 53288-0201                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,298.75
          DME Synergistic Systems                                             Contingent
          16302 Pleasantville Rd., #209                                       Unliquidated
          San Antonio, TX 78233                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $132.46
          Ecolab                                                              Contingent
          P.O. Box 32027                                                      Unliquidated
          New York, NY 10087-2027                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,315.61
          Express Lube/Take 5 Oil Change                                      Contingent
          P.O. Box 620130                                                     Unliquidated
          Middleton, WI 53562                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,833.06
          GK Dental, PA                                                       Contingent
          7612 W. Highway 71, Suite B                                         Unliquidated
          Austin, TX 78735                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $11,765.81
          Hilltop Pharmacy                                                    Contingent
          631 Lakeview Blvd.                                                  Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $681.96
          Hobart Service                                                      Contingent
          5407 Bandera Rd., #110                                              Unliquidated
          San Antonio, TX 78238-1961                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $140.41
          Hobby Lobby Stores, Inc.                                            Contingent
          P.O. Box 960070                                                     Unliquidated
          Oklahoma City, OK 73196                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $760.64
          Hoffman Floors, Inc.                                                Contingent
          710 Loop 337                                                        Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,340.00
          Impact Fire Services                                                Contingent
          1285 N. Post Oak, #102                                              Unliquidated
          Houston, TX 77055                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,283.53
          Inpro Corporation                                                   Contingent
          P.O. Box 720                                                        Unliquidated
          Muskego, WI 53150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Internal Revenue Service                                            Contingent
          Centralized Insolvency Operation                                    Unliquidated
          P.O. Box 7346                                                       Disputed
          Philadelphia, PA 19101-7346
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,054.50
          International Bronze Plaque Co.                                     Contingent
          17031 Alico Commerce Ct., #3                                        Unliquidated
          Fort Myers, FL 33967                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,837.82
          J-Meds Medical Services                                             Contingent
          3700 East Renfro St.                                                Unliquidated
          Burleson, TX 76028                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,842.50
          Jackson Walker, L.L.P.                                              Contingent
          c/o Anchor Claims Management                                        Unliquidated
          P.O. Box 819045                                                     Disputed
          Dallas, TX 75381-9045
                                                                             Basis for the claim:    Legal representation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,740.00
          JGI Outdoor Advertising                                             Contingent
          525 Park Grove                                                      Unliquidated
          Katy, TX 77450                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,314.19
          KCI USA                                                             Contingent
          12930 Interstate Highway 10 West                                    Unliquidated
          San Antonio, TX 78249                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,643.10
          Koetter Fire Protection of S.A., LOLC                               Contingent
          10722 Sentinel St.                                                  Unliquidated
          San Antonio, TX 78217                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,562.98
          Leading Age of Texas                                                Contingent
          2205 Hancock Dr.                                                    Unliquidated
          Austin, TX 78756                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,469.37
          Lowe's Business Account                                             Contingent
          P.O. Box 530970                                                     Unliquidated
          Atlanta, GA 30353-0970                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,952.95
          Matera Paper Co., Inc.                                              Contingent
          835 North W.W. White Rd.                                            Unliquidated
          San Antonio, TX 78219                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $696.09
          Matrixcare                                                          Contingent
          Bin #32, P.O. Box 1414                                              Unliquidated
          Minneapolis, MN 55480-1414                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $30,746.11
          McKession Medical-Surgical                                          Contingent
          P.O. Box 630693                                                     Unliquidated
          Cincinnati, OH 45263-0693                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $211.68
          Medpost Urgent Care - New Braunfels                                 Contingent
          P.O. Box 847056                                                     Unliquidated
          The Colony, TX 75056                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $73.50
          Jessica Miller                                                      Contingent
          631 Lakeview Blvd.                                                  Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $248.40
          Mobile Modular Management Corp.                                     Contingent
          P.O. Box 45043                                                      Unliquidated
          San Francisco, CA 94145-5043                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,875.78
          Money Mailer of Centex                                              Contingent
          585 Ann's Way                                                       Unliquidated
          Blanco, TX 78606                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $139,585.31
          Morrison Management Specialists                                     Contingent
          5801 Peachtree Dunwoody Rd.                                         Unliquidated
          Atlanta, GA 30342                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,945.00
          NB Pest Control, LLC                                                Contingent
          2230 Lakeline Dr.                                                   Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,147.86
          NeighborCare Pharmacy Services, Inc.                                Contingent
          d/b/a Omnicare San Antonio                                          Unliquidated
          12460 Network, #101                                                 Disputed
          San Antonio, TX 78249
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $240.00
          Neumeyer Upholstery & Restoration                                   Contingent
          2325 Lariat Ridge                                                   Unliquidated
          New Braunfels, TX 78132                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $165.62
          New Braunfels Cardiology                                            Contingent
          1626 E. Common                                                      Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $280.00
          New Braunfels Herald Zeitung                                        Contingent
          P.O. Box 311328                                                     Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 8 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $90.00
          New Lifestyles, Inc.                                                Contingent
          4144 N. Central Expwy., #1000                                       Unliquidated
          Dallas, TX 75204                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $5.45
          O'Reilly Automotive Stores, Inc.                                    Contingent
          P.O. Box 9464                                                       Unliquidated
          Springfield, MO 65801-9464                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,227.57
          Office Depot                                                        Contingent
          P.O. Box 88040                                                      Unliquidated
          Chicago, IL 60680-1040                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Office of the Attorney General
          Charitable Trusts Section                                           Contingent
          Financial and Tax Litigation Division                               Unliquidated
          P.O. Box 12548                                                      Disputed
          Austin, TX 78711-2548
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,052.85
          Orthopaedic Surgery Center                                          Contingent
          400 Concord Plaza Dr.                                               Unliquidated
          San Antonio, TX 78216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $799.00
          Pathway Health Services                                             Contingent
          11240 Stillwater Blvd. North                                        Unliquidated
          Lake Elmo, MN 55042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,585.00
          Meredith Patterson                                                  Contingent
          60 Mission Dr.                                                      Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 9 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $368.50
          Pinnacle Quality Insight                                            Contingent
          7440 S. Creek Rd., #300                                             Unliquidated
          Salt Lake City, UT 84093                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $30.00
          Practical Photography & Publishing                                  Contingent
          187 Hidden Pointe                                                   Unliquidated
          New Braunfels, TX 78132                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,845.84
          Professional Imaging, LLC                                           Contingent
          507 N. Sam Houston Pkwy East, #245                                  Unliquidated
          Houston, TX 77060                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $74.19
          Quest Diagnostic Incorporated                                       Contingent
          P.O. Box 822510                                                     Unliquidated
          Philadelphia, PA 19182                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $475.00
          R.C. Reed & Co., PLLC                                               Contingent
          352 Landa St.                                                       Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Red River Health Facilities
          Development Corporation                                             Contingent
          c/o City of Windthorst                                              Unliquidated
          P.O. Box 128                                                        Disputed
          Windthorst, TX 76389
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $164,068.10
          Rehabcare, Inc.                                                     Contingent
          680 S. Fourth St.                                                   Unliquidated
          Louisville, KY 40202                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 10 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $264.02
          Relias Learning, LLC                                                Contingent
          P.O. Box 74008620                                                   Unliquidated
          Chicago, IL 60674-8620                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $652.00
          Safesite, Inc.                                                      Contingent
          9505 Johnny Morris Rd.                                              Unliquidated
          Austin, TX 78724                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,685.69
          San Antonio Orthopaedic                                             Contingent
          P.O. Box 2516                                                       Unliquidated
          San Antonio, TX 78299-2516                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,368.50
          Servicetrac                                                         Contingent
          9382 E. Bahia Dr., #B202                                            Unliquidated
          Scottsdale, AZ 85260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $64.95
          Sherwin Williams Co.                                                Contingent
          364 Landa St.                                                       Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $956.54
          Smartlinx Solutions, LLC                                            Contingent
          333 Thornall St. 4th Fl.                                            Unliquidated
          Edison, NJ 08837                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $14.69
          South Texas Radiology Imaging Center                                Contingent
          P.O. Box 29490                                                      Unliquidated
          San Antonio, TX 78229-0490                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 11 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $819.58
          Southern Cross Ambulance                                            Contingent
          P.O. Box 311295                                                     Unliquidated
          New Braunfels, TX 78131-1295                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,743.37
          Southwaste Disposal, LLC                                            Contingent
          P.O. Box 53988                                                      Unliquidated
          Lafayette, LA 70505-3988                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $178.57
          SRPS                                                                Contingent
          P.O. Box 504591                                                     Unliquidated
          Saint Louis, MO 63150                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $211.00
          Star Awards                                                         Contingent
          1500 IS35 S                                                         Unliquidated
          New Braunfels, TX 78130-6598                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $182,119.44
          Studiosix5                                                          Contingent
          811 Barton Springs Rd., #800                                        Unliquidated
          Austin, TX 78704                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,251.05
          Symphony Diagnostic Services                                        Contingent
          d/b/a MobilexUSA                                                    Unliquidated
          2700 Research Dr., #200                                             Disputed
          Plano, TX 75074
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $154.25
          Cathy Talcott                                                       Contingent
          Comal County Tax Assessor                                           Unliquidated
          P.O. Box 311445                                                     Disputed
          New Braunfels, TX 78131-1445
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 12 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          Randal C. Taylor                                                    Contingent
          518 Cedar Trail                                                     Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,085.00
          Texas Chiller Systems                                               Contingent
          9807 McCullough Ave.                                                Unliquidated
          San Antonio, TX 78216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Texas Department of Insurance                                       Contingent
          Mail Code 305-2C, 333 Guadalupe                                     Unliquidated
          P.O. Box 149104                                                     Disputed
          Austin, TX 78714-9104
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Texas Dept of Aging & Disability Serv.
          Attn: Ann Skowronski                                                Contingent
          Mail Code W-615                                                     Unliquidated
          701 W. 51st Street                                                  Disputed
          Austin, TX 78751
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $95.00
          Texas Dept of Licensing & Regulation                                Contingent
          P.O. Box 12157                                                      Unliquidated
          Austin, TX 78711-2157                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Texas Dept. of Health & Human Serv.                                 Contingent
          1100 West 49th St.                                                  Unliquidated
          Austin, TX 78714-9347                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $31.07
          Texas Oncology, PA                                                  Contingent
          P.O. Box 911230                                                     Unliquidated
          Dallas, TX 75391                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 13 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Texas Workforce Commission                                          Contingent
          TWC Bldg - Regulatory Integrity Div.                                Unliquidated
          101 East 15th St.                                                   Disputed
          Austin, TX 78778
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $302.80
          The SSI Group, LLC                                                  Contingent
          P.O. Box 11407                                                      Unliquidated
          Birmingham, AL 35246-2455                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $672.52
          Thyssenkrupp Elevator Corp.                                         Contingent
          P.O. Box 933004                                                     Unliquidated
          Atlanta, GA 31193-3004                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          U.S. Dept. of Health & Human Serv.                                  Contingent
          7500 Security Blvd.                                                 Unliquidated
          Baltimore, MD 21244                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $619.53
          Unitherm, Inc.                                                      Contingent
          P.O. Box 1189                                                       Unliquidated
          Lebanon, OH 45036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $679.66
          Vetter Air                                                          Contingent
          178 Trade Center Drive                                              Unliquidated
          New Braunfels, TX 78130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $918.00
          Vigil Health Solutions                                              Contingent
          136 E. 8th St., #344                                                Unliquidated
          Port Angeles, WA 98362                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 14 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
 Debtor       Eden Home, Inc.                                                                         Case number (if known)            18-50608-cag-11
              Name

 3.96      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,293.17
           W.W. Grainger, Inc.                                                Contingent
           5011 Rittiman Rd.                                                  Unliquidated
           San Antonio, TX 78218-4638                                         Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $114.75
           Wageworks, Inc.                                                    Contingent
           P.O. Box 8363                                                      Unliquidated
           Pasadena, CA 91109-8363                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $377.67
           Walmart Community                                                  Contingent
           P.O. Box 530933                                                    Unliquidated
           Atlanta, GA 30353-0933                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $475.00
           Water Consultants of Texas, Inc.                                   Contingent
           P.O. Box 830                                                       Unliquidated
           Rhome, TX 76078                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $75.00
           Harry M. Woods                                                     Contingent
           1040 Loma Verde Dr.                                                Unliquidated
           New Braunfels, TX 78130                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                       673,999.38

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          673,999.38




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 15 of 15
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Eden Home, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         18-50608-cag-11
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                        See Exhibit G
                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
 Fill in this information to identify the case:

 Debtor name         Eden Home, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         18-50608-cag-11
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
EXHIBIT “A”
EDENHOME EDEN HOME, INC.                                                                                                                 03/03/2018 9:01 AM
                                                    Book Asset Detail             1/01/17 - 12/31/17                                                 Page 1
FYE: 12/31/2017

        d                                Date In      Book        Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset   t      Property Description      Service      Cost        179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
Location: CORPORATE OFFICE

   Group: CIP-INFRASTRUCTURE
6606     COMPLIANCE RESOURCES             6/22/17       350.00         0.00c         0.00           0.00         0.00         0.00        350.00 Memo         0.00
   CIP-INFRASTRUCTURE                                   350.00         0.00c         0.00           0.00         0.00         0.00        350.00

   Group: EH- BUILDING
4869     CONSTRUCTION LABOR-ALDEN UNIT
                                   9/20/13             4,550.00        0.00          0.00           0.00         0.00         0.00      4,550.00 Memo         0.00
   EH- BUILDING                                        4,550.00        0.00c         0.00           0.00         0.00         0.00      4,550.00
                            CORPORATE OFFICE           4,900.00        0.00c         0.00           0.00         0.00         0.00      4,900.00

Location: EDEN CARE CENTER

   Group: AL-BUILDING
6458     INSTALL PROGRAM TEST            10/18/16      3,774.54        0.00          0.00         41.94        251.64       293.58      3,480.96 S/L         15.00
   AL-BUILDING                                         3,774.54        0.00c         0.00         41.94        251.64       293.58      3,480.96

   Group: AL-BUILDING EQUIPMENT
1757 d CARPET                             1/06/03      1,033.19        0.00          0.00       1,033.19         0.00     1,033.19          0.00   S/L       10.00
3848     HEAT PUMP/A/C-ROOM 217          11/12/10        580.99        0.00          0.00         358.28        58.10       416.38        164.61   S/L       10.00
5843     APPLIANCES-UNIT 2                7/20/15        652.62        0.00          0.00          92.45        65.26       157.71        494.91   S/L       10.00
6393     CARPET INSTALLATION              8/16/16        162.64        0.00          0.00           5.42        16.26        21.68        140.96   S/L       10.00
6394     ADDITION ROOMS 300/302           8/27/16      2,952.80        0.00          0.00          98.43       295.28       393.71      2,559.09   S/L       10.00
6435     PTAC FOR MAKE READY-RM 300 10/19/16             798.00        0.00          0.00          13.30        79.80        93.10        704.90   S/L       10.00
6436     PTAC CONTROL BOARD-RM 300 10/20/16              204.24        0.00          0.00           3.40        20.42        23.82        180.42   S/L       10.00
6460     ELEVATOR PART                   11/17/16        232.56        0.00          0.00           1.94        23.26        25.20        207.36   S/L       10.00
6475     ELECTRONIC DOOR EDGE            12/28/16        232.56        0.00          0.00           0.00        23.26        23.26        209.30   S/L       10.00
6535     FIRE ALARM SYSTEM REPAIR         3/09/17        322.56        0.00c         0.00           0.00        26.88        26.88        295.68   S/L       10.00
6564     GENERATOR REPAIR,CONTROL BOARD   2/03/17 REPLACEMENT
                                                       1,626.79        0.00c         0.00           0.00       149.12       149.12      1,477.67   S/L       10.00
6565     MEDICATION CART                  4/05/17          0.00        0.00c         0.00           0.00         0.00         0.00          0.00               0.0
6588     BUFFER TANK-MECHANICAL ROOM      2/23/17      1,958.72        0.00c         0.00           0.00       163.23       163.23      1,795.49   S/L       10.00
6589     COOLING TOWER REPLACEMENTS       5/21/17        392.64        0.00c         0.00           0.00        22.90        22.90        369.74   S/L       10.00
6645     PHONE UPGRADE-ELEVATOR           9/21/17        213.60        0.00c         0.00           0.00         5.34         5.34        208.26   S/L       10.00
   AL-BUILDING EQUIPMENT                              11,363.91        0.00c         0.00       1,606.41       949.11     2,555.52      8,808.39
                 *Less: Dispositions and Transfers     1,033.19        0.00          0.00       1,033.19         0.00     1,033.19          0.00
                Net AL-BUILDING EQUIPMENT             10,330.72        0.00c         0.00         573.22       949.11     1,522.33      8,808.39

   Group: AL-COMPUTER SYSTEMS
2206 d 2 COMPUTERS                       1/01/05       1,840.00        0.00          0.00       1,840.00         0.00     1,840.00          0.00 S/L          5.00
   AL-COMPUTER SYSTEMS                                 1,840.00        0.00c         0.00       1,840.00         0.00     1,840.00          0.00
                *Less: Dispositions and Transfers      1,840.00        0.00          0.00       1,840.00         0.00     1,840.00          0.00
                 Net AL-COMPUTER SYSTEMS                   0.00        0.00c         0.00           0.00         0.00         0.00          0.00
EDENHOME EDEN HOME, INC.                                                                                                               03/03/2018 9:01 AM
                                                  Book Asset Detail             1/01/17 - 12/31/17                                                 Page 2
FYE: 12/31/2017

       d                               Date In      Book        Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service      Cost        179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN CARE CENTER (continued)

   Group: AL-DEPARTMENT EQUIPMENT
6566     MEDICATION CART         4/05/17             1,381.49        0.00c         0.00           0.00       103.61       103.61      1,277.88 S/L         10.00
6590     NURSING MED CART        5/05/17             1,381.49        0.00c         0.00           0.00        92.10        92.10      1,289.39 S/L         10.00
   AL-DEPARTMENT EQUIPMENT                           2,762.98        0.00c         0.00           0.00       195.71       195.71      2,567.27

   Group: AL-FURNITURE
2366     2 DRAWER FILE CABINET        6/30/05          495.00        0.00          0.00         495.00         0.00       495.00          0.00   S/L       10.00
2517     TABLES AND CHAIRS            4/25/06          239.22        0.00          0.00         239.22         0.00       239.22          0.00   S/L       10.00
2717     MICROWAVE                    8/24/06           98.67        0.00          0.00          98.67         0.00        98.67          0.00   S/L       10.00
3152     FURNITURE                    1/07/08        3,289.00        0.00          0.00       2,960.10       328.90     3,289.00          0.00   S/L       10.00
3344     BOOKCASE-5 SHELVE            9/15/08           99.99        0.00          0.00          83.33        10.00        93.33          6.66   S/L       10.00
4038     TV STAND                     8/16/11          229.88        0.00          0.00         122.61        22.99       145.60         84.28   S/L       10.00
5863     BENCH RECOVER                8/22/15          183.86        0.00          0.00          24.52        18.39        42.91        140.95   S/L       10.00
6442     BATHROOM FAUCETS           10/19/16           451.88        0.00          0.00           7.53        45.19        52.72        399.16   S/L       10.00
6443     MICROWAVE/REFRIGERATOR     10/21/16           302.14        0.00          0.00           5.04        30.21        35.25        266.89   S/L       10.00
6506     CALL SYSTEM PROGRAMMING 1/31/17               250.00        0.00c         0.00           0.00        45.83        45.83        204.17   S/L        5.00
6518     TOILET BOWL-RM 302           2/07/17          150.00        0.00c         0.00           0.00        13.75        13.75        136.25   S/L       10.00
6519     FRIGIDAIRE PTAC UNIT-ROOM 3022/13/17          746.85        0.00c         0.00           0.00        68.46        68.46        678.39   S/L       10.00
6520     WINDOW-ROOM 302              2/24/17          170.00        0.00c         0.00           0.00        14.17        14.17        155.83   S/L       10.00
6567     AL 302 CARPET                2/14/17        1,189.24        0.00c         0.00           0.00       109.01       109.01      1,080.23   S/L       10.00
6605     2 PORTABLE HEAT/COLLING UNITS6/06/17        1,043.14        0.00c         0.00           0.00        60.85        60.85        982.29   S/L       10.00
   AL-FURNITURE                                      8,938.87        0.00c         0.00       4,036.02       767.75     4,803.77      4,135.10

   Group: CIP-LITIGATION
6279     SERVPRO OF NORTHWEST           3/15/16      1,047.19        0.00          0.00           0.00         0.00         0.00      1,047.19 Memo         0.00
6329     SERVPRO OF NW DALLAS           4/12/16      3,250.70        0.00          0.00           0.00         0.00         0.00      3,250.70 Memo         0.00
   CIP-LITIGATION                                    4,297.89        0.00c         0.00           0.00         0.00         0.00      4,297.89

   Group: CIP-RP FURNITURE & APPLIA
6684     STUDIOSIX5                 12/11/17        19,423.13        0.00c         0.00           0.00         0.00         0.00     19,423.13 Memo         0.00
   CIP-RP FURNITURE & APPLIA                        19,423.13        0.00c         0.00           0.00         0.00         0.00     19,423.13

   Group: EDEN CARE-BLDG EQUIP
6390     CARPET INSTALLATION        7/16/16          1,024.98        0.00          0.00         42.71        102.50       145.21        879.77 S/L         10.00
6391     CARPET INSTALLATION        8/09/16          1,024.98        0.00          0.00         42.71        102.50       145.21        879.77 S/L         10.00
6392     NURSING CALL STATION INTERFACE
                                    8/11/16            722.00        0.00          0.00         60.17        144.40       204.57        517.43 S/L          5.00
   EDEN CARE-BLDG EQUIP                              2,771.96        0.00c         0.00        145.59        349.40       494.99      2,276.97

   Group: EH-BLDG EQUIPMENT
6334     REPAIR DRYWALL                 3/16/16      1,200.00        0.00          0.00         90.00        120.00       210.00        990.00 S/L         10.00
   EH-BLDG EQUIPMENT                                 1,200.00        0.00c         0.00         90.00        120.00       210.00        990.00
EDENHOME EDEN HOME, INC.                                                                                                                      03/03/2018 9:01 AM
                                                      Book Asset Detail               1/01/17 - 12/31/17                                                  Page 3
FYE: 12/31/2017

       d                               Date In            Book        Book Sec     Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t         Property Description   Service            Cost        179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: EDEN CARE CENTER (continued)

   Group: EH-COMPUTER SYSTEM
6375     DELL SONIC FIREWALL               8/08/16         1,997.11        0.00          0.00        166.43        399.42       565.85       1,431.26 S/L          5.00
   EH-COMPUTER SYSTEM                                      1,997.11        0.00c         0.00        166.43        399.42       565.85       1,431.26

   Group: EH-FURNITURE
6685     STUDIOSIX5                       12/11/17      162,696.31         0.00c         0.00           0.00         0.00         0.00    162,696.31 Memo          0.00
   EH-FURNITURE                                         162,696.31         0.00c         0.00           0.00         0.00         0.00    162,696.31
                            EDEN CARE CENTER            221,066.70         0.00c         0.00       7,926.39     3,033.03    10,959.42    210,107.28
                  *Less: Dispositions and Transfers       2,873.19         0.00          0.00       2,873.19         0.00     2,873.19          0.00
                        Net EDEN CARE CENTER            218,193.51         0.00c         0.00       5,053.20     3,033.03     8,086.23    210,107.28

Location: EDEN HOME,INC.

   Group: BOND ISSUE COSTS
4721     BOND ISSUE COSTS                  1/31/12     1,580,692.50        0.00          0.00           0.00         0.00         0.00   1,580,692.50   Memo       0.00
   BOND ISSUE COSTS                                    1,580,692.50        0.00c         0.00           0.00         0.00         0.00   1,580,692.50

   Group: CIP-EV
6717     HOFFMAN FLOORS-30E               12/14/17         2,625.96        0.00c         0.00           0.00         0.00         0.00       2,625.96 Memo         0.00
   CIP-EV                                                  2,625.96        0.00c         0.00           0.00         0.00         0.00       2,625.96

   Group: CIP-LITIGATION
5926     IMPACT FIRE SERVICES      10/30/15               4,200.00         0.00          0.00           0.00         0.00         0.00      4,200.00    Memo       0.00
6301     SERVPRO OF NORTHWEST       3/15/16               1,400.08         0.00          0.00           0.00         0.00         0.00      1,400.08    Memo       0.00
6302     SERVPRO OF NORTHWEST       3/15/16               1,446.13         0.00          0.00           0.00         0.00         0.00      1,446.13    Memo       0.00
6331     RECONSTRUCTION EXPERTS     4/07/16              22,499.75         0.00          0.00           0.00         0.00         0.00     22,499.75    Memo       0.00
6332     SERVPRO OF NW DALLAS       4/12/16               4,489.06         0.00          0.00           0.00         0.00         0.00      4,489.06    Memo       0.00
6333     SERVPRO OF NW DALLAS       4/12/16               1,452.00         0.00          0.00           0.00         0.00         0.00      1,452.00    Memo       0.00
6386     NORWOOD ARCHITECTURE       7/31/16               8,685.00         0.00          0.00           0.00         0.00         0.00      8,685.00    Memo       0.00
6419     RECONSTRUCTION EXPERTS     9/30/16              41,288.40         0.00          0.00           0.00         0.00         0.00     41,288.40    Memo       0.00
6449     DYKEMA COX SMITH          10/31/16              11,701.57         0.00          0.00           0.00         0.00         0.00     11,701.57    Memo       0.00
6482     BALDWIN ROOFING            9/01/16               4,280.00         0.00          0.00           0.00         0.00         0.00      4,280.00    Memo       0.00
6513     IMPACT FIRE SERVICES       1/17/17               1,223.00         0.00c         0.00           0.00         0.00         0.00      1,223.00    Memo       0.00
6514     IMPACT FIRE SERVICES       1/19/17               2,115.00         0.00c         0.00           0.00         0.00         0.00      2,115.00    Memo       0.00
6561     VETTER AIR                 3/06/17               2,429.11         0.00c         0.00           0.00         0.00         0.00      2,429.11    Memo       0.00
6562     BELLFOR PROPERTY RESTORATION
                                    3/22/17               2,262.54         0.00c         0.00           0.00         0.00         0.00      2,262.54    Memo       0.00
6600     KEYSTONE GRANITE PROJECT 17-116
                                    5/30/17               3,684.00         0.00c         0.00           0.00         0.00         0.00      3,684.00    Memo       0.00
6611     CASH RECEIPT               6/30/17              -2,262.54         0.00c         0.00           0.00         0.00         0.00     -2,262.54    Memo       0.00
   CIP-LITIGATION                                       110,893.10         0.00c         0.00           0.00         0.00         0.00    110,893.10

   Group: CIP-RESTRUCTURING
5495     COX SMITH MATTHEWS               11/12/14       17,323.50         0.00          0.00           0.00         0.00         0.00     17,323.50 Memo          0.00
5496     COX SMITH MATTHEWS               12/08/14        9,123.31         0.00          0.00           0.00         0.00         0.00      9,123.31 Memo          0.00
5617     MINTZ LEVIN PAYMENT               3/31/15       39,027.30         0.00          0.00           0.00         0.00         0.00     39,027.30 Memo          0.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                 Page 4
FYE: 12/31/2017

       d                                Date In   Book     Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description    Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: CIP-RESTRUCTURING (continued)
5837     COX SMITH MATTHEWS           6/19/15      8,484.52     0.00          0.00          0.00          0.00         0.00      8,484.52   Memo       0.00
5838     ACC JUNE AP                  6/30/15      7,556.98     0.00          0.00          0.00          0.00         0.00      7,556.98   Memo       0.00
5855     UMB BANK                     5/14/15     15,063.00     0.00          0.00          0.00          0.00         0.00     15,063.00   Memo       0.00
5856     UMB BANK                     6/14/15      5,572.50     0.00          0.00          0.00          0.00         0.00      5,572.50   Memo       0.00
5889     COX SMITH MATTHEWS           5/26/15      2,023.23     0.00          0.00          0.00          0.00         0.00      2,023.23   Memo       0.00
5894     DYKEMA COX SMITH             9/25/15      1,666.64     0.00          0.00          0.00          0.00         0.00      1,666.64   Memo       0.00
5895     DELOITTE TRANSACTIONS        9/28/15     42,229.18     0.00          0.00          0.00          0.00         0.00     42,229.18   Memo       0.00
5899     DELOITTE TRANSACTIONS        8/31/15     35,338.79     0.00          0.00          0.00          0.00         0.00     35,338.79   Memo       0.00
5946     DELOITTE TRANSACTIONS       11/23/15     74,303.50     0.00          0.00          0.00          0.00         0.00     74,303.50   Memo       0.00
5947     DYDEMA COX SMITH            11/30/15     52,673.92     0.00          0.00          0.00          0.00         0.00     52,673.92   Memo       0.00
5967     DELOITTE TRANSACTIONS       12/31/15     89,847.54     0.00          0.00          0.00          0.00         0.00     89,847.54   Memo       0.00
5968     COX SMITH                   12/31/15     49,291.66     0.00          0.00          0.00          0.00         0.00     49,291.66   Memo       0.00
5971     DELOITTE TRANSACTIONS        1/31/16     21,185.50     0.00          0.00          0.00          0.00         0.00     21,185.50   Memo       0.00
5972     UMB BANK                    12/31/15     27,776.60     0.00          0.00          0.00          0.00         0.00     27,776.60   Memo       0.00
5973     DELOITTE TRANSACTIONS       12/31/15     93,271.31     0.00          0.00          0.00          0.00         0.00     93,271.31   Memo       0.00
5974     DYKEMA COX SMITH            12/31/15     48,088.78     0.00          0.00          0.00          0.00         0.00     48,088.78   Memo       0.00
6240     UMB BANK                     9/01/15      5,398.50     0.00          0.00          0.00          0.00         0.00      5,398.50   Memo       0.00
6253     DELOITTE TRANSACTIONS        2/28/16      6,642.50     0.00          0.00          0.00          0.00         0.00      6,642.50   Memo       0.00
6254     UMB BANK                     2/28/16      6,048.75     0.00          0.00          0.00          0.00         0.00      6,048.75   Memo       0.00
6255     DYKEMA COX SMITH             2/28/16     49,172.50     0.00          0.00          0.00          0.00         0.00     49,172.50   Memo       0.00
6256     DELOITTE TRANSACTIONS        2/28/16      1,836.50     0.00          0.00          0.00          0.00         0.00      1,836.50   Memo       0.00
6293     DELOITTE TRANSACTIONS        3/04/16      1,964.00     0.00          0.00          0.00          0.00         0.00      1,964.00   Memo       0.00
6294     DELOITTE TRANSACTIONS        3/14/16      3,515.50     0.00          0.00          0.00          0.00         0.00      3,515.50   Memo       0.00
6295     DELOITTE TRANSACTIONS        3/23/16      1,468.50     0.00          0.00          0.00          0.00         0.00      1,468.50   Memo       0.00
6296     DELOITTE TRANSACTIONS        3/25/16      1,557.50     0.00          0.00          0.00          0.00         0.00      1,557.50   Memo       0.00
6297     DYKEMA COX SMITH             3/22/16     15,506.01     0.00          0.00          0.00          0.00         0.00     15,506.01   Memo       0.00
6298     TRANSFER TO MINTZ LEVIN      4/22/16    132,238.10     0.00          0.00          0.00          0.00         0.00    132,238.10   Memo       0.00
6299     UMB BANK                     3/17/16      2,685.00     0.00          0.00          0.00          0.00         0.00      2,685.00   Memo       0.00
6300     DELOITTE TRANSACTIONS        3/31/16      1,424.00     0.00          0.00          0.00          0.00         0.00      1,424.00   Memo       0.00
6330     DELOITTE TRANSACTIONS        4/07/16      2,981.50     0.00          0.00          0.00          0.00         0.00      2,981.50   Memo       0.00
6346     DYDEMA COX SMITH             4/26/16     18,560.00     0.00          0.00          0.00          0.00         0.00     18,560.00   Memo       0.00
6347     DELOITTE TRANSACTIONS        5/02/16      6,482.50     0.00          0.00          0.00          0.00         0.00      6,482.50   Memo       0.00
6349     DYDEMA COX SMITH             5/25/16     14,922.00     0.00          0.00          0.00          0.00         0.00     14,922.00   Memo       0.00
6372     DELOITTE TRANSACTIONS        6/30/16     11,010.50     0.00          0.00          0.00          0.00         0.00     11,010.50   Memo       0.00
6373     UMB BANK                     6/30/16      5,337.50     0.00          0.00          0.00          0.00         0.00      5,337.50   Memo       0.00
6374     DYKEMA COX SMITH             5/31/16     47,234.50     0.00          0.00          0.00          0.00         0.00     47,234.50   Memo       0.00
6385     DELOITTTE TRANSACTIONS       7/31/16     21,893.50     0.00          0.00          0.00          0.00         0.00     21,893.50   Memo       0.00
6403     UMB BANK                     8/31/16     18,824.54     0.00          0.00          0.00          0.00         0.00     18,824.54   Memo       0.00
6404     DYKEMA COX SMITH             8/31/16     13,556.00     0.00          0.00          0.00          0.00         0.00     13,556.00   Memo       0.00
6405     DELOITTE TRANSACTIONS        8/31/16      3,693.50     0.00          0.00          0.00          0.00         0.00      3,693.50   Memo       0.00
6416     DELOITTE TRANSACTIONS        9/30/16      3,560.00     0.00          0.00          0.00          0.00         0.00      3,560.00   Memo       0.00
6417     DELOITTE TRANSACTIONS        9/30/16      1,424.00     0.00          0.00          0.00          0.00         0.00      1,424.00   Memo       0.00
6418     DYKEMA COX SMITH             9/30/16     25,692.67     0.00          0.00          0.00          0.00         0.00     25,692.67   Memo       0.00
6445     UMB TRANSACTIONS-MAY        10/01/16     32,775.75     0.00          0.00          0.00          0.00         0.00     32,775.75   Memo       0.00
6446     DELOITTE TRANSACTIONS       10/18/16      8,366.00     0.00          0.00          0.00          0.00         0.00      8,366.00   Memo       0.00
6448     DYKEMA COX SMITH            10/31/16     22,348.50     0.00          0.00          0.00          0.00         0.00     22,348.50   Memo       0.00
6465     DELOITTE TRANSACTIONS       11/30/16      9,523.00     0.00          0.00          0.00          0.00         0.00      9,523.00   Memo       0.00
6466     ADJUST TO ACTUAL            11/30/16    -65,526.37     0.00          0.00          0.00          0.00         0.00    -65,526.37   Memo       0.00
6481     DYKEMA COX SMITH            12/15/16      7,827.29     0.00          0.00          0.00          0.00         0.00      7,827.29   Memo       0.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                               Book Asset Detail           1/01/17 - 12/31/17                                                 Page 5
FYE: 12/31/2017

       d                                Date In   Book     Book Sec     Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t         Property Description    Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: EDEN HOME,INC. | Group: CIP-RESTRUCTURING (continued)
6491    HELMES & COMPANY            9/27/16        33,487.50    0.00          0.00          0.00          0.00         0.00      33,487.50   Memo       0.00
6492    REFUND-MINTZ LEVIN          9/27/16        84,749.65    0.00          0.00          0.00          0.00         0.00      84,749.65   Memo       0.00
6493    UMB BANK                   10/26/16         7,792.04    0.00          0.00          0.00          0.00         0.00       7,792.04   Memo       0.00
6494    UMB BANK                   10/26/16        11,032.50    0.00          0.00          0.00          0.00         0.00      11,032.50   Memo       0.00
6495    UMB BANK                   10/26/16         2,475.00    0.00          0.00          0.00          0.00         0.00       2,475.00   Memo       0.00
6496    UMB BANK                   10/26/16         2,685.00    0.00          0.00          0.00          0.00         0.00       2,685.00   Memo       0.00
6497    RBC                        10/26/16       187,292.45    0.00          0.00          0.00          0.00         0.00     187,292.45   Memo       0.00
6498    UMB BANK                   10/26/16         6,626.25    0.00          0.00          0.00          0.00         0.00       6,626.25   Memo       0.00
6499    UMB BANK                   10/26/16         2,862.50    0.00          0.00          0.00          0.00         0.00       2,862.50   Memo       0.00
6500    DYKEMA COX SMITH           12/31/16         4,583.50    0.00          0.00          0.00          0.00         0.00       4,583.50   Memo       0.00
6505    UMB BANK-CLIENT JE'S       12/31/16           764.75    0.00          0.00          0.00          0.00         0.00         764.75   Memo       0.00
6511    MAY UMB INVOICES            1/31/17        32,775.75    0.00c         0.00          0.00          0.00         0.00      32,775.75   Memo       0.00
6512    DYKEMA COX SMITH            1/26/17        16,138.86    0.00c         0.00          0.00          0.00         0.00      16,138.86   Memo       0.00
6530    DYKEMA COX SMITH            2/27/17         6,798.50    0.00c         0.00          0.00          0.00         0.00       6,798.50   Memo       0.00
6560    DYKEMA COX SMITH            3/22/17        11,070.50    0.00c         0.00          0.00          0.00         0.00      11,070.50   Memo       0.00
6563    CLIENT JE'S                 2/28/17        45,510.75    0.00c         0.00          0.00          0.00         0.00      45,510.75   Memo       0.00
6580    DYKEMA COX SMITH            4/30/17         6,470.00    0.00c         0.00          0.00          0.00         0.00       6,470.00   Memo       0.00
6581    DYKEMA COX SMITH            4/30/17        30,884.69    0.00c         0.00          0.00          0.00         0.00      30,884.69   Memo       0.00
6601    DYKEMA COX SMITH            5/31/17        24,128.70    0.00c         0.00          0.00          0.00         0.00      24,128.70   Memo       0.00
6609    ADJ FOR DOUBLE BOOKING      6/30/17       -44,745.79    0.00c         0.00          0.00          0.00         0.00     -44,745.79   Memo       0.00
6610    DYKEMA COX SMITH            6/22/17        23,908.84    0.00c         0.00          0.00          0.00         0.00      23,908.84   Memo       0.00
6624    TO RECONCILE MAY TO JUNE 2017
                                    6/30/17        69,643.55    0.00c         0.00          0.00          0.00         0.00      69,643.55   Memo       0.00
6631    ZUMBRUNNED                  8/17/17        13,006.50    0.00c         0.00          0.00          0.00         0.00      13,006.50   Memo       0.00
6632    DYKEMA COX SMITH            7/28/17        45,887.94    0.00c         0.00          0.00          0.00         0.00      45,887.94   Memo       0.00
6633    ACTIVITY-APRIL AND MAY      8/31/17        17,223.78    0.00c         0.00          0.00          0.00         0.00      17,223.78   Memo       0.00
6634    MCKOOL SMITH                8/31/17        11,212.48    0.00c         0.00          0.00          0.00         0.00      11,212.48   Memo       0.00
6656    UMB BOND FUND JE#10-09-009 9/30/17        193,205.12    0.00c         0.00          0.00          0.00         0.00     193,205.12   Memo       0.00
6657    SEPT ACTIVITY 10-09-011     9/30/17        25,913.19    0.00c         0.00          0.00          0.00         0.00      25,913.19   Memo       0.00
6658    DYKEMA COX SMITH            9/30/17        31,947.10    0.00c         0.00          0.00          0.00         0.00      31,947.10   Memo       0.00
6681    DYKEMA COX SMITH            8/18/17        18,399.89    0.00c         0.00          0.00          0.00         0.00      18,399.89   Memo       0.00
6682    ZUMBRUNNEN                  9/14/17         9,958.88    0.00c         0.00          0.00          0.00         0.00       9,958.88   Memo       0.00
6696    DYKEMA COX SMITH           12/11/17        16,983.00    0.00c         0.00          0.00          0.00         0.00      16,983.00   Memo       0.00
6710    DYKEMA COX SMITH           12/07/17        21,216.50    0.00c         0.00          0.00          0.00         0.00      21,216.50   Memo       0.00
6711    CUSHMAN & WAKEFIELD         6/01/17        50,000.00    0.00c         0.00          0.00          0.00         0.00      50,000.00   Memo       0.00
6712    DYKEMA COX SMITH           11/20/17        57,210.91    0.00c         0.00          0.00          0.00         0.00      57,210.91   Memo       0.00
6713    JE#10-12-008               12/31/17        13,835.50    0.00c         0.00          0.00          0.00         0.00      13,835.50   Memo       0.00
6714    RECLASS UMB INVOICES       12/31/17        43,688.17    0.00c         0.00          0.00          0.00         0.00      43,688.17   Memo       0.00
   CIP-RESTRUCTURING                            2,216,416.45    0.00c         0.00          0.00          0.00         0.00   2,216,416.45

   Group: CIP-RP ADMINISTRATIVE
6278     UMB BANK                    2/29/16        6,852.00    0.00          0.00          0.00          0.00         0.00       6,852.00 Memo         0.00
   CIP-RP ADMINISTRATIVE                            6,852.00    0.00c         0.00          0.00          0.00         0.00       6,852.00

   Group: CIP-RP BUILDING EQUIP
6488     UMB BANK                    2/29/16          375.00    0.00          0.00          0.00          0.00         0.00         375.00 Memo         0.00
6489     UMB BANK                    2/29/16        4,384.50    0.00          0.00          0.00          0.00         0.00       4,384.50 Memo         0.00
EDENHOME EDEN HOME, INC.                                                                                                              03/03/2018 9:01 AM
                                               Book Asset Detail             1/01/17 - 12/31/17                                                   Page 6
FYE: 12/31/2017

       d                                Date In    Book     Book Sec      Book Sal      Book Prior Book Current      Book          Book Net      Book    Book
Asset t         Property Description    Service    Cost      179 Exp c     Value       Depreciation Depreciation   End Depr       Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: CIP-RP BUILDING EQUIP (continued)

   CIP-RP BUILDING EQUIP                            4,759.50      0.00c         0.00           0.00         0.00           0.00      4,759.50

   Group: CIP-RP FURNITURE & APPLIA
6444     STUDIO SIX5                 9/30/16       8,370.00       0.00          0.00           0.00         0.00           0.00      8,370.00   Memo       0.00
6529     STUDIOSIX5                  2/28/17       6,510.00       0.00c         0.00           0.00         0.00           0.00      6,510.00   Memo       0.00
6559     STUDIOSIX5                  3/31/17         930.00       0.00c         0.00           0.00         0.00           0.00        930.00   Memo       0.00
6608     STUDIOSIX5                  6/30/17       7,440.00       0.00c         0.00           0.00         0.00           0.00      7,440.00   Memo       0.00
6630     STUDIOSIX5                  8/31/17       5,580.00       0.00c         0.00           0.00         0.00           0.00      5,580.00   Memo       0.00
6655     STUDIOSIX5                  9/30/17       1,860.00       0.00c         0.00           0.00         0.00           0.00      1,860.00   Memo       0.00
6695     STUDIOSIX5                 12/11/17         930.00       0.00c         0.00           0.00         0.00           0.00        930.00   Memo       0.00
   CIP-RP FURNITURE & APPLIA                      31,620.00       0.00c         0.00           0.00         0.00           0.00     31,620.00

   Group: EH- BUILDING
   1     MAIN BUILDING AND LAUNDRY 1/01/58        400,935.68      0.00          0.00     400,935.68         0.00     400,935.68          0.00   S/L       50.00
   2     UTILITY LINES               1/01/58        3,162.63      0.00          0.00       3,162.63         0.00       3,162.63          0.00   S/L       20.00
   3     IMPROVEMENTS                1/01/59       12,113.03      0.00          0.00      12,113.03         0.00      12,113.03          0.00   S/L       20.00
   4     UTILITY LINES               9/01/59        1,536.00      0.00          0.00       1,536.00         0.00       1,536.00          0.00   S/L       20.00
   5     IMPROVEMENTS                1/01/60        2,717.40      0.00          0.00       2,717.40         0.00       2,717.40          0.00   S/L       20.00
   6     UTILITY LINES               2/01/61          229.80      0.00          0.00         229.80         0.00         229.80          0.00   S/L       20.00
   7     IMPROVEMENTS                1/01/62        1,897.82      0.00          0.00       1,897.82         0.00       1,897.82          0.00   S/L       20.00
   8     INFIRMARY BUILDING          9/01/62      750,825.95      0.00          0.00     750,825.95         0.00     750,825.95          0.00   S/L       50.00
   9     IMPROVEMENTS                1/01/63          571.62      0.00          0.00         571.62         0.00         571.62          0.00   S/L       20.00
  10     IMPROVEMENTS                1/01/64          497.67      0.00          0.00         497.67         0.00         497.67          0.00   S/L       20.00
  11     IMPROVEMENTS                1/01/65          250.00      0.00          0.00         250.00         0.00         250.00          0.00   S/L       20.00
  12     ROOF IMPROVEMENTS           1/01/68        1,982.00      0.00          0.00       1,982.00         0.00       1,982.00          0.00   S/L       20.00
  13     IMPROVEMENTS                1/01/70        3,566.00      0.00          0.00       3,566.00         0.00       3,566.00          0.00   S/L       20.00
  14     INTERIOR SKID CORE DOOR     6/01/73        1,271.75      0.00          0.00       1,271.75         0.00       1,271.75          0.00   S/L       20.00
  16     FIRE ALARM SYSTEM           9/01/74        4,170.55      0.00          0.00       4,170.55         0.00       4,170.55          0.00   S/L       20.00
  17     IMPROVEMENTS               10/01/74        1,226.00      0.00          0.00       1,226.00         0.00       1,226.00          0.00   S/L       20.00
  18     WINDOW IMPROVEMENTS         3/01/75        2,685.20      0.00          0.00       2,685.20         0.00       2,685.20          0.00   S/L       20.00
  19     BULLETIN BOARDS             3/01/75          310.00      0.00          0.00         310.00         0.00         310.00          0.00   S/L       20.00
  20     CONCRETE SLAB              10/01/75          930.00      0.00          0.00         930.00         0.00         930.00          0.00   S/L       20.00
  21     FIRE DOORS                 11/01/75        2,970.00      0.00          0.00       2,970.00         0.00       2,970.00          0.00   S/L       20.00
  22     EXIT LIGHTS (6)             3/01/76          675.00      0.00          0.00         675.00         0.00         675.00          0.00   S/L       20.00
  23     (13) FLUOR. LIGHT FIXTURES  8/01/76          807.00      0.00          0.00         807.00         0.00         807.00          0.00   S/L       20.00
  24     SHOWER ROOM REMODELING 11/01/76            1,747.00      0.00          0.00       1,747.00         0.00       1,747.00          0.00   S/L       20.00
  25     SHOWER ROOM REMODELING 4/01/78             1,031.00      0.00          0.00       1,031.00         0.00       1,031.00          0.00   S/L       20.00
  26     FIRE WALL & EQUIP.         10/01/80       14,412.00      0.00          0.00      14,412.00         0.00      14,412.00          0.00   S/L       20.00
  27     ROOF                        1/01/84       25,800.00      0.00          0.00      25,800.00         0.00      25,800.00          0.00   S/L       10.00
  28     10 BED ADDITION             1/01/85      397,220.88      0.00          0.00     249,057.57     7,944.42     257,001.99    140,218.89   S/L       50.00
  30     10 BED ADDITION             1/01/86       39,571.50      0.00          0.00      24,534.33       791.43      25,325.76     14,245.74   S/L       50.00
  31     KITCHEN/LOBBY ROOF          1/01/86       10,923.00      0.00          0.00      10,923.00         0.00      10,923.00          0.00   S/L       10.00
  32     120 BED ADDITION            9/01/88    3,450,579.40      0.00          0.00   2,932,995.03   103,517.48   3,036,512.51    414,066.89   S/L       33.33
  33     120 BED ADDITION            9/01/88       47,462.15      0.00          0.00      39,868.33     1,423.87      41,292.20      6,169.95   S/L       33.33
  34     REMODELING                  9/18/89      409,144.49      0.00          0.00     337,544.59    12,274.35     349,818.94     59,325.55   S/L       33.33
  35     IMPROVEMENTS-SPAW GLASS 12/24/91          22,393.00      0.00          0.00      16,796.50       671.86      17,468.36      4,924.64   S/L       33.33
  36     PORTABLE 6 X 6 BUILDING    12/28/92          545.00      0.00          0.00         545.00         0.00         545.00          0.00   S/L       15.00
  37 d RESURFACE KITCHEN FLOORS 11/15/93            6,105.00      0.00          0.00       6,105.00         0.00       6,105.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                              Book Asset Detail               1/01/17 - 12/31/17                                                 Page 7
FYE: 12/31/2017

       d                               Date In    Book         Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost         179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH- BUILDING (continued)
  39     10 WINDOWS,2 SLIDING GLASS DOORS
                                     11/30/94   1,605.90           0.00          0.00       1,605.90         0.00     1,605.90          0.00   S/L       20.00
  40     NEW TILE                     1/11/95   4,149.15           0.00          0.00       4,149.15         0.00     4,149.15          0.00   S/L       10.00
  41     REMODEL DEVELOPMENT OFFICE3/15/95      1,600.00           0.00          0.00       1,048.00        48.00     1,096.00        504.00   S/L       33.33
  42     ALUMINUM CARPORT             7/26/95   5,476.00           0.00          0.00       5,476.00         0.00     5,476.00          0.00   S/L       15.00
  43     URETHANE ROOF SYSTEM        10/06/95   5,644.00           0.00          0.00       5,644.00         0.00     5,644.00          0.00   S/L       10.00
  44 d   UNIT 4 CARPET               11/29/95  21,551.25           0.00          0.00      21,551.25         0.00    21,551.25          0.00   S/L       10.00
  45     HANDRAIL & CRASHRAIL        11/30/95   5,665.28           0.00          0.00       5,665.28         0.00     5,665.28          0.00   S/L       15.00
  46 d   NEW LAUNDRY BUILDING        12/28/95  46,467.00           0.00          0.00      24,395.28         0.00    24,395.28     22,071.72   S/L       40.00
  47     PAVILLION                    1/31/96  26,399.60           0.00          0.00      13,804.79       659.99    14,464.78     11,934.82   S/L       40.00
  48     EPOXY STONE-SIDEWALK TO ENTRANCEWAY
                                      3/12/96   1,080.00           0.00          0.00       1,080.00         0.00     1,080.00          0.00   S/L       20.00
  49     NEW 8" SEWER LINES           5/09/96  22,800.00           0.00          0.00      22,800.00         0.00    22,800.00          0.00   S/L       20.00
  51     BASKET STRAINER              6/24/96   1,850.00           0.00          0.00       1,850.00         0.00     1,850.00          0.00   S/L       10.00
  52     NEW STEEL DOOR               2/26/97   1,151.65           0.00          0.00       1,142.01         9.64     1,151.65          0.00   S/L       20.00
  53     DOOR-SABRSULA'S NEW OFFICE 4/22/97       401.76           0.00          0.00         395.10         6.66       401.76          0.00   S/L       20.00
  54     CARPET                       8/31/97     803.10           0.00          0.00         803.10         0.00       803.10          0.00   S/L       10.00
  55     OFFICE WALL-PAYROLL         10/18/99     176.95           0.00          0.00          77.94         4.54        82.48         94.47   S/L       39.00
1230     NEW OFFICE WALLS            10/28/99     820.00           0.00          0.00         361.01        21.03       382.04        437.96   S/L       39.00
1325     EXTERIOR DOOR                6/18/00   2,593.00           0.00          0.00       2,139.23       129.65     2,268.88        324.12   S/L       20.00
1326     JUPE                         9/20/00   1,400.00           0.00          0.00       1,137.50        70.00     1,207.50        192.50   S/L       20.00
1399     SIDEWALK-DEVELOP OFFICE      1/30/01   1,500.00           0.00          0.00       1,193.75        75.00     1,268.75        231.25   S/L       20.00
1477     DOOR COVER PLATE-KITCHEN DISH6/25/01
                                          ROOM    225.00           0.00          0.00         174.38        11.25       185.63         39.37   S/L       20.00
1539     ALUMINUM CANOPY              9/20/01     897.00           0.00          0.00         897.00         0.00       897.00          0.00   S/L       15.00
1540     LAUNDRY CHUTE                9/19/01     812.00           0.00          0.00         619.15        40.60       659.75        152.25   S/L       20.00
1555     ROOF REPAIRS, REPLACEMENT 10/19/01     7,100.00           0.00          0.00       7,100.00         0.00     7,100.00          0.00   S/L       15.00
1565     NEW SPRINKLER HEAD           8/22/01     650.00           0.00          0.00         650.00         0.00       650.00          0.00   S/L       10.00
1803     JANITOR CLOSET DOORS         5/15/03     161.04           0.00          0.00         146.78        10.74       157.52          3.52   S/L       15.00
1810     PAINT SUPPLIES               9/01/04     369.93           0.00          0.00         304.14        24.66       328.80         41.13   S/L       15.00
1811     PAINT                        9/01/04     574.74           0.00          0.00         472.61        38.32       510.93         63.81   S/L       15.00
1832     BATHING SYSTEM               9/01/04  17,908.00           0.00          0.00      14,724.40     1,193.87    15,918.27      1,989.73   S/L       15.00
1846     SUPPLIES                     9/01/04      95.70           0.00          0.00          78.69         6.38        85.07         10.63   S/L       15.00
1847     PAINT                        9/01/04     815.13           0.00          0.00         670.19        54.34       724.53         90.60   S/L       15.00
1848     BLDG SUPPLIES                9/01/04      31.68           0.00          0.00          26.02         2.11        28.13          3.55   S/L       15.00
1849     BLDG SUPPLIES                9/01/04     157.74           0.00          0.00         129.75        10.52       140.27         17.47   S/L       15.00
1850     SHEETROCK                    9/01/04   2,900.00           0.00          0.00       2,384.40       193.33     2,577.73        322.27   S/L       15.00
1851     PAINT                        9/01/04     123.79           0.00          0.00         101.75         8.25       110.00         13.79   S/L       15.00
1852     PAINT CONTRACTOR             9/01/04     896.00           0.00          0.00         736.67        59.73       796.40         99.60   S/L       15.00
1853     SUPPLIES                     9/01/04     160.85           0.00          0.00         132.21        10.72       142.93         17.92   S/L       15.00
1854     COPIES-PLANS                 9/01/04       6.60           0.00          0.00           5.43         1.17         6.60          0.00   S/L       15.00
1885     INTERIOR DESIGN              9/01/04   2,535.00           0.00          0.00       2,084.33       169.00     2,253.33        281.67   S/L       15.00
1901     DESIGN-SPACE PLAN            9/01/04   2,572.50           0.00          0.00       2,115.17       171.50     2,286.67        285.83   S/L       15.00
1955     DESIGNER FEES                9/01/04     226.51           0.00          0.00         186.23        15.10       201.33         25.18   S/L       15.00
1962     DESIGNER FEES                9/01/04   7,979.54           0.00          0.00       6,560.96       531.97     7,092.93        886.61   S/L       15.00
2017     CEILING TILES                9/01/04     498.56           0.00          0.00         409.96        33.24       443.20         55.36   S/L       15.00
2064     CONSULTING SERVICES          9/01/04   1,887.71           0.00          0.00       1,552.15       125.85     1,678.00        209.71   S/L       15.00
2071     BUILT-INS, MED ROOM          5/26/04     462.77           0.00          0.00         388.20        30.85       419.05         43.72   S/L       15.00
2174     BEAUTY SHOP RENOVATION       5/01/05  24,155.00           0.00          0.00      14,090.42     1,207.75    15,298.17      8,856.83   S/L       20.00
2177     BEAUTY SHOP RENOVATION       5/01/05  17,306.00           0.00          0.00      10,095.17       865.30    10,960.47      6,345.53   S/L       20.00
2185     ROOF REPAIR                 11/23/04   1,550.00           0.00          0.00       1,550.00         0.00     1,550.00          0.00   S/L       10.00
2218     BEAUTY SHOP RENOVATION       5/01/05  12,359.00           0.00          0.00       7,209.42       617.95     7,827.37      4,531.63   S/L       20.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                 Book Asset Detail            1/01/17 - 12/31/17                                                 Page 8
FYE: 12/31/2017

       d                               Date In    Book         Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost         179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH- BUILDING (continued)
2269     BEAUTY SHOP RENOVATION        5/01/05     27,293.00       0.00          0.00      15,920.92     1,364.65    17,285.57     10,007.43   S/L       20.00
2300     DUMPSTER-TRASH                5/01/05        362.00       0.00          0.00         211.17        18.10       229.27        132.73   S/L       20.00
2302     BEAUTY SHOP RENOVATION        5/01/05     14,088.00       0.00          0.00       8,218.00       704.40     8,922.40      5,165.60   S/L       20.00
2331     BEAUTY SHOP RENOVATION        5/01/05      4,671.00       0.00          0.00       2,724.75       233.55     2,958.30      1,712.70   S/L       20.00
2338     FOUNDATION REPAIR             5/27/05      2,490.00       0.00          0.00       1,922.83       166.00     2,088.83        401.17   S/L       15.00
2364     UNIT 2 RENOVATION             5/01/05    160,028.85       0.00          0.00      93,350.14     8,001.44   101,351.58     58,677.27   S/L       20.00
2382     PATIO MATERIALS               7/05/05        220.00       0.00          0.00         220.00         0.00       220.00          0.00   S/L       10.00
2383     PAINT/TEXTURE BUILDING        7/12/05      1,250.00       0.00          0.00       1,250.00         0.00     1,250.00          0.00   S/L       10.00
2384     STAIN FRONT PORCH             7/12/05      1,358.68       0.00          0.00       1,358.68         0.00     1,358.68          0.00   S/L       10.00
2415     PAINT CEILINGS                1/01/07      2,275.00       0.00          0.00       2,275.00         0.00     2,275.00          0.00   S/L       10.00
2420     CEILING PAINT                 9/07/05      2,275.00       0.00          0.00       2,275.00         0.00     2,275.00          0.00   S/L        7.00
2443     UNIT 2 SPA INSPECTION FEES    8/02/05        775.00       0.00          0.00         442.40        38.75       481.15        293.85   S/L       20.00
2450     CIRCUIT TO PRINTER            1/16/06        785.02       0.00          0.00         571.27        52.33       623.60        161.42   S/L       15.00
2451     CIRCUIT TO KITCHEN HOOD       1/16/06      2,516.91       0.00          0.00       1,831.71       167.79     1,999.50        517.41   S/L       15.00
2452     LIGHTS, SWITCHES-KITCHEN      1/17/06        518.37       0.00          0.00         377.28        34.56       411.84        106.53   S/L       15.00
2453     QUARRY TILE-KITCHEN           1/25/06      1,399.54       0.00          0.00       1,018.53        93.30     1,111.83        287.71   S/L       15.00
2468     DRAIN LINE                    1/26/06        599.00       0.00          0.00         599.00         0.00       599.00          0.00   S/L       10.00
2469     KITCHEN FLOOR TILE            1/25/06      1,254.72       0.00          0.00       1,254.72         0.00     1,254.72          0.00   S/L       10.00
2470     KITCHEN FLOOR TILE            2/01/06      1,632.00       0.00          0.00       1,632.00         0.00     1,632.00          0.00   S/L       10.00
2475     ARCHITECT FEES-UNIT 3         1/01/07        400.00       0.00          0.00         400.00         0.00       400.00          0.00   S/L       10.00
2492     ROOF                          3/21/06     10,000.00       0.00          0.00      10,000.00         0.00    10,000.00          0.00   S/L       10.00
2493     WALL PLUGS                    3/22/06        445.56       0.00          0.00         319.28        29.70       348.98         96.58   S/L       15.00
2507     PLUMBING WORK                 1/01/07        190.00       0.00          0.00         190.00         0.00       190.00          0.00   S/L       10.00
2508     STEAM TABLE CIRCUITS          1/01/07        514.06       0.00          0.00         514.06         0.00       514.06          0.00   S/L       10.00
2509     PLUMBING WORK                 1/01/07        297.40       0.00          0.00         297.40         0.00       297.40          0.00   S/L       10.00
2518     PAINT DOOR JAMBS              4/19/06      1,580.00       0.00          0.00       1,580.00         0.00     1,580.00          0.00   S/L        7.00
2546     ROOF REPAIRS                  5/10/06      4,900.00       0.00          0.00       4,900.00         0.00     4,900.00          0.00   S/L       10.00
2557     ARCHITECTS                    1/01/07        994.16       0.00          0.00         994.16         0.00       994.16          0.00   S/L       10.00
2561     DESIGN                        1/01/07        981.66       0.00          0.00         981.66         0.00       981.66          0.00   S/L       10.00
2585     STEAM TABLE PLUG              1/01/07        157.05       0.00          0.00         157.05         0.00       157.05          0.00   S/L       10.00
2638     STEAM TABLE RECEPTACLES       1/01/07        146.00       0.00          0.00         146.00         0.00       146.00          0.00   S/L       10.00
2639     STEAM TABLE RECEPTACLES       1/01/07        144.19       0.00          0.00         144.19         0.00       144.19          0.00   S/L       10.00
2650     ROOF IN BIHL CENTER           7/05/06      7,295.00       0.00          0.00       7,295.00         0.00     7,295.00          0.00   S/L       10.00
2663     ARCHITECT FEES                1/01/07      2,000.00       0.00          0.00       2,000.00         0.00     2,000.00          0.00   S/L       10.00
2686     BLDG MATERIALS                1/01/07          2.91       0.00          0.00           2.91         0.00         2.91          0.00   S/L       10.00
2719     POWER RUN-PROJECTOR           8/25/06      1,313.33       0.00          0.00         904.79        87.56       992.35        320.98   S/L       15.00
2749     SANITARY TEE, PTRAP           9/26/06      1,681.74       0.00          0.00       1,681.74         0.00     1,681.74          0.00   S/L       10.00
2750     REPLACE SEWER PIPING         10/03/06      7,600.00       0.00          0.00       7,600.00         0.00     7,600.00          0.00   S/L       10.00
2751     REPLACE SEWER LINE           10/04/06        700.00       0.00          0.00         700.00         0.00       700.00          0.00   S/L       10.00
2760     LOBBY ARCHITECT FEES          1/01/07      1,320.00       0.00          0.00       1,320.00         0.00     1,320.00          0.00   S/L       10.00
2780     RESTROOM COUNTERTOPS         11/21/06      2,613.60       0.00          0.00       2,613.60         0.00     2,613.60          0.00   S/L       10.00
2785     REMODEL WALKWAY/DOORS         2/28/07        630.05       0.00          0.00         413.00        42.00       455.00        175.05   S/L       15.00
2800     NEW DOORS-KITCHEN            12/14/06      1,564.04       0.00          0.00       1,051.39       104.27     1,155.66        408.38   S/L       15.00
2811     PHONE WIRING-NEW OFFICES     11/01/07        452.35       0.00          0.00         414.70        37.65       452.35          0.00   S/L       10.00
2812     NEW OFFICE-CENTRAL SUPPLY    11/01/07      4,931.68       0.00          0.00       3,013.82       328.78     3,342.60      1,589.08   S/L       15.00
2813     FIRE SPRINKLER HEADS         11/01/07      1,885.60       0.00          0.00       1,152.34       125.71     1,278.05        607.55   S/L       15.00
2821     REHAB RENOVATION              1/01/07     57,339.09       0.00          0.00      28,669.50     2,866.95    31,536.45     25,802.64   S/L       20.00
2822     SEWER REPLACEMENT             1/05/07      1,804.42       0.00          0.00       1,804.42         0.00     1,804.42          0.00   S/L       10.00
2823     FLANGE, VACUUM BREAKER        1/13/07        686.55       0.00          0.00         686.55         0.00       686.55          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                               Book Asset Detail              1/01/17 - 12/31/17                                                 Page 9
FYE: 12/31/2017

       d                               Date In    Book         Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost         179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH- BUILDING (continued)
2837     REMODEL DOORS-BUS. OFFICE 11/01/07        3,110.00        0.00          0.00       1,900.53       207.33     2,107.86      1,002.14   S/L       15.00
2838     REMODEL BUSINESS OFFICE    11/01/07       1,398.00        0.00          0.00         854.33        93.20       947.53        450.47   S/L       15.00
2839     CABLES                     11/01/07          58.96        0.00          0.00          58.96         0.00        58.96          0.00   S/L        5.00
2840     MOVE PHONE EXTENSIONS      11/01/07         104.43        0.00          0.00         104.43         0.00       104.43          0.00   S/L        5.00
2847     COUNTER TOPS                1/25/07       1,694.25        0.00          0.00       1,680.18        14.07     1,694.25          0.00   S/L       10.00
2848     DRAIN LINES                 2/15/07       2,374.60        0.00          0.00       2,354.81        19.79     2,374.60          0.00   S/L       10.00
2849     VCT TILE-GIFT SHOP          1/10/07         425.00        0.00          0.00         425.00         0.00       425.00          0.00   S/L       10.00
2850     CEILING REPAIR              2/12/07         525.00        0.00          0.00         520.63         4.37       525.00          0.00   S/L       10.00
2866     KEYS AND LOCKS             11/01/07         315.44        0.00          0.00         289.12        26.32       315.44          0.00   S/L       10.00
2867     KEYS-SEWING ROOM           11/01/07          63.00        0.00          0.00          57.75         5.25        63.00          0.00   S/L       10.00
2868     WIRING, OUTLETS            11/01/07         652.05        0.00          0.00         398.47        43.47       441.94        210.11   S/L       15.00
2870     CEILING, LIGHTING          11/01/07       2,561.21        0.00          0.00       1,565.21       170.75     1,735.96        825.25   S/L       15.00
2871     SWITCHES, CABLES-COMPUTER 11/01/07           61.35        0.00          0.00          61.35         0.00        61.35          0.00   S/L        5.00
2872     KEYBOARD CABLES            11/01/07          39.98        0.00          0.00          39.98         0.00        39.98          0.00   S/L        5.00
2873     HR TERMINAL INSTALL        11/01/07         317.50        0.00          0.00         317.50         0.00       317.50          0.00   S/L        5.00
2874     INSTALL PHONE EXT.         11/01/07          32.50        0.00          0.00          32.50         0.00        32.50          0.00   S/L        5.00
2875     GRID CLIPS-DRAPES          11/01/07           1.61        0.00          0.00           1.61         0.00         1.61          0.00   S/L       10.00
2876     CAULK/PAINT SEW ROOM       11/01/07         350.00        0.00          0.00         213.86        23.33       237.19        112.81   S/L       15.00
2889     ELECTRICAL PLUG-ADMIN OFFICE3/21/07         793.44        0.00          0.00         515.77        52.90       568.67        224.77   S/L       15.00
2906     INSTALLATION MATERIALS     11/01/07          39.00        0.00          0.00          23.83         2.60        26.43         12.57   S/L       15.00
2908     REMODEL BUSINESS OFFICE    11/01/07      29,870.42        0.00          0.00      18,254.13     1,991.36    20,245.49      9,624.93   S/L       15.00
2909     REMODEL ADD-ONS            11/01/07       3,750.09        0.00          0.00       2,291.76       250.01     2,541.77      1,208.32   S/L       15.00
2912     3 DOORS                    11/01/07         755.00        0.00          0.00         461.36        50.33       511.69        243.31   S/L       15.00
2933     FIRE SPRINKLER HEADS       11/01/07         511.46        0.00          0.00         312.58        34.10       346.68        164.78   S/L       15.00
2934     PAINT FOR HALLWAY          11/01/07         370.95        0.00          0.00         226.69        24.73       251.42        119.53   S/L       15.00
2935     PAINT BUSINESS OFFICE HALLWAY
                                    11/01/07         800.00        0.00          0.00         488.86        53.33       542.19        257.81   S/L       15.00
2936     PAINT BUSINESS OFFICE HALLWAY
                                    11/01/07          65.24        0.00          0.00          39.87         4.35        44.22         21.02   S/L       15.00
3008     ROOF REPAIRS                7/16/07       1,500.00        0.00          0.00       1,412.50        87.50     1,500.00          0.00   S/L       10.00
3041     ROOF LEAK REPAIR            8/07/07       2,500.00        0.00          0.00       2,354.17       145.83     2,500.00          0.00   S/L       10.00
3059     PUMP REPAIR                 8/28/07       2,728.00        0.00          0.00       2,546.13       181.87     2,728.00          0.00   S/L       10.00
3075     COMPUTER ROOM/OFC REMODEL  10/15/07       7,564.00        0.00          0.00       4,664.50       504.27     5,168.77      2,395.23   S/L       15.00
3118     REWIRE IT OFFICE           11/01/07         730.82        0.00          0.00         446.60        48.72       495.32        235.50   S/L       15.00
3171     WATER LINES                 1/23/08         656.95        0.00          0.00         390.55        43.80       434.35        222.60   S/L       15.00
3279     PNEUMATIC CONTROLS          6/09/08       1,323.50        0.00          0.00       1,136.00       132.35     1,268.35         55.15   S/L       10.00
3280     HOT WATER RECIRCULATION LINE4/03/08       2,844.81        0.00          0.00       2,489.20       284.48     2,773.68         71.13   S/L       10.00
3308     KITCHEN QUARRY TILES        7/02/08       1,675.00        0.00          0.00       1,423.75       167.50     1,591.25         83.75   S/L       10.00
3381     WALL-SUN ROOM              11/28/08       5,250.00        0.00          0.00       2,829.17       350.00     3,179.17      2,070.83   S/L       15.00
3438     UNIT 3-A MAKE READY         4/07/09       1,039.62        0.00          0.00         805.69       103.96       909.65        129.97   S/L       10.00
3471 d   LAUNDRY ROOM COMPRESSOR 6/01/09           1,577.76        0.00          0.00       1,196.50         0.00     1,196.50        381.26   S/L       10.00
3472 d   CIRCUIT BOARD-DRYER         6/01/09         691.46        0.00          0.00         524.39         0.00       524.39        167.07   S/L       10.00
3473 d   HR OFFICE-FRIG              5/28/09         145.00        0.00          0.00         109.96         0.00       109.96         35.04   S/L       10.00
3548     PAINT                      10/19/09         199.20        0.00          0.00         199.20         0.00       199.20          0.00   S/L        5.00
3605     UNIT 2 BLDG MATERIALS       1/01/09         212.34        0.00          0.00         169.84        21.23       191.07         21.27   S/L       10.00
3606     CS OFFICE BUILDING MATERIALS1/01/09         591.73        0.00          0.00         473.36        59.17       532.53         59.20   S/L       10.00
3607     UNIT 2 BLDG MATERIALS       1/01/09       1,040.88        0.00          0.00         832.72       104.09       936.81        104.07   S/L       10.00
3608     UNIT 5 BLDG MATERIALS       1/01/09       1,844.67        0.00          0.00       1,475.76       184.47     1,660.23        184.44   S/L       10.00
3656     UNIT 6 RENOVATIONS          6/01/09      89,357.72        0.00          0.00      45,175.28     5,957.18    51,132.46     38,225.26   S/L       15.00
3657     MAKE READY-RM 619           1/18/10       3,602.50        0.00          0.00       2,491.73       360.25     2,851.98        750.52   S/L       10.00
3658     MAKE READY-RM 217           1/18/10       1,246.50        0.00          0.00         862.16       124.65       986.81        259.69   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                 Book Asset Detail            1/01/17 - 12/31/17                                                Page 10
FYE: 12/31/2017

       d                               Date In    Book         Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost         179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH- BUILDING (continued)
3688       REFURBISH UNIT 9            2/01/10      4,985.00       0.00          0.00       2,298.62       332.33     2,630.95      2,354.05   S/L       15.00
3728       LIGHT FIXTURES              4/06/10        546.00       0.00          0.00         368.55        54.60       423.15        122.85   S/L       10.00
3750       RE-LAMINATE DOORS UNIT 2    5/03/10      2,130.00       0.00          0.00       1,420.00       213.00     1,633.00        497.00   S/L       10.00
3785   d   FRONT LOBBY DESIGN          9/01/10     26,732.89       0.00          0.00      11,287.20         0.00    11,287.20     15,445.69   S/L       15.00
3796   d   RENOVATIONS-UNIT 1         12/01/10     59,106.75       0.00          0.00      17,978.32         0.00    17,978.32     41,128.43   S/L       20.00
3964   d   TERMITE PEST CONTROL        4/04/11        825.00       0.00          0.00         825.00         0.00       825.00          0.00   S/L        2.00
4003   d   MAKE READY-201              6/09/11        392.34       0.00          0.00         146.06         0.00       146.06        246.28   S/L       15.00
4004   d   UNIT 4 HALLWAY PAINT        6/13/11        470.20       0.00          0.00         375.03         0.00       375.03         95.17   S/L        7.00
4005   d   MAKE READY-201              6/23/11         55.04       0.00          0.00          20.18         0.00        20.18         34.86   S/L       15.00
4006       UN 6 A/C UPDATE-DINING ROOM 6/14/11        412.53       0.00          0.00         230.31        41.25       271.56        140.97   S/L       10.00
4007       UN 6 THERMOSTAT UPGRADE 6/03/11            327.95       0.00          0.00         183.13        32.80       215.93        112.02   S/L       10.00
4008   d   UNIT 4 RENOVATION           6/14/11         62.94       0.00          0.00          35.12         0.00        35.12         27.82   S/L       10.00
4009       COOLING TOWER EQUIP         6/30/11        275.05       0.00          0.00         151.30        27.51       178.81         96.24   S/L       10.00
4031   d   CIP-UNIT 1                  7/31/11        100.00       0.00          0.00          54.17         0.00        54.17         45.83   S/L       10.00
4128   d   PAMELA DICKSON             10/31/11         40.00       0.00          0.00          20.67         0.00        20.67         19.33   S/L       10.00
4141       TEMPERED GLASS             11/04/11        524.08       0.00          0.00         180.52        34.94       215.46        308.62   S/L       15.00
4206       FLOOR TILE-ROOM 625         1/01/12        360.00       0.00          0.00         180.00        36.00       216.00        144.00   S/L       10.00
4487       DIGITAL ACCESS KEYPAD      10/10/12        384.30       0.00          0.00         163.33        38.43       201.76        182.54   S/L       10.00
4514       FLOORING                   10/26/12      1,910.04       0.00          0.00         795.83       191.00       986.83        923.21   S/L       10.00
4515       PAINTING-UNIT 4,UNIT 2     11/07/12      8,900.00       0.00          0.00       5,297.62     1,271.43     6,569.05      2,330.95   S/L        7.00
4516       PAINT                      11/21/12        340.30       0.00          0.00         198.49        48.61       247.10         93.20   S/L        7.00
4550       UNIT 5 ROOM PAINT          12/12/12        362.10       0.00          0.00         211.23        51.73       262.96         99.14   S/L        7.00
4583       AL RM 204 FLOORING          1/01/13      1,250.35       0.00          0.00         500.16       125.04       625.20        625.15   S/L       10.00
4584                                                    0.00       0.00          0.00           0.00         0.00         0.00          0.00               0.0
4700       CONSTRUCTION COPIES         4/04/13         41.41       0.00          0.00          22.20         5.92        28.12         13.29   S/L        7.00
4724       UNIT 6 DIGITAL KEYPAD       5/13/13        608.19       0.00          0.00         223.01        60.82       283.83        324.36   S/L       10.00
4806       WATER INSULATION VALVES     7/31/13        785.00       0.00          0.00         268.21        78.50       346.71        438.29   S/L       10.00
4845       LAUNDRY CHANGES-BIHL CENTER 9/18/13      5,328.79       0.00          0.00       1,731.86       532.88     2,264.74      3,064.05   S/L       10.00
4916       PAINT PINNALCE UNIT-ALDEN 10/10/13       1,575.00       0.00          0.00         731.25       225.00       956.25        618.75   S/L        7.00
5148       PLUMBING UPGRADES           1/30/14      2,137.25       0.00          0.00         623.37       213.73       837.10      1,300.15   S/L       10.00
5185       SEWER WORK                  2/20/14      2,137.24       0.00          0.00         605.54       213.72       819.26      1,317.98   S/L       10.00
5247       PLUMBING UNIT 6, ROOMS510 & 610
                                       4/01/14      9,450.00       0.00          0.00       2,598.75       945.00     3,543.75      5,906.25   S/L       10.00
5248       SIDEWALK CONSTRUCTION       2/20/14      1,542.88       0.00          0.00         291.44       102.86       394.30      1,148.58   S/L       15.00
5283       SEWER PIPE SERVICE          5/30/14      2,486.00       0.00          0.00         642.22       248.60       890.82      1,595.18   S/L       10.00
5311       BLOWER MOTOR-UNIT 5 DINING 6/18/14         519.95       0.00          0.00         130.00        52.00       182.00        337.95   S/L       10.00
5312       LOCKS-NEW HEALTHCARE CABINETS
                                       6/18/14        391.00       0.00          0.00          97.75        39.10       136.85        254.15   S/L       10.00
5345       LVT, SHEET VINYL            7/02/14      2,685.63       0.00          0.00         671.40       268.56       939.96      1,745.67   S/L       10.00
5386       UNIT 4 SHOWER REMODEL       8/20/14        307.80       0.00          0.00          71.82        30.78       102.60        205.20   S/L       10.00
5387       FLOORING REPLACEMENT        8/27/14        904.92       0.00          0.00         211.14        90.49       301.63        603.29   S/L       10.00
5388       FAUXWOOD BLINDS-UNIT 4      8/20/14        509.60       0.00          0.00         118.91        50.96       169.87        339.73   S/L       10.00
5446       2 SPRINKLER HEADS          11/06/14      1,180.00       0.00          0.00         365.24       168.57       533.81        646.19   S/L        7.00
5471       FLOOR REPLACEMENT=#617     12/17/14        805.13       0.00          0.00         161.02        80.51       241.53        563.60   S/L       10.00
5472       MAKE READY-UNIT 6          12/17/14      5,653.53       0.00          0.00       1,130.70       565.35     1,696.05      3,957.48   S/L       10.00
5591       LAUNDRY ROOM-REKEYED        1/28/15      1,437.94       0.00          0.00         275.60       143.79       419.39      1,018.55   S/L       10.00
5819       VENTS ADDED TO KITCHEN      6/09/15      1,440.00       0.00          0.00         228.00       144.00       372.00      1,068.00   S/L       10.00
5820       PAINT UNIT 2 REMODELING     6/11/15        857.78       0.00          0.00         135.82        85.78       221.60        636.18   S/L       10.00
6280       INSTALL CEDAR FENCE         3/06/16     15,515.50       0.00          0.00       1,292.96     1,551.55     2,844.51     12,670.99   S/L       10.00
6281       UNIT 5 REMODEL              3/15/16        340.95       0.00          0.00          28.41        34.10        62.51        278.44   S/L       10.00
6282       UNIT 5 REMODEL              3/10/16         60.74       0.00          0.00           5.06         6.07        11.13         49.61   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                               03/03/2018 9:01 AM
                                                    Book Asset Detail         1/01/17 - 12/31/17                                                  Page 11
FYE: 12/31/2017

       d                               Date In    Book         Book Sec    Book Sal      Book Prior Book Current      Book          Book Net      Book    Book
Asset t         Property Description   Service    Cost         179 Exp c    Value       Depreciation Depreciation   End Depr       Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH- BUILDING (continued)
6283    UNIT 5 REMODEL                    3/14/16        210.74    0.00          0.00          17.56        21.07          38.63        172.11   S/L       10.00
6284    WILLOW PATIO ROOF                 3/24/16      5,398.35    0.00          0.00         404.88       539.84         944.72      4,453.63   S/L       10.00
6285    WILLOWS ROOFING PROJECT           3/08/16      1,922.65    0.00          0.00         160.22       192.27         352.49      1,570.16   S/L       10.00
6286    WINDOW CLEANING                   3/24/16        995.00    0.00          0.00         149.25       199.00         348.25        646.75   S/L        5.00
6310    CARPET CLEANING-2H                3/31/16        175.00    0.00          0.00          26.25        35.00          61.25        113.75   S/L        5.00
6314    CARPET -403                       4/07/16      1,275.75    0.00          0.00          95.68       127.58         223.26      1,052.49   S/L       10.00
6359    WINDOW CLEANING                   6/03/16        415.00    0.00          0.00          48.42        83.00         131.42        283.58   S/L        5.00
6395    HAUL CHARGE-ROLL OFF              8/31/16        425.00    0.00          0.00          28.33        85.00         113.33        311.67   S/L        5.00
6409    EMERGENCY EXIT STAIRCASES 9/20/16              4,883.00    0.00          0.00          81.38       325.53         406.91      4,476.09   S/L       15.00
6437    REFINISH EMERGENCY EXIT STAIRCASES
                                         10/10/16      4,883.00    0.00          0.00          81.38       325.53         406.91      4,476.09   S/L       15.00
6459    INSTALL PROGRAM TEST             10/18/16      5,212.46    0.00          0.00          57.92       347.50         405.42      4,807.04   S/L       15.00
6486    UNIT 6 RENOVATION                 9/04/04          0.00    0.00          0.00           0.00         0.00           0.00          0.00               0.0
6487    BEAUTY SHOP RENOVATION            5/01/05          0.00    0.00          0.00           0.00         0.00           0.00          0.00               0.0
6504    TO RECONCILE SCHEDULE TO G/L     12/31/16     -1,581.93    0.00          0.00           0.00         0.00           0.00     -1,581.93   Memo       0.00
   EH- BUILDING                                    6,593,952.53    0.00c         0.00   5,432,240.30   170,231.45   5,602,471.75    991,480.78
                 *Less: Dispositions and Transfers   164,322.63    0.00          0.00      84,624.13         0.00      84,624.13     79,698.50
                              Net EH- BUILDING 6,429,629.90        0.00c         0.00   5,347,616.17   170,231.45   5,517,847.62    911,782.28

   Group: EH- BUILDING (BIHL)
  56     BUILDING                         6/01/68    180,014.09    0.00          0.00     174,613.68     3,600.28    178,213.96       1,800.13 S/L         50.00
  57     ADDITIONS                        2/01/69      3,511.60    0.00          0.00       3,511.60         0.00      3,511.60           0.00 S/L         25.00
   EH- BUILDING (BIHL)                               183,525.69    0.00c         0.00     178,125.28     3,600.28    181,725.56       1,800.13

   Group: EH-BLDG EQUIP (BIHL)
  58     EQUIPMENT                        7/01/79      5,276.00    0.00          0.00       5,276.00         0.00       5,276.00          0.00   S/L       10.00
1585     NURSES STATION KITCHEN           1/25/02        737.85    0.00          0.00         733.75         4.10         737.85          0.00   S/L       15.00
1586     THERMOSTAT                       1/31/02        227.11    0.00          0.00         227.11         0.00         227.11          0.00   S/L       10.00
2099     DOOR PLATES                      8/05/04        712.32    0.00          0.00         712.32         0.00         712.32          0.00   S/L       10.00
   EH-BLDG EQUIP (BIHL)                                6,953.28    0.00c         0.00       6,949.18         4.10       6,953.28          0.00

   Group: EH-BLDG EQUIPMENT
  59     BOILER- HEATING            2/01/72            1,886.54    0.00          0.00       1,886.54         0.00       1,886.54          0.00   S/L       10.00
  60     BOILER- HOT WATER         11/01/72            1,914.85    0.00          0.00       1,914.85         0.00       1,914.85          0.00   S/L       10.00
  61     COOLING TOWER              3/01/73            2,247.00    0.00          0.00       2,247.00         0.00       2,247.00          0.00   S/L       20.00
  62     SMOKE DETECTOR & FIRE ALARM3/01/73            5,444.50    0.00          0.00       5,444.50         0.00       5,444.50          0.00   S/L       20.00
  63     GAL BOOSTER-HOT WATER HEATER
                                    3/01/73              528.03    0.00          0.00         528.03         0.00         528.03          0.00   S/L       10.00
  64 d   WINDOW AIR CONDITIONERS 12/01/73                238.75    0.00          0.00         238.75         0.00         238.75          0.00   S/L       10.00
  65     FIRE ALARM & IRONIZATION   6/01/75              406.50    0.00          0.00         406.50         0.00         406.50          0.00   S/L       20.00
  66 d EXHAUST FANS-2 LAUNDRY      11/01/75              988.00    0.00          0.00         988.00         0.00         988.00          0.00   S/L       10.00
  67     ROOF EXHAUST FANS          7/01/76              342.00    0.00          0.00         342.00         0.00         342.00          0.00   S/L       10.00
  68     WATER HEATER              10/01/76              588.00    0.00          0.00         588.00         0.00         588.00          0.00   S/L       10.00
  69     PUMP & BEARING ASSEMBLY    3/01/78              656.28    0.00          0.00         656.28         0.00         656.28          0.00   S/L       20.00
  70     A/C WINDOW                 5/01/78              290.20    0.00          0.00         290.20         0.00         290.20          0.00   S/L       10.00
  71     FIRE ALARM/BACKUP SYSTEM 6/01/78              3,466.00    0.00          0.00       3,466.00         0.00       3,466.00          0.00   S/L       20.00
  73     BRINE WATER SYSTEM         4/01/81              474.00    0.00          0.00         474.00         0.00         474.00          0.00   S/L       10.00
  74     CLOSED CIRCUIT TV SYSTEM 12/01/82             1,875.00    0.00          0.00       1,875.00         0.00       1,875.00          0.00   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                           Book Asset Detail              1/01/17 - 12/31/17                                                Page 12
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
  75       WATER SOFTENERS            1/01/84    3,294.60      0.00          0.00       3,294.60         0.00     3,294.60          0.00   S/L        6.67
  76       2 IRON BENCHES             7/01/85      300.00      0.00          0.00         300.00         0.00       300.00          0.00   S/L       10.00
  77       TELEPHONE SYSTEMS          8/01/85   19,254.00      0.00          0.00      19,254.00         0.00    19,254.00          0.00   S/L       10.00
  78   d   A/C- LAUNDRY BLDG          8/01/85    5,100.00      0.00          0.00       5,100.00         0.00     5,100.00          0.00   S/L       10.00
  79   d   2-50# WASHING MACHINES     8/01/85   10,920.38      0.00          0.00      10,920.38         0.00    10,920.38          0.00   S/L       10.00
  80       MINI BLINDS- DINING ROOM  10/01/85    1,780.68      0.00          0.00       1,780.68         0.00     1,780.68          0.00   S/L       10.00
  81       EXHAUST FAN               11/01/85      337.69      0.00          0.00         337.69         0.00       337.69          0.00   S/L       10.00
  83   d   WASHING MACHINES           1/01/86      550.00      0.00          0.00         550.00         0.00       550.00          0.00   S/L       10.00
  84       2 SOFAS & BENCH            1/01/86      770.50      0.00          0.00         770.50         0.00       770.50          0.00   S/L       10.00
  85       CHAIRS                     1/01/86      176.00      0.00          0.00         176.00         0.00       176.00          0.00   S/L       10.00
  86       DRYER MOTOR                6/24/86      228.36      0.00          0.00         228.36         0.00       228.36          0.00   S/L       10.00
  87       AUTOMATIC BREAKER-EQUIP 11/02/86      4,094.80      0.00          0.00       4,094.80         0.00     4,094.80          0.00   S/L       10.00
  88       NECKLACE BEEPER            2/25/87      272.00      0.00          0.00         272.00         0.00       272.00          0.00   S/L       10.00
  89       EQUIPMENT                  3/06/87      187.53      0.00          0.00         187.53         0.00       187.53          0.00   S/L       10.00
  90       ADAMSON TUBAL COIL         3/23/87    1,057.47      0.00          0.00       1,057.47         0.00     1,057.47          0.00   S/L       10.00
  91       TABLE                      5/05/87      156.00      0.00          0.00         156.00         0.00       156.00          0.00   S/L       10.00
  92       6 CHAIRS                   5/06/87       63.24      0.00          0.00          63.24         0.00        63.24          0.00   S/L       10.00
  94       2 BATH UNITS               9/01/88   15,950.00      0.00          0.00      15,950.00         0.00    15,950.00          0.00   S/L       10.00
  95       6 WORK STATIONS            9/01/88    1,079.60      0.00          0.00       1,079.60         0.00     1,079.60          0.00   S/L       10.00
  96       SHELVING                   9/01/88      204.00      0.00          0.00         204.00         0.00       204.00          0.00   S/L       10.00
  97       CLOSETS                    9/01/88   16,582.94      0.00          0.00      16,582.94         0.00    16,582.94          0.00   S/L       10.00
  98       FIRE ALARM SYSTEM          9/01/88      850.00      0.00          0.00         850.00         0.00       850.00          0.00   S/L       10.00
  99       5 FIRE EXIT SIGNS          9/01/88      437.10      0.00          0.00         437.10         0.00       437.10          0.00   S/L       10.00
 100       SIGNS                      9/01/88      727.40      0.00          0.00         727.40         0.00       727.40          0.00   S/L       10.00
 101       MINI BLINDS                2/06/91      616.28      0.00          0.00         616.28         0.00       616.28          0.00   S/L       10.00
 102       36" X 36" DOOR             3/10/91    1,500.00      0.00          0.00       1,162.50        45.00     1,207.50        292.50   S/L       33.33
 103       CARPET                     4/10/91   16,757.00      0.00          0.00      16,757.00         0.00    16,757.00          0.00   S/L       10.00
 104   d   LAUNDRY DOOR               6/05/91    1,645.00      0.00          0.00       1,262.54         0.00     1,262.54        382.46   S/L       33.33
 105   d   A/C UNIT-LAUNDRY BUILDING 7/03/91     1,477.00      0.00          0.00       1,477.00         0.00     1,477.00          0.00   S/L       10.00
 106       NURSES STATION             9/09/91    6,900.00      0.00          0.00       6,900.00         0.00     6,900.00          0.00   S/L       10.00
 108       2 HANDICAP DOORS-BATHROOMS2/10/92     1,050.00      0.00          0.00         784.88        31.50       816.38        233.62   S/L       33.33
 109       AUTOMATIC DOOR OPERATORS 6/03/92      2,695.00      0.00          0.00       1,987.81        80.86     2,068.67        626.33   S/L       33.33
 110       BOILER                    11/18/92    6,648.00      0.00          0.00       6,648.00         0.00     6,648.00          0.00   S/L       10.00
 111       HC210 DUPLEX WATER SOFTENER
                                     12/14/92    7,063.00      0.00          0.00       7,063.00         0.00     7,063.00          0.00   S/L       10.00
 112       1 PAIR CUSTOM WOOD DOORS 4/03/93        988.00      0.00          0.00         703.95        29.64       733.59        254.41   S/L       33.33
 113       1 HOLLOW METAL DOOR        4/03/93      343.00      0.00          0.00         244.39        10.29       254.68         88.32   S/L       33.33
 114       HEAT EXCHANGER-TUBE BUNDLE 4/21/93    3,735.00      0.00          0.00       3,735.00         0.00     3,735.00          0.00   S/L       10.00
 115       HOT WATER HEATER (LAUNDRY)5/11/93       176.00      0.00          0.00         176.00         0.00       176.00          0.00   S/L       10.00
 116       FIRE ALARM SYSTEM CONTROL ASSEMBLY
                                      8/27/93    2,288.91      0.00          0.00       2,288.91         0.00     2,288.91          0.00   S/L       10.00
 117       NEW A/C MOTOR              8/30/93    3,151.73      0.00          0.00       3,151.73         0.00     3,151.73          0.00   S/L       10.00
 118       WATER FOUNTAIN             8/31/93      400.00      0.00          0.00         400.00         0.00       400.00          0.00   S/L       10.00
 119       RHEEM WATER HEATER         9/01/93      160.13      0.00          0.00         160.13         0.00       160.13          0.00   S/L       10.00
 120       FENCE                      9/20/93      400.00      0.00          0.00         400.00         0.00       400.00          0.00   S/L       10.00
 121       SPRING LATCH              11/18/93      101.79      0.00          0.00         101.79         0.00       101.79          0.00   S/L       10.00
 122       EYEWASH STATION           11/18/93      238.96      0.00          0.00         238.96         0.00       238.96          0.00   S/L       10.00
 123       REFRIG COMPRESSOR         11/30/93      432.06      0.00          0.00         432.06         0.00       432.06          0.00   S/L       10.00
 124       COMMERCIAL SHOWER FAUCET 1/06/94        321.68      0.00          0.00         321.68         0.00       321.68          0.00   S/L       10.00
 125       EXIT ALARM                 1/20/94      343.00      0.00          0.00         343.00         0.00       343.00          0.00   S/L       10.00
 126       FIRE ALARM SYSTEM          6/02/94   72,950.00      0.00          0.00      72,950.00         0.00    72,950.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                            Book Asset Detail             1/01/17 - 12/31/17                                                Page 13
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
 127    3 COMPRESSORS               6/13/94     2,939.20       0.00          0.00       2,939.20         0.00     2,939.20          0.00   S/L       10.00
 128    WATER PUMP                  7/27/94     1,230.50       0.00          0.00       1,230.50         0.00     1,230.50          0.00   S/L       10.00
 129    HEATING BOILER & WATER HEATER
                                   10/07/94    10,870.00       0.00          0.00      10,870.00         0.00    10,870.00          0.00   S/L       10.00
 130    MODIFICATIONS TO PNEUMATIC12/22/94
                                     TEMPERATURE3,786.00       0.00          0.00       3,786.00         0.00     3,786.00          0.00   S/L       10.00
 131    8 GALLON CONDENSATE PUMP 2/01/95        1,188.00       0.00          0.00       1,188.00         0.00     1,188.00          0.00   S/L       10.00
 132    A/C COMPRESSOR              2/06/95       504.00       0.00          0.00         504.00         0.00       504.00          0.00   S/L       10.00
 133    BOILER                      4/14/95     9,677.00       0.00          0.00       9,677.00         0.00     9,677.00          0.00   S/L       10.00
 134    2 ALUMINUM AWNINGS          6/05/95     2,830.00       0.00          0.00       1,832.64        84.91     1,917.55        912.45   S/L       33.33
 135    BEARING KIT FOR HOIST MACHINE-ELEVATOR
                                    9/06/95     4,541.00       0.00          0.00       4,541.00         0.00     4,541.00          0.00   S/L       10.00
 136    40 GALLON WATER HEATER      9/28/95       162.95       0.00          0.00         162.95         0.00       162.95          0.00   S/L       10.00
 137    CONSOLE TELEPHONE           1/11/96       613.07       0.00          0.00         613.07         0.00       613.07          0.00   S/L       10.00
 139    CONDUCTIVITY CONTROLLER,CHEMICAL
                                   10/09/96 FEED3,070.00
                                                  PUMP         0.00          0.00       3,070.00         0.00     3,070.00          0.00   S/L       10.00
 140    HAND RAILS,CRASH RAILS, CORNER
                                   10/24/96
                                        GUARDS25,640.58        0.00          0.00      25,640.58         0.00    25,640.58          0.00   S/L       10.00
 141    HANDRAILS-ADDITIONAL COST 1/01/97         151.73       0.00          0.00         151.73         0.00       151.73          0.00   S/L       10.00
 142    CLIMATEMASTER UNIT          3/04/97     2,450.00       0.00          0.00       2,450.00         0.00     2,450.00          0.00   S/L       10.00
 143    TELEPHONE ELEVATOR          4/07/97       252.55       0.00          0.00         252.55         0.00       252.55          0.00   S/L        5.00
 144    CARPET                      5/08/97     1,647.79       0.00          0.00       1,647.79         0.00     1,647.79          0.00   S/L       10.00
 145    ELECTRICAL PANEL            6/11/97     2,377.00       0.00          0.00       2,377.00         0.00     2,377.00          0.00   S/L       15.00
 146    COMPUTER PANEL WIRE-NEW COMPUTER
                                    7/31/97  OFFICE
                                                3,049.00       0.00          0.00       3,049.00         0.00     3,049.00          0.00   S/L       15.00
 147    A/C COMPRESSOR              9/30/97     1,415.40       0.00          0.00       1,415.40         0.00     1,415.40          0.00   S/L       10.00
 148    2 A/C'S                    10/23/97       990.00       0.00          0.00         990.00         0.00       990.00          0.00   S/L       10.00
 149    15 FIRE EXTINGUISHERS      10/23/97       217.95       0.00          0.00         217.95         0.00       217.95          0.00   S/L       10.00
 150    GRIDSTONE MATERIALS         4/08/98       147.20       0.00          0.00         147.20         0.00       147.20          0.00   S/L       15.00
 151    GRIDSTONE MATERIALS         4/09/98       588.80       0.00          0.00         588.80         0.00       588.80          0.00   S/L       15.00
 152    P-TAC UNIT                  6/19/98     1,800.00       0.00          0.00       1,800.00         0.00     1,800.00          0.00   S/L       10.00
 153    TURBATOR                    8/31/98       579.00       0.00          0.00         579.00         0.00       579.00          0.00   S/L       10.00
 154    WINDOW GLASS               10/01/98       492.40       0.00          0.00         492.40         0.00       492.40          0.00   S/L       10.00
 155    BOILER                     11/30/98     1,158.70       0.00          0.00       1,158.70         0.00     1,158.70          0.00   S/L       10.00
 156    CONTROLS UPGRADE-OX COOLING 2/26/99     4,800.00       0.00          0.00       4,800.00         0.00     4,800.00          0.00   S/L       10.00
 157    DOOR                        3/23/99       428.00       0.00          0.00         228.09        12.85       240.94        187.06   S/L       33.30
 158    A/C UNIT                    3/23/99     4,285.00       0.00          0.00       4,285.00         0.00     4,285.00          0.00   S/L       10.00
 159    TELEPHONE                   3/29/99       502.50       0.00          0.00         502.50         0.00       502.50          0.00   S/L        7.00
 161    MOTOR-CONDENSER FAN         5/27/99       434.00       0.00          0.00         434.00         0.00       434.00          0.00   S/L       10.00
 162    A/C UNIT                    7/28/99       544.97       0.00          0.00         544.97         0.00       544.97          0.00   S/L       10.00
1213    DOOR-ADMIN. OFFICE         10/28/99       215.04       0.00          0.00         110.90         6.46       117.36         97.68   S/L       33.30
1214    TIMECLOCK INSTALLATION     11/17/99       126.36       0.00          0.00         126.36         0.00       126.36          0.00   S/L       10.00
1215    TIME CLOCK INSTALLATION    11/16/99        38.12       0.00          0.00          38.12         0.00        38.12          0.00   S/L       10.00
1216    MOSAIC TILE-CHAPEL         11/30/99    16,000.00       0.00          0.00      16,000.00         0.00    16,000.00          0.00   S/L       10.00
1257    FLOORING                    1/01/00       242.48       0.00          0.00         242.48         0.00       242.48          0.00   S/L       10.00
1258    VINYL FLOORING              1/01/00     4,238.00       0.00          0.00       4,238.00         0.00     4,238.00          0.00   S/L       10.00
1259    MIRRORS                     3/01/00       736.02       0.00          0.00         736.02         0.00       736.02          0.00   S/L       15.00
1260    VINYL FLOORING              3/03/00       135.00       0.00          0.00         135.00         0.00       135.00          0.00   S/L       10.00
1261    5 TON WATER SOURCE HEAT PUMP3/14/00     3,151.00       0.00          0.00       3,151.00         0.00     3,151.00          0.00   S/L       10.00
1262    20 TON CARRIER CONDENSING UNIT
                                    4/24/00    11,291.69       0.00          0.00      11,291.69         0.00    11,291.69          0.00   S/L       10.00
1263    JOHNSON EQUIP               4/25/00       321.31       0.00          0.00         321.31         0.00       321.31          0.00   S/L       10.00
1330    NORSTAR TELEPHONE           7/12/00       132.26       0.00          0.00         132.26         0.00       132.26          0.00   S/L        5.00
1331    UNIT 6 CAMERA               7/19/00       200.00       0.00          0.00         200.00         0.00       200.00          0.00   S/L       10.00
1332    POWER BOOSTER               5/11/00       975.75       0.00          0.00         975.75         0.00       975.75          0.00   S/L       10.00
1333    NEW COMPRESSOR              7/20/00       955.25       0.00          0.00         955.25         0.00       955.25          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                               Book Asset Detail          1/01/17 - 12/31/17                                                Page 14
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
1334     SMOKE DETECTORS             8/23/00        250.00     0.00          0.00         250.00         0.00       250.00          0.00   S/L       10.00
1335     COMPUTER PARTS              9/26/00        250.00     0.00          0.00         250.00         0.00       250.00          0.00   S/L        5.00
1365     BLDG IMPROVEMENTS           3/01/00        670.00     0.00          0.00         670.00         0.00       670.00          0.00   S/L       10.00
1366     A/C UPGRADE                 9/13/00        923.10     0.00          0.00         923.10         0.00       923.10          0.00   S/L       10.00
1367     BLDG IMPROVEMENTS           9/19/00      4,920.00     0.00          0.00       4,920.00         0.00     4,920.00          0.00   S/L       10.00
1368     ELECTRICAL IMPROVEMENTS 9/28/00            200.87     0.00          0.00         200.87         0.00       200.87          0.00   S/L       10.00
1369     NEW GENERATOR               7/10/00        787.50     0.00          0.00         787.50         0.00       787.50          0.00   S/L       10.00
1370     WATER HEATER               11/01/00        194.00     0.00          0.00         194.00         0.00       194.00          0.00   S/L       10.00
1371     REGULATOR                  10/06/00      1,077.00     0.00          0.00       1,077.00         0.00     1,077.00          0.00   S/L       10.00
1372     DOOR-DEVELOPMENT           12/13/00        520.92     0.00          0.00         520.92         0.00       520.92          0.00   S/L       15.00
1403     CUSTOM BUILT CABINETS       2/08/01        455.00     0.00          0.00         455.00         0.00       455.00          0.00   S/L       15.00
1404     CARPETING                   1/01/01      1,031.25     0.00          0.00       1,031.25         0.00     1,031.25          0.00   S/L       10.00
1405     SMOKE DETECTORS             3/02/01        254.83     0.00          0.00         254.83         0.00       254.83          0.00   S/L       10.00
1504     6000 BTU A/C                7/24/01        169.00     0.00          0.00         169.00         0.00       169.00          0.00   S/L       10.00
1505     2 6000 BTU A/C'S            7/25/01        353.65     0.00          0.00         353.65         0.00       353.65          0.00   S/L       10.00
1520     VCT & BASE MOULDING         7/03/01        484.00     0.00          0.00         484.00         0.00       484.00          0.00   S/L       10.00
1541     WINDSOR LIGHTING            9/12/01        808.58     0.00          0.00         619.93        40.43       660.36        148.22   S/L       20.00
1542     UNIWASH INVERTER            9/07/01      1,705.23     0.00          0.00       1,705.23         0.00     1,705.23          0.00   S/L       10.00
1543     AMERICAN WASHER MOTOR BOOSTER
                                     9/13/01        496.35     0.00          0.00         496.35         0.00       496.35          0.00   S/L       10.00
1544     A/C- UNITS 5 & 6            9/26/01      2,576.00     0.00          0.00       2,576.00         0.00     2,576.00          0.00   S/L       10.00
1545     CARPET, BASE- PC ENTRY      7/12/01        425.97     0.00          0.00         425.97         0.00       425.97          0.00   S/L       10.00
1546     CARPET, BASE- PERSONAL CARE 8/08/01      2,606.48     0.00          0.00       2,606.48         0.00     2,606.48          0.00   S/L       10.00
1597     COLLING TOWER MOTOR STARTER 3/20/02        728.14     0.00          0.00         728.14         0.00       728.14          0.00   S/L       10.00
1598     ASBESTOS TILE REMOVAL       3/08/02      1,500.00     0.00          0.00       1,500.00         0.00     1,500.00          0.00   S/L       10.00
1599     NEW TILE FLOOR              3/10/02      1,218.75     0.00          0.00       1,218.75         0.00     1,218.75          0.00   S/L       10.00
1647     MAGNETIC DOOR HOLDER        6/19/02        578.32     0.00          0.00         578.32         0.00       578.32          0.00   S/L       10.00
1648     CONSOLE, PHONE REPLACEMENTS 7/22/02      1,760.30     0.00          0.00       1,760.30         0.00     1,760.30          0.00   S/L        5.00
1670     DOOR MOTOR ACTUATOR         8/01/02        390.00     0.00          0.00         390.00         0.00       390.00          0.00   S/L       10.00
1682     CARPET-MEDICAL RECORDS OFFICES
                                     8/27/02        834.16     0.00          0.00         834.16         0.00       834.16          0.00   S/L       10.00
1690     COMPRESSOR                 10/03/02      1,197.52     0.00          0.00       1,197.52         0.00     1,197.52          0.00   S/L       10.00
1706     THERMOSTAT-BOILER          11/04/02        680.00     0.00          0.00         680.00         0.00       680.00          0.00   S/L       10.00
1707     BLOWER MOTOR               11/01/02        285.00     0.00          0.00         285.00         0.00       285.00          0.00   S/L       10.00
1708     COMPRESSOR-A/C HEAT UNIT 10/31/02          820.00     0.00          0.00         820.00         0.00       820.00          0.00   S/L       10.00
1709     LOCKSET-2ND FLOOR EXIT     11/11/02        513.50     0.00          0.00         513.50         0.00       513.50          0.00   S/L       10.00
1728     COMPRESSOR-UNIT 6          12/24/02      1,333.00     0.00          0.00       1,333.00         0.00     1,333.00          0.00   S/L       10.00
1758 d   WASHER MOTOR                1/09/03        827.60     0.00          0.00         827.60         0.00       827.60          0.00   S/L       10.00
1759 d   WASHER MOTOR                1/14/03      1,063.64     0.00          0.00       1,063.64         0.00     1,063.64          0.00   S/L       10.00
1760 d   KITCHEN EXHAUST FAN         1/16/03      1,033.75     0.00          0.00       1,033.75         0.00     1,033.75          0.00   S/L       10.00
1761     ROOM 601 A/C                1/24/03      1,161.00     0.00          0.00       1,161.00         0.00     1,161.00          0.00   S/L       10.00
1798     BATTERIES ON GENERATORS     4/15/03      1,797.52     0.00          0.00       1,797.52         0.00     1,797.52          0.00   S/L       10.00
1804     A/C-ROOM 617                5/08/03      1,121.00     0.00          0.00       1,121.00         0.00     1,121.00          0.00   S/L       10.00
1805     A/C-MIXING VALVE            5/13/03      3,500.00     0.00          0.00       3,500.00         0.00     3,500.00          0.00   S/L       10.00
1875     LAMP FIXTURES               7/03/03        437.14     0.00          0.00         437.14         0.00       437.14          0.00   S/L       10.00
1876     RETUBE BOILER               8/12/03      3,210.71     0.00          0.00       3,210.71         0.00     3,210.71          0.00   S/L       10.00
1882     PLUMBING CHECK VALVE        8/21/03        476.42     0.00          0.00         476.42         0.00       476.42          0.00   S/L       10.00
1942     COMPRESSORSS               11/05/03      1,864.00     0.00          0.00       1,864.00         0.00     1,864.00          0.00   S/L       10.00
1943     COVE BASE                  11/14/03        479.60     0.00          0.00         479.60         0.00       479.60          0.00   S/L       10.00
1944     WAATER HEATER              11/17/03        159.00     0.00          0.00         159.00         0.00       159.00          0.00   S/L       10.00
1945     HEATER TUBE(BOILER)        11/21/03      1,311.92     0.00          0.00       1,311.92         0.00     1,311.92          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                                Book Asset Detail         1/01/17 - 12/31/17                                                Page 15
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
1964       BOILER ROOM REPIPE        12/09/03      1,670.59    0.00          0.00       1,670.59         0.00     1,670.59          0.00   S/L       10.00
1995       PHONE LINES                1/23/04        424.00    0.00          0.00         424.00         0.00       424.00          0.00   S/L        7.00
1996       MISTING SYSTEM             1/27/04      3,500.00    0.00          0.00       3,500.00         0.00     3,500.00          0.00   S/L       10.00
2001       CARPET, INSTALLATION       4/01/04      1,629.80    0.00          0.00       1,629.80         0.00     1,629.80          0.00   S/L       10.00
2002       CONSTRUCTION SUPPLIES      4/01/04        172.80    0.00          0.00         146.88        11.52       158.40         14.40   S/L       15.00
2013       BRIDGE ASSEMBLY            2/09/04      1,333.50    0.00          0.00       1,333.50         0.00     1,333.50          0.00   S/L       10.00
2014       BOILER ROOM PUMP           2/13/04        572.13    0.00          0.00         572.13         0.00       572.13          0.00   S/L       10.00
2015       CARPET PAD/BASE            2/20/04        534.00    0.00          0.00         534.00         0.00       534.00          0.00   S/L       10.00
2016       ELEVATOR DOOR RESTRICTORS 2/24/04         740.00    0.00          0.00         740.00         0.00       740.00          0.00   S/L       10.00
2018       ELECTRICAL WORK            4/01/04        711.50    0.00          0.00         604.64        47.43       652.07         59.43   S/L       15.00
2019       ELECTRICAL WORK            4/01/04        248.50    0.00          0.00         211.27        16.57       227.84         20.66   S/L       15.00
2030       COOLING TOWER              3/22/04      1,617.57    0.00          0.00       1,617.57         0.00     1,617.57          0.00   S/L       10.00
2031       COOLING TOWER              3/22/04      1,439.09    0.00          0.00       1,439.09         0.00     1,439.09          0.00   S/L       10.00
2051       BOILER, WATER HEATER      12/10/03     12,244.00    0.00          0.00      12,244.00         0.00    12,244.00          0.00   S/L       10.00
2054       INSULATED GLASS WINDOW     4/29/04        747.67    0.00          0.00         631.31        49.84       681.15         66.52   S/L       15.00
2072       A/C-ROOM 600               6/21/04      1,198.33    0.00          0.00       1,198.33         0.00     1,198.33          0.00   S/L       10.00
2166       VINYL FLOORING            11/12/03      1,735.80    0.00          0.00       1,735.80         0.00     1,735.80          0.00   S/L       10.00
2168       WATER COOLER              11/11/04        504.00    0.00          0.00         504.00         0.00       504.00          0.00   S/L       10.00
2186       NURSE CALL SYSTEM-UNIT 3  12/31/05     20,331.80    0.00          0.00      20,331.80         0.00    20,331.80          0.00   S/L       10.00
2187       A/C REPAIRS               12/21/04      1,106.13    0.00          0.00       1,106.13         0.00     1,106.13          0.00   S/L        7.00
2188       A/C REPAIRS               12/27/04        178.75    0.00          0.00         178.75         0.00       178.75          0.00   S/L        7.00
2194       NURSE CALL SYSTEM-UNIT 2   5/01/05     10,310.78    0.00          0.00      10,310.78         0.00    10,310.78          0.00   S/L       10.00
2222       CALL SYSTEM-UNIT 2         5/01/05     10,310.77    0.00          0.00      10,310.77         0.00    10,310.77          0.00   S/L       10.00
2256       DISPOSAL & CONTROLS-KITCHEN2/23/05        662.64    0.00          0.00         662.64         0.00       662.64          0.00   S/L       10.00
2267       WOOD BLINDS                2/21/05      3,963.12    0.00          0.00       3,126.48       264.21     3,390.69        572.43   S/L       15.00
2281       WOOD BLINDS                5/01/05      3,634.78    0.00          0.00       2,827.07       242.32     3,069.39        565.39   S/L       15.00
2290       COMPRESSOR/VALVE           3/31/05      2,199.00    0.00          0.00       2,199.00         0.00     2,199.00          0.00   S/L        7.00
2314       VINYL FLOORING             3/11/05      1,343.40    0.00          0.00       1,343.40         0.00     1,343.40          0.00   S/L       10.00
2321       LIFE SAFETY SYSTEM         5/01/05      5,969.57    0.00          0.00       4,642.98       397.97     5,040.95        928.62   S/L       15.00
2339       WOOD PLANKING-FIN OFFICE   5/19/05      3,952.80    0.00          0.00       3,952.80         0.00     3,952.80          0.00   S/L       10.00
2340       COVE BASE                  5/19/05        303.50    0.00          0.00         303.50         0.00       303.50          0.00   S/L       10.00
2341       GAS WATER HEATER           5/26/05      7,746.72    0.00          0.00       7,746.72         0.00     7,746.72          0.00   S/L       10.00
2350       HEATCOOL PUMP              5/01/05      1,377.86    0.00          0.00       1,377.86         0.00     1,377.86          0.00   S/L       10.00
2356       FAN AND COIL WALL UNIT     5/04/05      2,340.00    0.00          0.00       2,340.00         0.00     2,340.00          0.00   S/L       10.00
2367   d   WALK IN COOLER             5/26/05      2,015.99    0.00          0.00       2,015.99         0.00     2,015.99          0.00   S/L       10.00
2368       2 PLUMBING CARTRIDGES      6/06/05      2,315.00    0.00          0.00       2,315.00         0.00     2,315.00          0.00   S/L       10.00
2369       GOLF CART EQUIPMENT        6/29/05        267.10    0.00          0.00         267.10         0.00       267.10          0.00   S/L        7.00
2385       MONITOR-UNIT 5             7/01/05        385.90    0.00          0.00         385.90         0.00       385.90          0.00   S/L       10.00
2386   d   JUNCTION BOX-LAUNDRY       7/05/05        138.72    0.00          0.00         138.72         0.00       138.72          0.00   S/L       10.00
2387   d   WALK-IN FREEZER            7/14/05      3,971.99    0.00          0.00       3,971.99         0.00     3,971.99          0.00   S/L       10.00
2388       TUB-UNIT 6                 7/18/05        600.00    0.00          0.00         456.67        40.00       496.67        103.33   S/L       15.00
2407       CEILING FANS               8/19/05      3,680.00    0.00          0.00       3,680.00         0.00     3,680.00          0.00   S/L       10.00
2408       CEILING FANS               8/02/05      1,022.27    0.00          0.00       1,022.27         0.00     1,022.27          0.00   S/L       10.00
2419       CARPET-UNIT 1              4/21/05        618.75    0.00          0.00         618.75         0.00       618.75          0.00   S/L       10.00
2421       BATH VINYL/TILE            3/18/05      3,250.39    0.00          0.00       3,250.39         0.00     3,250.39          0.00   S/L       10.00
2427       CUBICLE CURTAINS           1/01/07      2,928.16    0.00          0.00       2,928.16         0.00     2,928.16          0.00   S/L       10.00
2428       CUBICLE CURTAINS           1/01/07     11,378.74    0.00          0.00      11,378.74         0.00    11,378.74          0.00   S/L       10.00
2435   d   WALK-IN FREEZER IMPROV.    9/29/05      1,116.95    0.00          0.00       1,116.95         0.00     1,116.95          0.00   S/L       10.00
2436   d   WALK-IN FREEZER IMPROV.   10/04/05        867.85    0.00          0.00         867.85         0.00       867.85          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                               Book Asset Detail          1/01/17 - 12/31/17                                                Page 16
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
2439     GAS WATER HEATER           11/17/05     11,525.00     0.00          0.00      11,525.00         0.00    11,525.00          0.00   S/L       10.00
2444     WATER HEATER EXPANSION TANK12/07/05      1,231.25     0.00          0.00       1,231.25         0.00     1,231.25          0.00   S/L       10.00
2445     DRAIN CLEAN MACHINE        12/08/05      2,895.79     0.00          0.00       2,895.79         0.00     2,895.79          0.00   S/L       10.00
2455     PNEUMATIC CONTROLS          1/05/06      1,923.00     0.00          0.00       1,923.00         0.00     1,923.00          0.00   S/L       10.00
2456     PILOT TUBE                  1/16/06        379.32     0.00          0.00         379.32         0.00       379.32          0.00   S/L       10.00
2457     SINKS-UNIT 5                1/17/06        893.18     0.00          0.00         650.08        59.55       709.63        183.55   S/L       15.00
2458     SPRINKLER SYSTEM            1/20/06      3,250.00     0.00          0.00       3,250.00         0.00     3,250.00          0.00   S/L       10.00
2494     CARPET                      1/19/06        638.56     0.00          0.00         638.56         0.00       638.56          0.00   S/L       10.00
2495     CALL BUTTON BRACELETS       3/06/06        788.30     0.00          0.00         788.30         0.00       788.30          0.00   S/L       10.00
2496     AIR CONDITIONERS            3/09/06      4,513.00     0.00          0.00       4,513.00         0.00     4,513.00          0.00   S/L       10.00
2519     P-TAC UNIT-RM 618           4/17/06      1,065.68     0.00          0.00       1,065.68         0.00     1,065.68          0.00   S/L       10.00
2520     COMPRESSOR-UNIT 5           4/25/06      2,325.00     0.00          0.00       2,325.00         0.00     2,325.00          0.00   S/L       10.00
2534     CABINETS                    1/01/07        602.74     0.00          0.00         401.80        40.18       441.98        160.76   S/L       15.00
2547     GENERATOR SERVICES          5/05/06      1,280.00     0.00          0.00       1,280.00         0.00     1,280.00          0.00   S/L       10.00
2548     WATER PUMP SERVICE          5/13/06      2,386.13     0.00          0.00       2,386.13         0.00     2,386.13          0.00   S/L       10.00
2569     ROOF A/C                    1/01/07      8,979.00     0.00          0.00       8,979.00         0.00     8,979.00          0.00   S/L       10.00
2587     PAINT ROOMS                 1/01/07      1,600.00     0.00          0.00       1,600.00         0.00     1,600.00          0.00   S/L       10.00
2588     CONSTRUCTION MATERIALS      1/01/07        340.91     0.00          0.00         340.91         0.00       340.91          0.00   S/L       10.00
2598     GENERATOR SERVICES          3/31/06      1,395.00     0.00          0.00       1,395.00         0.00     1,395.00          0.00   S/L        7.00
2599     COOLING TOWER UPGRADE       5/10/06        540.00     0.00          0.00         540.00         0.00       540.00          0.00   S/L       10.00
2600     COOLING TOWER UPGRADE       5/11/06      1,905.00     0.00          0.00       1,905.00         0.00     1,905.00          0.00   S/L       10.00
2601     PUMP ASSEMBLY               5/17/06      2,484.02     0.00          0.00       2,484.02         0.00     2,484.02          0.00   S/L       10.00
2602 d   2 NORTEL PHONES             6/04/06        954.00     0.00          0.00         954.00         0.00       954.00          0.00   S/L        5.00
2603     AIR CLEANERS                6/20/06        284.86     0.00          0.00         284.86         0.00       284.86          0.00   S/L       10.00
2604     DISHWASHER SPRAYER          6/21/06      1,019.90     0.00          0.00       1,019.90         0.00     1,019.90          0.00   S/L       10.00
2622     FIRE ALARM, NURSE CALL CHANGES
                                     1/01/07      5,599.00     0.00          0.00       3,732.70       373.27     4,105.97      1,493.03   S/L       15.00
2627     SINKS, COUNTERS             1/01/07        480.47     0.00          0.00         320.30        32.03       352.33        128.14   S/L       15.00
2636     CUBICLE CURTAINS            1/01/07      2,170.82     0.00          0.00       2,170.82         0.00     2,170.82          0.00   S/L       10.00
2640     ELECTRIC SUPPLIES           1/01/07         47.77     0.00          0.00          47.77         0.00        47.77          0.00   S/L       10.00
2641     WOOD BLINDS                 1/01/07      1,422.16     0.00          0.00       1,422.16         0.00     1,422.16          0.00   S/L       10.00
2642     WOOD BLINDS                 1/01/07      3,969.60     0.00          0.00       3,969.60         0.00     3,969.60          0.00   S/L       10.00
2643     ARTWORK                     1/01/07        770.61     0.00          0.00         770.61         0.00       770.61          0.00   S/L       10.00
2651     HEAT EXCHANGER-BOILER       7/03/06      2,310.00     0.00          0.00       2,310.00         0.00     2,310.00          0.00   S/L       10.00
2652     BIEGE TRANSPONDER           7/12/06        408.90     0.00          0.00         408.90         0.00       408.90          0.00   S/L       10.00
2653     COOLING TOWER REPAIRS       7/12/06      8,400.00     0.00          0.00       8,400.00         0.00     8,400.00          0.00   S/L        7.00
2654     POWER BOOSTER-UNIT 5        7/14/06        976.40     0.00          0.00         976.40         0.00       976.40          0.00   S/L       10.00
2718     VINYL FLOORING              8/09/06        975.00     0.00          0.00         975.00         0.00       975.00          0.00   S/L       10.00
2722     A/C HEAT PUMP-UNIT 6        7/17/06      5,052.00     0.00          0.00       5,052.00         0.00     5,052.00          0.00   S/L       10.00
2723     A/C HEAT PUMP-UNIT 6        7/17/06      6,948.00     0.00          0.00       6,948.00         0.00     6,948.00          0.00   S/L       10.00
2728     INSTALL LIGHT               1/01/07         65.00     0.00          0.00          65.00         0.00        65.00          0.00   S/L       10.00
2739     FLOORING                    8/09/06      1,393.00     0.00          0.00       1,393.00         0.00     1,393.00          0.00   S/L       10.00
2740     CUBICLE CURTAINS            9/13/06      1,132.70     0.00          0.00       1,132.70         0.00     1,132.70          0.00   S/L       10.00
2752     FLOORING, UNIT 6            4/21/06      1,721.00     0.00          0.00       1,721.00         0.00     1,721.00          0.00   S/L       10.00
2753     FLOORING-BATHS              5/03/06      3,551.00     0.00          0.00       3,551.00         0.00     3,551.00          0.00   S/L       10.00
2754     FLOORING, BATHS             6/13/06        659.78     0.00          0.00         659.78         0.00       659.78          0.00   S/L       10.00
2755     2 PORTABLE A/C-STAFF DINING 9/14/06        998.00     0.00          0.00         998.00         0.00       998.00          0.00   S/L       10.00
2756     RUUD HP UNIT               10/18/06      8,400.00     0.00          0.00       8,400.00         0.00     8,400.00          0.00   S/L       10.00
2764     CARPET-VCT                  1/01/07      3,898.25     0.00          0.00       3,898.25         0.00     3,898.25          0.00   S/L       10.00
2765     CARPET-VCT                  1/01/07      3,134.20     0.00          0.00       3,134.20         0.00     3,134.20          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                             Book Asset Detail            1/01/17 - 12/31/17                                                Page 17
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
2766    FLOOR COVER                1/01/07        720.00       0.00          0.00         720.00         0.00       720.00          0.00   S/L       10.00
2767    VCT ADDITION               1/01/07      1,237.50       0.00          0.00       1,237.50         0.00     1,237.50          0.00   S/L       10.00
2781    REPLACE TOILET CONNECTIONS11/02/06        861.92       0.00          0.00         861.92         0.00       861.92          0.00   S/L       10.00
2782    REPLACE AIR COMPRESSOR    11/29/06      1,129.00       0.00          0.00       1,129.00         0.00     1,129.00          0.00   S/L       10.00
2793    TILE-BATHS                 1/01/07        679.82       0.00          0.00         679.82         0.00       679.82          0.00   S/L       10.00
2802    3 HEAT PUMPS              12/04/06      7,147.00       0.00          0.00       7,147.00         0.00     7,147.00          0.00   S/L       10.00
2803    TEMP TRANSMITTER          12/06/06      1,648.08       0.00          0.00       1,648.08         0.00     1,648.08          0.00   S/L       10.00
2804    SMOKE AREA EXHAUST SYSTEM12/08/06       2,383.00       0.00          0.00       2,383.00         0.00     2,383.00          0.00   S/L       10.00
2825    NEW TOILET                 1/01/07      1,424.29       0.00          0.00       1,424.29         0.00     1,424.29          0.00   S/L       10.00
2851    BOOSTER HEATER REPAIR      2/08/07      1,962.66       0.00          0.00       1,946.34        16.32     1,962.66          0.00   S/L       10.00
2852    SMOKE DETECTORS            2/14/07      1,146.20       0.00          0.00       1,146.20         0.00     1,146.20          0.00   S/L        7.00
2853    HEAT PUMP                  2/12/07        340.00       0.00          0.00         337.17         2.83       340.00          0.00   S/L       10.00
2854    EQ SWITCH/BLOWER FAN       2/12/07        501.00       0.00          0.00         496.83         4.17       501.00          0.00   S/L       10.00
2890    HEAT ELEMENT, CONTROL      3/08/07        702.79       0.00          0.00         691.09        11.70       702.79          0.00   S/L       10.00
2891    VULCAN STEAMER             3/09/07      2,300.24       0.00          0.00       2,261.87        38.37     2,300.24          0.00   S/L       10.00
2892    4 LAMP FIXTURES            3/19/07        431.64       0.00          0.00         420.81        10.83       431.64          0.00   S/L       10.00
2893    2 ELEVATOR PHONES          3/20/07        897.50       0.00          0.00         875.06        22.44       897.50          0.00   S/L       10.00
2894    2 NEW GENERATORS           3/20/07        795.00       0.00          0.00         795.00         0.00       795.00          0.00   S/L        5.00
2895    HEAT PUMP-2ND FLOOR        3/26/07      6,325.00       0.00          0.00       6,166.88       158.12     6,325.00          0.00   S/L       10.00
2902    ADD PLUG UNIT 2            2/28/07        249.50       0.00          0.00         163.53        16.63       180.16         69.34   S/L       15.00
2903    3 PLUGS NEAR UNIT 2        2/28/07        696.29       0.00          0.00         456.46        46.42       502.88        193.41   S/L       15.00
2904    LAMINATE FLOORING         11/01/07      4,827.46       0.00          0.00       4,425.21       402.25     4,827.46          0.00   S/L       10.00
2905    FLOORING-CENTRAL SUPPLY-HR11/01/07      1,349.24       0.00          0.00       1,236.77       112.47     1,349.24          0.00   S/L       10.00
2911    WOOD BLINDS-OFFICE        11/01/07        829.00       0.00          0.00         759.92        69.08       829.00          0.00   S/L       10.00
2924    MONITOR SYSTEM             4/12/07      3,716.00       0.00          0.00       3,716.00         0.00     3,716.00          0.00   S/L        5.00
2925    SINK REPLACEMENTS-UNIT 5   4/24/07        521.73       0.00          0.00         504.31        17.42       521.73          0.00   S/L       10.00
2955    TEMPERING VALVE            1/23/07      3,642.32       0.00          0.00       3,611.95        30.37     3,642.32          0.00   S/L       10.00
2956    CARPETING-UNIT 6           4/06/07        924.75       0.00          0.00         901.68        23.07       924.75          0.00   S/L       10.00
2957    CARPETING-UNIT 6           4/19/07        145.40       0.00          0.00         140.55         4.85       145.40          0.00   S/L       10.00
2958    FIRE SPRINKLER HEADS       4/27/07        914.36       0.00          0.00         883.92        30.44       914.36          0.00   S/L       10.00
2959    UN 5 SINK REPLACEMENTS     5/03/07        586.38       0.00          0.00         566.85        19.53       586.38          0.00   S/L       10.00
2960    UPRGRADE VOICEMAIL SYSTEM 5/12/07       1,852.50       0.00          0.00       1,852.50         0.00     1,852.50          0.00   S/L        5.00
2962    DAMPER MOTOR INSTALLED     5/23/07        524.05       0.00          0.00         502.26        21.79       524.05          0.00   S/L       10.00
2982    FREEZER CONNECTION-KITCHEN6/04/07       1,106.12       0.00          0.00       1,060.01        46.11     1,106.12          0.00   S/L       10.00
2983    2 A/C UNITS                6/08/07      4,804.00       0.00          0.00       4,603.83       200.17     4,804.00          0.00   S/L       10.00
2984    FREEZER DOOR               6/14/07      1,691.73       0.00          0.00       1,621.21        70.52     1,691.73          0.00   S/L       10.00
2986    WATER HEATER               6/21/07        229.00       0.00          0.00         217.55        11.45       229.00          0.00   S/L       10.00
2993    A/C REMODEL-BUS OFFICE    11/01/07      2,294.00       0.00          0.00       2,102.83       191.17     2,294.00          0.00   S/L       10.00
2994    A/C REMODEL-BUS OFFICE    11/01/07      2,294.00       0.00          0.00       2,102.83       191.17     2,294.00          0.00   S/L       10.00
3009    TILE & BASE                6/13/07        992.50       0.00          0.00         951.15        41.35       992.50          0.00   S/L       10.00
3010    WATER HEATER LINE REPAIRS 6/29/07       2,450.51       0.00          0.00       2,327.98       122.53     2,450.51          0.00   S/L       10.00
3012    NEW RUSSELL FAN/COIL UNIT 7/06/07       4,289.00       0.00          0.00       4,074.55       214.45     4,289.00          0.00   S/L       10.00
3013    REPAIR UNDERGROUND LEAKS 7/07/07        3,145.52       0.00          0.00       2,988.23       157.29     3,145.52          0.00   S/L       10.00
3016    WATER HEATER CIRCUIT       7/11/07      1,629.82       0.00          0.00       1,548.31        81.51     1,629.82          0.00   S/L       10.00
3017    NEW PIPE SECTION           7/23/07      1,652.69       0.00          0.00       1,556.29        96.40     1,652.69          0.00   S/L       10.00
3018    ACID & ANTI FOAM           7/26/07      3,022.50       0.00          0.00       2,846.19       176.31     3,022.50          0.00   S/L       10.00
3042    BATH VINYL                 6/19/07      2,689.34       0.00          0.00       2,554.84       134.50     2,689.34          0.00   S/L       10.00
3060    2 HEAT PUMPS               8/14/07      4,804.00       0.00          0.00       4,523.77       280.23     4,804.00          0.00   S/L       10.00
3077    SMOKE DETECTORS            9/28/07      1,184.05       0.00          0.00       1,095.29        88.76     1,184.05          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                             Book Asset Detail            1/01/17 - 12/31/17                                                Page 18
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
3078    SPRAY HEADER, NOZZLES      7/13/07      2,883.12       0.00          0.00       2,738.95       144.17     2,883.12          0.00   S/L       10.00
3079    BLOWER WHEELS              7/16/07      9,052.84       0.00          0.00       8,524.72       528.12     9,052.84          0.00   S/L       10.00
3080    TOILET REPAIR/REPLACE     10/12/07      1,697.00       0.00          0.00       1,569.73       127.27     1,697.00          0.00   S/L       10.00
3081    TEMPERING VALVE           10/15/07      2,126.21       0.00          0.00       1,966.74       159.47     2,126.21          0.00   S/L       10.00
3091    WOOD BLINDS               11/01/07        208.24       0.00          0.00         190.85        17.39       208.24          0.00   S/L       10.00
3117    VINYL TILE AND TRIM       11/01/07        643.53       0.00          0.00         589.88        53.65       643.53          0.00   S/L       10.00
3126    VINYL TILE-ROOM 300        5/15/07        645.00       0.00          0.00         623.50        21.50       645.00          0.00   S/L       10.00
3127    REBUILT A/C UNIT          12/04/07      1,494.50       0.00          0.00       1,494.50         0.00     1,494.50          0.00   S/L        7.00
3128    REBUILT A/C UNIT          12/04/07      1,965.00       0.00          0.00       1,965.00         0.00     1,965.00          0.00   S/L        7.00
3129    GAS VALVE, HOT WATER HEATER
                                  12/04/07      1,360.00       0.00          0.00       1,235.33       124.67     1,360.00          0.00   S/L       10.00
3130    REBUILT TOILET            12/12/07        963.71       0.00          0.00         875.36        88.35       963.71          0.00   S/L       10.00
3153    VALVE-WATER HEATER         1/01/08        448.29       0.00          0.00         448.29         0.00       448.29          0.00   S/L        7.00
3154    WATER LINE                 1/01/08        435.79       0.00          0.00         392.22        43.57       435.79          0.00   S/L       10.00
3155    BOILER                     1/01/08        660.70       0.00          0.00         660.70         0.00       660.70          0.00   S/L        7.00
3156    BOOSTER HEATER             1/04/08      4,650.00       0.00          0.00       4,185.00       465.00     4,650.00          0.00   S/L       10.00
3157    2 A/C WALL UNITS           1/14/08      4,804.00       0.00          0.00       4,323.60       480.40     4,804.00          0.00   S/L       10.00
3158    NEW A/C UNIT               1/25/08        565.00       0.00          0.00         503.79        56.50       560.29          4.71   S/L       10.00
3172    DUCT CLEANING              1/24/08        960.00       0.00          0.00         960.00         0.00       960.00          0.00   S/L        5.00
3173    CONSOLE UNIT               2/27/08      2,402.00       0.00          0.00       2,121.77       240.20     2,361.97         40.03   S/L       10.00
3190    HEAT SYSTEM-CONTROLS, RECEIVERS
                                   1/01/08      3,210.18       0.00          0.00       3,210.18         0.00     3,210.18          0.00   S/L        7.00
3191    WATER HEATER OF KIT.       3/12/08        299.00       0.00          0.00         299.00         0.00       299.00          0.00   S/L        7.00
3192    MOTOR IN MACHINE SHOP      3/21/08      1,286.88       0.00          0.00       1,126.04       128.69     1,254.73         32.15   S/L       10.00
3193    REBUILT CONTROL VALVES     3/26/08        660.00       0.00          0.00         577.50        66.00       643.50         16.50   S/L       10.00
3201    LOCKSET                    8/01/08        155.48       0.00          0.00          87.28        10.37        97.65         57.83   S/L       15.00
3202    PAINT                      8/01/08      1,103.69       0.00          0.00         928.95       110.37     1,039.32         64.37   S/L       10.00
3203    BLDG SUPPLIES              8/01/08        153.07       0.00          0.00          85.85        10.20        96.05         57.02   S/L       15.00
3204    PAINT SUPPLIES             8/01/08         29.93       0.00          0.00          25.17         2.99        28.16          1.77   S/L       10.00
3205    6 BATH BARS                8/01/08        348.00       0.00          0.00         195.27        23.20       218.47        129.53   S/L       15.00
3206    4 BATH BARS, LITES         8/01/08        368.07       0.00          0.00         206.54        24.54       231.08        136.99   S/L       15.00
3207    PAINT SUPPLIES             8/01/08        320.37       0.00          0.00         269.67        32.04       301.71         18.66   S/L       10.00
3220    BOILER ROOM VALVE          4/07/08        657.88       0.00          0.00         575.66        65.79       641.45         16.43   S/L       10.00
3221    6 PHONES                   4/10/08        950.00       0.00          0.00         950.00         0.00       950.00          0.00   S/L        7.00
3222    GAS VALVE-WATER HEATER     4/11/08      2,522.41       0.00          0.00       2,207.10       252.24     2,459.34         63.07   S/L       10.00
3226    FIXTURES, RECEPTACLES      8/01/08      1,185.83       0.00          0.00         665.42        79.06       744.48        441.35   S/L       15.00
3227    PT STATION                 8/01/08        450.40       0.00          0.00         252.75        30.03       282.78        167.62   S/L       15.00
3228    PAINT                      8/01/08         29.53       0.00          0.00          24.83         2.95        27.78          1.75   S/L       10.00
3229    MATERIALS, DOORS           8/01/08        590.00       0.00          0.00         331.03        39.33       370.36        219.64   S/L       15.00
3230    SHAVE DOORS                8/01/08      1,600.00       0.00          0.00         897.80       106.67     1,004.47        595.53   S/L       15.00
3242    14 SAND FIRE RST           8/01/08        211.20       0.00          0.00         118.51        14.08       132.59         78.61   S/L       15.00
3249    ELECTRICAL SUPPLIES        8/01/08        185.30       0.00          0.00         103.95        12.35       116.30         69.00   S/L       15.00
3250    REMOVE/REPLACE FIXTURES    8/01/08     15,253.00       0.00          0.00       8,558.65     1,016.87     9,575.52      5,677.48   S/L       15.00
3251    CARPET/INSTALLATION        8/01/08     10,083.00       0.00          0.00       8,486.53     1,008.30     9,494.83        588.17   S/L       10.00
3252    PAINT/REMODELING           8/01/08     10,625.00       0.00          0.00       8,942.71     1,062.50    10,005.21        619.79   S/L       10.00
3253    SASH LIFT                  8/01/08         65.11       0.00          0.00          36.53         4.34        40.87         24.24   S/L       15.00
3254    WIREMOLD/PLUGS/KNOBS       8/01/08         83.30       0.00          0.00          46.71         5.55        52.26         31.04   S/L       15.00
3255    3 OVERBED LITES            8/01/08        316.81       0.00          0.00         177.76        21.12       198.88        117.93   S/L       15.00
3256    12 FIRE RECEPTACLES        8/01/08        310.68       0.00          0.00         174.31        20.71       195.02        115.66   S/L       15.00
3257    LAMINATE ADHESIVES/SHEETS 8/01/08         375.00       0.00          0.00         210.42        25.00       235.42        139.58   S/L       15.00
3258    MOUNT LITES                8/01/08        275.00       0.00          0.00         154.28        18.33       172.61        102.39   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                              Book Asset Detail           1/01/17 - 12/31/17                                                Page 19
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
3259    TOUCH UP DOORS              8/01/08        300.00      0.00          0.00         168.33        20.00       188.33        111.67   S/L       15.00
3260    WARDROBE                    8/01/08        745.62      0.00          0.00         418.39        49.71       468.10        277.52   S/L       15.00
3281    A/C UNIT                    5/30/08      1,115.00      0.00          0.00         957.04       111.50     1,068.54         46.46   S/L       10.00
3282    A/C MOTOR/BLADE/CAPACITOR 5/30/08        2,486.35      0.00          0.00       2,134.16       248.64     2,382.80        103.55   S/L       10.00
3283    NEW OVEN                    6/10/08      1,108.50      0.00          0.00         951.46       110.85     1,062.31         46.19   S/L       10.00
3324    defrost timer, thermostat   7/28/08        871.13      0.00          0.00         733.18        87.11       820.29         50.84   S/L       10.00
3325    6 SMOKE DETECTORS, BASES    8/26/08        963.90      0.00          0.00         803.25        96.39       899.64         64.26   S/L       10.00
3331    POLE SOCKETS                8/01/08         28.55      0.00          0.00          15.99         1.90        17.89         10.66   S/L       15.00
3345    4 NORTEL PHONES             9/09/08        671.00      0.00          0.00         671.00         0.00       671.00          0.00   S/L        7.00
3369    2 HEATING BOILERS REPAIRS 10/30/08       2,799.85      0.00          0.00       2,286.58       279.99     2,566.57        233.28   S/L       10.00
3402    COOLING TOWER               1/27/09      1,831.06      0.00          0.00       1,449.62       183.11     1,632.73        198.33   S/L       10.00
3403    FIRE ALARM-AUDIO VISUAL     2/04/09     11,800.00      0.00          0.00       9,341.67     1,180.00    10,521.67      1,278.33   S/L       10.00
3426    CHILLER OIL PRESS           3/11/09      2,356.50      0.00          0.00       1,845.93       235.65     2,081.58        274.92   S/L       10.00
3427    CHILLED WATER PUMP          3/20/09      1,052.50      0.00          0.00         815.69       105.25       920.94        131.56   S/L       10.00
3428    3 WAY MIXING VALVE          3/20/09        873.20      0.00          0.00         806.84        66.36       873.20          0.00   S/L       10.00
3439    REFURBISH CHILLER CONDENSOR 3/27/09     15,078.00      0.00          0.00      11,685.45     1,507.80    13,193.25      1,884.75   S/L       10.00
3440    MINIBLINDS                  4/08/09        298.00      0.00          0.00         230.95        29.80       260.75         37.25   S/L       10.00
3441    CARPET                      4/30/09        900.00      0.00          0.00         690.00        90.00       780.00        120.00   S/L       10.00
3445    COOLING TOWER MEP           6/01/09      1,101.25      0.00          0.00         835.15       110.13       945.28        155.97   S/L       10.00
3446    COOLING TOWER INSTALL       6/01/09         10.00      0.00          0.00           7.58         1.00         8.58          1.42   S/L       10.00
3447    SURVEY COOLING TOWER        6/01/09        345.00      0.00          0.00         261.63        34.50       296.13         48.87   S/L       10.00
3456    3 HEAT PUMPS UNIT 5,6       5/21/09      7,062.00      0.00          0.00       5,355.35       706.20     6,061.55      1,000.45   S/L       10.00
3457    HEAT PUMP FOR CARRIER SYSTEM5/11/09        344.00      0.00          0.00         263.73        34.40       298.13         45.87   S/L       10.00
3461    START-UP WATER SERVICES     6/01/09      6,975.00      0.00          0.00       5,289.38       697.50     5,986.88        988.12   S/L       10.00
3474    COOLING TOWER PERMITS       4/24/09         45.32      0.00          0.00          34.73         4.53        39.26          6.06   S/L       10.00
3475    INSTALL BAC COOLING TOWER 6/01/09      114,615.00      0.00          0.00      86,916.38    11,461.50    98,377.88     16,237.12   S/L       10.00
3476    COOLING TOWER-UNIT 5,6      6/01/09     89,694.00      0.00          0.00      68,017.95     8,969.40    76,987.35     12,706.65   S/L       10.00
3483    ELEVATOR UPGRADES           7/06/09      4,837.70      0.00          0.00       2,418.83       322.51     2,741.34      2,096.36   S/L       15.00
3484    PATIO COVER                 7/31/09      6,495.00      0.00          0.00       3,211.42       433.00     3,644.42      2,850.58   S/L       15.00
3487    230 TON CHILLER             7/07/09     53,605.00      0.00          0.00      40,203.75     5,360.50    45,564.25      8,040.75   S/L       10.00
3488    PORTABLE CHILLER            6/24/09      3,457.05      0.00          0.00       2,592.82       345.71     2,938.53        518.52   S/L       10.00
3504    A/C COMPRESSOR              8/14/09      1,183.22      0.00          0.00         877.54       118.32       995.86        187.36   S/L       10.00
3505    CHILLED WATER COIL          8/18/09      4,656.57      0.00          0.00       3,414.84       465.66     3,880.50        776.07   S/L       10.00
3506    A/C PHARMACY                8/20/09        635.00      0.00          0.00         465.67        63.50       529.17        105.83   S/L       10.00
3507    GARBAGE DISPOSER-KITCHEN 8/28/09         2,695.00      0.00          0.00       1,976.33       269.50     2,245.83        449.17   S/L       10.00
3515    CHILLER RENTAL              8/19/09     16,100.00      0.00          0.00      11,806.67     1,610.00    13,416.67      2,683.33   S/L       10.00
3526    3 CLIMATEMASTER HEAT PUMPS 9/23/09       5,508.00      0.00          0.00       3,993.30       550.80     4,544.10        963.90   S/L       10.00
3531    IT SYSTEMS CABINETS-UNIT 1 12/01/10        192.88      0.00          0.00         117.35        19.29       136.64         56.24   S/L       10.00
3550    CABLE WIRE, SWITCHES       10/16/09      2,458.31      0.00          0.00       1,761.78       245.83     2,007.61        450.70   S/L       10.00
3557    CHILLER HOOK-UP            10/14/09      5,086.00      0.00          0.00       3,687.35       508.60     4,195.95        890.05   S/L       10.00
3581    CHILLER                     6/19/09    107,460.00      0.00          0.00      80,595.00    10,746.00    91,341.00     16,119.00   S/L       10.00
3582    CHILLER WATER TAP           6/19/09      4,298.00      0.00          0.00       3,223.50       429.80     3,653.30        644.70   S/L       10.00
3612    A/C DUCTWORK               11/25/09      1,016.22      0.00          0.00         719.81       101.62       821.43        194.79   S/L       10.00
3622    BLINDS-UNIT 1              12/01/10        108.49      0.00          0.00          66.00        10.85        76.85         31.64   S/L       10.00
3659    FLOOR TILE                  1/04/10         38.92      0.00          0.00          27.23         3.89        31.12          7.80   S/L       10.00
3660    STEAMCOIL W AIR HANDLER     1/29/10      2,253.00      0.00          0.00       1,558.33       225.30     1,783.63        469.37   S/L       10.00
3689    CFO A/C HEAT UPGRADE        2/12/10        661.37      0.00          0.00         457.47        66.14       523.61        137.76   S/L       10.00
3698    ROD EXTENSION-UNIT 1       12/01/10        268.53      0.00          0.00         163.34        26.85       190.19         78.34   S/L       10.00
3706    PORTABLE CORD               2/26/10      1,542.00      0.00          0.00       1,053.70       154.20     1,207.90        334.10   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                           Book Asset Detail              1/01/17 - 12/31/17                                                Page 20
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
3707     FAN                         2/26/10      660.83       0.00          0.00         451.55        66.08       517.63        143.20   S/L       10.00
3708     UPGRADED ENGINE CONTROLLER  3/19/10    3,325.00       0.00          0.00       3,206.25       118.75     3,325.00          0.00   S/L        7.00
3709     AIR COMPRESSOR              3/24/10      828.82       0.00          0.00         799.20        29.62       828.82          0.00   S/L        7.00
3751     CARPET-ROOM 406             4/30/10    1,169.00       0.00          0.00         779.33       116.90       896.23        272.77   S/L       10.00
3752     HEAT PUMP-UNIT 5 & 6        5/20/10    5,508.00       0.00          0.00       3,626.10       550.80     4,176.90      1,331.10   S/L       10.00
3753     2 TON HEAT UNIT 2H          5/27/10    5,597.00       0.00          0.00       3,684.69       559.70     4,244.39      1,352.61   S/L       10.00
3790     DOORS-UNIT 1               12/01/10   15,393.46       0.00          0.00       9,364.38     1,539.35    10,903.73      4,489.73   S/L       10.00
3791     FLOORING-UNIT 1            12/01/10   30,050.35       0.00          0.00      18,280.66     3,005.04    21,285.70      8,764.65   S/L       10.00
3792     CHILLER-UNIT 1             12/01/10   33,216.00       0.00          0.00      20,206.40     3,321.60    23,528.00      9,688.00   S/L       10.00
3793     LIGHT FIXTURES-UNIT 1      12/01/10      515.47       0.00          0.00         313.60        51.55       365.15        150.32   S/L       10.00
3795     KEYS, LOCKS-UNIT 1         12/01/10      960.06       0.00          0.00         584.06        96.01       680.07        279.99   S/L       10.00
3827     BIHL CENTER A/C REPAIR      8/27/10      576.68       0.00          0.00         521.74        54.94       576.68          0.00   S/L        7.00
3836     HEAT PUMP-UNIT 5 & 6       10/18/10    5,508.00       0.00          0.00       3,396.60       550.80     3,947.40      1,560.60   S/L       10.00
3837     BATTERIES/WATER VALVE      10/22/10    1,455.37       0.00          0.00       1,282.11       173.26     1,455.37          0.00   S/L        7.00
3852     MODEM CABLES               11/01/10       74.99       0.00          0.00          46.25         7.50        53.75         21.24   S/L       10.00
3853     CONDENSATE PUMP            11/05/10      608.38       0.00          0.00         375.18        60.84       436.02        172.36   S/L       10.00
3854     TV CABLE INSTALL           10/27/10    4,255.00       0.00          0.00       2,623.92       425.50     3,049.42      1,205.58   S/L       10.00
3855     DISHWASHER BOOSTER HEATER10/26/10        700.00       0.00          0.00         431.67        70.00       501.67        198.33   S/L       10.00
3856     LIFE SAFETY CODE LOCKSETS 10/26/10       321.49       0.00          0.00         198.26        32.15       230.41         91.08   S/L       10.00
3857     KEWANEE HEATING BOILERS 10/27/10       4,423.50       0.00          0.00       2,727.82       442.35     3,170.17      1,253.33   S/L       10.00
3858     STEAM VALVE UNIT 4         11/08/10    1,419.44       0.00          0.00         875.30       141.94     1,017.24        402.20   S/L       10.00
3882     EMERGENCY GENERATOR CONTROLLER
                                    12/20/10    1,702.50       0.00          0.00       1,021.50       170.25     1,191.75        510.75   S/L       10.00
3883     HORN/STROBE/GLASS DOOR     12/13/10    1,146.65       0.00          0.00         697.58       114.67       812.25        334.40   S/L       10.00
3889     HOT WATER SOFTENER         11/30/10      651.20       0.00          0.00         396.15        65.12       461.27        189.93   S/L       10.00
3897     HOT WATER SOFTNER           1/10/11    2,780.00       0.00          0.00       1,668.00       278.00     1,946.00        834.00   S/L       10.00
3898     UNIT 4 RECEIVER CONTROLLER 1/01/11       515.00       0.00          0.00         309.00        51.50       360.50        154.50   S/L       10.00
3913     ELEVATOR DOOR               2/07/11    5,169.00       0.00          0.00       3,058.32       516.90     3,575.22      1,593.78   S/L       10.00
3914     VCT TILE, INSTALLATION      2/17/11    1,040.75       0.00          0.00         867.30       148.68     1,015.98         24.77   S/L        7.00
3940     VALVE-RISER ROOM            3/15/11    1,385.44       0.00          0.00         808.15       138.54       946.69        438.75   S/L       10.00
3941     4 SMOKE DETECTORS           2/28/11      529.50       0.00          0.00         308.88        52.95       361.83        167.67   S/L       10.00
3965     DINING ROOM AIR HANDLER COMPRESSOR
                                     4/11/11    2,539.15       0.00          0.00       1,460.04       253.92     1,713.96        825.19   S/L       10.00
3984     COOLING TOWER COIL          5/25/11   21,844.62       0.00          0.00      12,196.57     2,184.46    14,381.03      7,463.59   S/L       10.00
3985     CHILLER ELECTRIC SWITCH     5/27/11    1,638.90       0.00          0.00         915.05       163.89     1,078.94        559.96   S/L       10.00
3986     COOLING TOWER COIL FLANGES 5/27/11       679.38       0.00          0.00         379.33        67.94       447.27        232.11   S/L       10.00
4022     UPGRADE SPRINKLER SYSTEM 7/13/11         911.90       0.00          0.00         501.55        91.19       592.74        319.16   S/L       10.00
4023     PIPE COIL IN COOLING TOWER 6/01/11     5,940.00       0.00          0.00       3,316.50       594.00     3,910.50      2,029.50   S/L       10.00
4024     BY-PASS SUPPLY/RETURN LINES 6/01/11    1,438.00       0.00          0.00         802.88       143.80       946.68        491.32   S/L       10.00
4040 d   CARPET-ROOM 201             6/21/11      866.05       0.00          0.00         680.46         0.00       680.46        185.59   S/L        7.00
4041     VINYL FLOOR ROOM 621        7/21/11    1,442.00       0.00          0.00       1,115.83       206.00     1,321.83        120.17   S/L        7.00
4042     A/C REFRIGERANT REPAIR      8/08/11    1,257.83       0.00          0.00         681.31       125.78       807.09        450.74   S/L       10.00
4085 d   CARPET-ROOMS 208, 209       8/18/11    1,028.80       0.00          0.00         783.84         0.00       783.84        244.96   S/L        7.00
4111     FIRE ALARM RENOVATIONS      9/12/11    2,637.54       0.00          0.00       1,406.67       263.75     1,670.42        967.12   S/L       10.00
4112     FIRE ALARM RENOVATIONS     10/11/11      980.40       0.00          0.00         514.71        98.04       612.75        367.65   S/L       10.00
4113     2 HEAT PUMPS UN 5 & 6      10/18/11    3,672.00       0.00          0.00       1,897.20       367.20     2,264.40      1,407.60   S/L       10.00
4137     CSCR MOTOR-AIR COMPRESSOR11/08/11        338.28       0.00          0.00         174.79        33.83       208.62        129.66   S/L       10.00
4138     BOILER-SOLID STATE FRAME 11/04/11        721.88       0.00          0.00         372.98        72.19       445.17        276.71   S/L       10.00
4139     HEAT PUMP A/C UNIT         11/16/11    3,672.00       0.00          0.00       1,866.60       367.20     2,233.80      1,438.20   S/L       10.00
4140     HEAT EXCHANGE UNIT         11/18/11      199.75       0.00          0.00         101.56        19.98       121.54         78.21   S/L       10.00
4164     HEAT EXCHANGER             11/29/11    3,363.73       0.00          0.00       1,709.88       336.37     2,046.25      1,317.48   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                             Book Asset Detail            1/01/17 - 12/31/17                                                Page 21
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
4165    TURBINE PUMP                 12/01/11       789.85     0.00          0.00         401.53        78.99       480.52        309.33   S/L       10.00
4166    ELEVATOR PARTS               12/01/11       433.00     0.00          0.00         220.11        43.30       263.41        169.59   S/L       10.00
4167    WALK-IN FREEZER KIT          12/22/11       310.43     0.00          0.00         155.20        31.04       186.24        124.19   S/L       10.00
4301    SIGNAGE                       2/22/12       643.01     0.00          0.00         310.78        64.30       375.08        267.93   S/L       10.00
4302    HOT WATER BOILER PUMP         3/12/12     1,098.90     0.00          0.00         531.14       109.89       641.03        457.87   S/L       10.00
4303    UNIT 4 FIRE SPRINKLER PIPE    3/28/12     1,391.32     0.00          0.00         660.87       139.13       800.00        591.32   S/L       10.00
4353    A/C SERVICE/REPAIR            5/29/12       587.61     0.00          0.00         269.32        58.76       328.08        259.53   S/L       10.00
4393    FIRE SPRINKLER MAIN DRAIN     7/09/12     1,177.56     0.00          0.00         529.92       117.76       647.68        529.88   S/L       10.00
4420    MAIN FIRE ALARM PANEL         7/30/12       640.00     0.00          0.00         565.33        74.67       640.00          0.00   S/L        5.00
4421    LAUNDRY A/C UNIT              8/07/12       605.97     0.00          0.00         267.65        60.60       328.25        277.72   S/L       10.00
4458    REPLACE ADMIN OFFICE A/C      9/09/12       732.07     0.00          0.00         317.24        73.21       390.45        341.62   S/L       10.00
4488    HOT WATER BOILER             10/05/12     6,356.30     0.00          0.00       2,701.43       635.63     3,337.06      3,019.24   S/L       10.00
4517    HOT WATER BOILER             10/30/12       634.40     0.00          0.00         264.33        63.44       327.77        306.63   S/L       10.00
4518    HOT WATER BOILER SERVICE 11/02/12         2,121.97     0.00          0.00         884.17       212.20     1,096.37      1,025.60   S/L       10.00
4519    BEAUTY SHOP HOT WAER HEATER  10/19/12       565.00     0.00          0.00         235.42        56.50       291.92        273.08   S/L       10.00
4520    HOT WATER TEMPERING VALVE10/24/12         1,423.06     0.00          0.00         592.96       142.31       735.27        687.79   S/L       10.00
4521    EMERGENCY GENERATOR BATTERIES11/17/12       575.96     0.00          0.00         235.20        57.60       292.80        283.16   S/L       10.00
4551    PORTABLE A/C-ROOM 408        12/18/12       529.00     0.00          0.00         211.60        52.90       264.50        264.50   S/L       10.00
4552    UN 5 DINING RM A/C COMPRESSOR11/27/12     2,402.17     0.00          0.00         980.90       240.22     1,221.12      1,181.05   S/L       10.00
4629    ROOM 629 A/C                  1/01/13     1,670.84     0.00          0.00         668.32       167.08       835.40        835.44   S/L       10.00
4630    BAC COOLING TOWER PUMP        2/05/13     1,078.85     0.00          0.00         422.56       107.89       530.45        548.40   S/L       10.00
4631    HOT WATER TEMPERING VALVE 1/23/13         2,536.39     0.00          0.00         993.42       253.64     1,247.06      1,289.33   S/L       10.00
4632    EMERGENCY GENERATOR           1/31/13       490.00     0.00          0.00         191.92        49.00       240.92        249.08   S/L       10.00
4633    CAPITAL BE ELEC MOTOR         2/11/13       402.91     0.00          0.00         157.80        40.29       198.09        204.82   S/L       10.00
4701    CHILLER CONDENSER PUMP        3/28/13       790.50     0.00          0.00         296.44        79.05       375.49        415.01   S/L       10.00
4725    A/C REPAIR-IT SERVER          4/15/13       339.78     0.00          0.00         182.02        48.54       230.56        109.22   S/L        7.00
4726    CONTROLLER FOR CHILLER        4/18/13     2,846.00     0.00          0.00       1,043.53       284.60     1,328.13      1,517.87   S/L       10.00
4727    ROOM 223 A/C UNIT, OFFICE PHONES
                                      5/08/13       634.95     0.00          0.00         232.83        63.50       296.33        338.62   S/L       10.00
4728    UNIT 2 ELEVATOR ROLLERS       4/29/13       680.97     0.00          0.00         249.70        68.10       317.80        363.17   S/L       10.00
4753    COMBUSTIBLE GAS LEAK DETECTOR 5/28/13       437.63     0.00          0.00         156.81        43.76       200.57        237.06   S/L       10.00
4754    CHILLER CONDENSOR MOTOR 6/18/13           1,159.27     0.00          0.00         405.75       115.93       521.68        637.59   S/L       10.00
4755    UNIT 2 FAMILY ROOM A/C        6/25/13       795.89     0.00          0.00         278.56        79.59       358.15        437.74   S/L       10.00
4778    STORAGE CONTAINTER            6/21/13       847.38     0.00          0.00         296.59        84.74       381.33        466.05   S/L       10.00
4779    SHAFT/BEARING-COOLING TOWER   7/11/13     5,750.00     0.00          0.00       2,012.50       575.00     2,587.50      3,162.50   S/L       10.00
4807    PUSH BARS FOR EXIT            8/15/13       474.00     0.00          0.00         161.95        47.40       209.35        264.65   S/L       10.00
4808    ENGINE CONTROL-GENERATOR 8/19/13          1,340.00     0.00          0.00         446.67       134.00       580.67        759.33   S/L       10.00
4809    PUMP-BAR COOLING TOWER        8/12/13       469.94     0.00          0.00         160.55        46.99       207.54        262.40   S/L       10.00
4846    EGRESS DEVICE/INSTALLATION 9/18/13        1,895.00     0.00          0.00         615.88       189.50       805.38      1,089.62   S/L       10.00
4847    FIRE ALARM DIALER             8/15/13       590.00     0.00          0.00         201.58        59.00       260.58        329.42   S/L       10.00
4848    UNIT 5/6 A/C HOSE             9/16/13       300.60     0.00          0.00         139.56        42.94       182.50        118.10   S/L        7.00
4917    DELAYED EGRESS DEVICES-2 EXT.10/08/13
                                         DOORS    3,790.00     0.00          0.00       1,231.75       379.00     1,610.75      2,179.25   S/L       10.00
4969    EXTERIOR MOUNTABLE MAGNETS-UNIT
                                     11/13/13 6     494.56     0.00          0.00         156.62        49.46       206.08        288.48   S/L       10.00
4970    CHAPEL COMPRESSOR REPLACMENT 11/06/13     2,173.94     0.00          0.00         688.40       217.39       905.79      1,268.15   S/L       10.00
4971    TV'S,PHONES-UNIT 4 REHAB     11/22/13       523.40     0.00          0.00         230.54        74.77       305.31        218.09   S/L        7.00
4972    CHAPE A/C BREAKER SWITCH 10/08/13         1,006.47     0.00          0.00         467.29       143.78       611.07        395.40   S/L        7.00
4974    EDELAYED EGRESS DEVICE       11/21/13     1,895.00     0.00          0.00         584.29       189.50       773.79      1,121.21   S/L       10.00
4986    HW CIRCULATOR PUMP           11/12/13       362.25     0.00          0.00         114.73        36.23       150.96        211.29   S/L       10.00
5145    DELAYED EGRESS SYSTEM-UNIT10/17/13
                                      2           1,895.00     0.00          0.00         600.08       189.50       789.58      1,105.42   S/L       10.00
5179    BUILDING EQUIPMENT           12/01/13     1,160.82     0.00          0.00         357.91       116.08       473.99        686.83   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                              Book Asset Detail           1/01/17 - 12/31/17                                                Page 22
FYE: 12/31/2017

       d                               Date In   Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
5186    RETURNED DISHWASHER         2/04/14       -323.19      0.00          0.00           0.00         0.00         0.00       -323.19   Memo       0.00
5313    BREAKER-BIHL                6/19/14      1,142.16      0.00          0.00         285.55       114.22       399.77        742.39   S/L       10.00
5314    SHOWER FAUCETS-UNIT 6       6/23/14      1,534.50      0.00          0.00         383.63       153.45       537.08        997.42   S/L       10.00
5315    SHOWER FAUCETS-UNIT 6       6/23/14        153.20      0.00          0.00          38.30        15.32        53.62         99.58   S/L       10.00
5389    ELEVATOR REPAIRS            8/28/14     15,603.00      0.00          0.00       3,640.70     1,560.30     5,201.00     10,402.00   S/L       10.00
5390    EMERGENCY LIGHT             8/13/14        600.75      0.00          0.00         145.19        60.08       205.27        395.48   S/L       10.00
5391    WATER HEATER REPAIRS        8/15/14      1,878.40      0.00          0.00         453.95       187.84       641.79      1,236.61   S/L       10.00
5392    BATTERIES-ER LIGHT FIXTURES 8/15/14        637.89      0.00          0.00         220.23        91.13       311.36        326.53   S/L        7.00
5414    6 PENDANT, DEWERT, TRT FUNCTION
                                    9/22/14      1,193.11      0.00          0.00         268.45       119.31       387.76        805.35   S/L       10.00
5415    TOP OVEN MAINTENANCE        9/18/14      1,064.17      0.00          0.00         239.44       106.42       345.86        718.31   S/L       10.00
5430    CLIMATE MASTER MODEL CONSOLE
                                   10/03/14      3,810.00      0.00          0.00         857.25       381.00     1,238.25      2,571.75   S/L       10.00
5431    CLIMATE MASTER MODEL CONSOLE
                                   10/08/14      3,810.00      0.00          0.00         857.25       381.00     1,238.25      2,571.75   S/L       10.00
5447    COOLING TOWER PUMP         10/08/14      1,394.00      0.00          0.00         313.65       139.40       453.05        940.95   S/L       10.00
5448    VENT STACK FILTER          11/20/14      1,108.08      0.00          0.00         461.71       221.62       683.33        424.75   S/L        5.00
5449    STORAGE CONTAINER          10/31/14        939.80      0.00          0.00         407.25       187.96       595.21        344.59   S/L        5.00
5473    FLOORING-UNIT #618         11/24/14        704.13      0.00          0.00         146.69        70.41       217.10        487.03   S/L       10.00
5474    FLOORING-UNIT 619/622      11/24/14        704.31      0.00          0.00         146.73        70.43       217.16        487.15   S/L       10.00
5475    FLOORING-UNIT #625         11/24/14        704.31      0.00          0.00         146.73        70.43       217.16        487.15   S/L       10.00
5476    AMANA DIGISMART HVAC       12/03/14        764.00      0.00          0.00         159.17        76.40       235.57        528.43   S/L       10.00
5477    KITCHEN EQUIPMENT          12/12/14      2,164.70      0.00          0.00         450.98       216.47       667.45      1,497.25   S/L       10.00
5579    7000 BTU PTAC-FAMILY ROOM 1/13/15          748.72      0.00          0.00         149.74        74.87       224.61        524.11   S/L       10.00
5592    BLOWER HOUSING/WHEEL        2/19/15        970.75      0.00          0.00         177.98        97.08       275.06        695.69   S/L       10.00
5625    INSTALL FIRE ALARM          4/15/15     10,610.00      0.00          0.00       1,237.83       707.33     1,945.16      8,664.84   S/L       15.00
5821    CHAPEL HANDICAP DOOR        6/15/15      1,315.00      0.00          0.00         208.21       131.50       339.71        975.29   S/L       10.00
5822    UNIT 6 SHOWER RM HVAC       6/27/15      4,750.00      0.00          0.00         712.50       475.00     1,187.50      3,562.50   S/L       10.00
5845    FLOORING/CONEXES            7/02/15     41,962.00      0.00          0.00       6,294.30     4,196.20    10,490.50     31,471.50   S/L       10.00
5846    UNIT 2 MAKE READY           7/15/15      4,650.00      0.00          0.00         697.50       465.00     1,162.50      3,487.50   S/L       10.00
5847    NURSE CALL STATIONS         7/30/15      3,050.00      0.00          0.00         432.08       305.00       737.08      2,312.92   S/L       10.00
5864    3 A/C UNITS-UNIT 5,6        8/11/15      6,060.00      0.00          0.00         858.50       606.00     1,464.50      4,595.50   S/L       10.00
5877    COMPRESSORS ON CHILLERS     8/25/15      9,850.00      0.00          0.00       1,313.33       985.00     2,298.33      7,551.67   S/L       10.00
5900    HEAT PUMP-OAKS DINING ROOM10/27/15       2,932.00      0.00          0.00         342.07       293.20       635.27      2,296.73   S/L       10.00
5927    NETWORK EQ ADDITIONS       11/13/15      1,725.00      0.00          0.00         402.50       345.00       747.50        977.50   S/L        5.00
5928    UNIT 5 & 6 A/C UNITS       11/30/15      6,060.00      0.00          0.00         656.50       606.00     1,262.50      4,797.50   S/L       10.00
5954    ELECTRIC TILING KETTLE     12/08/15      2,049.20      0.00          0.00         222.00       204.92       426.92      1,622.28   S/L       10.00
5955    REPLACE SPRINKLER SECTION 9/08/15        1,183.74      0.00          0.00         157.83       118.37       276.20        907.54   S/L       10.00
5956    CARPET 510/513/515         12/21/15      4,213.11      0.00          0.00         421.31       421.31       842.62      3,370.49   S/L       10.00
5957    CIRCUIT BOARD-FIRE ALARM PANEL
                                   12/31/15      2,725.00      0.00          0.00         389.29       389.29       778.58      1,946.42   S/L        7.00
5969    MAGLOCKS/CAMERAS INSTALL 1/08/15         1,425.86      0.00          0.00         285.18       142.59       427.77        998.09   S/L       10.00
6242    DOORS-C211                  1/29/16        741.81      0.00          0.00          68.00        74.18       142.18        599.63   S/L       10.00
6250    HANBEL RETROFIT-CIRCUIT 2   2/24/16     31,683.75      0.00          0.00       2,640.31     3,168.38     5,808.69     25,875.06   S/L       10.00
6287    UNIT 5 BATHROOM ACCESSORIES3/09/16         338.08      0.00          0.00          28.17        33.81        61.98        276.10   S/L       10.00
6288    UNIT 5 REMODEL              3/08/16        253.56      0.00          0.00          21.13        25.36        46.49        207.07   S/L       10.00
6289    CARPET-UNIT 2D              3/14/16      1,735.02      0.00          0.00         144.59       173.50       318.09      1,416.93   S/L       10.00
6290    CARPET-UNIT 2D              3/14/16      1,762.89      0.00          0.00         146.91       176.29       323.20      1,439.69   S/L       10.00
6291    HAUL OFF BUILDING MATERIAL 3/05/16         425.00      0.00          0.00          35.42        42.50        77.92        347.08   S/L       10.00
6315    HANBEL COMPRESSOR           3/29/16     10,561.25      0.00          0.00         792.09     1,056.13     1,848.22      8,713.03   S/L       10.00
6316    PAINT PROJECT #122          4/08/16        317.80      0.00          0.00          47.67        63.56       111.23        206.57   S/L        5.00
6317    SEWER DRAIN LINE            2/26/16      1,502.50      0.00          0.00         125.21       150.25       275.46      1,227.04   S/L       10.00
6318    HERITAGE MAKE READY         4/27/16         67.77      0.00          0.00           9.04        13.55        22.59         45.18   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                              03/03/2018 9:01 AM
                                                 Book Asset Detail           1/01/17 - 12/31/17                                                  Page 23
FYE: 12/31/2017

       d                               Date In   Book      Book Sec       Book Sal      Book Prior Book Current      Book          Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c       Value       Depreciation Depreciation   End Depr       Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BLDG EQUIPMENT (continued)
6335    UNDER SLAB DRAIN LINE            4/15/16          35.00   0.00          0.00           2.63         3.50           6.13         28.87   S/L       10.00
6336    UNDER SLAB DRAIN LINE            4/25/16       1,342.50   0.00          0.00          89.50       134.25         223.75      1,118.75   S/L       10.00
6337    PAINT                            5/02/16         278.00   0.00          0.00          37.07        55.60          92.67        185.33   S/L        5.00
6338    PAINT                            5/04/16         273.00   0.00          0.00          36.40        54.60          91.00        182.00   S/L        5.00
6339    REMOVE BUILDUP IN PIPE LINE 4/20/16              557.00   0.00          0.00          37.13        55.70          92.83        464.17   S/L       10.00
6340    CEILING TILES AND POLYSEAL 4/21/16             1,436.70   0.00          0.00          95.78       143.67         239.45      1,197.25   S/L       10.00
6341    POWER GENERATOR RENTALS 5/22/16                1,687.82   0.00          0.00         196.91       337.56         534.47      1,153.35   S/L        5.00
6360    CHILLER REPAIR-LIGHTNING         6/04/16         215.00   0.00          0.00          12.54        21.50          34.04        180.96   S/L       10.00
6361    ELECTRICAL-NEW GENERATOR 6/20/16              19,837.00   0.00          0.00         991.85     1,983.70       2,975.55     16,861.45   S/L       10.00
6362    GENERATOR SERVICE-LIGHTNING      6/02/16         957.65   0.00          0.00          55.86        95.77         151.63        806.02   S/L       10.00
6363    GENERATOR RENTAL                 6/14/16       1,437.74   0.00          0.00          83.87       143.77         227.64      1,210.10   S/L       10.00
6364    EXCAVATION-CONCRETE BEAM 6/29/16               1,537.50   0.00          0.00          76.88       153.75         230.63      1,306.87   S/L       10.00
6365    EXCAVATION-CONCRETE BEAM 6/29/16               1,342.00   0.00          0.00          67.10       134.20         201.30      1,140.70   S/L       10.00
6366    HANBELL COMPRESSOR               6/30/16      25,695.00   0.00          0.00       1,284.75     2,569.50       3,854.25     21,840.75   S/L       10.00
6376    GENERATOR RENTAL                 6/21/16         783.19   0.00          0.00          55.94       111.88         167.82        615.37   S/L        7.00
6377    SEWER LINE REPLACEMEN            7/26/16       4,200.00   0.00          0.00         175.00       420.00         595.00      3,605.00   S/L       10.00
6378    SEWER LINE SMOKE TEST            7/26/16         754.00   0.00          0.00          31.42        75.40         106.82        647.18   S/L       10.00
6396    REPLACE VFD ON COOLING TOWER     8/09/16       7,247.00   0.00          0.00         301.96       724.70       1,026.66      6,220.34   S/L       10.00
6397    COOLING TOWER MODULE             8/09/16       1,225.00   0.00          0.00          51.04       122.50         173.54      1,051.46   S/L       10.00
6398    COMPRESSOR OIL, FILTER           8/23/16       1,275.00   0.00          0.00          42.50       127.50         170.00      1,105.00   S/L       10.00
6410    3 HEAT PUMPS-UNITS 5,6           1/01/16       6,060.00   0.00          0.00         606.00       606.00       1,212.00      4,848.00   S/L       10.00
6438    HEATING/COOLING UNIT            10/28/16       2,370.00   0.00          0.00          39.50       237.00         276.50      2,093.50   S/L       10.00
6461    PART REPLACEMENT-UPGRADE 11/17/16              1,220.94   0.00          0.00          10.17       122.09         132.26      1,088.68   S/L       10.00
6476    HOT WATER BOILER                12/20/16      27,213.77   0.00          0.00           0.00     2,721.38       2,721.38     24,492.39   S/L       10.00
6477    ELECTRONIC DOOR EDGE            12/28/16       1,220.94   0.00          0.00           0.00       122.09         122.09      1,098.85   S/L       10.00
6503    LAUNDRY BOILER                   2/24/16      27,415.00   0.00          0.00       2,284.58     2,741.50       5,026.08     22,388.92   S/L       10.00
6536    3 SHORTED OUT CT TRANSFORMERS    3/06/17
                                              REPLACEMENT
                                                       1,761.48   0.00c         0.00           0.00       146.79         146.79      1,614.69   S/L       10.00
6537    FIRE ALARM SYSTEM REPAIR         3/09/17       1,693.44   0.00c         0.00           0.00       141.12         141.12      1,552.32   S/L       10.00
6538    HVAC UNIT FOR OAKS MED ROOM      3/16/17       2,370.00   0.00c         0.00           0.00       177.75         177.75      2,192.25   S/L       10.00
6539    HVAC=SPLIT SYSTEM COOLIN UNIT    3/27/17       1,600.00   0.00c         0.00           0.00       120.00         120.00      1,480.00   S/L       10.00
6568    GENERATOR REPAIR,CONTROL BOARD   2/03/17 REPLACEMENT
                                                       2,246.51   0.00c         0.00           0.00       205.93         205.93      2,040.58   S/L       10.00
6591    BUFFER TANK-MECHANICAL ROOM      2/23/17      10,283.28   0.00c         0.00           0.00       856.94         856.94      9,426.34   S/L       10.00
6592    COOLING TOWER REPLACEMENTS       5/21/17       2,061.36   0.00c         0.00           0.00       120.25         120.25      1,941.11   S/L       10.00
6646    ELEVATOR PHONE UPGRADE           9/21/17       1,121.40   0.00c         0.00           0.00        28.04          28.04      1,093.36   S/L       10.00
   EH-BLDG EQUIPMENT                               1,962,568.58   0.00c         0.00   1,379,341.81   120,534.64   1,499,876.45    462,692.13
                *Less: Dispositions and Transfers     34,804.47   0.00          0.00      33,991.46         0.00      33,991.46        813.01
                    Net EH-BLDG EQUIPMENT 1,927,764.11            0.00c         0.00   1,345,350.35   120,534.64   1,465,884.99    461,879.12

   Group: EH-BUILDING(CHAPEL)
1458     CHAPEL CONSTRUCTION             5/01/01    476,633.62    0.00          0.00     191,468.13    12,221.37    203,689.50     272,944.12   S/L       39.00
1459     ENGINEERING, DESIGN, PLANS      5/01/01     35,513.66    0.00          0.00      14,266.22       910.61     15,176.83      20,336.83   S/L       39.00
1460     MISC. PARTS, CONST.             5/01/01      3,341.91    0.00          0.00       1,342.48        85.69      1,428.17       1,913.74   S/L       39.00
1461     6 WALL LANTERNS, 7 HANGING     LATERNS
                                         5/01/01      6,068.00    0.00          0.00       4,753.27       303.40      5,056.67       1,011.33   S/L       20.00
1462     100 CHAIRS                      5/01/01     13,913.33    0.00          0.00      13,913.33         0.00     13,913.33           0.00   S/L       10.00
1463     SOUND EQUIPMENT, SYSTEM         5/01/01     21,666.00    0.00          0.00      21,666.00         0.00     21,666.00           0.00   S/L       10.00
1464     STAINED GLASS WINDOWS           5/01/01     30,200.00    0.00          0.00      12,131.64       774.36     12,906.00      17,294.00   S/L       39.00
1465     STAINED GLASS WINDOWS           5/01/01      3,939.19    0.00          0.00       1,582.34       101.00      1,683.34       2,255.85   S/L       39.00
1466     88 KEY ORGAN                    5/01/01      2,125.00    0.00          0.00       2,125.00         0.00      2,125.00           0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                              Book Asset Detail            1/01/17 - 12/31/17                                                Page 24
FYE: 12/31/2017

       d                               Date In    Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BUILDING(CHAPEL) (continued)
1467     LIGHT FIXTURES              5/01/01     10,484.02      0.00          0.00       8,212.47       524.20     8,736.67      1,747.35   S/L       20.00
1468     SIDEWALK, CONCRETE WORK 5/01/01         13,682.50      0.00          0.00      10,718.03       684.13    11,402.16      2,280.34   S/L       20.00
1469     STEEL CROSS                 5/01/01        725.00      0.00          0.00         567.92        36.25       604.17        120.83   S/L       20.00
1470     LANDSCAPING                 5/01/01      2,652.00      0.00          0.00       2,077.40       132.60     2,210.00        442.00   S/L       20.00
1471     ELECTRICAL WORK             5/01/01      4,224.40      0.00          0.00       1,697.01       108.32     1,805.33      2,419.07   S/L       39.00
1472     DESK & CREDENZA             5/01/01      1,535.00      0.00          0.00       1,535.00         0.00     1,535.00          0.00   S/L       10.00
1473     FIRE EXTINGUISHERS, CABINET 5/01/01        632.17      0.00          0.00         632.17         0.00       632.17          0.00   S/L       15.00
1474     MIRRORS                     5/01/01        178.30      0.00          0.00         178.30         0.00       178.30          0.00   S/L       10.00
1475     INSTALL TELEPHONES          5/01/01        588.18      0.00          0.00         588.18         0.00       588.18          0.00   S/L       15.00
1476     FIRE ALARM SYSTEM           5/01/01      1,651.04      0.00          0.00       1,293.28        82.55     1,375.83        275.21   S/L       20.00
1495     VINYL FLOOR COVERING        5/15/01        210.00      0.00          0.00         210.00         0.00       210.00          0.00   S/L       10.00
1496     CROSS, COMMUNION TABLE, CHAIRS,
                                     6/12/01ETC.  5,075.00      0.00          0.00       5,075.00         0.00     5,075.00          0.00   S/L       10.00
1497     FLAG SET                    5/25/01        353.70      0.00          0.00         353.70         0.00       353.70          0.00   S/L       10.00
1498     GLASS ON COLLAGE            6/09/01        342.75      0.00          0.00         267.10        17.14       284.24         58.51   S/L       20.00
1499     COMMUNION TRAY, LAMPS       6/06/01        750.57      0.00          0.00         750.57         0.00       750.57          0.00   S/L       10.00
1500     DVD PLAYER                  5/31/01        184.88      0.00          0.00         184.88         0.00       184.88          0.00   S/L       10.00
1501     MINI BLINDS                 5/30/01         75.00      0.00          0.00          75.00         0.00        75.00          0.00   S/L       15.00
1502     MULTI OPENING DISPLAY PICTURE
                                     5/30/01      1,226.26      0.00          0.00       1,226.26         0.00     1,226.26          0.00   S/L       15.00
1503     ADJUSTABLE CART             6/01/01        149.99      0.00          0.00         149.99         0.00       149.99          0.00   S/L       10.00
1517     PARK BENCH                  6/01/01        239.18      0.00          0.00         239.18         0.00       239.18          0.00   S/L       10.00
1518     RECESSED LIGHT FIXTURE      5/31/01        351.16      0.00          0.00         273.64        17.56       291.20         59.96   S/L       20.00
1519     MISC. SIGNAGE               5/31/01        554.48      0.00          0.00         554.48         0.00       554.48          0.00   S/L       15.00
1536     CANDLESTICKS                7/25/01        275.00      0.00          0.00         275.00         0.00       275.00          0.00   S/L       10.00
1537     BOOKSTAND                   7/29/01        175.00      0.00          0.00         175.00         0.00       175.00          0.00   S/L       10.00
1570     GUTTER-CHAPEL               9/07/01        163.35      0.00          0.00         163.35         0.00       163.35          0.00   S/L       10.00
1628     ALTAR SUPPLIES              2/07/02      1,753.50      0.00          0.00       1,753.50         0.00     1,753.50          0.00   S/L       10.00
1893     OAK TABLE                   5/20/03        375.00      0.00          0.00         375.00         0.00       375.00          0.00   S/L       10.00
2694     CHAPEL SUPPLIES             7/31/06        479.36      0.00          0.00         479.36         0.00       479.36          0.00   S/L       10.00
3387     SOUND SYSTEM UPGRADE       12/11/08      2,873.02      0.00          0.00       2,322.34       287.30     2,609.64        263.38   S/L       10.00
3388     SPEAKER INSTALLATION       12/20/08      1,086.00      0.00          0.00         868.80       108.60       977.40        108.60   S/L       10.00
4187     A/C, HEATER REPAIR          1/04/12        694.54      0.00          0.00         347.25        69.45       416.70        277.84   S/L       10.00
4304     GAS VALVE REPLACEMENT-CHAPEL1/18/12        990.98      0.00          0.00         487.24        99.10       586.34        404.64   S/L       10.00
4634     CHAPEL A/C SERVICE          1/01/13        415.49      0.00          0.00         166.20        41.55       207.75        207.74   S/L       10.00
4635     CHAPEL CEILING REPAIR       2/26/13      2,900.00      0.00          0.00       1,111.67       290.00     1,401.67      1,498.33   S/L       10.00
4661     CHAPEL A/C THERMOSTAT       3/20/13        564.78      0.00          0.00         211.80        56.48       268.28        296.50   S/L       10.00
5478     CHAPEL CHANNEL BROADCAST 12/04/14
                                     FIBER        1,500.00      0.00          0.00         312.50       150.00       462.50      1,037.50   S/L       10.00
6521     SOUND SYSTEM LOOP           2/07/17      1,558.89      0.00c         0.00           0.00       142.90       142.90      1,415.99   S/L       10.00
6522     STONE MATERIALS             2/27/17        188.85      0.00c         0.00           0.00        15.74        15.74        173.11   S/L       10.00
6523     STONE MATERIALS             2/27/17      2,540.56      0.00c         0.00           0.00       211.71       211.71      2,328.85   S/L       10.00
6540     10 GALLONS CHAPEL PAINT     3/01/17        355.70      0.00c         0.00           0.00        59.28        59.28        296.42   S/L        5.00
6541     PAINT FOR CHAPEL RESTORATION3/20/17        414.45      0.00c         0.00           0.00        62.17        62.17        352.28   S/L        5.00
6542     MUD AND POPCORN CEILING TEXTURE
                                     3/13/17         50.62      0.00c         0.00           0.00         4.22         4.22         46.40   S/L       10.00
6543     LABOR FOR STONE WORK        3/21/17      3,818.93      0.00c         0.00           0.00       190.95       190.95      3,627.98   S/L       15.00
6544     HVAC DUCT CLEANING-CHAPEL 3/09/17        1,912.50      0.00c         0.00           0.00       159.38       159.38      1,753.12   S/L       10.00
6545     PAINT FOR CHAPEL RESTORATION3/13/17        138.15      0.00c         0.00           0.00        23.03        23.03        115.12   S/L        5.00
6546     CHAPEL ENTRANCE FLOORING 3/21/17         1,238.44      0.00c         0.00           0.00        92.88        92.88      1,145.56   S/L       10.00
6547     BATHROOM TILE INSTALL       3/21/17      2,846.70      0.00c         0.00           0.00       213.50       213.50      2,633.20   S/L       10.00
6548     2 FAUCETS FOR CHAPEL REMODEL3/23/17        159.60      0.00c         0.00           0.00        11.97        11.97        147.63   S/L       10.00
6549     LIFT RENTAL FOR CEILING CLEANING,PAINTING
                                     3/10/17        512.46      0.00c         0.00           0.00        85.41        85.41        427.05   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                               Book Asset Detail           1/01/17 - 12/31/17                                                Page 25
FYE: 12/31/2017

       d                               Date In    Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-BUILDING(CHAPEL) (continued)
6550    HEARING LOOP SYSTEM          3/29/17      4,676.67      0.00c         0.00           0.00       350.75       350.75      4,325.92 S/L         10.00
6569    CHAPEL CARPET/TILE           2/11/07     17,991.89      0.00          0.00           0.00     1,799.19     1,799.19     16,192.70 S/L         10.00
6627    RESTROOM COUNTERTOP          8/01/17      1,952.94      0.00c         0.00           0.00        54.25        54.25      1,898.69 S/L         15.00
   EH-BUILDING(CHAPEL)                          693,869.66      0.00c         0.00     309,156.98    20,578.99   329,735.97    364,133.69

   Group: EH-CHAPEL FURNISHINGS
3859     SOUND SYSTEM-CHAPEL      11/16/10        2,944.94      0.00          0.00       1,791.48       294.49     2,085.97        858.97   S/L       10.00
3942     HEARING ASSIST SYSTEMT    3/07/11        1,422.30      0.00          0.00         829.68       142.23       971.91        450.39   S/L       10.00
4522     AUDIO SYSTEM-CHAPEL      10/22/12        3,446.43      0.00          0.00       1,436.00       344.64     1,780.64      1,665.79   S/L       10.00
4523     MONITOR CONTROL-CAMERA 11/09/12            187.50      0.00          0.00          78.13        18.75        96.88         90.62   S/L       10.00
4625     TO RECONCILE-            12/31/12          799.76      0.00          0.00           0.00         0.00         0.00        799.76   Memo       0.00
4628     TO RECONCILE             12/31/12          205.56      0.00          0.00           0.00         0.00         0.00        205.56   Memo       0.00
6570     CHAPEL-MEN'S BATHROOM DECOR
                                   3/25/17          140.70      0.00c         0.00           0.00        10.55        10.55        130.15   S/L       10.00
   EH-CHAPEL FURNISHINGS                          9,147.19      0.00c         0.00       4,135.29       810.66     4,945.95      4,201.24

   Group: EH-COMPUTER SYSTEM
1238 d WIRING, SMALL TOOLS-COMPUTER 5/19/99       2,787.99      0.00          0.00       2,787.99         0.00     2,787.99          0.00   S/L       15.00
1253 d HP SCANNER                  12/01/99         460.00      0.00          0.00         460.00         0.00       460.00          0.00   S/L        5.00
1304 d DESKJET PRINTER              7/03/00          89.99      0.00          0.00          89.99         0.00        89.99          0.00   S/L        5.00
1311     TRAVERSE & CRYSTAL REPORTS 5/10/00
                                     SOFTWARE     5,100.00      0.00          0.00       5,100.00         0.00     5,100.00          0.00   S/L        5.00
1318     MICROSOFT LICENSE          6/15/00         270.00      0.00          0.00         270.00         0.00       270.00          0.00   S/L        5.00
1323 d PAYROLL TROUBLESHOOTING 6/29/00              100.00      0.00          0.00         100.00         0.00       100.00          0.00   S/L        5.00
1324 d PROGRAM CODING AND TESTING6/29/00          2,700.00      0.00          0.00       2,700.00         0.00     2,700.00          0.00   S/L        5.00
1351 d 2 DESKJET PRINTERS           7/03/00         229.98      0.00          0.00         229.98         0.00       229.98          0.00   S/L        5.00
1353 d HARD DRIVE, MEMORY           7/17/00         567.00      0.00          0.00         567.00         0.00       567.00          0.00   S/L        5.00
1354 d DATA FILE INITIALIZATION     7/10/00       1,600.00      0.00          0.00       1,600.00         0.00     1,600.00          0.00   S/L        5.00
1392 d PAYROLL ENHANCEMENTS         7/25/00          50.00      0.00          0.00          50.00         0.00        50.00          0.00   S/L        5.00
1395 d PAYROLL INSTALLATION-ET     10/17/00       1,014.00      0.00          0.00       1,014.00         0.00     1,014.00          0.00   S/L        5.00
1396 d NETWORK INSTALLATION         9/17/00       1,155.00      0.00          0.00       1,155.00         0.00     1,155.00          0.00   S/L        5.00
1397 d PAYROLL INSTALLATION        11/18/00         200.00      0.00          0.00         200.00         0.00       200.00          0.00   S/L        5.00
1398 d 2 DESKJET PRINTERS          12/07/00         139.86      0.00          0.00         139.86         0.00       139.86          0.00   S/L        5.00
1447 d DELL COMPUTER                1/10/01       2,450.00      0.00          0.00       2,450.00         0.00     2,450.00          0.00   S/L        5.00
1448     DRUG INTERACTION SUPPORT UPDATE
                                    1/01/01         950.00      0.00          0.00         950.00         0.00       950.00          0.00   Amort      5.00
1449     SOFTWARE MODIFICATIONS-PAYROLL
                                    1/15/01       1,437.50      0.00          0.00       1,437.50         0.00     1,437.50          0.00   S/L        5.00
1450     HP 4050 PRINTER            2/06/01       1,135.77      0.00          0.00       1,135.77         0.00     1,135.77          0.00   S/L        5.00
1451     HP 4050 PRINTER            2/06/01       1,199.98      0.00          0.00       1,199.98         0.00     1,199.98          0.00   S/L        5.00
1453     TRAINING-MEDICAL RECORDS 2/28/01         1,774.51      0.00          0.00       1,774.51         0.00     1,774.51          0.00   S/L        5.00
1454     PROGRAM TESTING AND CODING3/21/01        2,477.01      0.00          0.00       2,477.01         0.00     2,477.01          0.00   S/L        5.00
1455 d TELEPHONE SUPPORT            3/31/01         154.46      0.00          0.00         154.46         0.00       154.46          0.00   S/L        5.00
1456 d REFIT NETWORK CARDS          4/06/01         245.00      0.00          0.00         245.00         0.00       245.00          0.00   S/L        5.00
1457 d TEST SYSTEM                  1/19/01         820.00      0.00          0.00         820.00         0.00       820.00          0.00   S/L        5.00
1564 d SYMBOL PALM UNIT            10/01/01         580.00      0.00          0.00         580.00         0.00       580.00          0.00   S/L        5.00
1583 d EXEC NT W/2K SERVER         12/19/01         510.00      0.00          0.00         510.00         0.00       510.00          0.00   S/L        5.00
1584 d PAYROLL LINK TO ADP         12/12/01       1,508.74      0.00          0.00       1,508.74         0.00     1,508.74          0.00   S/L        5.00
1594 d HP LJ4100 PRINTER            1/15/02       1,127.58      0.00          0.00       1,127.58         0.00     1,127.58          0.00   S/L        5.00
1595 d DELL GX240 COMPUTER SYSTEM 1/13/02           985.00      0.00          0.00         985.00         0.00       985.00          0.00   S/L        5.00
1624 d KRONOS BRIDGE TO ADP         1/30/02         750.00      0.00          0.00         750.00         0.00       750.00          0.00   S/L        5.00
1625 d MODEM                        2/19/02         343.72      0.00          0.00         343.72         0.00       343.72          0.00   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                                Book Asset Detail         1/01/17 - 12/31/17                                                Page 26
FYE: 12/31/2017

       d                               Date In  Book      Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-COMPUTER SYSTEM (continued)
1626   d   KRONOS BRIDGE TO ADP       2/19/02        375.00    0.00          0.00         375.00         0.00       375.00          0.00   S/L        5.00
1627   d   DESKJET 960 PRINTER        3/15/02        279.97    0.00          0.00         279.97         0.00       279.97          0.00   S/L        5.00
1663   d   UPGRADE, INTERFACE W/ADP   6/18/02     10,405.00    0.00          0.00      10,405.00         0.00    10,405.00          0.00   S/L        5.00
1664   d   SYSTEM TRAINING            7/12/02        950.00    0.00          0.00         950.00         0.00       950.00          0.00   S/L        5.00
1665   d   EQUIP SWITCH FOR UPGRADE   7/17/02        104.25    0.00          0.00         104.25         0.00       104.25          0.00   S/L        5.00
1666   d   EQUIP FOR UPGRADE          7/25/02        447.47    0.00          0.00         447.47         0.00       447.47          0.00   S/L        5.00
1667   d   INTEL SYSTEM-INTERFACE     7/23/02      1,202.00    0.00          0.00       1,202.00         0.00     1,202.00          0.00   S/L        5.00
1668   d   BATTERY UPGRADE            7/30/02        169.99    0.00          0.00         169.99         0.00       169.99          0.00   S/L        5.00
1680   d   NETWORK SWITCHES           8/09/02        399.00    0.00          0.00         399.00         0.00       399.00          0.00   S/L        5.00
1688   d   NETWORK INTERFACE          9/24/02        124.75    0.00          0.00         124.75         0.00       124.75          0.00   S/L        5.00
1703       SOFTWARE MAINT, DRUG DATABASE
                                     10/25/02        656.00    0.00          0.00         656.00         0.00       656.00          0.00   S/L        5.00
1704   d   SOFTWARE MAINT. FEE       10/25/02        192.00    0.00          0.00         192.00         0.00       192.00          0.00   S/L        5.00
1705   d   NETWORK PRINTER           10/20/02      1,503.93    0.00          0.00       1,503.93         0.00     1,503.93          0.00   S/L        5.00
1725   d   NETCABLE                  11/01/02      2,000.00    0.00          0.00       2,000.00         0.00     2,000.00          0.00   S/L        5.00
1726   d   MODEM                     11/12/02         93.42    0.00          0.00          93.42         0.00        93.42          0.00   S/L        5.00
1727   d   SOFTWARE TRAINING         11/15/02      1,316.91    0.00          0.00       1,316.91         0.00     1,316.91          0.00   S/L        5.00
1755       SOFTWARE LICENSES         12/13/02      3,966.00    0.00          0.00       3,966.00         0.00     3,966.00          0.00   S/L        5.00
1756       ACCOUNTING SOFTWARE ALLOC,12/12/02        350.00    0.00          0.00         350.00         0.00       350.00          0.00   S/L        5.00
1762       COMPUTER TRAINING SOFTWARE1/28/03       1,167.33    0.00          0.00       1,167.33         0.00     1,167.33          0.00   S/L        5.00
1763       COMPUTER TRAINING SOFTWARE1/28/03         287.00    0.00          0.00         287.00         0.00       287.00          0.00   S/L        5.00
1829       TRUST FUNDS SOFTWARE       6/10/03        287.00    0.00          0.00         287.00         0.00       287.00          0.00   S/L        5.00
1840   d   DELL HARDWARE              7/30/03      1,070.00    0.00          0.00       1,070.00         0.00     1,070.00          0.00   S/L        5.00
1841       SOFTWARE                   7/31/03      2,157.00    0.00          0.00       2,157.00         0.00     2,157.00          0.00   S/L        5.00
1877       SOFTWARE-AMERICAN HEALTHTECH
                                     11/14/02     56,011.00    0.00          0.00      56,011.00         0.00    56,011.00          0.00   S/L        3.00
1914   d   PRINTER                   10/20/03        189.60    0.00          0.00         189.60         0.00       189.60          0.00   S/L        5.00
1946   d   10 DELL COMPUTERS         11/01/03      9,589.00    0.00          0.00       9,589.00         0.00     9,589.00          0.00   S/L        5.00
1947   d   DELL 3200MP PROJECTOR     11/01/03      2,000.00    0.00          0.00       2,000.00         0.00     2,000.00          0.00   S/L        5.00
1948   d   WINDOWS XP SOFTWARE       11/01/03        414.67    0.00          0.00         414.67         0.00       414.67          0.00   S/L        3.00
1949   d   3 DELL LATITUDE NOTEBOOKS 11/01/03      6,046.95    0.00          0.00       6,046.95         0.00     6,046.95          0.00   S/L        5.00
1950   d   COMPUTER DOC. FEE         11/01/03         87.40    0.00          0.00          87.40         0.00        87.40          0.00   S/L        5.00
1965   d   3 NOTEBOOK SECURITY KITS 11/12/03         406.22    0.00          0.00         406.22         0.00       406.22          0.00   S/L        5.00
1966   d   TIMECLOCK BADGING SOFTWARE11/05/03      8,320.00    0.00          0.00       8,320.00         0.00     8,320.00          0.00   S/L        3.00
1984   d   POWER EDGE FILE SERVERS    8/31/03      6,275.00    0.00          0.00       6,275.00         0.00     6,275.00          0.00   S/L        5.00
1985   d   5 OPTIPLEX GX260D COMPUTERS8/31/03      4,810.00    0.00          0.00       4,810.00         0.00     4,810.00          0.00   S/L        5.00
1986   d   OPTIPLEX GX260T COMPUTER 8/31/03        1,649.00    0.00          0.00       1,649.00         0.00     1,649.00          0.00   S/L        5.00
1987       LTC SOFTWARE               8/31/03      3,917.00    0.00          0.00       3,917.00         0.00     3,917.00          0.00   S/L        3.00
1988       DATA COLLECTION TERMINAL 8/31/03        2,206.00    0.00          0.00       2,206.00         0.00     2,206.00          0.00   S/L        5.00
1989   d   13 OPTIPLEX GX260D COMPUTERS
                                      8/31/03     12,942.39    0.00          0.00      12,942.39         0.00    12,942.39          0.00   S/L        5.00
1991       CHARITY WINDOWS SOFTWARE 8/31/03        2,474.62    0.00          0.00       2,474.62         0.00     2,474.62          0.00   S/L        3.00
1992       CABLE INSTALLATION-COMPUTERS
                                      8/31/03      5,844.20    0.00          0.00       5,844.20         0.00     5,844.20          0.00   S/L        5.00
1997   d   INTERNET COMPUTER INSTALLATION
                                      1/14/04        300.00    0.00          0.00         300.00         0.00       300.00          0.00   S/L        5.00
2100   d   COMPUTER UPGRADE           8/02/04        340.80    0.00          0.00         340.80         0.00       340.80          0.00   S/L        5.00
2207       FLAT SCREENS               1/01/05      1,175.00    0.00          0.00       1,175.00         0.00     1,175.00          0.00   S/L        5.00
2208       COMPUTER                   1/01/05        920.15    0.00          0.00         920.15         0.00       920.15          0.00   S/L        5.00
2257   d   FILE SERVER                1/16/05      2,463.80    0.00          0.00       2,463.80         0.00     2,463.80          0.00   S/L        5.00
2258       WINDOWS, SERVER            1/18/05        499.45    0.00          0.00         499.45         0.00       499.45          0.00   S/L        5.00
2259       3 FLAT MONITORS            1/17/05        699.00    0.00          0.00         699.00         0.00       699.00          0.00   S/L        5.00
2315       COMPUTER CART              4/19/05        152.99    0.00          0.00         152.99         0.00       152.99          0.00   S/L       10.00
2342   d   SOFTWARE                   3/29/05        253.99    0.00          0.00         253.99         0.00       253.99          0.00   S/L        3.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                            Book Asset Detail             1/01/17 - 12/31/17                                                Page 27
FYE: 12/31/2017

       d                               Date In  Book      Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-COMPUTER SYSTEM (continued)
2370   d   BADGE PRINTER              6/04/05    2,595.82      0.00          0.00       2,595.82         0.00     2,595.82          0.00   S/L        5.00
2389   d   COMPUTER-LATITUDE          6/26/05    2,075.00      0.00          0.00       2,075.00         0.00     2,075.00          0.00   S/L        5.00
2459   d   2 PRINTERS                 1/01/06      349.98      0.00          0.00         349.98         0.00       349.98          0.00   S/L        5.00
2497   d   MONITOR, DOCKING STATION 2/02/06        405.64      0.00          0.00         405.64         0.00       405.64          0.00   S/L        5.00
2498       LAPTOP                     2/08/06    1,669.00      0.00          0.00       1,669.00         0.00     1,669.00          0.00   S/L        5.00
2499   d   EXTERNAL DRIVE             2/28/06      279.99      0.00          0.00         279.99         0.00       279.99          0.00   S/L        5.00
2655   d   DELL LATITUDE COMPUTER     6/08/06    1,719.00      0.00          0.00       1,719.00         0.00     1,719.00          0.00   S/L        5.00
2678   d   CABLING FOR COMPUTERS      1/01/07      795.00      0.00          0.00         795.00         0.00       795.00          0.00   S/L        5.00
2679       COMPUTER EXTENSIONS        1/01/07      120.00      0.00          0.00         120.00         0.00       120.00          0.00   S/L        5.00
2683       CABLING-PRIVATE NETWORK    1/01/07      365.97      0.00          0.00         365.97         0.00       365.97          0.00   S/L        5.00
2724       PROJECTOR                  7/17/06    2,399.20      0.00          0.00       2,399.20         0.00     2,399.20          0.00   S/L        5.00
2725       CEILING MOUNT KIT          7/12/06      119.20      0.00          0.00         119.20         0.00       119.20          0.00   S/L        5.00
2805       COMPUTER CONNECTIONS      11/30/06      467.57      0.00          0.00         467.57         0.00       467.57          0.00   S/L        5.00
2855       SMART UPS                  1/22/07      459.00      0.00          0.00         459.00         0.00       459.00          0.00   S/L        5.00
2910       NETWORK/PHONES/MODEM      11/01/07    1,050.50      0.00          0.00       1,050.50         0.00     1,050.50          0.00   S/L        5.00
2926       COMPUTER SYSTEM            3/02/07    2,011.00      0.00          0.00       2,011.00         0.00     2,011.00          0.00   S/L        5.00
2927       SERVER DRIVE, PROCESSOR    4/09/07    3,199.00      0.00          0.00       3,199.00         0.00     3,199.00          0.00   S/L        5.00
2942   d   MOVE PHONES AND MODEMS 11/01/07         162.50      0.00          0.00         162.50         0.00       162.50          0.00   S/L        5.00
2943   d   MOVE PHONES AND MODEMS-HOLLY
                                     11/01/07       65.00      0.00          0.00          65.00         0.00        65.00          0.00   S/L        5.00
2974   d   MODEM-RILEY               11/01/07       71.95      0.00          0.00          71.95         0.00        71.95          0.00   S/L        5.00
3111       RACK SHELF                10/02/07      184.99      0.00          0.00         171.12        13.87       184.99          0.00   S/L       10.00
3150   d   SOFTWARE-GRAYBAR LEASE 10/01/07      26,503.00      0.00          0.00      26,503.00         0.00    26,503.00          0.00   S/L        5.00
3151   d   COMPUTER EQUIPMENT-GRAYBAR10/01/07   41,379.80      0.00          0.00      41,379.80         0.00    41,379.80          0.00   S/L        5.00
3159       2 FILE CABINETS            1/01/08      759.98      0.00          0.00         684.00        75.98       759.98          0.00   S/L       10.00
3174       CPU STANDS                 2/26/08      314.79      0.00          0.00         278.07        31.48       309.55          5.24   S/L       10.00
3175       MEMORY MODULES             2/28/08      629.70      0.00          0.00         629.70         0.00       629.70          0.00   S/L        5.00
3194       2 COMPUTER SYSTEMS         2/24/08    3,292.00      0.00          0.00       3,292.00         0.00     3,292.00          0.00   S/L        5.00
3304       COMPUTER(JULY)             6/30/08      945.00      0.00          0.00         945.00         0.00       945.00          0.00   S/L        5.00
3306   d   COMPUTER ADDITIONS-GRAYBAR3/01/08
                                        LEASE    4,178.30      0.00          0.00       4,178.30         0.00     4,178.30          0.00   S/L        5.00
3307   d   SOFTWARE ADDITIONS-GRAYBAR3/01/08
                                        LEASE    1,720.00      0.00          0.00       1,720.00         0.00     1,720.00          0.00   S/L        5.00
3326       2 COMPUTER SYSTEMS         7/09/08    1,720.00      0.00          0.00       1,720.00         0.00     1,720.00          0.00   S/L        5.00
3389       COMPUTER MEMORY           12/03/08      617.54      0.00          0.00         617.54         0.00       617.54          0.00   S/L        5.00
3458       COMPUTER LAPTOPS           4/16/09    2,641.10      0.00          0.00       2,641.10         0.00     2,641.10          0.00   S/L        5.00
3485       CFO DESKTOP SYSTEM         6/24/09      806.18      0.00          0.00         806.18         0.00       806.18          0.00   S/L        5.00
3508       WIDE SCREEN/SOUND BAR      7/12/09      173.00      0.00          0.00         173.00         0.00       173.00          0.00   S/L        5.00
3527       COMPUTE EQUIPMENT          8/23/09    1,479.50      0.00          0.00       1,479.50         0.00     1,479.50          0.00   S/L        5.00
3551   d   CEO COMPUTER SYSTEM       10/01/09      944.24      0.00          0.00         944.24         0.00       944.24          0.00   S/L        5.00
3552   d   CEO COMPUTER KEYBOARD/MOUSE
                                     10/01/09       80.00      0.00          0.00          80.00         0.00        80.00          0.00   S/L        5.00
3579       COMPUTER PROCESSOR-UN 1 11/10/09      1,250.00      0.00          0.00       1,250.00         0.00     1,250.00          0.00   S/L        5.00
3580       SERVER MEMORY             11/10/09      244.97      0.00          0.00         244.97         0.00       244.97          0.00   S/L        5.00
3613       COLOR PRINTER             11/17/09      800.00      0.00          0.00         800.00         0.00       800.00          0.00   S/L        5.00
3690       CE--TOSHIBA LAPTOP         2/20/10    1,099.99      0.00          0.00       1,099.99         0.00     1,099.99          0.00   S/L        5.00
3710       2 EXTERNAL HARDDRIVES      3/20/10      299.98      0.00          0.00         299.98         0.00       299.98          0.00   S/L        5.00
3754       LYNKSYS A. SWITCH          5/06/10      334.67      0.00          0.00         334.67         0.00       334.67          0.00   S/L        5.00
3755       BATTERY BACKUP SYSTEM      5/15/10      888.43      0.00          0.00         888.43         0.00       888.43          0.00   S/L        5.00
3794   d   COMPUTER NETWORK-UNIT 1 12/01/10        264.10      0.00          0.00         264.10         0.00       264.10          0.00   S/L        5.00
3797       BACK UP BATTERIES          7/15/10      394.90      0.00          0.00         394.90         0.00       394.90          0.00   S/L        2.00
3798       SOFTWARE                   6/25/10      535.50      0.00          0.00         535.50         0.00       535.50          0.00   S/L        3.00
3819       BATTERY BACKUPS-ENV. SVCS 8/02/10       319.92      0.00          0.00         319.92         0.00       319.92          0.00   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                           Book Asset Detail              1/01/17 - 12/31/17                                                Page 28
FYE: 12/31/2017

       d                               Date In  Book      Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-COMPUTER SYSTEM (continued)
3838    20 MODEMS                   10/22/10       989.80      0.00          0.00         989.80         0.00       989.80          0.00   S/L        5.00
3987    CEO BB PLAYBOOK              5/20/11       499.99      0.00          0.00         499.99         0.00       499.99          0.00   S/L        5.00
3988    3 FLAT MONITORS              5/20/11       345.27      0.00          0.00         345.27         0.00       345.27          0.00   S/L        5.00
4043    4 20" FLAT SCREENS           9/08/11       359.66      0.00          0.00         359.66         0.00       359.66          0.00   S/L        5.00
4086    20" LCD                      8/10/11       359.96      0.00          0.00         359.96         0.00       359.96          0.00   S/L        5.00
4114    2 PAYROLL TERMINALS-TIME CLOCK
                                    10/29/11     3,818.50      0.00          0.00       3,818.50         0.00     3,818.50          0.00   S/L        5.00
4115    5 HP 20" FLAT PANELS         8/11/11       450.25      0.00          0.00         450.25         0.00       450.25          0.00   S/L        5.00
4116    64 BIT TOWER FOR CFO        10/02/11       852.00      0.00          0.00         852.00         0.00       852.00          0.00   S/L        5.00
4188    IPAD                         1/10/12       729.99      0.00          0.00         729.99         0.00       729.99          0.00   S/L        5.00
4354    COMPUTER PARTS               6/07/12       387.92      0.00          0.00         355.58        32.34       387.92          0.00   S/L        5.00
4394    20" FP DISPLAY,SOUNDBAR      6/07/12       210.67      0.00          0.00         193.10        17.57       210.67          0.00   S/L        5.00
4395    CRT STAND & E-PORT           6/08/12       223.19      0.00          0.00         204.60        18.59       223.19          0.00   S/L        5.00
4396    E5520 LAPTOP                 6/14/12     1,061.94      0.00          0.00         973.45        88.49     1,061.94          0.00   S/L        5.00
4422    BACK UP POWER SUPPLIES       8/07/12       509.93      0.00          0.00         450.45        59.48       509.93          0.00   S/L        5.00
4423    4 ACER LED DISPLAYS/MONITORS8/28/12        359.96      0.00          0.00         311.96        48.00       359.96          0.00   S/L        5.00
4553    COMPUTER MEMORY UPGRADE 12/14/12           439.92      0.00          0.00         359.25        80.67       439.92          0.00   S/L        5.00
4662    GATEWAY SECURITY             3/06/13     3,077.32      0.00          0.00       3,077.32         0.00     3,077.32          0.00   S/L        2.00
4849    VARIOUS COMPUTER EQUIP       9/15/13     4,757.50      0.00          0.00       3,171.67       951.50     4,123.17        634.33   S/L        5.00
4975    2 CISCO POE SWITHCES-IT ROOMS
                                    10/18/13     3,550.00      0.00          0.00       2,248.33       710.00     2,958.33        591.67   S/L        5.00
4976    SEARS IT EQUIP               9/22/13     3,649.96      0.00          0.00       2,372.47       729.99     3,102.46        547.50   S/L        5.00
4977    TELECOM EQUIP               10/22/13     1,724.80      0.00          0.00       1,092.37       344.96     1,437.33        287.47   S/L        5.00
5027    AOD SOFTWARE                 8/06/13    62,275.90      0.00          0.00      42,555.20    12,455.18    55,010.38      7,265.52   S/L        5.00
5187    HR PAYROLL SOFTWARE          2/27/14    22,732.50      0.00          0.00      12,881.75     4,546.50    17,428.25      5,304.25   S/L        5.00
5224    COMPUTER HARDDRIVES          4/16/14       659.88      0.00          0.00         351.94       131.98       483.92        175.96   S/L        5.00
5249    COMPUTER NETWORK UPGRAD 4/21/14         40,385.14      0.00          0.00      21,538.75     8,077.03    29,615.78     10,769.36   S/L        5.00
5316    2 COMPUTERS, 10 HARD DRIVES, 5/23/14
                                     2 MODEMS    2,202.08      0.00          0.00       1,137.75       440.42     1,578.17        623.91   S/L        5.00
5346    DATA DROPS                   7/14/14     3,950.34      0.00          0.00       1,975.17       790.07     2,765.24      1,185.10   S/L        5.00
5384    COMUTER EQUIPMENT            6/30/14       359.85      0.00          0.00         179.93        71.97       251.90        107.95   S/L        5.00
5393    WEB SITE HOSTING             8/27/14     1,466.70      0.00          0.00         684.46       293.34       977.80        488.90   S/L        5.00
5450    COMPUTER EQUIPMENT          11/05/14    47,583.67      0.00          0.00      20,619.58     9,516.73    30,136.31     17,447.36   S/L        5.00
5451    COMPUTER EQUIPMENT          11/02/14     7,190.85      0.00          0.00       3,116.04     1,438.17     4,554.21      2,636.64   S/L        5.00
5539    COMPUTER EQUIPMENT          12/31/14     3,828.00      0.00          0.00       1,531.20       765.60     2,296.80      1,531.20   S/L        5.00
5594    COMPUTER EQUIPMENT           2/02/15     2,847.34      0.00          0.00       1,091.48       569.47     1,660.95      1,186.39   S/L        5.00
5626    E-PORT PLUS REPLICATOR       4/02/15     1,004.63      0.00          0.00         351.62       200.93       552.55        452.08   S/L        5.00
5627    SOFTWARE                     4/01/15    12,637.50      0.00          0.00       4,423.13     2,527.50     6,950.63      5,686.87   S/L        5.00
5878    3 COMPUTERS                  9/02/15     1,887.03      0.00          0.00         503.21       377.41       880.62      1,006.41   S/L        5.00
5879    MONITORS & VIDEO CARDS       8/31/15     1,751.59      0.00          0.00         467.09       350.32       817.41        934.18   S/L        5.00
5929    NURSE STATION UNIT 6         9/30/15       200.00      0.00          0.00          50.00        40.00        90.00        110.00   S/L        5.00
5930    REPLACEMENT PAGERS          10/06/15       745.00      0.00          0.00         186.25       149.00       335.25        409.75   S/L        5.00
5931    REPLACEMENT PAGERS          10/20/15     1,192.00      0.00          0.00         278.13       238.40       516.53        675.47   S/L        5.00
5932    DELL COMPUTER AND ACCESSORIES
                                    10/22/15     2,859.93      0.00          0.00         667.32       571.99     1,239.31      1,620.62   S/L        5.00
5958    DELL COMPUTER               12/02/15     2,023.30      0.00          0.00         438.38       404.66       843.04      1,180.26   S/L        5.00
5959    GIFT SHOP TERMINAL SETUP    12/04/15     2,700.00      0.00          0.00         585.00       540.00     1,125.00      1,575.00   S/L        5.00
5960    GIFT SHOP POINT OF SALE TERMINAL
                                    12/04/15     2,849.00      0.00          0.00         440.92       407.00       847.92      2,001.08   S/L        7.00
6251    5 PERSONAL COMPUTERS         2/02/16     3,101.45      0.00          0.00         568.60       620.29     1,188.89      1,912.56   S/L        5.00
6342    COMPUTER/ANTI VIRUS SOFTWARE 4/05/16     2,543.85      0.00          0.00         381.58       508.77       890.35      1,653.50   S/L        5.00
6343    3 MINI TOWERS                2/18/16     1,833.58      0.00          0.00         305.60       366.72       672.32      1,161.26   S/L        5.00
6367    2 E-PORTS PLUS               5/07/16       329.98      0.00          0.00          44.00        66.00       110.00        219.98   S/L        5.00
6379    10 DELL OPTIPLEX COMPUTERS 7/01/16       5,033.30      0.00          0.00         503.33     1,006.66     1,509.99      3,523.31   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                           03/03/2018 9:01 AM
                                                Book Asset Detail           1/01/17 - 12/31/17                                                Page 29
FYE: 12/31/2017

       d                               Date In  Book      Book Sec       Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c       Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-COMPUTER SYSTEM (continued)
6380    DELL SONIC FIREWALL              8/06/16      3,994.20   0.00          0.00         332.85       798.84     1,131.69      2,862.51   S/L        5.00
6439    IMPLEMENTATION                  10/13/16      4,797.50   0.00          0.00         239.88       959.50     1,199.38      3,598.12   S/L        5.00
6440    TRAINING-TIME AND ATTENDANCE    10/13/16      1,000.00   0.00          0.00          50.00       200.00       250.00        750.00   S/L        5.00
6441    3 OPTIPLEX COMPUTERS            10/16/16      1,472.97   0.00          0.00          49.10       294.59       343.69      1,129.28   S/L        5.00
6507    NETWORK ATTACHED STORAGE 1/31/17              1,832.59   0.00c         0.00           0.00       335.97       335.97      1,496.62   S/L        5.00
6524    COMPUTER SYSTEM SET-UP (3) 2/02/17            1,477.48   0.00c         0.00           0.00       270.87       270.87      1,206.61   S/L        5.00
6525    COMPUTER SYSTEM SET-UP (3) 2/01/17            1,472.97   0.00c         0.00           0.00       270.04       270.04      1,202.93   S/L        5.00
6526    BACKUP DOMAIN CONTROLLER SERVER  2/01/17      1,500.00   0.00c         0.00           0.00       275.00       275.00      1,225.00   S/L        5.00
6551    IMPLEMENTATION-PAYROLL SOFTWARE  3/01/17     12,365.00   0.00c         0.00           0.00     2,060.83     2,060.83     10,304.17   S/L        5.00
6552    FEBRUARY IMPLEMENTATION HOURS    3/01/17        781.25   0.00c         0.00           0.00       130.21       130.21        651.04   S/L        5.00
6553    MARCH IMPLEMENTATION HOURS       3/01/17        343.75   0.00c         0.00           0.00        57.29        57.29        286.46   S/L        5.00
6686    WORK CENTER LICENSE             11/30/17      1,247.50   0.00c         0.00           0.00        34.65        34.65      1,212.85   S/L        3.00
6705    DELL LAPTOP E6420               12/22/17        578.00   0.00c         0.00           0.00         0.00         0.00        578.00   S/L        5.00
   EH-COMPUTER SYSTEM                               608,983.37   0.00c         0.00     451,205.88    56,362.82   507,568.70    101,414.67
                *Less: Dispositions and Transfers   180,880.15   0.00          0.00     180,880.15         0.00   180,880.15          0.00
                  Net EH-COMPUTER SYSTEM            428,103.22   0.00c         0.00     270,325.73    56,362.82   326,688.55    101,414.67

   Group: EH-DEPARTMENTAL EQUIP
 163     FURNITURE & EQUIPMENT       1/01/58         40,936.10   0.00          0.00      40,936.10         0.00    40,936.10          0.00   S/L       10.00
 164     FURNITURE & EQUIPMENT       1/01/59          1,315.90   0.00          0.00       1,315.90         0.00     1,315.90          0.00   S/L       10.00
 165     FURNITURE & EQUIPMENT       1/01/60          2,356.03   0.00          0.00       2,356.03         0.00     2,356.03          0.00   S/L       10.00
 166     FURNITURE & EQUIPMENT       1/01/61            716.20   0.00          0.00         716.20         0.00       716.20          0.00   S/L       10.00
 167     FURNITURE & EQUIPMENT       1/01/62         67,081.57   0.00          0.00      67,081.57         0.00    67,081.57          0.00   S/L       10.00
 168     FURNITURE & EQUIPMENT       1/01/63            930.10   0.00          0.00         930.10         0.00       930.10          0.00   S/L       10.00
 169     FURNITURE & EQUIPMENT       1/01/64          2,206.14   0.00          0.00       2,206.14         0.00     2,206.14          0.00   S/L       10.00
 171     FURNITURE & EQUIPMENT       1/01/65          1,729.07   0.00          0.00       1,729.07         0.00     1,729.07          0.00   S/L       10.00
 172     FURNITURE & EQUIPMENT       1/01/66            459.00   0.00          0.00         459.00         0.00       459.00          0.00   S/L       10.00
 173     FURNITURE & EQUIPMENT       1/01/67            372.00   0.00          0.00         372.00         0.00       372.00          0.00   S/L       10.00
 174     FURNITURE & EQUIPMENT       1/01/68          1,035.46   0.00          0.00       1,035.46         0.00     1,035.46          0.00   S/L       10.00
 175     FURNITURE & EQUIPMENT       1/01/69          2,514.74   0.00          0.00       2,514.74         0.00     2,514.74          0.00   S/L       10.00
 176     FURNITURE & EQUIPMENT       1/01/70          1,733.78   0.00          0.00       1,733.78         0.00     1,733.78          0.00   S/L       10.00
 177 d LAUNDRY EQUIPMENT             1/01/71         10,968.97   0.00          0.00      10,968.97         0.00    10,968.97          0.00   S/L       10.00
 178 d NCR MACHINE                   9/01/71          3,277.00   0.00          0.00       3,277.00         0.00     3,277.00          0.00   S/L       10.00
 179     FURNITURE                  12/01/72            220.00   0.00          0.00         220.00         0.00       220.00          0.00   S/L       10.00
 180 d MAIL MACHINE                  1/01/73             95.18   0.00          0.00          95.18         0.00        95.18          0.00   S/L       10.00
 181 d TOASTER                       5/01/73            348.30   0.00          0.00         348.30         0.00       348.30          0.00   S/L       10.00
 182 d FLOOR POLISHER                6/01/73            393.30   0.00          0.00         393.30         0.00       393.30          0.00   S/L       10.00
 183     FURNITURE                  11/01/73            154.90   0.00          0.00         154.90         0.00       154.90          0.00   S/L       10.00
 184     2 HI-LOW BEDS               1/01/74            406.00   0.00          0.00         406.00         0.00       406.00          0.00   S/L       10.00
 185     MODEL 900 FIRE EXTINGUISHER10/01/74            315.00   0.00          0.00         315.00         0.00       315.00          0.00   S/L       10.00
 186     8 BEDS                     11/01/74            302.40   0.00          0.00         302.40         0.00       302.40          0.00   S/L       10.00
 187     WHEELCHAIRS                12/01/74          1,200.00   0.00          0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
 188 d FREEZER                       1/01/75            391.75   0.00          0.00         391.75         0.00       391.75          0.00   S/L       10.00
 189 d 2 OVENS                       2/01/75          2,715.00   0.00          0.00       2,715.00         0.00     2,715.00          0.00   S/L       10.00
 190 d DISHWASHER                    9/01/75          1,895.00   0.00          0.00       1,895.00         0.00     1,895.00          0.00   S/L       10.00
 191 d BLENDER                      11/01/75            275.00   0.00          0.00         275.00         0.00       275.00          0.00   S/L       10.00
 192 d KITCHEN RANGES                9/01/76          1,470.85   0.00          0.00       1,470.85         0.00     1,470.85          0.00   S/L       10.00
 193 d 2 MODEL 50 COOK DRYERS       11/01/76            800.00   0.00          0.00         800.00         0.00       800.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 30
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 196       6 NIGHT STANDS             5/01/77        234.00      0.00           0.00         234.00         0.00       234.00          0.00   S/L       10.00
 197       DEEP FREEZERS              5/01/77        150.00      0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
 199       6 NIGHT STANDS             8/01/77        234.00      0.00           0.00         234.00         0.00       234.00          0.00   S/L       10.00
 200       2 BENCHES                  5/01/78        660.00      0.00           0.00         660.00         0.00       660.00          0.00   S/L       10.00
 201       NURSE CALL BUTTONS        10/01/78        200.92      0.00           0.00         200.92         0.00       200.92          0.00   S/L       10.00
 202   d   KITCHEN DISPOSAL          12/01/78        448.40      0.00           0.00         448.40         0.00       448.40          0.00   S/L       10.00
 204       FURNITURE                  2/01/79        651.36      0.00           0.00         651.36         0.00       651.36          0.00   S/L       10.00
 205       SHOWER CHAIR               3/01/79        161.26      0.00           0.00         161.26         0.00       161.26          0.00   S/L       10.00
 206       COUCH IN LIBRARY           4/01/79        570.00      0.00           0.00         570.00         0.00       570.00          0.00   S/L       10.00
 207       FURNITURE                  5/01/79        139.90      0.00           0.00         139.90         0.00       139.90          0.00   S/L       10.00
 208       HOSPITAL BEDS              5/01/79        180.00      0.00           0.00         180.00         0.00       180.00          0.00   S/L       10.00
 209       DISPOSAL K                 5/01/79        690.00      0.00           0.00         690.00         0.00       690.00          0.00   S/L       10.00
 210       LIBRARY FURNITURE          7/01/79      1,733.95      0.00           0.00       1,733.95         0.00     1,733.95          0.00   S/L       10.00
 211       LIBRARY CARPET             8/01/79        465.05      0.00           0.00         465.05         0.00       465.05          0.00   S/L       10.00
 212       EXTINGUISHERS             10/01/79         67.50      0.00           0.00          67.50         0.00        67.50          0.00   S/L       10.00
 213       WATER HEATER BOOSTERS     10/01/79        395.00      0.00           0.00         395.00         0.00       395.00          0.00   S/L       10.00
 214       MEDICINE BINS             10/01/79        174.90      0.00           0.00         174.90         0.00       174.90          0.00   S/L       10.00
 215       6 BEDS                     1/31/80      1,110.00      0.00           0.00       1,110.00         0.00     1,110.00          0.00   S/L       10.00
 216   d   FLOOR POLISHER             2/29/80        848.00      0.00           0.00         848.00         0.00       848.00          0.00   S/L       10.00
 217       WHEELCHAIR                 2/29/80        193.70      0.00           0.00         193.70         0.00       193.70          0.00   S/L       10.00
 218       BED                        4/30/80        103.45      0.00           0.00         103.45         0.00       103.45          0.00   S/L       10.00
 219       BED TRANSPORT              5/31/80        425.00      0.00           0.00         425.00         0.00       425.00          0.00   S/L       10.00
 220       BEDS                       5/31/80      1,281.50      0.00           0.00       1,281.50         0.00     1,281.50          0.00   S/L       10.00
 221       SOUND SYSTEM               5/31/80      1,183.70      0.00           0.00       1,183.70         0.00     1,183.70          0.00   S/L       10.00
 225       LOBBY FURNITURE           10/30/80      2,180.50      0.00           0.00       2,180.50         0.00     2,180.50          0.00   S/L       10.00
 226       CENTURY BATHTUB           10/30/80      4,706.12      0.00           0.00       4,706.12         0.00     4,706.12          0.00   S/L       10.00
 227       HOT WATER HEATER          12/01/80      1,592.05      0.00           0.00       1,592.05         0.00     1,592.05          0.00   S/L       10.00
 228   d   MIXER                     12/01/80      1,060.00      0.00           0.00       1,060.00         0.00     1,060.00          0.00   S/L       10.00
 229       TABLE                      2/01/81         49.50      0.00           0.00          49.50         0.00        49.50          0.00   S/L       10.00
 230   d   TIME CLOCK                 2/01/81        360.00      0.00           0.00         360.00         0.00       360.00          0.00   S/L       10.00
 231       SCALE CHAIR                3/01/81        377.20      0.00           0.00         377.20         0.00       377.20          0.00   S/L       10.00
 232   d   TIME CLOCKS                7/01/81      5,073.28      0.00           0.00       5,073.28         0.00     5,073.28          0.00   S/L       10.00
 235   d   REFRIGERATOR               9/01/81         62.53      0.00           0.00          62.53         0.00        62.53          0.00   S/L       10.00
 236       2 CHAIRS                   9/01/81        277.70      0.00           0.00         277.70         0.00       277.70          0.00   S/L       10.00
 237       7 OVERHEAD TABLES         10/01/81        295.00      0.00           0.00         295.00         0.00       295.00          0.00   S/L       10.00
 239   d   STEAM COOKER              10/01/81      1,864.00      0.00           0.00       1,864.00         0.00     1,864.00          0.00   S/L       10.00
 240       6 BEDSIDE CABINETS        12/01/81        330.00      0.00           0.00         330.00         0.00       330.00          0.00   S/L       10.00
 241       CHAIRS                    12/01/81      1,374.00      0.00           0.00       1,374.00         0.00     1,374.00          0.00   S/L       10.00
 242   d   GRINDER                    2/01/82        164.58      0.00           0.00         164.58         0.00       164.58          0.00   S/L       10.00
 243       COMPRESSOR                 3/01/82        575.00      0.00           0.00         575.00         0.00       575.00          0.00   S/L       10.00
 244       HOT PALLETS                6/01/82      4,325.20      0.00           0.00       4,325.20         0.00     4,325.20          0.00   S/L       10.00
 245       PATIENT LIFT STOOL         6/01/82      1,395.00      0.00           0.00       1,395.00         0.00     1,395.00          0.00   S/L       10.00
 246       A/C DIETARY                7/01/82        451.39      0.00           0.00         451.39         0.00       451.39          0.00   S/L       10.00
 247       KITCHEN TABLES             7/01/82      1,418.00      0.00           0.00       1,418.00         0.00     1,418.00          0.00   S/L       10.00
 248       4 WHEELCHAIRS              8/01/82        683.00      0.00           0.00         683.00         0.00       683.00          0.00   S/L       10.00
 249       CONVALESCENT RECLINER      8/01/82        283.00      0.00           0.00         283.00         0.00       283.00          0.00   S/L       10.00
 250       MEDLINE                   12/01/82      1,408.00      0.00           0.00       1,408.00         0.00     1,408.00          0.00   S/L       10.00
 251       1983 ACQUISITIONS          1/01/83     22,165.83      0.00           0.00      22,165.83         0.00    22,165.83          0.00   S/L       10.00
 252       DINING ROOM FURNITURE      1/01/84        180.00      0.00           0.00         180.00         0.00       180.00          0.00   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                 Book Asset Detail           1/01/17 - 12/31/17                                                Page 31
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 253       3 DRYERS                    1/01/84      1,618.91     0.00           0.00       1,618.91         0.00     1,618.91          0.00   S/L        5.00
 254   d   EPSON COMPUTER              1/01/84      5,477.00     0.00           0.00       5,477.00         0.00     5,477.00          0.00   S/L        5.00
 255   d   TIME CLOCKS                 1/01/84      1,895.00     0.00           0.00       1,895.00         0.00     1,895.00          0.00   S/L        5.00
 256   d   BLENDER                     1/01/84        693.00     0.00           0.00         693.00         0.00       693.00          0.00   S/L        5.00
 258       10 BEDSIDE CABINETS         5/01/85      4,450.00     0.00           0.00       4,450.00         0.00     4,450.00          0.00   S/L       10.00
 259   d   SCALE-LAUNDRY               5/01/85        312.75     0.00           0.00         312.75         0.00       312.75          0.00   S/L        5.00
 261       2 TYPIST CHAIRS             6/01/85        224.00     0.00           0.00         224.00         0.00       224.00          0.00   S/L       10.00
 262       BLENDER DIETARY             7/01/85        596.00     0.00           0.00         596.00         0.00       596.00          0.00   S/L       10.00
 263       FREEZER DIETARY             7/01/85        399.99     0.00           0.00         399.99         0.00       399.99          0.00   S/L       10.00
 264       4 HOSPITAL BEDS             8/01/85        960.00     0.00           0.00         960.00         0.00       960.00          0.00   S/L       10.00
 265       3 HOSPITAL BEDS             8/01/85        750.00     0.00           0.00         750.00         0.00       750.00          0.00   S/L       10.00
 266       AC COMPRESSOR FOR AC        8/01/85        312.90     0.00           0.00         312.90         0.00       312.90          0.00   S/L       10.00
 268       10 BEDS                     9/01/85      3,490.20     0.00           0.00       3,490.20         0.00     3,490.20          0.00   S/L       10.00
 270       TABLE FLATWARE             10/01/85        654.53     0.00           0.00         654.53         0.00       654.53          0.00   S/L       10.00
 271       3 CABINETS                 10/01/85        947.34     0.00           0.00         947.34         0.00       947.34          0.00   S/L       10.00
 272       10 BED DERAILERS           11/01/85        920.00     0.00           0.00         920.00         0.00       920.00          0.00   S/L       10.00
 275       CHEMICAL DISPENSERS        11/01/85      1,340.35     0.00           0.00       1,340.35         0.00     1,340.35          0.00   S/L        5.00
 276       FURNITURE FOR CHAPLAINS OFFICE
                                      12/01/85      1,365.95     0.00           0.00       1,365.95         0.00     1,365.95          0.00   S/L       10.00
 277       2 SERVING CABINETS          1/13/86        450.00     0.00           0.00         450.00         0.00       450.00          0.00   S/L       10.00
 278       BELT SANDER                 1/31/86        119.99     0.00           0.00         119.99         0.00       119.99          0.00   S/L       10.00
 279       P.H. MOTOR                  1/31/86        200.00     0.00           0.00         200.00         0.00       200.00          0.00   S/L        5.00
 281       2 WHEELCHAIRS               2/11/86        500.00     0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 282       CARRY OUT CART              2/28/86        133.81     0.00           0.00         133.81         0.00       133.81          0.00   S/L       10.00
 283       WHEELCHAIR                  3/01/86        100.00     0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
 286       ELECTRIC SEWER SNAKE        5/31/86      1,210.00     0.00           0.00       1,210.00         0.00     1,210.00          0.00   S/L       10.00
 287       WELDING MACHINE             6/30/86        556.95     0.00           0.00         556.95         0.00       556.95          0.00   S/L       10.00
 288       HEAVY DUTY WHEELCHAIR       7/31/86        485.00     0.00           0.00         485.00         0.00       485.00          0.00   S/L       10.00
 289       2 SHOWER CHAIRS             8/31/86        283.62     0.00           0.00         283.62         0.00       283.62          0.00   S/L       10.00
 290       2 RACKS FOR CHAPLAINS OFFICE8/31/86        282.30     0.00           0.00         282.30         0.00       282.30          0.00   S/L       10.00
 291       2 PAN SIDE RAILS            8/31/86        197.86     0.00           0.00         197.86         0.00       197.86          0.00   S/L       10.00
 292       TOOL CABINET                8/31/86         49.81     0.00           0.00          49.81         0.00        49.81          0.00   S/L       10.00
 293       HOSPITAL BED                8/31/86        295.00     0.00           0.00         295.00         0.00       295.00          0.00   S/L       10.00
 295       18 BEDS                    11/30/86      1,130.00     0.00           0.00       1,130.00         0.00     1,130.00          0.00   S/L       10.00
 296       ACCUCHECK MEDICAL GUN       1/14/87        169.28     0.00           0.00         169.28         0.00       169.28          0.00   S/L        5.00
 297       3 WHEELCHAIRS               2/03/87        411.00     0.00           0.00         411.00         0.00       411.00          0.00   S/L       10.00
 298       MEDICAL FLOW METER          2/18/87        238.34     0.00           0.00         238.34         0.00       238.34          0.00   S/L        5.00
 299       HARPER CYL CARTS            2/18/87        188.60     0.00           0.00         188.60         0.00       188.60          0.00   S/L        5.00
 300       1/2 HP CI CNTRE PUMP        2/18/87        155.77     0.00           0.00         155.77         0.00       155.77          0.00   S/L        5.00
 301       4 DRESSERS                  2/18/87        120.00     0.00           0.00         120.00         0.00       120.00          0.00   S/L       10.00
 302       LAUNDRY TUMBLERS            2/18/87        750.00     0.00           0.00         750.00         0.00       750.00          0.00   S/L        5.00
 303       18 HOSPITAL BEDS            3/23/87      1,130.00     0.00           0.00       1,130.00         0.00     1,130.00          0.00   S/L       10.00
 304       6 MANUAL BEDS               5/08/87      1,500.00     0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L       10.00
 307       BATHING SYSTEM              6/04/87      6,300.00     0.00           0.00       6,300.00         0.00     6,300.00          0.00   S/L        5.00
 310       ELECTRONIC SCALE            8/10/87      3,055.00     0.00           0.00       3,055.00         0.00     3,055.00          0.00   S/L        5.00
 311       2 WHIRPOOL BATHS            8/10/87      8,012.40     0.00           0.00       8,012.40         0.00     8,012.40          0.00   S/L        5.00
 312       WHEELCHAIR                  9/02/87        572.13     0.00           0.00         572.13         0.00       572.13          0.00   S/L        5.00
 313       3 WHEELCHAIRS               9/28/87        558.00     0.00           0.00         558.00         0.00       558.00          0.00   S/L        5.00
 316       4 BED CABINETS             12/21/87        600.00     0.00           0.00         600.00         0.00       600.00          0.00   S/L       10.00
 319       COMPUTER TABLE              1/19/88         75.00     0.00           0.00          75.00         0.00        75.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 32
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 320       3 HOSPITAL BEDS            2/22/88        750.00      0.00           0.00         750.00         0.00       750.00          0.00   S/L       10.00
 321       3 CHEST OF DRAWERS         2/29/88        147.00      0.00           0.00         147.00         0.00       147.00          0.00   S/L       10.00
 322       4 DRAWER FILE CABINETS     3/03/88         52.88      0.00           0.00          52.88         0.00        52.88          0.00   S/L       10.00
 323       2 LINEN CARTS              4/20/88         96.00      0.00           0.00          96.00         0.00        96.00          0.00   S/L       10.00
 324       10 LINEN CARTS             5/16/88        480.00      0.00           0.00         480.00         0.00       480.00          0.00   S/L       10.00
 325       6 OFFICE CHAIRS            5/17/88        534.00      0.00           0.00         534.00         0.00       534.00          0.00   S/L       10.00
 327       2 OFFICE CHAIRS            6/23/88         79.20      0.00           0.00          79.20         0.00        79.20          0.00   S/L       10.00
 328       2 WHEELCHAIRS              8/19/88        241.18      0.00           0.00         241.18         0.00       241.18          0.00   S/L       10.00
 330       FURNITURE                  9/01/88     94,186.50      0.00           0.00      94,186.50         0.00    94,186.50          0.00   S/L       10.00
 331   d   KITCHEN EQUIPMENT          9/01/88        972.88      0.00           0.00         972.88         0.00       972.88          0.00   S/L       10.00
 332   d   DISHES                     9/01/88      2,627.60      0.00           0.00       2,627.60         0.00     2,627.60          0.00   S/L        5.00
 333   d   12 BOWL GLASS RACKS        9/01/88        365.00      0.00           0.00         365.00         0.00       365.00          0.00   S/L       10.00
 334       120 BEDS                   9/01/88    102,906.76      0.00           0.00     102,906.76         0.00   102,906.76          0.00   S/L       10.00
 335       17 BOWL RACKS              9/01/88        525.00      0.00           0.00         525.00         0.00       525.00          0.00   S/L       10.00
 336       CHESTS                     9/01/88      5,796.26      0.00           0.00       5,796.26         0.00     5,796.26          0.00   S/L       10.00
 337       120 MATRESSES              9/01/88      8,040.00      0.00           0.00       8,040.00         0.00     8,040.00          0.00   S/L        5.00
 338   d   CHINA                      9/01/88      2,838.80      0.00           0.00       2,838.80         0.00     2,838.80          0.00   S/L        5.00
 339       15 WHEELCHAIRS             9/01/88      2,380.00      0.00           0.00       2,380.00         0.00     2,380.00          0.00   S/L       10.00
 340       TRAYS & CUPS               9/01/88      2,115.41      0.00           0.00       2,115.41         0.00     2,115.41          0.00   S/L        5.00
 341       2 UTILITY CARTS            9/01/88        650.09      0.00           0.00         650.09         0.00       650.09          0.00   S/L       10.00
 342       6 MED TRAYS                9/01/88        350.43      0.00           0.00         350.43         0.00       350.43          0.00   S/L        5.00
 343       6 CONV RECLINERS           9/01/88      1,966.59      0.00           0.00       1,966.59         0.00     1,966.59          0.00   S/L       10.00
 344       4 MED CARD TIME RACKS      9/01/88        107.86      0.00           0.00         107.86         0.00       107.86          0.00   S/L       10.00
 346       ACQAPEDIC MATS             9/01/88        406.11      0.00           0.00         406.11         0.00       406.11          0.00   S/L        5.00
 347       NURSE STATION EQUIPMENT    9/01/88        701.20      0.00           0.00         701.20         0.00       701.20          0.00   S/L       10.00
 348       100 CLEAR LEXON GUARDS     9/01/88        910.35      0.00           0.00         910.35         0.00       910.35          0.00   S/L       10.00
 349       2 DOLLIES                  9/01/88        137.20      0.00           0.00         137.20         0.00       137.20          0.00   S/L       10.00
 350       2-18 BUSHEL TRUNKS         9/01/88        667.90      0.00           0.00         667.90         0.00       667.90          0.00   S/L       10.00
 351       192 WASTEBASKETS           9/01/88      2,876.40      0.00           0.00       2,876.40         0.00     2,876.40          0.00   S/L       10.00
 352   d   8 44-GALLON HUSKEYS        9/01/88        378.00      0.00           0.00         378.00         0.00       378.00          0.00   S/L       10.00
 353   d   BEDDING                    9/01/88     11,090.20      0.00           0.00      11,090.20         0.00    11,090.20          0.00   S/L        5.00
 354       MEDICAL EQUIPMENT          9/01/88      1,806.81      0.00           0.00       1,806.81         0.00     1,806.81          0.00   S/L       10.00
 355       4 OXYGEN CYLINDER CARTS    9/26/88        442.68      0.00           0.00         442.68         0.00       442.68          0.00   S/L       10.00
 356       OFFICE DESK                9/26/88        269.95      0.00           0.00         269.95         0.00       269.95          0.00   S/L       10.00
 357       2 MIRRORS                  9/26/88        205.27      0.00           0.00         205.27         0.00       205.27          0.00   S/L       10.00
 359       LAUNDRY CART              10/27/88        241.38      0.00           0.00         241.38         0.00       241.38          0.00   S/L       10.00
 360       DESK                      11/28/88        139.66      0.00           0.00         139.66         0.00       139.66          0.00   S/L       10.00
 361   d   REFRIGERATOR              11/30/88         89.69      0.00           0.00          89.69         0.00        89.69          0.00   S/L       10.00
 363   d   COMPUTER W/ACCESSORIES    12/08/88     11,447.00      0.00           0.00      11,447.00         0.00    11,447.00          0.00   S/L        5.00
 364   d   COMPUTER (PART)           12/08/88      1,500.00      0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L        5.00
 365       HYDRAULIC PATIENT LIFT    12/21/88        230.00      0.00           0.00         230.00         0.00       230.00          0.00   S/L        5.00
 366       6 MODEL 160 WHEELCHAIRS   12/27/88        876.00      0.00           0.00         876.00         0.00       876.00          0.00   S/L       10.00
 367       8 LINEN CARTS W/COVERS    12/28/88      1,341.93      0.00           0.00       1,341.93         0.00     1,341.93          0.00   S/L       10.00
 368       EXHAUST FAN                2/02/89        974.40      0.00           0.00         974.40         0.00       974.40          0.00   S/L       10.00
 369       SMOKE DAMPERS              2/22/89        450.00      0.00           0.00         450.00         0.00       450.00          0.00   S/L       10.00
 370       EXIT LIGHTS                2/23/89      3,017.00      0.00           0.00       3,017.00         0.00     3,017.00          0.00   S/L       10.00
 371       BED SCALE                  3/02/89      2,980.50      0.00           0.00       2,980.50         0.00     2,980.50          0.00   S/L       10.00
 372       MODEL C-3 AM BULIFT        3/13/89      2,883.00      0.00           0.00       2,883.00         0.00     2,883.00          0.00   S/L       10.00
 373       FURNITURE                  3/27/89      6,914.00      0.00           0.00       6,914.00         0.00     6,914.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 33
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 375   d   COMPUTER SYSTEM             7/24/89      14,287.45    0.00           0.00      14,287.45         0.00    14,287.45          0.00   S/L        5.00
 376       2 DESKS                     8/10/89         200.00    0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
 377       2 CHAIRS                    8/10/89          50.00    0.00           0.00          50.00         0.00        50.00          0.00   S/L       10.00
 378       PLAN RACK                   8/10/89         125.00    0.00           0.00         125.00         0.00       125.00          0.00   S/L       10.00
 379   d   COMPUTER EQUIPMENT          8/11/89       2,495.00    0.00           0.00       2,495.00         0.00     2,495.00          0.00   S/L        8.33
 380       LIVING ROOM FURNITURE       8/26/89       1,164.06    0.00           0.00       1,164.06         0.00     1,164.06          0.00   S/L       10.00
 382   d   40 MEG HARD DRIVE           1/01/91         279.00    0.00           0.00         279.00         0.00       279.00          0.00   S/L        5.00
 384       CONFIGURE BAR CODE EQUIPMENT6/15/91         150.00    0.00           0.00         150.00         0.00       150.00          0.00   Amort      5.00
 385       SOFTWARE-G/L, PAYROLL       6/17/91      19,117.50    0.00           0.00      19,117.50         0.00    19,117.50          0.00   Amort      5.00
 386   d   BAR CODE SLOT SCANNER       6/20/91         229.00    0.00           0.00         229.00         0.00       229.00          0.00   S/L        5.00
 387   d   EARNED TIME SOFTWARE        7/01/91         110.00    0.00           0.00         110.00         0.00       110.00          0.00   Amort      5.00
 388       CARPET CLEANING EQUIPMENT-EXTRACTOR
                                       7/16/91         675.00    0.00           0.00         675.00         0.00       675.00          0.00   S/L       10.00
 389   d   BAR CODE ID CARD PRINTING PROGRAM
                                       9/12/91         244.75    0.00           0.00         244.75         0.00       244.75          0.00   Amort      5.00
 390       SOFTWARE-MUSIC             10/01/91         436.00    0.00           0.00         436.00         0.00       436.00          0.00   Amort      5.00
 391   d   PAYROLL SOFTWARE SUPPORT 10/15/91         1,326.50    0.00           0.00       1,326.50         0.00     1,326.50          0.00   S/L        5.00
 392   d   DATA BAR CODE SLOT SCANNER10/17/91          244.00    0.00           0.00         244.00         0.00       244.00          0.00   S/L        5.00
 393       CHAIRS, UNIT 6             10/18/91       2,000.00    0.00           0.00       2,000.00         0.00     2,000.00          0.00   S/L       10.00
 396   d   AT COMPUTER STSTEM-D. WIEGANDS
                                      12/04/91OFFICE 599.00      0.00           0.00         599.00         0.00       599.00          0.00   S/L        5.00
 397   d   6 MSDOS 4.01               12/17/91         270.00    0.00           0.00         270.00         0.00       270.00          0.00   Amort      5.00
 398       DESKS, CHAIRS               3/05/92         649.95    0.00           0.00         649.95         0.00       649.95          0.00   S/L       10.00
 399       MINIBLINDS                  3/24/92       2,745.46    0.00           0.00       2,745.46         0.00     2,745.46          0.00   S/L       10.00
 400       FAX MACHINE                 5/26/92         549.91    0.00           0.00         549.91         0.00       549.91          0.00   S/L        5.00
 401       SOFTWARE-G/L, PAYROLL       6/30/92       7,010.36    0.00           0.00       7,010.36         0.00     7,010.36          0.00   Amort      5.00
 402       WHEELCHAIRS, 3              8/14/92         780.00    0.00           0.00         780.00         0.00       780.00          0.00   S/L       10.00
 403       SOFTWARE- A/P               8/20/92         160.00    0.00           0.00         160.00         0.00       160.00          0.00   S/L        5.00
 404   d   HARDWARE OF 386 COMPUTER-FRONT
                                       8/27/92OFFICE 565.53      0.00           0.00         565.53         0.00       565.53          0.00   S/L        5.00
 405       PANASONIC MICROWAVE         9/03/92         300.00    0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
 406       BOOKCASE-WELLS OFFICE       9/09/92          99.92    0.00           0.00          99.92         0.00        99.92          0.00   S/L       10.00
 407       BOOKCASE-WELLS OFFICE       9/09/92         149.73    0.00           0.00         149.73         0.00       149.73          0.00   S/L       10.00
 408       KPX 1123 PRINTER            9/10/92         435.95    0.00           0.00         435.95         0.00       435.95          0.00   S/L        5.00
 409       WHEELCHAIRS                 9/18/92         520.00    0.00           0.00         520.00         0.00       520.00          0.00   S/L       10.00
 410   d   ANSWERING MACHINE           9/28/92          99.95    0.00           0.00          99.95         0.00        99.95          0.00   S/L        5.00
 411   d   386SX MOTHERBOARD          10/01/92         575.00    0.00           0.00         575.00         0.00       575.00          0.00   S/L        5.00
 412       TRAPEZE, OFFSET            10/07/92         217.55    0.00           0.00         217.55         0.00       217.55          0.00   S/L       10.00
 413       WALKER, FOLDING AND PLATFORM
                                      10/08/92         279.00    0.00           0.00         279.00         0.00       279.00          0.00   S/L       10.00
 414       DANNIFLEX 400SL CPM, THERAPY
                                      10/09/92
                                         EQUIPMENT2,400.00       0.00           0.00       2,400.00         0.00     2,400.00          0.00   S/L       10.00
 415       MINI-BLINDS                10/12/92         486.60    0.00           0.00         486.60         0.00       486.60          0.00   S/L       10.00
 416   d   386SX MOTHERBOARD          10/20/92         350.00    0.00           0.00         350.00         0.00       350.00          0.00   S/L        5.00
 417       MIRROR-BIHL                11/19/92         238.50    0.00           0.00         238.50         0.00       238.50          0.00   S/L       10.00
 418       CABINET FILE               12/16/92          39.00    0.00           0.00          39.00         0.00        39.00          0.00   S/L       10.00
 419       3 ROTARY CHAIRS            12/16/92          36.00    0.00           0.00          36.00         0.00        36.00          0.00   S/L       10.00
 420   d   MAGIC CHEF MICROWAVE       12/31/92          88.00    0.00           0.00          88.00         0.00        88.00          0.00   S/L       10.00
 421       MINI BLINDS                 1/05/93         171.00    0.00           0.00         171.00         0.00       171.00          0.00   S/L       10.00
 423       SOFTWARE DEVELOPMENT        1/31/93       1,068.75    0.00           0.00       1,068.75         0.00     1,068.75          0.00   Amort      3.00
 425       (10) MATTRESSES             2/10/93         845.00    0.00           0.00         845.00         0.00       845.00          0.00   S/L       10.00
 426       THERAPY WEIGHT SET          2/15/93         299.50    0.00           0.00         299.50         0.00       299.50          0.00   S/L       10.00
 427       MATS                        2/19/93         139.95    0.00           0.00         139.95         0.00       139.95          0.00   S/L       10.00
 428       TABLES & CHAIRS             3/12/93         683.27    0.00           0.00         683.27         0.00       683.27          0.00   S/L       10.00
 429       SOFTWARE DEVELOPMENT        3/24/93         543.75    0.00           0.00         543.75         0.00       543.75          0.00   Amort      3.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                             Book Asset Detail               1/01/17 - 12/31/17                                                Page 34
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 430   d   VCR                         3/29/93      159.87       0.00           0.00         159.87         0.00       159.87          0.00   S/L        5.00
 431       PORTABLE VACUUM             4/15/93      123.48       0.00           0.00         123.48         0.00       123.48          0.00   S/L       10.00
 432       SYSTEM DEVELOPMENT          4/28/93    2,850.00       0.00           0.00       2,850.00         0.00     2,850.00          0.00   Amort      3.00
 433   d   WARING 1 GALLON BLENDER     5/10/93      665.00       0.00           0.00         665.00         0.00       665.00          0.00   S/L       10.00
 434       TV STAND                    5/10/93      215.00       0.00           0.00         215.00         0.00       215.00          0.00   S/L       10.00
 436       TABLETOP BIKE & HANDGRIPS 5/13/93        605.83       0.00           0.00         605.83         0.00       605.83          0.00   S/L       10.00
 437       2 DINING & ACTIVITY TABLES 5/19/93       629.00       0.00           0.00         629.00         0.00       629.00          0.00   S/L       10.00
 438   d   MITA COPIER                 5/25/93    6,790.00       0.00           0.00       6,790.00         0.00     6,790.00          0.00   S/L        5.00
 439       HOSPITAL MATTRESSES         5/27/93      845.00       0.00           0.00         845.00         0.00       845.00          0.00   S/L       10.00
 440       MUSCLE STIMULATOR           5/28/93    2,630.00       0.00           0.00       2,630.00         0.00     2,630.00          0.00   S/L       10.00
 441       PORTABLE ULTRASOUND UNIT 5/28/93       1,502.00       0.00           0.00       1,502.00         0.00     1,502.00          0.00   S/L       10.00
 442       INTEFERENTIAL UNIT          5/28/93    2,423.00       0.00           0.00       2,423.00         0.00     2,423.00          0.00   S/L       10.00
 443       SYSTEM DEVELOPMENT          5/30/93      795.00       0.00           0.00         795.00         0.00       795.00          0.00   Amort      3.00
 444   d   PRINTER,MONITOR, HARD DRIVE5/31/93     1,529.75       0.00           0.00       1,529.75         0.00     1,529.75          0.00   S/L        5.00
 445       TRAKKER-BACKUP UNIT         5/31/93      397.45       0.00           0.00         397.45         0.00       397.45          0.00   S/L        5.00
 446   d   HARD DRIVE, DOS             5/31/93      690.00       0.00           0.00         690.00         0.00       690.00          0.00   S/L        5.00
 447   d   486/33 MOTHERBOARD          5/31/93      978.00       0.00           0.00         978.00         0.00       978.00          0.00   S/L        5.00
 448   d   MONITOR, MOTHERBOARD        5/31/93      831.54       0.00           0.00         831.54         0.00       831.54          0.00   S/L        5.00
 449   d   MONITOR, DOS                5/31/93      611.54       0.00           0.00         611.54         0.00       611.54          0.00   S/L        5.00
 450   d   TOASTER                     6/04/93      340.00       0.00           0.00         340.00         0.00       340.00          0.00   S/L       10.00
 451       4 TABLES                    6/08/93      151.96       0.00           0.00         151.96         0.00       151.96          0.00   S/L       10.00
 452       30 CHAIRS                   6/08/93      177.03       0.00           0.00         177.03         0.00       177.03          0.00   S/L       10.00
 453   d   2 TV'S                      6/08/93      559.96       0.00           0.00         559.96         0.00       559.96          0.00   S/L        5.00
 454   d   1 VCR                       6/08/93      134.00       0.00           0.00         134.00         0.00       134.00          0.00   S/L        5.00
 455       4 FILE CABINETS             6/08/93      619.17       0.00           0.00         619.17         0.00       619.17          0.00   S/L       10.00
 456       6 BUSHEL TRUCKS             6/17/93    1,092.00       0.00           0.00       1,092.00         0.00     1,092.00          0.00   S/L       10.00
 457       1 UTILITY CART              6/17/93      102.00       0.00           0.00         102.00         0.00       102.00          0.00   S/L       10.00
 459       SYSTEM DEVELOPMENT          6/27/93      855.00       0.00           0.00         855.00         0.00       855.00          0.00   Amort      3.00
 460   d   TOSHIBA COPIER              6/29/93    2,000.00       0.00           0.00       2,000.00         0.00     2,000.00          0.00   S/L        5.00
 461       WHEELCHAIR                  6/30/93      100.00       0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
 462       MAPLE CHEST, 8 DRAWER       6/30/93      250.00       0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
 464       WHEELCHAIR                  6/30/93      150.00       0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
 465       SOFA BED,WALKER & STATIONARY6/30/93
                                           BIKE     210.00       0.00           0.00         210.00         0.00       210.00          0.00   S/L       10.00
 466   d   ZENITH 19" COLOR TV         6/30/93       75.00       0.00           0.00          75.00         0.00        75.00          0.00   S/L        5.00
 467       WALKER WITH WHEELS          6/30/93      100.00       0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
 468       LIFELINE WALL PULLEY SYSTEM7/01/93       391.64       0.00           0.00         391.64         0.00       391.64          0.00   S/L       10.00
 469       TABLE CADDIE                7/13/93      211.39       0.00           0.00         211.39         0.00       211.39          0.00   S/L       10.00
 470       DESK-PUTTY                  7/23/93      532.63       0.00           0.00         532.63         0.00       532.63          0.00   S/L       10.00
 471       SYSTEM DEVELOPMENT          7/28/93    1,925.96       0.00           0.00       1,925.96         0.00     1,925.96          0.00   Amort      3.00
 472       DESK                        8/10/93      520.00       0.00           0.00         520.00         0.00       520.00          0.00   S/L       10.00
 473       DRAIN CLEANER               8/11/93    1,175.00       0.00           0.00       1,175.00         0.00     1,175.00          0.00   S/L       10.00
 474   d   5 1/4" 1.2 MEG FLOPPY       8/15/93       80.00       0.00           0.00          80.00         0.00        80.00          0.00   S/L        5.00
 475   d   180 MEG HARD DRIVE          8/15/93      205.00       0.00           0.00         205.00         0.00       205.00          0.00   S/L        5.00
 476   d   ALBATON COLOR SCANNER       8/15/93      545.00       0.00           0.00         545.00         0.00       545.00          0.00   S/L        5.00
 477   d   NCR 3125 PEN NOTEBOOK       8/15/93      633.00       0.00           0.00         633.00         0.00       633.00          0.00   S/L        5.00
 478   d   PANASONIC 2023 PRINTER      8/15/93      195.00       0.00           0.00         195.00         0.00       195.00          0.00   S/L        5.00
 479   d   COMPUTER SYSTEM FOR EDEN MINISTRIES
                                       8/15/93      345.00       0.00           0.00         345.00         0.00       345.00          0.00   S/L        5.00
 480       SLIDE GLASS DOOR IN REFRIGERATOR
                                       8/16/93    1,692.00       0.00           0.00       1,692.00         0.00     1,692.00          0.00   S/L       10.00
 481       DESK, RETURN                8/25/93      489.87       0.00           0.00         489.87         0.00       489.87          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                              Book Asset Detail              1/01/17 - 12/31/17                                                Page 35
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 482     SYSTEM DEVELOPMENT             8/29/93    2,370.00      0.00           0.00       2,370.00         0.00     2,370.00          0.00   Amort      3.00
 483     CHARIOT AMBULATOR              8/31/93      494.50      0.00           0.00         494.50         0.00       494.50          0.00   S/L       10.00
 484     MOBIL MERCURIAL SPHYG          9/03/93      108.12      0.00           0.00         108.12         0.00       108.12          0.00   S/L       10.00
 485     RUBBERMAID UTILITY CART        9/03/93      179.90      0.00           0.00         179.90         0.00       179.90          0.00   S/L       10.00
 486     ROTO ROOTER DEVICE             9/08/93      331.92      0.00           0.00         331.92         0.00       331.92          0.00   S/L       10.00
 487     DESK 30 X 60                   9/10/93      297.29      0.00           0.00         297.29         0.00       297.29          0.00   S/L       10.00
 488     KEY MACHINE                    9/10/93      579.00      0.00           0.00         579.00         0.00       579.00          0.00   S/L       10.00
 489     CHAIR, WALL UNIT               9/16/93      246.99      0.00           0.00         246.99         0.00       246.99          0.00   S/L       10.00
 490     SYSTEM DEVELOPMENT             9/26/93    1,799.66      0.00           0.00       1,799.66         0.00     1,799.66          0.00   Amort      3.00
 491     OPEN SYSTEMS SOFTWARE          9/27/93    1,115.00      0.00           0.00       1,115.00         0.00     1,115.00          0.00   Amort      3.00
 492     PLASTIC SERVICE CART           9/29/93      204.22      0.00           0.00         204.22         0.00       204.22          0.00   S/L       10.00
 493     GEL MATTRESS ECONOMY           9/29/93      210.12      0.00           0.00         210.12         0.00       210.12          0.00   S/L       10.00
 494     NURSING PAGER                  9/30/93      134.95      0.00           0.00         134.95         0.00       134.95          0.00   S/L        5.00
 495     NORTHERN TELECOM TELEPHONE    10/01/93
                                           SYSTEM 32,848.90      0.00           0.00      32,848.90         0.00    32,848.90          0.00   S/L        5.00
 496 d   TIME CLOCK PROGRAM            10/05/93      295.00      0.00           0.00         295.00         0.00       295.00          0.00   Amort      3.00
 498     GEL MATTRESS ECONOMY          10/11/93      105.06      0.00           0.00         105.06         0.00       105.06          0.00   S/L       10.00
 499     RUBBERMAID UTILITY CART       10/13/93      179.90      0.00           0.00         179.90         0.00       179.90          0.00   S/L       10.00
 500     MOTOR                         10/14/93      295.85      0.00           0.00         295.85         0.00       295.85          0.00   S/L       10.00
 501     STANDARD STEAM COIL           10/20/93      825.00      0.00           0.00         825.00         0.00       825.00          0.00   S/L       10.00
 502 d   EARNED TIME PROGRAM           10/25/93      320.00      0.00           0.00         320.00         0.00       320.00          0.00   Amort      3.00
 503     UTILITY CART                  10/28/93      179.90      0.00           0.00         179.90         0.00       179.90          0.00   S/L       10.00
 504     BEDDING                       10/29/93      845.00      0.00           0.00         845.00         0.00       845.00          0.00   S/L       10.00
 505     SPRING-LOADED SIDERAILS       10/30/93      168.00      0.00           0.00         168.00         0.00       168.00          0.00   S/L       10.00
 506     SYSTEM DEVELOPMENT            10/31/93    3,150.00      0.00           0.00       3,150.00         0.00     3,150.00          0.00   Amort      3.00
 507 d   BACKUP TAPE DRIVE             10/31/93    1,290.00      0.00           0.00       1,290.00         0.00     1,290.00          0.00   S/L        5.00
 508     HOSPITAL BED                  10/31/93      500.00      0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 509     RECLINER                      10/31/93      300.00      0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
 510     BUS CART                      11/02/93      184.99      0.00           0.00         184.99         0.00       184.99          0.00   S/L       10.00
 511     TRANSPONDER                   11/03/93      622.85      0.00           0.00         622.85         0.00       622.85          0.00   S/L        5.00
 512     EXCEL PLUS ELECTRODE          11/04/93      125.90      0.00           0.00         125.90         0.00       125.90          0.00   S/L       10.00
 514     SPRINGLOADED SIDERAILS        12/08/93      168.00      0.00           0.00         168.00         0.00       168.00          0.00   S/L       10.00
 515     GEL MATTRESS                  12/14/93      110.56      0.00           0.00         110.56         0.00       110.56          0.00   S/L       10.00
 516     SPRING LATCH                  12/28/93      101.79      0.00           0.00         101.79         0.00       101.79          0.00   S/L       10.00
 518     TRANSPONDER                    1/04/94      147.00      0.00           0.00         147.00         0.00       147.00          0.00   S/L        5.00
 519     RINSE PIPE                     1/26/94      295.95      0.00           0.00         295.95         0.00       295.95          0.00   S/L       10.00
 520     HIGH PRESSURE WASHER           1/31/94      414.00      0.00           0.00         414.00         0.00       414.00          0.00   S/L       10.00
 521     SYSTEM DEVELOPMENT             1/31/94    1,470.00      0.00           0.00       1,470.00         0.00     1,470.00          0.00   Amort      3.00
 522     SYSTEM DEVELOPMENT             1/31/94      630.00      0.00           0.00         630.00         0.00       630.00          0.00   Amort      3.00
 523     THERMOSTAT                     1/31/94      402.64      0.00           0.00         402.64         0.00       402.64          0.00   S/L       10.00
 524     ORGAN                          2/01/94    1,000.00      0.00           0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
 525     COMPUTER PRINTER               2/01/94      365.00      0.00           0.00         365.00         0.00       365.00          0.00   S/L        5.00
 526     LOVESEAT                       2/01/94      100.00      0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
 527     STORAGE CABINET                2/14/94      199.00      0.00           0.00         199.00         0.00       199.00          0.00   S/L       10.00
 528     PRINTER KX-P2624               2/15/94      498.45      0.00           0.00         498.45         0.00       498.45          0.00   S/L        5.00
 530     ROTARY CHAIR                   2/25/94       72.00      0.00           0.00          72.00         0.00        72.00          0.00   S/L       10.00
 531     SYSTEM DEVELOPMENT             2/28/94       15.00      0.00           0.00          15.00         0.00        15.00          0.00   Amort      3.00
 532     WHEELCHAIR                     3/01/94      200.00      0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
 533     TITAN EPIC 440 LX-80 AIRLESS GUN
                                        3/01/94    1,083.50      0.00           0.00       1,083.50         0.00     1,083.50          0.00   S/L       10.00
 534     GEL MATTRESS ECONOMY           3/10/94      210.12      0.00           0.00         210.12         0.00       210.12          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                              Book Asset Detail              1/01/17 - 12/31/17                                                Page 36
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 535     NEW DOOR JIG                 3/11/94        192.50      0.00           0.00         192.50         0.00       192.50          0.00   S/L       10.00
 538     BED & MATTRESSES             3/18/94        225.00      0.00           0.00         225.00         0.00       225.00          0.00   S/L       10.00
 539     2 #4500 RUBBERMAID CARTS     3/25/94        209.90      0.00           0.00         209.90         0.00       209.90          0.00   S/L       10.00
 540     SOFTWARE                     3/30/94        412.00      0.00           0.00         412.00         0.00       412.00          0.00   Amort      3.00
 541     2 76" ONYX BED RECLINING     3/31/94        557.27      0.00           0.00         557.27         0.00       557.27          0.00   S/L       10.00
 542     SOFTWARE                     4/02/94        615.00      0.00           0.00         615.00         0.00       615.00          0.00   Amort      3.00
 543     HEAD & FOOT BOARDS           4/19/94        110.00      0.00           0.00         110.00         0.00       110.00          0.00   S/L       10.00
 544     HEAD & FOOT BOARDS           4/19/94        110.00      0.00           0.00         110.00         0.00       110.00          0.00   S/L       10.00
 545     3 FILE CABINETS              4/25/94        491.61      0.00           0.00         491.61         0.00       491.61          0.00   S/L       10.00
 546     BOOSTER HEATER               4/29/94      2,605.00      0.00           0.00       2,605.00         0.00     2,605.00          0.00   S/L       10.00
 547     16 GALLON CRAFTSMAN WET VAC  4/30/94         99.99      0.00           0.00          99.99         0.00        99.99          0.00   S/L       10.00
 548     TIME RECORDER                4/30/94        622.25      0.00           0.00         622.25         0.00       622.25          0.00   S/L       10.00
 549     SOFTWARE                     4/30/94        780.00      0.00           0.00         780.00         0.00       780.00          0.00   Amort      3.00
 550     LOUNGE CHAIR                 4/30/94        100.00      0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
 551     DINING & ACTIVITY TABLE      5/05/94        893.00      0.00           0.00         893.00         0.00       893.00          0.00   S/L       10.00
 552     HEAT PUMP                    5/05/94      1,256.00      0.00           0.00       1,256.00         0.00     1,256.00          0.00   S/L       10.00
 553     SHREDDER, STAND, AND BAGS 5/11/94         1,719.64      0.00           0.00       1,719.64         0.00     1,719.64          0.00   S/L       10.00
 554     10 HOSPITAL MATTRESSES       5/18/94      1,005.00      0.00           0.00       1,005.00         0.00     1,005.00          0.00   S/L       10.00
 555     2 RECLINING ONYX WITH CASTERS5/26/94        525.86      0.00           0.00         525.86         0.00       525.86          0.00   S/L       10.00
 556     SOFTWARE                     5/29/94        356.35      0.00           0.00         356.35         0.00       356.35          0.00   Amort      3.00
 557     SOFTWARE                     6/08/94         49.87      0.00           0.00          49.87         0.00        49.87          0.00   Amort      3.00
 558     OUTSIDE VIEW CAMERA          6/15/94        332.85      0.00           0.00         332.85         0.00       332.85          0.00   S/L       10.00
 559     NOBLES FLOOR BUFFER          6/16/94      1,290.00      0.00           0.00       1,290.00         0.00     1,290.00          0.00   S/L       10.00
 560     SOFTWARE                     6/26/94        390.00      0.00           0.00         390.00         0.00       390.00          0.00   Amort      3.00
 562     SOFTWARE                     7/31/94      1,269.14      0.00           0.00       1,269.14         0.00     1,269.14          0.00   Amort      3.00
 563     BEAUTY SHOP CHAIR WITH DRYER 7/31/94        100.00      0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
 564     SOFTWARE                     8/23/94        162.00      0.00           0.00         162.00         0.00       162.00          0.00   Amort      3.00
 565     SOFTWARE                     8/28/94        500.37      0.00           0.00         500.37         0.00       500.37          0.00   Amort      3.00
 566     HARDDRIVE UPGRADE 420MB      9/05/94        340.00      0.00           0.00         340.00         0.00       340.00          0.00   S/L        5.00
 567     2 DRAWER FILE CABINET        9/07/94        335.34      0.00           0.00         335.34         0.00       335.34          0.00   S/L       10.00
 568     WHIRLWIND VACUUM             9/09/94        375.00      0.00           0.00         375.00         0.00       375.00          0.00   S/L       10.00
 569     SYSTEM DEVELOPMENT           9/25/94        525.00      0.00           0.00         525.00         0.00       525.00          0.00   Amort      3.00
 570     BALDWIN PIANO                9/30/94      4,295.00      0.00           0.00       4,295.00         0.00     4,295.00          0.00   S/L       10.00
 571     5104 SILENT KNIGHT DIALER   10/10/94        500.00      0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 572     TIME CLOCK TERMINAL,SLOT SCANNER
                                     10/17/94 & DECODER
                                                     704.95      0.00           0.00         704.95         0.00       704.95          0.00   S/L       10.00
 573     VGA MONOCHROME MONITOR 10/17/94             144.00      0.00           0.00         144.00         0.00       144.00          0.00   S/L        5.00
 575     2 76" RECLINING ONYX CHAIRS 10/17/94        539.82      0.00           0.00         539.82         0.00       539.82          0.00   S/L       10.00
 576     10 VINYL HOSPITAL MATTRESSES10/19/94      1,005.00      0.00           0.00       1,005.00         0.00     1,005.00          0.00   S/L       10.00
 577     ROBARS DS FOOD PROCESSOR 10/28/94         1,127.88      0.00           0.00       1,127.88         0.00     1,127.88          0.00   S/L       10.00
 578     SYSTEM DEVELOPMENT          10/30/94        315.00      0.00           0.00         315.00         0.00       315.00          0.00   Amort      3.00
 579     SHOWER CHAIR                10/31/94      1,100.00      0.00           0.00       1,100.00         0.00     1,100.00          0.00   S/L       10.00
 580     TV,VCR, & CABINET           10/31/94        887.67      0.00           0.00         887.67         0.00       887.67          0.00   S/L       10.00
 581     SYSTEM DEVELOPMENT          11/27/94        859.25      0.00           0.00         859.25         0.00       859.25          0.00   Amort      3.00
 582     5 GROCERY CARTS             12/07/94      1,000.00      0.00           0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
 583     108 QUEENE ANNE CHAIRS, 10 CHIPPENDALE
                                     12/22/94     16,569.10
                                                  TABLES         0.00           0.00      16,569.10         0.00    16,569.10          0.00   S/L       10.00
 584     19" ZENITH TELEVISION       12/22/94        150.00      0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
 585     CONTOUR CHAIR               12/28/94      2,000.00      0.00           0.00       2,000.00         0.00     2,000.00          0.00   S/L       10.00
 586     SYSTEM DEVELOPMENT          12/31/94      1,379.43      0.00           0.00       1,379.43         0.00     1,379.43          0.00   Amort      3.00
 587     REUPHOLSTER CHAIRS & COUCHES 1/01/95      2,902.80      0.00           0.00       2,902.80         0.00     2,902.80          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                  Book Asset Detail          1/01/17 - 12/31/17                                                Page 37
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 588       FREON RECOVERY UNIT          1/10/95      1,128.86    0.00           0.00       1,128.86         0.00     1,128.86          0.00   S/L       10.00
 589       REUPHOLSTER CHAIRS & COUCHES 1/26/95      2,155.00    0.00           0.00       2,155.00         0.00     2,155.00          0.00   S/L       10.00
 590       14" VGA MONITOR & 256 VGA CARD
                                        2/07/95        139.00    0.00           0.00         139.00         0.00       139.00          0.00   S/L        5.00
 591       UPHOLSTER 4 LOVESEATS        2/17/95        760.00    0.00           0.00         760.00         0.00       760.00          0.00   S/L       10.00
 592       SYSTEM DEVELOPMENT           2/26/95        237.43    0.00           0.00         237.43         0.00       237.43          0.00   Amort      3.00
 593       SYSTEM DEVELOPMENT           2/26/95        255.00    0.00           0.00         255.00         0.00       255.00          0.00   Amort      3.00
 594       4 WHEELCHAIRS                2/27/95      1,082.81    0.00           0.00       1,082.81         0.00     1,082.81          0.00   S/L       10.00
 595       THERMOSCAN                   3/01/95      1,270.00    0.00           0.00       1,270.00         0.00     1,270.00          0.00   S/L       10.00
 596       REUPHOLSTER FURNITURE        3/03/95      1,265.00    0.00           0.00       1,265.00         0.00     1,265.00          0.00   S/L       10.00
 597   d   MITA COPIER                  3/24/95        595.00    0.00           0.00         595.00         0.00       595.00          0.00   S/L        5.00
 598       10 MATTRESSES                3/27/95      1,005.00    0.00           0.00       1,005.00         0.00     1,005.00          0.00   S/L       10.00
 599       2 MATTRESSES & BOX SPRINGS 3/27/95          358.00    0.00           0.00         358.00         0.00       358.00          0.00   S/L       10.00
 600   d   19" SONY TV WITH REMOTE      3/31/95        250.00    0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
 601       30 QT WHIP SST               4/18/95        140.75    0.00           0.00         140.75         0.00       140.75          0.00   S/L       10.00
 602       DELUXE AIR MATTRESS          4/20/95        161.88    0.00           0.00         161.88         0.00       161.88          0.00   S/L       10.00
 604       REUPHOLSTER FURNITURE        5/12/95        450.00    0.00           0.00         450.00         0.00       450.00          0.00   S/L       10.00
 605   d   3 DRYERS                     5/26/95      6,825.00    0.00           0.00       6,825.00         0.00     6,825.00          0.00   S/L       10.00
 606       HOT FOOD TABLE               6/22/95      1,144.80    0.00           0.00       1,144.80         0.00     1,144.80          0.00   S/L       10.00
 607       2 FILE SHELVES               6/27/95        542.22    0.00           0.00         542.22         0.00       542.22          0.00   S/L       10.00
 608       4 FILE SHELVES               6/27/95        924.44    0.00           0.00         924.44         0.00       924.44          0.00   S/L       10.00
 609       FURNITURE REUPHOLSTERY       6/29/95        500.00    0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 610       3 TABLEMATE ROCKERS          7/05/95      1,040.29    0.00           0.00       1,040.29         0.00     1,040.29          0.00   S/L       10.00
 611       MINI BLINDS                  7/07/95        455.00    0.00           0.00         455.00         0.00       455.00          0.00   S/L       10.00
 612       6 FILE SHELVES               7/11/95      1,466.66    0.00           0.00       1,466.66         0.00     1,466.66          0.00   S/L       10.00
 613   d   VCR                          7/17/95        149.99    0.00           0.00         149.99         0.00       149.99          0.00   S/L        5.00
 614       SYSTEM DEVELOPMENT           7/30/95      1,276.73    0.00           0.00       1,276.73         0.00     1,276.73          0.00   Amort      3.00
 616       SYSTEM DEVELOPMENT           8/27/95        102.07    0.00           0.00         102.07         0.00       102.07          0.00   Amort      3.00
 617       BIN FOOD INGREDIENT- 28 GALLON
                                        9/19/95        146.08    0.00           0.00         146.08         0.00       146.08          0.00   S/L       10.00
 618       2 UTILITY CARTS              9/19/95        198.00    0.00           0.00         198.00         0.00       198.00          0.00   S/L       10.00
 619       SYSTEM DEVELOPMENT           9/26/95        101.84    0.00           0.00         101.84         0.00       101.84          0.00   Amort      3.00
 620   d   COMPUTER SOFTWARE           10/31/95        341.99    0.00           0.00         341.99         0.00       341.99          0.00   Amort      3.00
 621       SYSTEM DEVELOPMENT          10/31/95         73.13    0.00           0.00          73.13         0.00        73.13          0.00   Amort      3.00
 622       RUBBERMAID BIN              11/21/95        146.08    0.00           0.00         146.08         0.00       146.08          0.00   S/L       10.00
 623       TELEPHONE                   11/21/95        369.72    0.00           0.00         369.72         0.00       369.72          0.00   S/L        5.00
 624       PRESSURE SENSITIVE MATTRESS11/21/95         169.00    0.00           0.00         169.00         0.00       169.00          0.00   S/L       10.00
 625       VELOUR RECLINER             11/30/95        200.00    0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
 626       OAK COFFEE TABLE            11/30/95         50.00    0.00           0.00          50.00         0.00        50.00          0.00   S/L       10.00
 627       BEDSIDE TABLE               11/30/95         50.03    0.00           0.00          50.03         0.00        50.03          0.00   S/L       10.00
 628       VENEER WOOD HIGHBOY CHEST11/30/95           200.00    0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
 629       COMMODE                     12/04/95        123.42    0.00           0.00         123.42         0.00       123.42          0.00   S/L       15.00
 630       WHEELCHAIR                  12/06/95        250.00    0.00           0.00         250.00         0.00       250.00          0.00   S/L        5.00
 631       WHEELCHAIR                  12/18/95        530.16    0.00           0.00         530.16         0.00       530.16          0.00   S/L        5.00
 632       OXYGEN CONC. 5 LITRE        12/26/95      1,096.59    0.00           0.00       1,096.59         0.00     1,096.59          0.00   S/L        8.00
 633       GIFTS IN KIND               12/31/95        750.00    0.00           0.00         750.00         0.00       750.00          0.00   S/L       10.00
 634   d   COMPUTER UPGRADES            1/01/96        155.00    0.00           0.00         155.00         0.00       155.00          0.00   S/L        5.00
 635       40 FREESTYLE QUICK LIFT BEDS 1/01/96     20,135.46    0.00           0.00      20,135.46         0.00    20,135.46          0.00   S/L       10.00
 636       40 SIDE RAILS                1/01/96      4,351.31    0.00           0.00       4,351.31         0.00     4,351.31          0.00   S/L       10.00
 637       40 BEDENDS,SET TRADITIONAL 1/01/96        2,047.67    0.00           0.00       2,047.67         0.00     2,047.67          0.00   S/L       10.00
 638       40 3 DRAWER CHESTS           1/01/96      4,649.93    0.00           0.00       4,649.93         0.00     4,649.93          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 38
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 639       40 NIGHT STANDS              1/01/96     6,356.32     0.00           0.00       6,356.32         0.00     6,356.32          0.00   S/L       10.00
 640       60 LAMPS                     1/01/96     5,247.17     0.00           0.00       5,247.17         0.00     5,247.17          0.00   S/L       10.00
 641       PHYSICIAN BEAM SCALE         1/08/96       202.08     0.00           0.00         202.08         0.00       202.08          0.00   S/L       10.00
 642       CART-BEAUTY SHOP             1/10/96       125.00     0.00           0.00         125.00         0.00       125.00          0.00   S/L       10.00
 643       20 MATTRESSES                1/10/96     3,923.62     0.00           0.00       3,923.62         0.00     3,923.62          0.00   S/L       10.00
 644       4 WHEELCHAIRS                1/15/96       503.39     0.00           0.00         503.39         0.00       503.39          0.00   S/L        5.00
 645       PHYSICIAN BEAM SCALE         1/18/96       180.64     0.00           0.00         180.64         0.00       180.64          0.00   S/L       10.00
 646       TRAPEZE SUPPORT KIT          1/19/96       945.00     0.00           0.00         945.00         0.00       945.00          0.00   S/L       10.00
 647       PANASONIC PRINTER            1/22/96       359.00     0.00           0.00         359.00         0.00       359.00          0.00   S/L        5.00
 648       SYSTEM DEVELOPMENT           1/31/96       740.00     0.00           0.00         740.00         0.00       740.00          0.00   Amort      3.00
 649   d   HP 4 PLUS PRINTER            2/15/96     1,368.00     0.00           0.00       1,368.00         0.00     1,368.00          0.00   S/L        5.00
 650   d   DELL COMPUTER                2/23/96     3,734.00     0.00           0.00       3,734.00         0.00     3,734.00          0.00   S/L        5.00
 651       SYSTEM DEVELOPMENT           2/25/96       644.59     0.00           0.00         644.59         0.00       644.59          0.00   Amort      3.00
 652       10 MATTRESSES                3/13/96     1,399.50     0.00           0.00       1,399.50         0.00     1,399.50          0.00   S/L       10.00
 653       46 BEDS,RAILS,DRESSERS AND END
                                        3/14/96
                                           TABLES 43,232.95      0.00           0.00      43,232.95         0.00    43,232.95          0.00   S/L       10.00
 654       2 DRESSERS                   3/14/96     1,628.71     0.00           0.00       1,628.71         0.00     1,628.71          0.00   S/L       10.00
 655       WROUGHT IRON TABLE, CHAIRS-PAVILLION
                                        3/18/96       447.56     0.00           0.00         447.56         0.00       447.56          0.00   S/L       10.00
 656       SOFTWARE DEVELOPMENT         3/31/96     2,958.50     0.00           0.00       2,958.50         0.00     2,958.50          0.00   Amort      3.00
 657       REWIRE COMPUTER PERIPHERALS  3/31/96       420.00     0.00           0.00         420.00         0.00       420.00          0.00   S/L       10.00
 658       WHEELCHAIR                   3/31/96       150.00     0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
 659       10 MATTRESSES                4/01/96     1,399.50     0.00           0.00       1,399.50         0.00     1,399.50          0.00   S/L       10.00
 660       46 BEDS, RAILS,DRESSERS AND END
                                        4/02/96
                                            TABLES 43,232.95     0.00           0.00      43,232.95         0.00    43,232.95          0.00   S/L       10.00
 661       10 MATTRESSES                4/10/96     1,399.50     0.00           0.00       1,399.50         0.00     1,399.50          0.00   S/L       10.00
 662       SYSTEM DEVELOPMENT           4/30/96     2,712.85     0.00           0.00       2,712.85         0.00     2,712.85          0.00   Amort      3.00
 666   d   250 MEG HARDDRIVE-MEDICAL RECORDS
                                        5/09/96       140.00     0.00           0.00         140.00         0.00       140.00          0.00   S/L        5.00
 667   d   COMPUTER UPGRADE-(2) 4 MEG HARDDRIVES
                                        5/09/96       200.00     0.00           0.00         200.00         0.00       200.00          0.00   S/L        5.00
 668       4 BANQUET TABLES & 24 CHAIRS5/16/96        339.78     0.00           0.00         339.78         0.00       339.78          0.00   S/L       10.00
 669       SYSTEM DEVELOPMENT           5/26/96       720.00     0.00           0.00         720.00         0.00       720.00          0.00   Amort      3.00
 670   d   QUASAR TV                    5/31/96       100.00     0.00           0.00         100.00         0.00       100.00          0.00   S/L        5.00
 671       ROLLAWAY BED                 5/31/96       119.00     0.00           0.00         119.00         0.00       119.00          0.00   S/L       10.00
 672       FILE CABINET                 6/07/96       111.95     0.00           0.00         111.95         0.00       111.95          0.00   S/L       10.00
 673       10 MATTRESSES                6/12/96     1,399.50     0.00           0.00       1,399.50         0.00     1,399.50          0.00   S/L       10.00
 674       PRINTER                      6/27/96       178.00     0.00           0.00         178.00         0.00       178.00          0.00   S/L        5.00
 678       NORSTAR TERMINAL             7/02/96       264.06     0.00           0.00         264.06         0.00       264.06          0.00   S/L        5.00
 679       (3) PLASTIC SERVICE CARTS    7/08/96       434.70     0.00           0.00         434.70         0.00       434.70          0.00   S/L       10.00
 680       (2) 2 DRAWER FILE CABINET    7/12/96       139.94     0.00           0.00         139.94         0.00       139.94          0.00   S/L       10.00
 681       (2) COMPUTERS                7/16/96     1,661.00     0.00           0.00       1,661.00         0.00     1,661.00          0.00   S/L        5.00
 682   d   REFRIGERATOR                 7/25/96       400.00     0.00           0.00         400.00         0.00       400.00          0.00   S/L       10.00
 683       HIGH SPEED BUFFER            7/29/96       300.00     0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
 684       SWING BUFFER                 7/29/96       300.00     0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
 685       SYSTEM DEVELOPMENT           7/31/96       511.78     0.00           0.00         511.78         0.00       511.78          0.00   Amort      3.00
 686       LEAF BLOWER/MULCHER          7/31/96       650.00     0.00           0.00         650.00         0.00       650.00          0.00   S/L        7.00
 687       PULSE OXIMETER HAND-HELD 8/12/96           685.71     0.00           0.00         685.71         0.00       685.71          0.00   S/L       10.00
 688       SERVICE STOOL                8/23/96       560.85     0.00           0.00         560.85         0.00       560.85          0.00   S/L       10.00
 689       UTILITY CART                 9/13/96       130.68     0.00           0.00         130.68         0.00       130.68          0.00   S/L       10.00
 690       CHANGING SCALE               9/13/96       180.00     0.00           0.00         180.00         0.00       180.00          0.00   S/L       10.00
 691       ELECTRIC PROJECTION SCREEN 9/17/96         829.00     0.00           0.00         829.00         0.00       829.00          0.00   S/L       10.00
 693   d   VCR                          9/20/96       139.96     0.00           0.00         139.96         0.00       139.96          0.00   S/L        5.00
 694       76" RECLINING ONYX BED       9/20/96       624.38     0.00           0.00         624.38         0.00       624.38          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 39
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 695       10 MATTRESSES              9/26/96      1,399.50      0.00           0.00       1,399.50         0.00     1,399.50          0.00   S/L       10.00
 696       RANGE                     11/15/96      3,096.00      0.00           0.00       3,096.00         0.00     3,096.00          0.00   S/L       10.00
 699   d   CANNON FAX MACHINE        12/12/96        559.90      0.00           0.00         559.90         0.00       559.90          0.00   S/L        5.00
 700       LAUNDRY CONTAINER          1/01/97        185.36      0.00           0.00         185.36         0.00       185.36          0.00   S/L       10.00
 701   d   COMPUTER REBUILD           1/08/97        697.00      0.00           0.00         697.00         0.00       697.00          0.00   S/L        5.00
 702       EXTRACTOR-WATER            1/21/97      1,500.00      0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L       10.00
 703       RECLINER                   1/24/97        350.00      0.00           0.00         350.00         0.00       350.00          0.00   S/L       10.00
 705       WHEELCHAIR                 1/30/97        695.18      0.00           0.00         695.18         0.00       695.18          0.00   S/L        5.00
 706       WHEELCHAIR RECLINING BACKREST
                                      1/31/97        176.40      0.00           0.00         176.40         0.00       176.40          0.00   S/L       10.00
 707       SOFTWARE                   1/31/97        119.98      0.00           0.00         119.98         0.00       119.98          0.00   Amort      3.00
 708       10 MATTRESSES              2/03/97      1,590.00      0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 709   d   UPGRADE BILL'S COMPUTER TO 120MHZ
                                      2/13/97        995.00      0.00           0.00         995.00         0.00       995.00          0.00   S/L        5.00
 710       WYSE 55 TERMINAL           2/13/97        360.00      0.00           0.00         360.00         0.00       360.00          0.00   S/L        5.00
 711       NORSTAR KEY LAMP           2/14/97        562.15      0.00           0.00         562.15         0.00       562.15          0.00   S/L       10.00
 712   d   DISPOSAL                   2/18/97      1,682.00      0.00           0.00       1,682.00         0.00     1,682.00          0.00   S/L       10.00
 713       GAS BLOWER                 2/28/97        100.00      0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
 715       CHAIR, SHOWER WIDE         3/01/97        165.27      0.00           0.00         165.27         0.00       165.27          0.00   S/L       10.00
 716       8 RECLINERS                3/03/97      2,152.00      0.00           0.00       2,152.00         0.00     2,152.00          0.00   S/L       10.00
 717       CHECKSIGNER & SIGNATURE PLATE
                                      3/13/97        825.00      0.00           0.00         825.00         0.00       825.00          0.00   S/L       10.00
 718   d   NETWARE 3.12 SOFTWARE      3/20/97        716.09      0.00           0.00         716.09         0.00       716.09          0.00   Amort      3.00
 719   d   COMPUTER, PENTIUM 133      4/01/97        968.00      0.00           0.00         968.00         0.00       968.00          0.00   S/L        5.00
 720   d   HEAVY DUTY WASHER/EXTRACTOR4/01/97     15,000.00      0.00           0.00      15,000.00         0.00    15,000.00          0.00   S/L       10.00
 721       SHOWER CHAIRS              4/10/97      3,539.00      0.00           0.00       3,539.00         0.00     3,539.00          0.00   S/L       10.00
 722       SYSTEM DEVELOPMENT         4/30/97      1,623.75      0.00           0.00       1,623.75         0.00     1,623.75          0.00   Amort      3.00
 723       10 MATTRESSES              5/07/97      1,590.00      0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 724       TERMINAL ADAPTOR           5/08/97        153.89      0.00           0.00         153.89         0.00       153.89          0.00   S/L        5.00
 725       1 CHAIR,3 SKIRTS, 1 CART   5/22/97      2,141.11      0.00           0.00       2,141.11         0.00     2,141.11          0.00   S/L       10.00
 727       SYSTEM DEVELOPMENT         5/25/97        397.00      0.00           0.00         397.00         0.00       397.00          0.00   Amort      3.00
 728       2 DESKS & FILE CABINET     5/26/97      1,340.00      0.00           0.00       1,340.00         0.00     1,340.00          0.00   S/L       10.00
 729       3 CEILING FANS             5/28/97        297.00      0.00           0.00         297.00         0.00       297.00          0.00   S/L       10.00
 730       PRINT-ARTWORK              5/29/97         35.56      0.00           0.00          35.56         0.00        35.56          0.00   S/L       10.00
 731       PENTIUM 133 COMPUTER       6/03/97      1,295.00      0.00           0.00       1,295.00         0.00     1,295.00          0.00   S/L        5.00
 732       TELEPHONES                 6/13/97        611.08      0.00           0.00         611.08         0.00       611.08          0.00   S/L        5.00
 733       WET VAC                    6/17/97        139.99      0.00           0.00         139.99         0.00       139.99          0.00   S/L       10.00
 734       10 MATTRESSES              6/25/97      1,590.00      0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 736       SYSTEM DEVELOPMENT         6/29/97        540.00      0.00           0.00         540.00         0.00       540.00          0.00   Amort      3.00
 737       WHEELCHAIR & POTTYCHAIR    6/30/97        800.00      0.00           0.00         800.00         0.00       800.00          0.00   S/L       10.00
 738       1 DESK                     7/07/97        773.95      0.00           0.00         773.95         0.00       773.95          0.00   S/L       10.00
 740   d   MITA COPIER                7/18/97      1,295.00      0.00           0.00       1,295.00         0.00     1,295.00          0.00   S/L        5.00
 741   d   IBM TYPEWRITER             7/19/97        200.00      0.00           0.00         200.00         0.00       200.00          0.00   S/L        5.00
 742       DINING TABLE & CHAIRS      7/31/97        150.00      0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
 743       OXYGEN CONCENTRATOR        8/01/97        956.56      0.00           0.00         956.56         0.00       956.56          0.00   S/L       10.00
 744       10 MATTRESSES              8/13/97      1,590.00      0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 745       TELEPHONE SYSTEM           8/19/97      2,629.58      0.00           0.00       2,629.58         0.00     2,629.58          0.00   S/L        5.00
 747       SYSTEM DEVELOPMENT         8/24/97        283.63      0.00           0.00         283.63         0.00       283.63          0.00   Amort      3.00
 748       EZ LABEL PRESS             8/25/97        945.00      0.00           0.00         945.00         0.00       945.00          0.00   S/L       10.00
 750       WURLITZER ORGAN            8/31/97        250.00      0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
 751       LATERAL FILE               9/17/97        550.00      0.00           0.00         550.00         0.00       550.00          0.00   S/L       10.00
 752       1 WALKER                   9/22/97        187.90      0.00           0.00         187.90         0.00       187.90          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                             Book Asset Detail               1/01/17 - 12/31/17                                                Page 40
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 753     NORSTAR TELEPHONE TERMINALS   9/23/97     189.25        0.00           0.00         189.25         0.00       189.25          0.00   S/L        5.00
 754     10 MATTRESSES                 9/24/97   1,590.00        0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 755     2 RECLINERS                   9/30/97     200.00        0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
 758     AIR COMPRESSOR                9/30/97     519.00        0.00           0.00         519.00         0.00       519.00          0.00   S/L       10.00
 759     SYSTEM DEVELOPMENT            9/30/97     585.00        0.00           0.00         585.00         0.00       585.00          0.00   Amort      3.00
 760     THERADYNE CHAIR              10/03/97     289.95        0.00           0.00         289.95         0.00       289.95          0.00   S/L       10.00
 761     SOFTWARE                     10/10/97     217.68        0.00           0.00         217.68         0.00       217.68          0.00   Amort      3.00
 763     THERADYNE CHAIR, DELX RECLINER
                                      10/14/97     525.15        0.00           0.00         525.15         0.00       525.15          0.00   S/L       10.00
 764     SR 12 SENSOR 12" VACUUM      10/15/97     370.00        0.00           0.00         370.00         0.00       370.00          0.00   S/L       10.00
 765     BIRD CAGE                    10/24/97     225.00        0.00           0.00         225.00         0.00       225.00          0.00   S/L       10.00
 766     5 CHAIRS                     10/29/97     390.00        0.00           0.00         390.00         0.00       390.00          0.00   S/L       10.00
 767     1 46" ROUND TABLE            10/29/97     305.00        0.00           0.00         305.00         0.00       305.00          0.00   S/L       10.00
 768 d   1 COMPUTER DESK              10/29/97     110.00        0.00           0.00         110.00         0.00       110.00          0.00   S/L       10.00
 769     SYSTEM DEVELOPMENT           10/31/97   1,244.09        0.00           0.00       1,244.09         0.00     1,244.09          0.00   Amort      3.00
 770     3 SILVER PLATED CHAFER SETS 10/31/97    1,000.00        0.00           0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
 771     6 SIDE CHAIRS                11/12/97     510.00        0.00           0.00         510.00         0.00       510.00          0.00   S/L       10.00
 772     STEELCASE DESK, 36 X 72 WALNUT
                                      11/12/97     330.00        0.00           0.00         330.00         0.00       330.00          0.00   S/L       10.00
 773     10 MATTRESSES                11/14/97   1,590.00        0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 774     BUTCHER BLOCK TOP DESK       11/18/97     330.00        0.00           0.00         330.00         0.00       330.00          0.00   S/L       10.00
 775     2 DOOR LATERAL OAKWOOD FILE  11/19/97
                                         CABINET   250.00        0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
 776     4 DRAWER FIREPROOF FILE      11/21/97     367.50        0.00           0.00         367.50         0.00       367.50          0.00   S/L       10.00
 777     2 TRADITIONAL SIDE CHAIRS 11/21/97        407.50        0.00           0.00         407.50         0.00       407.50          0.00   S/L       10.00
 778     SYSTEM DEVELOPMENT           11/30/97     442.50        0.00           0.00         442.50         0.00       442.50          0.00   Amort      3.00
 780     3 M7100 TELEPHONES           12/17/97     879.43        0.00           0.00         879.43         0.00       879.43          0.00   S/L        5.00
 781 d   5 COMPAQ COMPUTERS           12/23/97   7,345.00        0.00           0.00       7,345.00         0.00     7,345.00          0.00   S/L        5.00
 782     5 KDS 15" .28 MONITOR        12/23/97     999.95        0.00           0.00         999.95         0.00       999.95          0.00   S/L        5.00
 783 d   2 HP DESKETJET 722C PRINTERS 12/23/97     688.00        0.00           0.00         688.00         0.00       688.00          0.00   S/L        5.00
 784     MISC. COMPUTER EQUIP.        12/23/97   1,415.97        0.00           0.00       1,415.97         0.00     1,415.97          0.00   S/L        5.00
 785     SYSTEM DEVELOPMENT           12/28/97     735.90        0.00           0.00         735.90         0.00       735.90          0.00   Amort      3.00
 786     VULCAN CONVECTION STEAMER12/29/97
                                        COUNTERTOP
                                                 2,110.00        0.00           0.00       2,110.00         0.00     2,110.00          0.00   S/L       10.00
 787     S.C. WALNUT CREDENZA          1/01/98     292.50        0.00           0.00         292.50         0.00       292.50          0.00   S/L       10.00
 788     RT RETURN SECRETARIAL         1/01/98     267.50        0.00           0.00         267.50         0.00       267.50          0.00   S/L       10.00
 789     5 BEDS 76"                    1/01/98   2,304.00        0.00           0.00       2,304.00         0.00     2,304.00          0.00   S/L       10.00
 790     PAINTINGS                     1/01/98   1,238.60        0.00           0.00       1,238.60         0.00     1,238.60          0.00   S/L       10.00
 791     SONY CAMCORDER                1/02/98     729.95        0.00           0.00         729.95         0.00       729.95          0.00   S/L        5.00
 792     10 MATTRESSES                 1/05/98   1,590.00        0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 793     TELEPHONES                    1/07/98     158.40        0.00           0.00         158.40         0.00       158.40          0.00   S/L        5.00
 794     SCALE WHEELCHAIR,RAMP         1/09/98     923.32        0.00           0.00         923.32         0.00       923.32          0.00   S/L       10.00
 795     VAN-TELEPHONE                 1/12/98     199.00        0.00           0.00         199.00         0.00       199.00          0.00   S/L       10.00
 796     HANDBELL SET                  1/21/98     335.95        0.00           0.00         335.95         0.00       335.95          0.00   S/L       10.00
 797     SYSTEM DEVELOPMENT            1/31/98   3,090.00        0.00           0.00       3,090.00         0.00     3,090.00          0.00   Amort      3.00
 798     THERMOSCAN                    2/03/98     315.46        0.00           0.00         315.46         0.00       315.46          0.00   S/L       10.00
 799     SURGE PROTECTOR & UPS         2/05/98     400.40        0.00           0.00         400.40         0.00       400.40          0.00   S/L        5.00
 800     WHEELCHAIR, EXCEL             2/11/98     420.66        0.00           0.00         420.66         0.00       420.66          0.00   S/L       10.00
 801     3 LOCKERS                     2/11/98     549.28        0.00           0.00         549.28         0.00       549.28          0.00   S/L       10.00
 802     WORK CENTER                   2/16/98     138.00        0.00           0.00         138.00         0.00       138.00          0.00   S/L       10.00
 803     3 WORKCENTERS                 2/17/98     414.00        0.00           0.00         414.00         0.00       414.00          0.00   S/L       10.00
 804     KING KAN RECEPTACLE           2/18/98     161.80        0.00           0.00         161.80         0.00       161.80          0.00   S/L       10.00
 805     CARPET & VINYL                2/19/98     401.15        0.00           0.00         401.15         0.00       401.15          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                             Book Asset Detail               1/01/17 - 12/31/17                                                Page 41
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 806       SYSTEM DEVELOPMENT         2/28/98     1,350.00       0.00           0.00       1,350.00         0.00     1,350.00          0.00   Amort      3.00
 807       SIDE RAIL                  3/02/98       244.96       0.00           0.00         244.96         0.00       244.96          0.00   S/L       10.00
 808       HP DESKJET PRINTER         3/06/98       649.96       0.00           0.00         649.96         0.00       649.96          0.00   S/L        5.00
 809       MINI BLINDS                3/19/98     1,231.60       0.00           0.00       1,231.60         0.00     1,231.60          0.00   S/L       10.00
 810       10 MATTRESSES              3/20/98     1,590.00       0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 811       SYSTEM DEVELOPMENT         3/25/98     2,020.80       0.00           0.00       2,020.80         0.00     2,020.80          0.00   Amort      3.00
 812       BED END TABLE              3/31/98       140.03       0.00           0.00         140.03         0.00       140.03          0.00   S/L       10.00
 813   d   COMPAQ COMPUTER            4/03/98     1,197.60       0.00           0.00       1,197.60         0.00     1,197.60          0.00   S/L        5.00
 814   d   MONITOR AND TAPEDRIVE      4/07/98       465.00       0.00           0.00         465.00         0.00       465.00          0.00   S/L        5.00
 815   d   4 COMPAQ COMPUTERS         4/09/98     4,730.40       0.00           0.00       4,730.40         0.00     4,730.40          0.00   S/L        5.00
 816       4 MONITORS                 4/09/98       760.00       0.00           0.00         760.00         0.00       760.00          0.00   S/L        5.00
 817   d   2 HP DESKJET PRINTERS      4/09/98       580.00       0.00           0.00         580.00         0.00       580.00          0.00   S/L        5.00
 818   d   COMPUTER SOFTWARE          4/09/98       596.96       0.00           0.00         596.96         0.00       596.96          0.00   Amort      3.00
 819   d   WINDOWS 95 , CD ROM        4/16/98       177.92       0.00           0.00         177.92         0.00       177.92          0.00   Amort      3.00
 820   d   MONITOR AND PRINTER        4/21/98     1,058.99       0.00           0.00       1,058.99         0.00     1,058.99          0.00   S/L        5.00
 821   d   COMPUTER                   4/21/98     1,200.60       0.00           0.00       1,200.60         0.00     1,200.60          0.00   S/L        5.00
 822   d   HP LASERJET 4000SE PRINTER 4/23/98     1,158.28       0.00           0.00       1,158.28         0.00     1,158.28          0.00   S/L        5.00
 823       REUPHOLSTER FURNITURE      4/30/98       419.60       0.00           0.00         419.60         0.00       419.60          0.00   S/L       10.00
 824       SYSTEM DEVELOPMENT         4/30/98     2,505.00       0.00           0.00       2,505.00         0.00     2,505.00          0.00   Amort      3.00
 825       SR12 SENSOR 12" VACUUM     5/04/98       370.00       0.00           0.00         370.00         0.00       370.00          0.00   S/L       10.00
 826       AIR COMPRESSOR             5/04/98       379.00       0.00           0.00         379.00         0.00       379.00          0.00   S/L       10.00
 827       SYSTEM DEVELOPMENT         5/24/98       225.00       0.00           0.00         225.00         0.00       225.00          0.00   Amort      3.00
 828       EQUIPMENT                  5/31/98       756.00       0.00           0.00         756.00         0.00       756.00          0.00   S/L       10.00
 829   d   WARING ONE GALLON BLENDER 6/01/98        773.00       0.00           0.00         773.00         0.00       773.00          0.00   S/L       10.00
 830       10 MATTRESSES              6/05/98     1,590.00       0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 831       PHIL 15" MONITOR           6/23/98       543.33       0.00           0.00         543.33         0.00       543.33          0.00   S/L        5.00
 832   d   HP DESKJET 722C            6/23/98       289.62       0.00           0.00         289.62         0.00       289.62          0.00   S/L        5.00
 833       MS HOME ESSENTIALS(SOFTWARE)
                                      6/23/98       189.88       0.00           0.00         189.88         0.00       189.88          0.00   Amort      3.00
 834   d   HP LASERJET 4000SE         6/23/98     1,136.89       0.00           0.00       1,136.89         0.00     1,136.89          0.00   S/L        5.00
 835   d   COMPAQ DP EPSBC C266       6/23/98     1,206.46       0.00           0.00       1,206.46         0.00     1,206.46          0.00   S/L        5.00
 836   d   COMPAQ DP EP C266          6/23/98       878.50       0.00           0.00         878.50         0.00       878.50          0.00   S/L        5.00
 837   d   COMPAQ DP EPSBS            6/23/98     1,566.69       0.00           0.00       1,566.69         0.00     1,566.69          0.00   S/L        5.00
 838   d   CD ROM DRIVE               6/23/98       101.11       0.00           0.00         101.11         0.00       101.11          0.00   S/L        5.00
 839   d   COMPUTER INSTALLATION      6/23/98        64.97       0.00           0.00          64.97         0.00        64.97          0.00   S/L        5.00
 840       2 WOOD DESKS               6/29/98       140.00       0.00           0.00         140.00         0.00       140.00          0.00   S/L       10.00
 841       USED FURNITURE             7/03/98        75.00       0.00           0.00          75.00         0.00        75.00          0.00   S/L       10.00
 842       STAINLESS STEEL CABINETS   7/07/98    10,399.60       0.00           0.00      10,399.60         0.00    10,399.60          0.00   S/L       10.00
 843       ELECTRIC WHEELCHAIR        7/16/98       500.00       0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 844       MITA LASER FAX             7/21/98     1,499.00       0.00           0.00       1,499.00         0.00     1,499.00          0.00   S/L        5.00
 845       OXYGEN CONCENTRATOR        7/21/98     4,225.00       0.00           0.00       4,225.00         0.00     4,225.00          0.00   S/L       10.00
 846       EQUIPMENT-GE CAPITAL       7/24/98       293.34       0.00           0.00         293.34         0.00       293.34          0.00   S/L       10.00
 847       ALUMINUM CAN RACK          7/24/98       362.65       0.00           0.00         362.65         0.00       362.65          0.00   S/L       10.00
 848       3 SHELF CART               7/24/98       969.00       0.00           0.00         969.00         0.00       969.00          0.00   S/L       10.00
 849       2500 EGALE COM. AIR        7/29/98       460.00       0.00           0.00         460.00         0.00       460.00          0.00   S/L       10.00
 850       12 DRS-ALUMINUM REAR LOADING
                                      7/29/98
                                         UNIT       240.52       0.00           0.00         240.52         0.00       240.52          0.00   S/L       10.00
 851       CEILING FAN                8/05/98       130.92       0.00           0.00         130.92         0.00       130.92          0.00   S/L       10.00
 852       2 DRAWER FILE CABINET      8/06/98       218.00       0.00           0.00         218.00         0.00       218.00          0.00   S/L       10.00
 853       4 DRAWER FILE CABINET      8/06/98       139.95       0.00           0.00         139.95         0.00       139.95          0.00   S/L       10.00
 854   d   DRYER MOTOR                8/06/98       401.50       0.00           0.00         401.50         0.00       401.50          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                 Book Asset Detail           1/01/17 - 12/31/17                                                Page 42
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 855       6 DINING ROOM TABLES & BASES8/10/98      4,539.00     0.00           0.00       4,539.00         0.00     4,539.00          0.00   S/L       10.00
 856       RESPIRADYNE II PLUS SYSTEM 8/24/98       2,005.37     0.00           0.00       2,005.37         0.00     2,005.37          0.00   S/L       10.00
 857       MOBILE HOT WELL             8/28/98      2,852.00     0.00           0.00       2,852.00         0.00     2,852.00          0.00   S/L       10.00
 858       TURBULATORS-# 2 BOILER      8/31/98        550.00     0.00           0.00         550.00         0.00       550.00          0.00   S/L       10.00
 859       REFRIGERATOR                8/31/98        500.00     0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 860       OUTSIDE FOUNTAIN            8/31/98        500.00     0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 862       WHEELCHAIR                  8/31/98        700.00     0.00           0.00         700.00         0.00       700.00          0.00   S/L       10.00
 863       SYSTEM DEVELOPMENT          8/31/98        246.64     0.00           0.00         246.64         0.00       246.64          0.00   Amort      3.00
 864       12 SECRETARIAL CHAIRS       9/11/98        840.00     0.00           0.00         840.00         0.00       840.00          0.00   S/L       10.00
 865   d   PAYROLL SOFTWARE            9/15/98        200.00     0.00           0.00         200.00         0.00       200.00          0.00   Amort      3.00
 866       PROJECTOR SCREEN           10/02/98        217.60     0.00           0.00         217.60         0.00       217.60          0.00   S/L       10.00
 867       MICROPHONE                 10/29/98        105.00     0.00           0.00         105.00         0.00       105.00          0.00   S/L       10.00
 868       MATTRESSES                 10/31/98      1,590.00     0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 869       REFRIGERATOR               11/13/98        149.00     0.00           0.00         149.00         0.00       149.00          0.00   S/L       10.00
 870       MINI EXTRACTOR W/ DELUXE TOOL
                                      11/16/98        589.00     0.00           0.00         589.00         0.00       589.00          0.00   S/L       10.00
 871       EQUIPMENT                  12/01/98        750.00     0.00           0.00         750.00         0.00       750.00          0.00   S/L       10.00
 872   d   DESKJET PRINTER            12/01/98      1,369.70     0.00           0.00       1,369.70         0.00     1,369.70          0.00   S/L        5.00
 873       PICTURE                    12/01/98        300.00     0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
 874       NATIVITY SCENE/DECOR       12/01/98        200.00     0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
 875       WHEELCHAIR, CROSS COUNTRY 12/01/98
                                       SKIER          300.00     0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
 876       2 PODIATRIST CHAIRS        12/01/98      1,200.00     0.00           0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
 877       HAMMOND ORGAN              12/01/98      1,200.00     0.00           0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
 878       COMPUTER DESK              12/01/98        175.00     0.00           0.00         175.00         0.00       175.00          0.00   S/L       10.00
 879       DESIGNER PUZZLES           12/01/98        200.00     0.00           0.00         200.00         0.00       200.00          0.00   S/L        5.00
 880       ELECTRIC WHEELCHAIR        12/01/98      2,000.00     0.00           0.00       2,000.00         0.00     2,000.00          0.00   S/L       10.00
 881       YUNG TANG PIANO            12/01/98      1,400.00     0.00           0.00       1,400.00         0.00     1,400.00          0.00   S/L       10.00
 882       POTTY CHAIR                12/01/98         97.50     0.00           0.00          97.50         0.00        97.50          0.00   S/L       10.00
 883       BROTHER LASER FAX MFC4650 1/04/99          483.78     0.00           0.00         483.78         0.00       483.78          0.00   S/L        5.00
 885       UTILITY CART                1/06/99        137.70     0.00           0.00         137.70         0.00       137.70          0.00   S/L       10.00
 886   d   COMPAQ DESKPRO EP & MONITOR 1/13/99      1,109.99     0.00           0.00       1,109.99         0.00     1,109.99          0.00   S/L        5.00
 887       WASH ARM NOZZLE             1/18/99        512.29     0.00           0.00         512.29         0.00       512.29          0.00   S/L       10.00
 888       OXYGEN CONCENTRATOR         1/28/99      1,800.00     0.00           0.00       1,800.00         0.00     1,800.00          0.00   S/L       10.00
 889       RANGE                       1/30/99        548.37     0.00           0.00         548.37         0.00       548.37          0.00   S/L       10.00
 890       HYDRAULIC JACK LIFTER       2/01/99        411.74     0.00           0.00         411.74         0.00       411.74          0.00   S/L       10.00
 891       PNEUMATIC OTOSCOPE          2/03/99        163.81     0.00           0.00         163.81         0.00       163.81          0.00   S/L       10.00
 892       UTILITY CART                2/09/99        155.04     0.00           0.00         155.04         0.00       155.04          0.00   S/L       10.00
 893       THERMOSCAN                  2/18/99        318.64     0.00           0.00         318.64         0.00       318.64          0.00   S/L       10.00
 894       THERMOSCAN COVERS           2/18/99         60.07     0.00           0.00          60.07         0.00        60.07          0.00   S/L       10.00
 895       MITA FAX MACHINE            2/22/99      1,849.00     0.00           0.00       1,849.00         0.00     1,849.00          0.00   S/L        5.00
 896       REFRIGERATOR                2/23/99      1,580.00     0.00           0.00       1,580.00         0.00     1,580.00          0.00   S/L       10.00
 897       10 MATTRESSES               2/25/99      1,590.00     0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 898   d   COPIER-MEDICAL RECORDS      2/26/99      6,969.00     0.00           0.00       6,969.00         0.00     6,969.00          0.00   S/L        5.00
 899       LIBBEY GLASSES              2/28/99        179.16     0.00           0.00         179.16         0.00       179.16          0.00   S/L        5.00
 900       SHAMPOO BOWL                3/01/99        169.00     0.00           0.00         169.00         0.00       169.00          0.00   S/L       10.00
 901       SHAMPOO BOWL                3/01/99        169.00     0.00           0.00         169.00         0.00       169.00          0.00   S/L       10.00
 902       OTOSCOPE HANDLE             3/01/99         94.03     0.00           0.00          94.03         0.00        94.03          0.00   S/L       10.00
 903       PNEUMATIC OTOSCOPE          3/02/99        254.48     0.00           0.00         254.48         0.00       254.48          0.00   S/L       10.00
 904       ANNUNCIATOR(ALARM SYSTEM)3/10/99           340.00     0.00           0.00         340.00         0.00       340.00          0.00   S/L       10.00
 905       PHYSICIAN SCALE             3/11/99        239.13     0.00           0.00         239.13         0.00       239.13          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                             Book Asset Detail               1/01/17 - 12/31/17                                                Page 43
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
 906     OZONE ANALYZER               3/16/99       340.00       0.00           0.00         340.00         0.00       340.00          0.00   S/L       10.00
 907     STEAMTABLE                   3/23/99     1,919.00       0.00           0.00       1,919.00         0.00     1,919.00          0.00   S/L       10.00
 908     5 MINI BLINDS                3/31/99       449.78       0.00           0.00         449.78         0.00       449.78          0.00   S/L       10.00
 909     PNEUMATIC OTOSCOPE           4/01/99       250.60       0.00           0.00         250.60         0.00       250.60          0.00   S/L       10.00
 910     THERMOSCAN                   4/01/99       322.98       0.00           0.00         322.98         0.00       322.98          0.00   S/L       10.00
 911     8 STACK CHAIRS               5/01/99       320.00       0.00           0.00         320.00         0.00       320.00          0.00   S/L       10.00
 912     2 SECRETARIAL CHAIRS         5/01/99       150.00       0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
 913     REFRIGERATOR                 5/11/99     1,580.00       0.00           0.00       1,580.00         0.00     1,580.00          0.00   S/L       10.00
 914     10 MATTRESSES                5/25/99     1,590.00       0.00           0.00       1,590.00         0.00     1,590.00          0.00   S/L       10.00
 915     2 CHAIRS-DEVELOPMENT         5/31/99       450.00       0.00           0.00         450.00         0.00       450.00          0.00   S/L       10.00
 916     SHELVES                      6/10/99       797.40       0.00           0.00         797.40         0.00       797.40          0.00   S/L       10.00
 917     STEAM TABLE                  6/11/99     1,919.00       0.00           0.00       1,919.00         0.00     1,919.00          0.00   S/L       10.00
 919     2 RECLINERS                  6/22/99     1,450.00       0.00           0.00       1,450.00         0.00     1,450.00          0.00   S/L       10.00
 920     KITCHEN EQUIPMENT            6/22/99     1,422.69       0.00           0.00       1,422.69         0.00     1,422.69          0.00   S/L       10.00
 922     A.O. SMITH WATER HEATER-LAUNDRY
                                      6/30/99     5,303.50       0.00           0.00       5,303.50         0.00     5,303.50          0.00   S/L       10.00
 927     MERIT BURNISHER & RM32 SWEEPER
                                      7/13/99     1,850.00       0.00           0.00       1,850.00         0.00     1,850.00          0.00   S/L       10.00
 928     LIGHTNING BURNISHER          7/13/99     3,500.00       0.00           0.00       3,500.00         0.00     3,500.00          0.00   S/L       10.00
 929     TITAN SUPER GULP SQUEEGEE VAC7/13/99       845.00       0.00           0.00         845.00         0.00       845.00          0.00   S/L       10.00
 930     WHEELCHAIR                   7/14/99       657.00       0.00           0.00         657.00         0.00       657.00          0.00   S/L       10.00
 932     THERMOSTAT                   8/19/99       230.72       0.00           0.00         230.72         0.00       230.72          0.00   S/L       10.00
 933     2 AMANA APPLIANCES           8/19/99     1,800.00       0.00           0.00       1,800.00         0.00     1,800.00          0.00   S/L       10.00
 934     WHEELCHAIR AND 2 MATTRESSES  8/31/99       550.00       0.00           0.00         550.00         0.00       550.00          0.00   S/L       10.00
 935     CONSOLE TV, RECORD PLAYER 8/31/99          250.00       0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
 936     MUSICAL ORGAN & CHAIR        8/31/99       500.00       0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
 938     SIDE BED RAILS               9/09/99       848.90       0.00           0.00         848.90         0.00       848.90          0.00   S/L       10.00
 939     WORKCENTER FOR COMPUTER 9/16/99            129.94       0.00           0.00         129.94         0.00       129.94          0.00   S/L       10.00
 940     MOBILE CART                  9/16/99        99.99       0.00           0.00          99.99         0.00        99.99          0.00   S/L       10.00
 942     REFRIGERATION EQUIPMENT      9/29/99     3,393.84       0.00           0.00       3,393.84         0.00     3,393.84          0.00   S/L       10.00
 943     ONE GALLON BLENDER           9/30/99       889.00       0.00           0.00         889.00         0.00       889.00          0.00   S/L       10.00
 944     WORKSTATION                 10/05/99       119.99       0.00           0.00         119.99         0.00       119.99          0.00   S/L       10.00
 945     WORKCENTER, COMPUTER        10/05/99       119.99       0.00           0.00         119.99         0.00       119.99          0.00   S/L       10.00
 946     WORKCENTER, COMPUTER        10/05/99        99.99       0.00           0.00          99.99         0.00        99.99          0.00   S/L       10.00
 947     REPLACE CUSHIONS FOR COUCH,CHAIRS
                                     10/05/99       851.40       0.00           0.00         851.40         0.00       851.40          0.00   S/L       10.00
 949     GARBAGE CANS                10/13/99     1,771.11       0.00           0.00       1,771.11         0.00     1,771.11          0.00   S/L       10.00
 950     GARBAGE CAN LIDS            10/14/99       113.40       0.00           0.00         113.40         0.00       113.40          0.00   S/L       10.00
 951     RAIL MOUNTING ASSEMBLY      10/20/99       110.76       0.00           0.00         110.76         0.00       110.76          0.00   S/L       10.00
 953 d   HP LASERJET 5000N           10/26/99     2,295.00       0.00           0.00       2,295.00         0.00     2,295.00          0.00   S/L        5.00
1217 d   HP LASERJET 500N PAPER TRAY 11/01/99       250.00       0.00           0.00         250.00         0.00       250.00          0.00   S/L        5.00
1221     2 WHEELCHAIRS               11/30/99       458.00       0.00           0.00         458.00         0.00       458.00          0.00   S/L       10.00
1222     TREADMILL                   11/30/99       700.00       0.00           0.00         700.00         0.00       700.00          0.00   S/L       10.00
1223     LID DOMES-KITCHEN           11/05/99       442.80       0.00           0.00         442.80         0.00       442.80          0.00   S/L       10.00
1224     UNDERLINERS-KITCH. EQUIP. 11/05/99         417.90       0.00           0.00         417.90         0.00       417.90          0.00   S/L       10.00
1225     KITCHEN MATS                11/05/99       310.24       0.00           0.00         310.24         0.00       310.24          0.00   S/L       10.00
1226     KITCHEN PAN SHEETS          11/16/99       398.40       0.00           0.00         398.40         0.00       398.40          0.00   S/L       10.00
1233     CHAIR                       12/21/99        99.99       0.00           0.00          99.99         0.00        99.99          0.00   S/L        5.00
1234     MINI BLINDS                 12/13/99       460.30       0.00           0.00         460.30         0.00       460.30          0.00   S/L       10.00
1235     WHEELCHAIRS                 11/30/99       498.00       0.00           0.00         498.00         0.00       498.00          0.00   S/L        5.00
1255 d   TIMEKEEPER SYSTEM-KRONOS 9/30/99        22,097.00       0.00           0.00      22,097.00         0.00    22,097.00          0.00   S/L        5.00
1268     SIDE BED RAILS               1/01/00        79.20       0.00           0.00          79.20         0.00        79.20          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                 Book Asset Detail           1/01/17 - 12/31/17                                                Page 44
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
1269       SIDE BED RAILS              1/07/00        624.00     0.00           0.00         624.00         0.00       624.00          0.00   S/L       10.00
1270       FIREPROOF FILE,SECURITY CHEST
                                       1/21/00        284.07     0.00           0.00         284.07         0.00       284.07          0.00   S/L       10.00
1271       W/C 16" RECLINER            1/14/00        585.00     0.00           0.00         585.00         0.00       585.00          0.00   S/L       10.00
1272       5 MATTRESSES                2/01/00        920.00     0.00           0.00         920.00         0.00       920.00          0.00   S/L       10.00
1273       SIGNATURE LINE WORKSTATION2/16/00          702.75     0.00           0.00         702.75         0.00       702.75          0.00   S/L        5.00
1274   d   OKIDATA LASER PRINTERS (2) 2/22/00         620.24     0.00           0.00         620.24         0.00       620.24          0.00   S/L        5.00
1275       NEW AMPLIFIER               2/18/00        536.25     0.00           0.00         536.25         0.00       536.25          0.00   S/L        5.00
1276       6 COMMODES                  3/15/00      1,170.00     0.00           0.00       1,170.00         0.00     1,170.00          0.00   S/L       10.00
1277   d   SOFTWARE FOR MAILING SCALE 3/24/00         205.00     0.00           0.00         205.00         0.00       205.00          0.00   Amort      3.00
1278       WHEELCHAIR 18" RECLINING    2/21/00        635.00     0.00           0.00         635.00         0.00       635.00          0.00   S/L       10.00
1279       2 WHEELCHAIR PADS           3/02/00        113.40     0.00           0.00         113.40         0.00       113.40          0.00   S/L       10.00
1280       MONO KARAOKE SYSTEM         4/14/00         99.99     0.00           0.00          99.99         0.00        99.99          0.00   S/L       10.00
1281       10 MATTRESSES               3/14/00      1,840.00     0.00           0.00       1,840.00         0.00     1,840.00          0.00   S/L       10.00
1282       HIGH BACK SHOWER CHAIR      4/18/00        132.12     0.00           0.00         132.12         0.00       132.12          0.00   S/L       10.00
1283   d   BLENDER                     4/20/00        109.50     0.00           0.00         109.50         0.00       109.50          0.00   S/L       10.00
1284       2 WHEELCHAIRS               3/31/00      1,300.00     0.00           0.00       1,300.00         0.00     1,300.00          0.00   S/L       10.00
1286       DESK CHAIRS                 5/25/00        519.96     0.00           0.00         519.96         0.00       519.96          0.00   S/L       10.00
1287       UTILITY CART                6/07/00        361.72     0.00           0.00         361.72         0.00       361.72          0.00   S/L       10.00
1288       10 MATTRESSES               5/24/00      1,840.00     0.00           0.00       1,840.00         0.00     1,840.00          0.00   S/L       10.00
1289       ACTUATOR, POWER LIFT        6/13/00        988.78     0.00           0.00         988.78         0.00       988.78          0.00   S/L       10.00
1290       CHAIR                       6/29/00         96.99     0.00           0.00          96.99         0.00        96.99          0.00   S/L       10.00
1291   d   COMPUTER & FAX              5/18/00      2,785.00     0.00           0.00       2,785.00         0.00     2,785.00          0.00   S/L        5.00
1292       DESKS AND CHAIRS            4/11/00      3,118.00     0.00           0.00       3,118.00         0.00     3,118.00          0.00   S/L       10.00
1293       FILTER                      6/16/00        143.00     0.00           0.00         143.00         0.00       143.00          0.00   S/L       10.00
1294       BOOKCASE                    6/27/00        126.09     0.00           0.00         126.09         0.00       126.09          0.00   S/L       10.00
1295       3 MULTI-PURPOSE CARTS       6/23/00      1,066.97     0.00           0.00       1,066.97         0.00     1,066.97          0.00   S/L       10.00
1300       WHEELCHAIR                  2/08/00        500.00     0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
1339       FILE CABINET                7/11/00        310.39     0.00           0.00         310.39         0.00       310.39          0.00   S/L       10.00
1340       COMPUTER WORKSTATION        7/11/00        116.39     0.00           0.00         116.39         0.00       116.39          0.00   S/L       10.00
1341       SMOKE DETECTOR              7/12/00        371.05     0.00           0.00         371.05         0.00       371.05          0.00   S/L       10.00
1342       5 SIDE RAILS                7/12/00        746.90     0.00           0.00         746.90         0.00       746.90          0.00   S/L       10.00
1343       WHEELCHAIR                  7/31/00      1,200.00     0.00           0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
1344       SHOWER CHAIR                8/01/00        382.47     0.00           0.00         382.47         0.00       382.47          0.00   S/L       10.00
1345       FILE CABINET                8/01/00        288.57     0.00           0.00         288.57         0.00       288.57          0.00   S/L       10.00
1346       WALKER                      8/31/00        400.00     0.00           0.00         400.00         0.00       400.00          0.00   S/L       10.00
1347       WALKER, POTTY CHAIR         9/30/00      1,300.00     0.00           0.00       1,300.00         0.00     1,300.00          0.00   S/L       10.00
1377       BLENDER                     6/07/00      1,142.10     0.00           0.00       1,142.10         0.00     1,142.10          0.00   S/L       10.00
1378       2 CHAIRS                    5/30/00        519.96     0.00           0.00         519.96         0.00       519.96          0.00   S/L       10.00
1383       ELECTRIC CHAIR             11/30/00        300.00     0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
1384       THERMOSCAN PRO 3000        12/06/00        308.28     0.00           0.00         308.28         0.00       308.28          0.00   S/L       10.00
1385       10 MATTRESSES              12/28/00      1,840.00     0.00           0.00       1,840.00         0.00     1,840.00          0.00   S/L       10.00
1413       72 X 36 DESK & CREDENZA     1/08/01      1,500.00     0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L       10.00
1414       CHAIR, OPERATOR             1/09/01        116.39     0.00           0.00         116.39         0.00       116.39          0.00   S/L       10.00
1415       OPER CHAIR, EXEC CHAIR      1/16/01        289.97     0.00           0.00         289.97         0.00       289.97          0.00   S/L       10.00
1416       OFFICE FURNITURE-SANDY'S OFFICE
                                       1/31/01      2,075.00     0.00           0.00       2,075.00         0.00     2,075.00          0.00   S/L       10.00
1417       2 LATERAL FILES             2/01/01        250.00     0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
1418       REFRIGERATOR-UNIT 6         2/02/01        169.62     0.00           0.00         169.62         0.00       169.62          0.00   S/L       10.00
1419       WIRELESS PLANTRONICS CS10 2/09/01          214.29     0.00           0.00         214.29         0.00       214.29          0.00   S/L        7.00
1420       ICE MACHINE                 2/01/01      5,182.26     0.00           0.00       5,182.26         0.00     5,182.26          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                             Book Asset Detail               1/01/17 - 12/31/17                                                Page 45
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
1421       VERTICAL FILE, EXEC CHAIR    2/13/01     407.38       0.00           0.00         407.38         0.00       407.38          0.00   S/L       10.00
1422       CHAIR, PAYROLL               2/13/01     199.98       0.00           0.00         199.98         0.00       199.98          0.00   S/L       10.00
1423       2 ELEC BEDS                  1/31/01   3,800.00       0.00           0.00       3,800.00         0.00     3,800.00          0.00   S/L       10.00
1424       DESK,CREDENZ, ROUND TABLE, BOOKCASES
                                        1/27/01   2,435.00       0.00           0.00       2,435.00         0.00     2,435.00          0.00   S/L       10.00
1425       STEELCASE TASK CHAIR         3/02/01     175.00       0.00           0.00         175.00         0.00       175.00          0.00   S/L       10.00
1426       11 MINI BLINDS               3/06/01     804.00       0.00           0.00         804.00         0.00       804.00          0.00   S/L       10.00
1427       GERI CHAIR 3 POSITION RECLINER
                                        3/20/01     800.00       0.00           0.00         800.00         0.00       800.00          0.00   S/L       10.00
1428   d   SENSOR UPRIGHT VACUUM        3/30/01     379.00       0.00           0.00         379.00         0.00       379.00          0.00   S/L       10.00
1429       WHEECHAIR, WALKER,SHOWER CHAIR
                                        2/28/01   4,050.00       0.00           0.00       4,050.00         0.00     4,050.00          0.00   S/L       10.00
1430       TUFFSAT W/FINGER SENSOR      4/23/01     466.67       0.00           0.00         466.67         0.00       466.67          0.00   S/L       10.00
1431       SENS, OXI, FWGR              4/20/01     158.70       0.00           0.00         158.70         0.00       158.70          0.00   S/L       10.00
1432       WATER DISPENSER              5/01/01     139.00       0.00           0.00         139.00         0.00       139.00          0.00   S/L       10.00
1433       TUFFSAT W/ FINGER SENSOR     5/03/01     480.29       0.00           0.00         480.29         0.00       480.29          0.00   S/L       10.00
1436       5 SIDE RAILS                 3/09/01     752.65       0.00           0.00         752.65         0.00       752.65          0.00   S/L       10.00
1437       BAKE RACK-DEVELOP.           2/15/01     284.49       0.00           0.00         284.49         0.00       284.49          0.00   S/L       10.00
1480       BRUTE 4-V MAINFOLD W/HOSES 6/27/01       186.37       0.00           0.00         186.37         0.00       186.37          0.00   S/L       10.00
1481       CHAIRS SEATS                 6/18/01      70.00       0.00           0.00          70.00         0.00        70.00          0.00   S/L       10.00
1482       REUPHOLSTER CHAIRS           6/22/01     710.00       0.00           0.00         710.00         0.00       710.00          0.00   S/L       10.00
1483       4 CART LINEN 3 SHELF         6/27/01   1,161.85       0.00           0.00       1,161.85         0.00     1,161.85          0.00   S/L       10.00
1484       REUPHOLSTER CHAIRS           3/30/01   1,586.00       0.00           0.00       1,586.00         0.00     1,586.00          0.00   S/L       10.00
1485       ELECTRIC BED                 6/30/01   2,500.00       0.00           0.00       2,500.00         0.00     2,500.00          0.00   S/L       10.00
1509       FLOOR COVERINGS-SMOKE BREAK  7/09/01
                                           AREA   1,000.00       0.00           0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
1510       DESK                         5/30/01     400.00       0.00           0.00         400.00         0.00       400.00          0.00   S/L       10.00
1511       MINI BLINDS                  7/10/01     200.00       0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
1512       MINI BLINDS                  7/10/01     783.00       0.00           0.00         783.00         0.00       783.00          0.00   S/L       10.00
1513       MIRROR                       7/27/01     299.99       0.00           0.00         299.99         0.00       299.99          0.00   S/L       10.00
1514       LIFT ASM                     7/17/01     155.89       0.00           0.00         155.89         0.00       155.89          0.00   S/L       10.00
1515       WHEEL CHAIR                  7/09/01     150.00       0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
1525       OXYGEN CONCENTRATOR-DEVILBISS8/02/01   1,498.00       0.00           0.00       1,498.00         0.00     1,498.00          0.00   S/L       10.00
1526       RE-UPHOLSTER FURNITURE       7/08/01   1,132.00       0.00           0.00       1,132.00         0.00     1,132.00          0.00   S/L       10.00
1527       WHEELCHAIR-#9000 TOPAZ       8/09/01     786.97       0.00           0.00         786.97         0.00       786.97          0.00   S/L       10.00
1528       DEHUMIDIFIER-BUSINESS OFFICE8/24/01      215.42       0.00           0.00         215.42         0.00       215.42          0.00   S/L       10.00
1529       MATTRESSES                   8/16/01   1,840.00       0.00           0.00       1,840.00         0.00     1,840.00          0.00   S/L       10.00
1530   d   STEAM KETTLE                 8/21/01   7,990.46       0.00           0.00       7,990.46         0.00     7,990.46          0.00   S/L       10.00
1531       CUSTOM FRAMING-ARTWORK 8/27/01           333.55       0.00           0.00         333.55         0.00       333.55          0.00   S/L       10.00
1532       CARPET EXTRACTOR-CLP-12      8/27/01   2,640.00       0.00           0.00       2,640.00         0.00     2,640.00          0.00   S/L       10.00
1538   d   KRONOS TIMEKEEPING SYSTEM 8/01/01      1,563.70       0.00           0.00       1,563.70         0.00     1,563.70          0.00   S/L        5.00
1550       A/C COMPRESSOR-RM 620        9/11/01     184.34       0.00           0.00         184.34         0.00       184.34          0.00   S/L       10.00
1551   d   CPAP MACHINE-BREATHING       9/07/01     389.56       0.00           0.00         389.56         0.00       389.56          0.00   S/L       10.00
1552       SHOWER CHAIR                 9/18/01     269.84       0.00           0.00         269.84         0.00       269.84          0.00   S/L       10.00
1553       LOBBY ANNOUNCEMENT BOARD9/17/01          469.21       0.00           0.00         469.21         0.00       469.21          0.00   S/L       10.00
1554       ELECTRIC SLICER              9/27/01   2,450.00       0.00           0.00       2,450.00         0.00     2,450.00          0.00   S/L       10.00
1557       AED TRAINER                 10/01/01     276.25       0.00           0.00         276.25         0.00       276.25          0.00   S/L       10.00
1558       HYDROCOLLATOR               10/12/01   1,153.63       0.00           0.00       1,153.63         0.00     1,153.63          0.00   S/L       10.00
1559   d   BEARINGS-WASHER/DRYER       10/03/01   3,208.32       0.00           0.00       3,208.32         0.00     3,208.32          0.00   S/L       10.00
1561       RECLINER WITH TRAY          10/23/01   2,189.46       0.00           0.00       2,189.46         0.00     2,189.46          0.00   S/L       10.00
1567       COMFORTEX MATTRESS          11/21/01     427.64       0.00           0.00         427.64         0.00       427.64          0.00   S/L       10.00
1576       SLING LIFT                  12/05/01     157.14       0.00           0.00         157.14         0.00       157.14          0.00   S/L       10.00
1577       SLING LIFT                  12/18/01     162.59       0.00           0.00         162.59         0.00       162.59          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 46
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
1587       BRANSTONE BIBLE LECTERN    1/11/02        156.00      0.00           0.00         156.00         0.00       156.00          0.00   S/L       10.00
1588       THERMOSCAN THERMOMETER 1/16/02            145.49      0.00           0.00         145.49         0.00       145.49          0.00   S/L       10.00
1589       HYDRAULIC LIFT             1/23/02        642.00      0.00           0.00         642.00         0.00       642.00          0.00   S/L       10.00
1590       SLING SUPPORT              1/23/02        368.00      0.00           0.00         368.00         0.00       368.00          0.00   S/L       10.00
1591   d   TELEVISION                 1/31/02        150.00      0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
1609       THERMOSCAN THERMOMETER 2/01/02            145.49      0.00           0.00         145.49         0.00       145.49          0.00   S/L       10.00
1610       PROJECTOR & ACCESS         2/28/02      1,890.33      0.00           0.00       1,890.33         0.00     1,890.33          0.00   S/L        5.00
1611       TUFFSTAT, FINGER SENSOR    3/07/02        915.16      0.00           0.00         915.16         0.00       915.16          0.00   S/L       10.00
1612       A/C MOTOR                  3/20/02        226.55      0.00           0.00         226.55         0.00       226.55          0.00   S/L        5.00
1613       BULLETIN BOARD             3/26/02        418.00      0.00           0.00         418.00         0.00       418.00          0.00   S/L       10.00
1614       2 BARBER CHAIRS            3/31/02        875.00      0.00           0.00         875.00         0.00       875.00          0.00   S/L       10.00
1615       8 SIDE CHAIRS              3/31/02      1,280.00      0.00           0.00       1,280.00         0.00     1,280.00          0.00   S/L       10.00
1618   d   FOOD PROCESSOR             2/16/02      2,087.23      0.00           0.00       2,087.23         0.00     2,087.23          0.00   S/L       10.00
1619       GLASS CABINET              3/06/02      1,200.00      0.00           0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
1634   d   REFRIGERATOR-BIHL          4/12/02        419.00      0.00           0.00         419.00         0.00       419.00          0.00   S/L       10.00
1635       LOW BED                    5/07/02        598.31      0.00           0.00         598.31         0.00       598.31          0.00   S/L       10.00
1636       SHOWER GURNEY W/ DRAIN PAN5/06/02         506.31      0.00           0.00         506.31         0.00       506.31          0.00   S/L       10.00
1637       REEL SPRAYER               1/17/02      1,228.24      0.00           0.00       1,228.24         0.00     1,228.24          0.00   S/L       10.00
1640       KEY MACHINE                5/01/02        595.00      0.00           0.00         595.00         0.00       595.00          0.00   S/L       10.00
1641       NORSTAR STATION(PHONE)     4/06/02      1,342.89      0.00           0.00       1,342.89         0.00     1,342.89          0.00   S/L        5.00
1642       PATIO FURNITURE            5/31/02      1,449.00      0.00           0.00       1,449.00         0.00     1,449.00          0.00   S/L       10.00
1643       COMPUTER MONITOR           5/31/02        185.00      0.00           0.00         185.00         0.00       185.00          0.00   S/L        5.00
1654       POWER FEED ASSEMBLY        6/11/02        290.72      0.00           0.00         290.72         0.00       290.72          0.00   S/L       10.00
1655       X-WIDE RECLINING WHEELCHAIR7/10/02        300.00      0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
1656   d   DISPOSER FOR DISHWASHER    7/10/02      1,609.00      0.00           0.00       1,609.00         0.00     1,609.00          0.00   S/L       10.00
1657       A/C-BUSINESS OFFICE        7/30/02        239.00      0.00           0.00         239.00         0.00       239.00          0.00   S/L       10.00
1658       STEAMER INSTALLATION       7/30/02        616.00      0.00           0.00         616.00         0.00       616.00          0.00   S/L       10.00
1659       HOYER LIFT                 7/31/02      1,500.00      0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L       10.00
1660       COMPUTER CUBICUS (20)      7/31/02      3,000.00      0.00           0.00       3,000.00         0.00     3,000.00          0.00   S/L       10.00
1661   d   CONVECTION STEAMER         7/17/02      8,050.00      0.00           0.00       8,050.00         0.00     8,050.00          0.00   S/L       10.00
1672       MAINT. EQUIP-BORER         6/12/02        181.13      0.00           0.00         181.13         0.00       181.13          0.00   S/L       10.00
1673   d   6 QT. MIXER                8/09/02        369.99      0.00           0.00         369.99         0.00       369.99          0.00   S/L       10.00
1674       CIRCUIT CONNECTOR-STEAMER 7/25/02         878.00      0.00           0.00         878.00         0.00       878.00          0.00   S/L       10.00
1675       2 FILE CABINETS, 2 CHAIRS  7/30/02        570.00      0.00           0.00         570.00         0.00       570.00          0.00   S/L       10.00
1676       2 SPIRIT RADIOS            8/21/02        305.48      0.00           0.00         305.48         0.00       305.48          0.00   S/L       10.00
1677   d   A/C-LAUNDRY                8/28/02        350.00      0.00           0.00         350.00         0.00       350.00          0.00   S/L       10.00
1684       5 DRAWER LATERAL FILE      9/11/02        275.00      0.00           0.00         275.00         0.00       275.00          0.00   S/L       10.00
1685       LIFT CHAIR                 9/01/02      1,000.00      0.00           0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
1700       UTILITY CART              10/01/02        145.85      0.00           0.00         145.85         0.00       145.85          0.00   S/L       10.00
1701       2 THERMSCAN THERMOMETERS10/07/02          270.00      0.00           0.00         270.00         0.00       270.00          0.00   S/L       10.00
1702       THERMOSCAN THERMOMETER 9/13/02            135.00      0.00           0.00         135.00         0.00       135.00          0.00   S/L       10.00
1711       OXYGEN CONCENTRATOR       11/06/02        749.00      0.00           0.00         749.00         0.00       749.00          0.00   S/L       10.00
1712       STEREO                    11/20/02        170.61      0.00           0.00         170.61         0.00       170.61          0.00   S/L       10.00
1713       TABLE MOVER               11/12/02        374.22      0.00           0.00         374.22         0.00       374.22          0.00   S/L       10.00
1719   d   TREADMILL                 11/30/02        750.00      0.00           0.00         750.00         0.00       750.00          0.00   S/L       10.00
1720       WHEELCHAIR                11/30/02        100.00      0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
1737       MATTRESSES                12/16/02      1,674.00      0.00           0.00       1,674.00         0.00     1,674.00          0.00   S/L       10.00
1738       TUFFSTAT W/SENSOR         12/12/02        454.84      0.00           0.00         454.84         0.00       454.84          0.00   S/L       10.00
1739       PIANO                     12/01/02      3,500.00      0.00           0.00       3,500.00         0.00     3,500.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                               Book Asset Detail             1/01/17 - 12/31/17                                                Page 47
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
1740       GOLF CART                12/01/02      1,250.00       0.00           0.00       1,250.00         0.00     1,250.00          0.00   S/L       10.00
1764       GARMENT RACK              1/15/03        479.01       0.00           0.00         479.01         0.00       479.01          0.00   S/L       10.00
1765       POWER LIFT                1/16/03      1,131.10       0.00           0.00       1,131.10         0.00     1,131.10          0.00   S/L       10.00
1766       3 THERMOMETERS            1/22/03        405.00       0.00           0.00         405.00         0.00       405.00          0.00   S/L       10.00
1767       BODYFLOAT & BOLSTERS      1/24/03        981.00       0.00           0.00         981.00         0.00       981.00          0.00   S/L       10.00
1771   d   5 SCOOTERS                1/31/03     25,000.00       0.00           0.00      25,000.00         0.00    25,000.00          0.00   S/L       10.00
1772       OFFICE CHAIR              1/31/03        100.00       0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
1773   d   HYDRO SYSTEM DISHWASHER 2/13/03          652.00       0.00           0.00         652.00         0.00       652.00          0.00   S/L       10.00
1774   d   3 CELL PHONES             1/24/03      1,142.22       0.00           0.00       1,142.22         0.00     1,142.22          0.00   S/L        5.00
1775       ARTWORK                   2/11/03      1,800.00       0.00           0.00       1,800.00         0.00     1,800.00          0.00   S/L       10.00
1776       ORGAN                     2/28/03        500.00       0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
1777       WALKER                    2/28/03        100.00       0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
1779       SHELF UNITS               3/10/03        552.00       0.00           0.00         552.00         0.00       552.00          0.00   S/L       10.00
1780       SHELF UNITS               3/12/03        885.00       0.00           0.00         885.00         0.00       885.00          0.00   S/L       10.00
1781       ROLLING LADDER            3/20/03        407.01       0.00           0.00         407.01         0.00       407.01          0.00   S/L       10.00
1782       4 SHELF CABINET           3/20/03        327.50       0.00           0.00         327.50         0.00       327.50          0.00   S/L       10.00
1783       BOOSTER HEATER DISCONNECT 3/26/03      1,100.00       0.00           0.00       1,100.00         0.00     1,100.00          0.00   S/L       10.00
1797       GERI CHAIR                3/31/03        500.00       0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
1799       A/C UNITS-FRONT OFFICE    4/10/03      4,650.00       0.00           0.00       4,650.00         0.00     4,650.00          0.00   S/L       10.00
1800       ROOF TOP UNIT-A/C         4/24/03        875.00       0.00           0.00         875.00         0.00       875.00          0.00   S/L       10.00
1801       GERI CHAIR                4/30/03        500.00       0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
1806       6 ALARMS                  5/05/03        621.64       0.00           0.00         621.64         0.00       621.64          0.00   S/L       10.00
1807       WHEELCHAIR O2 HOLDER`     5/14/03        110.00       0.00           0.00         110.00         0.00       110.00          0.00   S/L       10.00
1808   d   FILTER-DISHWASHER         5/22/03        752.25       0.00           0.00         752.25         0.00       752.25          0.00   S/L       10.00
1809       X LARGE WHEELCHAIR        5/31/03        400.00       0.00           0.00         400.00         0.00       400.00          0.00   S/L       10.00
1830       CAMERA MONITOR-UNIT 6     6/30/03        210.00       0.00           0.00         210.00         0.00       210.00          0.00   S/L        5.00
1842       A/C-ROOM 509              7/07/03        540.50       0.00           0.00         540.50         0.00       540.50          0.00   S/L       10.00
1843       LOCKERS(15 OPENINGS)      7/10/03        733.15       0.00           0.00         733.15         0.00       733.15          0.00   S/L       10.00
1844       2 MEDCARTS                7/18/03      2,363.00       0.00           0.00       2,363.00         0.00     2,363.00          0.00   S/L       10.00
1845       3 PRINTERS, CABLES        7/30/03        321.95       0.00           0.00         321.95         0.00       321.95          0.00   S/L        5.00
1855       MED CART                  7/18/03      1,182.00       0.00           0.00       1,182.00         0.00     1,182.00          0.00   S/L       10.00
1856       2 STOOLS                  6/06/03        440.00       0.00           0.00         440.00         0.00       440.00          0.00   S/L       10.00
1878       FAX MACHINE               8/31/02        100.00       0.00           0.00         100.00         0.00       100.00          0.00   S/L        5.00
1879       OVERHEAD PROJECTOR        8/31/02        100.00       0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
1880       TABLE, CHAIRS-UNIT 6      8/31/02        250.00       0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
1881       DISHWASHER               12/01/02     24,405.00       0.00           0.00      24,405.00         0.00    24,405.00          0.00   S/L        7.00
1883       A/C WINDOW UNIT           8/04/03      1,281.00       0.00           0.00       1,281.00         0.00     1,281.00          0.00   S/L       10.00
1884       REUPHOLSTER DINING ROOM CHAIRS
                                     8/29/03      6,240.00       0.00           0.00       6,240.00         0.00     6,240.00          0.00   S/L       10.00
1895       DIGITAL CAMERA            8/21/03        855.07       0.00           0.00         855.07         0.00       855.07          0.00   S/L        5.00
1896       CUSTOM CART COVER         8/28/03        115.20       0.00           0.00         115.20         0.00       115.20          0.00   S/L       10.00
1897       CUSTOM CART               9/04/03         69.71       0.00           0.00          69.71         0.00        69.71          0.00   S/L       10.00
1898       THERMOSCAN THERMOMETER 9/18/03           270.00       0.00           0.00         270.00         0.00       270.00          0.00   S/L       10.00
1899       EXECUTIVE CHAIR(OFFICE)   9/30/03        119.45       0.00           0.00         119.45         0.00       119.45          0.00   S/L       10.00
1900       GOLF CART                 9/30/03      3,000.00       0.00           0.00       3,000.00         0.00     3,000.00          0.00   S/L        5.00
1915       STORAGE CART              9/30/03        230.40       0.00           0.00         230.40         0.00       230.40          0.00   S/L       10.00
1951       SUPPLY CART              11/10/03      1,214.95       0.00           0.00       1,214.95         0.00     1,214.95          0.00   S/L       10.00
1952       STORAGE CABINET          11/12/03        210.00       0.00           0.00         210.00         0.00       210.00          0.00   S/L       10.00
1953   d   FOOD PROCESSOR LID       11/12/03        122.50       0.00           0.00         122.50         0.00       122.50          0.00   S/L       10.00
1954       INHALATION THERAPY CART 11/04/03         301.98       0.00           0.00         301.98         0.00       301.98          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                             Book Asset Detail               1/01/17 - 12/31/17                                                Page 48
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
1963     59 DINING ROOM CHAIRS       9/01/04      9,743.50       0.00           0.00       9,743.50         0.00     9,743.50          0.00   S/L       10.00
1967     STORAGE CABINET            10/25/03        210.00       0.00           0.00         210.00         0.00       210.00          0.00   S/L       10.00
1968     CONCENTRATOR               12/10/03        634.41       0.00           0.00         634.41         0.00       634.41          0.00   S/L       10.00
1969     FOOD PROCESSOR BLADE       12/04/03        546.00       0.00           0.00         546.00         0.00       546.00          0.00   S/L       10.00
1970 d   SEWING MACHINE             12/05/03        129.00       0.00           0.00         129.00         0.00       129.00          0.00   S/L       10.00
1971 d   TV-TRAINING OFFICE         12/05/03        107.97       0.00           0.00         107.97         0.00       107.97          0.00   S/L       10.00
1972     SUPPLY CART                12/10/03      1,216.10       0.00           0.00       1,216.10         0.00     1,216.10          0.00   S/L       10.00
1973     OFFICE FORM BINDER         12/31/03        200.00       0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
1974     CARDIOCYCLE                12/31/03        600.00       0.00           0.00         600.00         0.00       600.00          0.00   S/L       10.00
1975     RECUMBENT CYCLE            12/31/03        200.00       0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
1976     DINING ROOM CHAIRS          9/01/04     10,644.20       0.00           0.00      10,644.20         0.00    10,644.20          0.00   S/L       10.00
1998     PHONE SET                   1/06/04        375.00       0.00           0.00         375.00         0.00       375.00          0.00   S/L        5.00
1999     MED CART, CABINETS, SHELVES 1/10/04      2,431.40       0.00           0.00       2,431.40         0.00     2,431.40          0.00   S/L       10.00
2000     OFFICE FURNISHINGS-DEPOSIT 11/01/07      4,973.00       0.00           0.00       4,558.58       414.42     4,973.00          0.00   S/L       10.00
2003     TV & BRACKET                4/01/04        384.94       0.00           0.00         384.94         0.00       384.94          0.00   S/L       10.00
2004     MIRRORS, LABOR              4/01/04        683.01       0.00           0.00         683.01         0.00       683.01          0.00   S/L       10.00
2005     SIGNAGE                     4/01/04         54.00       0.00           0.00          45.90         3.60        49.50          4.50   S/L       15.00
2028     MINI BLINDS                 2/25/04        750.00       0.00           0.00         750.00         0.00       750.00          0.00   S/L       10.00
2032     EXECUTIVE CHAIR             3/01/04        329.00       0.00           0.00         329.00         0.00       329.00          0.00   S/L       10.00
2033     PLATINUM 5 LX OXYGEN CONCENTRATOR
                                     3/11/04        610.69       0.00           0.00         610.69         0.00       610.69          0.00   S/L       10.00
2046     O2 CONCENTRATOR             4/16/04        634.41       0.00           0.00         634.41         0.00       634.41          0.00   S/L       10.00
2056     TOASTER                     3/23/04        750.40       0.00           0.00         750.40         0.00       750.40          0.00   S/L       10.00
2057     WARMER DRAWER               4/28/04      2,423.60       0.00           0.00       2,423.60         0.00     2,423.60          0.00   S/L       10.00
2058     VULCAN BRAIZER              5/14/04      1,477.00       0.00           0.00       1,477.00         0.00     1,477.00          0.00   S/L       10.00
2059     WATER COOLER                5/05/04        516.50       0.00           0.00         516.50         0.00       516.50          0.00   S/L       10.00
2060     OXYGEN CONCENTRATOR         5/10/04        634.41       0.00           0.00         634.41         0.00       634.41          0.00   S/L       10.00
2061     THERMOSCAN THERMOMETER 5/27/04             135.00       0.00           0.00         135.00         0.00       135.00          0.00   S/L       10.00
2062     CHAIR                       5/31/04        200.00       0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
2063     COFFEE TABLE                5/31/04        250.00       0.00           0.00         250.00         0.00       250.00          0.00   S/L       10.00
2073     WASHER OVERHAUL             6/24/04      3,895.00       0.00           0.00       3,895.00         0.00     3,895.00          0.00   S/L       10.00
2081     19" TV/VCR/DVD              6/02/04        247.00       0.00           0.00         247.00         0.00       247.00          0.00   S/L        7.00
2082     WHEELCHAIR                  6/30/04      6,000.00       0.00           0.00       6,000.00         0.00     6,000.00          0.00   S/L       10.00
2083     WASHER MOTOR                7/02/04        667.12       0.00           0.00         667.12         0.00       667.12          0.00   S/L       10.00
2084     POPCORN POPPER/CART         7/06/04        988.97       0.00           0.00         988.97         0.00       988.97          0.00   S/L       10.00
2085     O2 CONCENTRATOR             7/08/04        634.41       0.00           0.00         634.41         0.00       634.41          0.00   S/L       10.00
2086     FIBERGLASS TRAYS            7/09/04      1,623.50       0.00           0.00       1,623.50         0.00     1,623.50          0.00   S/L       10.00
2087     REBUILD WASHER              7/12/04      3,260.00       0.00           0.00       3,260.00         0.00     3,260.00          0.00   S/L       10.00
2101     CART COVER                  8/03/04        264.72       0.00           0.00         264.72         0.00       264.72          0.00   S/L       10.00
2102     UNIT 5 ICE MACHINE          8/10/04        481.21       0.00           0.00         481.21         0.00       481.21          0.00   S/L       10.00
2103     BANNER FOR SIGNS            8/27/04        191.25       0.00           0.00         191.25         0.00       191.25          0.00   S/L       10.00
2104     WALKER/BUREAU               8/31/04        108.00       0.00           0.00         108.00         0.00       108.00          0.00   S/L       10.00
2105     TABLE, 5 CHAIRS             8/31/04      2,000.00       0.00           0.00       2,000.00         0.00     2,000.00          0.00   S/L       10.00
2121     UTILITY TRAILER             9/01/04        891.59       0.00           0.00         891.59         0.00       891.59          0.00   S/L        7.00
2122     PROOFER CABINET             8/17/04      1,708.05       0.00           0.00       1,708.05         0.00     1,708.05          0.00   S/L       10.00
2123     T-PUMP/T-PAD/02 CONCENTRATOR9/09/04      1,132.01       0.00           0.00       1,132.01         0.00     1,132.01          0.00   S/L       10.00
2129     COMMERCIAL HAIR DRYER       9/30/04        160.00       0.00           0.00         160.00         0.00       160.00          0.00   S/L       10.00
2130     6 PICTURES                  9/30/04      1,000.00       0.00           0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
2131     2 POTTY CHAIRS/SHOWER CHAIR9/30/04         200.00       0.00           0.00         200.00         0.00       200.00          0.00   S/L       10.00
2132     ELECTRIC SCOOTER            9/30/04      3,000.00       0.00           0.00       3,000.00         0.00     3,000.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                               Book Asset Detail             1/01/17 - 12/31/17                                                Page 49
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
2137     TV-MARKETING DEPT.          9/28/04        176.22       0.00           0.00         176.22         0.00       176.22          0.00   S/L       10.00
2138     BODYFLOAT BEDS              7/28/04      3,650.00       0.00           0.00       3,650.00         0.00     3,650.00          0.00   S/L       10.00
2139     HOYER SLING                 9/24/04        300.00       0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
2140     TUFFSAT-FINGER SENSOR      10/07/04        454.84       0.00           0.00         454.84         0.00       454.84          0.00   S/L        7.00
2141     THERMASCAN                 10/07/04        135.00       0.00           0.00         135.00         0.00       135.00          0.00   S/L        7.00
2142     TRANSPONDER FOR ALERT SYSTEM
                                    10/08/04        293.80       0.00           0.00         293.80         0.00       293.80          0.00   S/L        5.00
2169     T-PUMP                     11/08/04        336.44       0.00           0.00         336.44         0.00       336.44          0.00   S/L       10.00
2171     SHOWER CHAIR, WALKER       11/30/04        150.00       0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
2172     OXYGEN CONCENTRATOR        10/21/04        585.00       0.00           0.00         585.00         0.00       585.00          0.00   S/L       10.00
2189     FINGER SENSOR              10/26/04        431.03       0.00           0.00         431.03         0.00       431.03          0.00   S/L       10.00
2190     OXYGEN CONCENTRATOR        12/21/04        634.41       0.00           0.00         634.41         0.00       634.41          0.00   S/L       10.00
2209     3 CARTS                     1/12/05      1,025.00       0.00           0.00       1,025.00         0.00     1,025.00          0.00   S/L       10.00
2210     THERMOSCAN                  1/21/05        540.00       0.00           0.00         540.00         0.00       540.00          0.00   S/L        7.00
2211     02 CONCENTRATOR             1/28/05        670.00       0.00           0.00         670.00         0.00       670.00          0.00   S/L       10.00
2238     ART WORK                    5/01/05      3,400.00       0.00           0.00       3,400.00         0.00     3,400.00          0.00   S/L       10.00
2260     BUFFER, BURNISHER           1/25/05      1,975.00       0.00           0.00       1,975.00         0.00     1,975.00          0.00   S/L       10.00
2261     02 CONCENTRATOR             1/28/05        670.00       0.00           0.00         670.00         0.00       670.00          0.00   S/L       10.00
2262     2 STEEL COMMODES            2/25/05        220.60       0.00           0.00         220.60         0.00       220.60          0.00   S/L       10.00
2263     WALKER, SHOWER              2/28/05        125.00       0.00           0.00         125.00         0.00       125.00          0.00   S/L       10.00
2264     VIDEO CAMERA, ACCESSORIES 2/28/05          800.00       0.00           0.00         800.00         0.00       800.00          0.00   S/L       10.00
2265     TV                          2/28/05        100.00       0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
2268     CREDENZA                    5/01/05        650.00       0.00           0.00         650.00         0.00       650.00          0.00   S/L       10.00
2270     DESK & CREDENZA            11/01/07      1,590.00       0.00           0.00       1,457.50       132.50     1,590.00          0.00   S/L       10.00
2272     SIGNAGE                     5/01/05      2,598.00       0.00           0.00       2,598.00         0.00     2,598.00          0.00   S/L       10.00
2282     GLASS TABLE TOPS            5/01/05        622.97       0.00           0.00         622.97         0.00       622.97          0.00   S/L       10.00
2291     O2 CONCENTRATOR             3/10/05        670.00       0.00           0.00         670.00         0.00       670.00          0.00   S/L       10.00
2292     3 SCOOT CHAIRS/ACCESSORIES 3/22/05       3,879.46       0.00           0.00       3,879.46         0.00     3,879.46          0.00   S/L       10.00
2293     12 FOAM MATTRESSES          3/29/05      2,100.00       0.00           0.00       2,100.00         0.00     2,100.00          0.00   S/L       10.00
2294     3 RAISED FOAM MATTRESSES    3/29/05        570.00       0.00           0.00         570.00         0.00       570.00          0.00   S/L       10.00
2296     HYDRAULIC ALL-PPS CHAIR     5/01/05        612.50       0.00           0.00         612.50         0.00       612.50          0.00   S/L       10.00
2304     ARTWORK                     5/01/05      1,837.50       0.00           0.00       1,837.50         0.00     1,837.50          0.00   S/L       10.00
2316     WHEELCHAIR, WALKER          4/30/05        150.00       0.00           0.00         150.00         0.00       150.00          0.00   S/L       10.00
2317     THERMOSCAN                  4/07/05        135.00       0.00           0.00         135.00         0.00       135.00          0.00   S/L       10.00
2318     8' TABLES (6)               4/06/05        452.69       0.00           0.00         452.69         0.00       452.69          0.00   S/L       10.00
2319     SHOWER CHAIRS (4)           4/20/05        433.72       0.00           0.00         433.72         0.00       433.72          0.00   S/L       10.00
2343     MENU BOARDS                 2/09/05        701.03       0.00           0.00         701.03         0.00       701.03          0.00   S/L       10.00
2344     TRAY DELIVERY CART          5/25/05      3,225.00       0.00           0.00       3,225.00         0.00     3,225.00          0.00   S/L       10.00
2347 d   SIGNAGE                     5/01/05         51.52       0.00           0.00          51.52         0.00        51.52          0.00   S/L       10.00
2348 d   SIGNAGE                     5/01/05        125.11       0.00           0.00         125.11         0.00       125.11          0.00   S/L       10.00
2349     PHONES-TELECOM              5/01/05      1,123.00       0.00           0.00       1,123.00         0.00     1,123.00          0.00   S/L        5.00
2352     BEDDING                     5/01/05         43.94       0.00           0.00          43.94         0.00        43.94          0.00   S/L        7.00
2354     LAMPS & LITES               5/01/05        285.84       0.00           0.00         285.84         0.00       285.84          0.00   S/L       10.00
2355     SHOWER STANDS               5/01/05        127.26       0.00           0.00         127.26         0.00       127.26          0.00   S/L       10.00
2357     5 DRAWER LATERAL FILE       5/01/05        425.00       0.00           0.00         425.00         0.00       425.00          0.00   S/L       10.00
2371 d   RESIDUAL PAYMENT-DISHWASHER 5/31/05          1.00       0.00           0.00           1.00         0.00         1.00          0.00   S/L       10.00
2372     RECLINER                    6/10/05        345.40       0.00           0.00         345.40         0.00       345.40          0.00   S/L       10.00
2373     LATERAL FILE                6/11/05        485.00       0.00           0.00         485.00         0.00       485.00          0.00   S/L       10.00
2374     SHOWER CHAIR                6/13/05        378.56       0.00           0.00         378.56         0.00       378.56          0.00   S/L       10.00
2375     BELLMAN CART                6/22/05        709.41       0.00           0.00         709.41         0.00       709.41          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                  Book Asset Detail          1/01/17 - 12/31/17                                                Page 50
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
2376       CHEST OF DRAWERS             6/30/05         75.00    0.00           0.00          75.00         0.00        75.00          0.00   S/L       10.00
2390       FREIGHT-DELIVERY CART        5/25/05        306.09    0.00           0.00         306.09         0.00       306.09          0.00   S/L       10.00
2391   d   A/C FOR LAUNDRY              7/07/05        339.00    0.00           0.00         339.00         0.00       339.00          0.00   S/L        7.00
2392       WHEELCHAIR SCALE             7/14/05      1,985.04    0.00           0.00       1,985.04         0.00     1,985.04          0.00   S/L       10.00
2393       STAPH-CHEK STRETCHER         7/18/05        123.00    0.00           0.00         123.00         0.00       123.00          0.00   S/L       10.00
2409       CART FOR PROJECTOR           8/12/05        154.49    0.00           0.00         154.49         0.00       154.49          0.00   S/L       10.00
2410       TV/STAND                     8/31/05        100.00    0.00           0.00         100.00         0.00       100.00          0.00   S/L       10.00
2422       20 MATTRESSES                8/30/05      3,500.00    0.00           0.00       3,500.00         0.00     3,500.00          0.00   S/L       10.00
2423       O2 CONCENTRATOR              9/13/05        683.75    0.00           0.00         683.75         0.00       683.75          0.00   S/L       10.00
2440   d   REACH IN REFRIGERATOR       11/23/05      2,049.99    0.00           0.00       2,049.99         0.00     2,049.99          0.00   S/L       10.00
2446   d   WASHER BEARING & SEAL       12/15/05      4,032.17    0.00           0.00       4,032.17         0.00     4,032.17          0.00   S/L        7.00
2460   d   RESTORATOR-REHAB             1/11/06        359.89    0.00           0.00         359.89         0.00       359.89          0.00   S/L       10.00
2471       PHONE                        1/31/06        208.00    0.00           0.00         208.00         0.00       208.00          0.00   S/L        5.00
2472       PATIENT LIFT                 2/14/06        426.55    0.00           0.00         426.55         0.00       426.55          0.00   S/L       10.00
2473       ASPIRATOR                    2/22/06        837.00    0.00           0.00         837.00         0.00       837.00          0.00   S/L       10.00
2500       SCALE STRETCHER              3/02/06      2,330.92    0.00           0.00       2,330.92         0.00     2,330.92          0.00   S/L       10.00
2501       BED ENDS                     3/10/06        659.66    0.00           0.00         659.66         0.00       659.66          0.00   S/L       10.00
2502       O2 CONCENTRATOR              3/22/06        639.00    0.00           0.00         639.00         0.00       639.00          0.00   S/L       10.00
2521       SHOWER CHAIRS                4/06/06      1,121.60    0.00           0.00       1,121.60         0.00     1,121.60          0.00   S/L       10.00
2522       THERAPY STOOLS               4/13/06      2,159.84    0.00           0.00       2,159.84         0.00     2,159.84          0.00   S/L       10.00
2529       REMODEL FOR A/C'S            1/01/07      5,842.77    0.00           0.00       5,842.77         0.00     5,842.77          0.00   S/L       10.00
2570       8 FILE CABINETS              1/01/07      1,119.92    0.00           0.00       1,119.92         0.00     1,119.92          0.00   S/L       10.00
2572       FIXTURES, LAMPS              1/01/07        436.54    0.00           0.00         436.54         0.00       436.54          0.00   S/L       10.00
2574       REMODEL, A/C'S               1/01/07      1,282.25    0.00           0.00       1,282.25         0.00     1,282.25          0.00   S/L       10.00
2580       STOVE                        1/01/07        590.58    0.00           0.00         590.58         0.00       590.58          0.00   S/L       10.00
2581   d   REFRIGERATOR                 1/01/07        537.40    0.00           0.00         537.40         0.00       537.40          0.00   S/L       10.00
2583       TABLE LINEN                  1/01/07        536.64    0.00           0.00         536.64         0.00       536.64          0.00   S/L        5.00
2584       TABLE LINEN                  1/01/07        299.92    0.00           0.00         299.92         0.00       299.92          0.00   S/L        5.00
2586       3 SPACE TABLES               1/01/07      2,355.10    0.00           0.00       2,355.10         0.00     2,355.10          0.00   S/L       10.00
2589       PHONE                        1/01/07         17.96    0.00           0.00          17.96         0.00        17.96          0.00   S/L       10.00
2590       TV WALL ARM                  1/01/07        219.88    0.00           0.00         219.88         0.00       219.88          0.00   S/L       10.00
2591   d   12 TV'S/CLOCKS/BRACKETS      1/01/07      1,661.52    0.00           0.00       1,661.52         0.00     1,661.52          0.00   S/L       10.00
2605       PLATE DISPENSER, CABINETS    4/25/06      5,556.54    0.00           0.00       5,556.54         0.00     5,556.54          0.00   S/L       10.00
2606   d   WARING TOASTER               4/25/06        288.48    0.00           0.00         288.48         0.00       288.48          0.00   S/L       10.00
2607       3 OASIS SMOKER URNS          5/01/06        385.77    0.00           0.00         385.77         0.00       385.77          0.00   S/L       10.00
2608   d   3 REHAB TABLES-ELECTRIC      5/19/06      8,251.08    0.00           0.00       8,251.08         0.00     8,251.08          0.00   S/L       10.00
2609   d   4-WELL STEAM TABLES          5/23/06     12,316.50    0.00           0.00      12,316.50         0.00    12,316.50          0.00   S/L       10.00
2611   d   REHAP STEPPER                6/02/06      3,736.84    0.00           0.00       3,736.84         0.00     3,736.84          0.00   S/L       10.00
2612       O2 CONCENTRATOR              6/05/06        640.06    0.00           0.00         640.06         0.00       640.06          0.00   S/L       10.00
2613       PULLEY WEIGHT SYSTEM         6/06/06      1,485.74    0.00           0.00       1,485.74         0.00     1,485.74          0.00   S/L       10.00
2615       COMPRESSOR                   6/15/06        805.86    0.00           0.00         805.86         0.00       805.86          0.00   S/L       10.00
2621       PHONE SYSTEM ACTIVATION      1/01/07        350.00    0.00           0.00         350.00         0.00       350.00          0.00   S/L        7.00
2629       A/C                          1/01/07        349.00    0.00           0.00         349.00         0.00       349.00          0.00   S/L       10.00
2635       4 A/C                        1/01/07      2,527.48    0.00           0.00       2,527.48         0.00     2,527.48          0.00   S/L       10.00
2637       TABLE LINEN                  1/01/07        836.56    0.00           0.00         836.56         0.00       836.56          0.00   S/L        5.00
2656       4 ICE CARTS                  5/31/06      1,330.31    0.00           0.00       1,330.31         0.00     1,330.31          0.00   S/L       10.00
2657       CAMERA                       7/04/06        273.20    0.00           0.00         273.20         0.00       273.20          0.00   S/L        5.00
2658       AVANTI ONE LABER MAKER       7/14/06        743.48    0.00           0.00         743.48         0.00       743.48          0.00   S/L       10.00
2659       BED LINEN SHEETS             7/25/06      1,283.40    0.00           0.00       1,283.40         0.00     1,283.40          0.00   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                 Book Asset Detail           1/01/17 - 12/31/17                                                Page 51
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
2660       ANCHOR AUDIO SYSTEM         7/11/06      2,802.31     0.00           0.00       2,802.31         0.00     2,802.31          0.00   S/L        7.00
2674   d   REFRIGERATOR W/ ICEMAKER    1/01/07        801.79     0.00           0.00         801.79         0.00       801.79          0.00   S/L       10.00
2680       10 TASK CHAIRS              1/01/07        840.00     0.00           0.00         840.00         0.00       840.00          0.00   S/L       10.00
2681       ARTWORK                     1/01/07      1,203.90     0.00           0.00       1,203.90         0.00     1,203.90          0.00   S/L       10.00
2682       RODS AND CONNECTORS         1/01/07         49.00     0.00           0.00          49.00         0.00        49.00          0.00   S/L       10.00
2684       MIRRORS                     1/01/07        495.00     0.00           0.00         495.00         0.00       495.00          0.00   S/L       10.00
2685       4 TRASH CONTAINERS          1/01/07        490.00     0.00           0.00         490.00         0.00       490.00          0.00   S/L       10.00
2687       REMOTE TV SWITCHES          1/01/07         51.25     0.00           0.00          51.25         0.00        51.25          0.00   S/L       10.00
2688   d   6 20" TV'S                  1/01/07        677.22     0.00           0.00         677.22         0.00       677.22          0.00   S/L       10.00
2720       6 PHONES                    7/26/06        895.00     0.00           0.00         895.00         0.00       895.00          0.00   S/L        7.00
2721       WHEELCHAIR                  8/01/06        253.23     0.00           0.00         253.23         0.00       253.23          0.00   S/L       10.00
2726       5 WHEELCHAIRS               8/01/06        982.67     0.00           0.00         982.67         0.00       982.67          0.00   S/L       10.00
2729       2 FIRE EXTINGUISHERS        1/01/07         92.40     0.00           0.00          92.40         0.00        92.40          0.00   S/L       10.00
2730   d   2 TV'S                      1/01/07        225.74     0.00           0.00         225.74         0.00       225.74          0.00   S/L       10.00
2742       2 TABLES, BASES             1/01/07      1,182.05     0.00           0.00       1,182.05         0.00     1,182.05          0.00   S/L       10.00
2757       NASCO-IV ARM                9/27/06        430.30     0.00           0.00         430.30         0.00       430.30          0.00   S/L       10.00
2768       THERAPY STOOL               1/01/07        965.16     0.00           0.00         965.16         0.00       965.16          0.00   S/L       10.00
2769       REHAP EQUIPMENT             1/01/07     10,995.80     0.00           0.00      10,995.80         0.00    10,995.80          0.00   S/L       10.00
2783       3 CARTS WITH PANELS         5/31/06        602.28     0.00           0.00         602.28         0.00       602.28          0.00   S/L       10.00
2784       WHEELCHAIR                 11/27/06        323.97     0.00           0.00         323.97         0.00       323.97          0.00   S/L       10.00
2786       SIGNS                       2/28/07         32.00     0.00           0.00          32.00         0.00        32.00          0.00   S/L       10.00
2806       WHEELCHAIR                 12/22/06        311.00     0.00           0.00         311.00         0.00       311.00          0.00   S/L       10.00
2807       50" TV                     12/20/06      1,715.01     0.00           0.00       1,715.01         0.00     1,715.01          0.00   S/L        7.00
2808       SCOOTER CHAIR              12/31/06      1,200.00     0.00           0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
2809       MED RECORDS DESK           12/31/06      1,200.00     0.00           0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
2810       ACTIVITIES DESK            12/31/06        500.00     0.00           0.00         500.00         0.00       500.00          0.00   S/L       10.00
2826       7 WHEELCHAIRS               1/01/07      1,282.00     0.00           0.00       1,282.00         0.00     1,282.00          0.00   S/L       10.00
2827       TRAINING MANIKIN            1/01/07      1,384.26     0.00           0.00       1,384.26         0.00     1,384.26          0.00   S/L       10.00
2828       O2 CONCENTRATOR             1/12/07        639.00     0.00           0.00         639.00         0.00       639.00          0.00   S/L       10.00
2829       EAR THERMOMETER             1/12/07        182.50     0.00           0.00         182.50         0.00       182.50          0.00   S/L       10.00
2830       CONVEYOR TOASTER            1/15/07        740.00     0.00           0.00         740.00         0.00       740.00          0.00   S/L       10.00
2831       3 O2 CONCENTRATORS          1/30/07      1,879.56     0.00           0.00       1,863.93        15.63     1,879.56          0.00   S/L       10.00
2832       2 ELECTRIC SCOOTERS         1/01/07      9,125.00     0.00           0.00       9,125.00         0.00     9,125.00          0.00   S/L        7.00
2834       2 SMOKERS-OUTSIDE AREAS     2/28/07        282.86     0.00           0.00         278.18         4.68       282.86          0.00   S/L       10.00
2835       SIGNAGE                     2/28/07        101.10     0.00           0.00          99.42         1.68       101.10          0.00   S/L       10.00
2836       STEP CAN-EXTINGUISHING      2/28/07         58.97     0.00           0.00          58.97         0.00        58.97          0.00   S/L       10.00
2841       PHONE                       1/10/07         17.96     0.00           0.00          17.96         0.00        17.96          0.00   S/L        5.00
2856       VACUUM                      2/07/07        370.00     0.00           0.00         366.92         3.08       370.00          0.00   S/L       10.00
2857       WHEELCHAIR                  2/28/07      1,500.00     0.00           0.00       1,475.00        25.00     1,500.00          0.00   S/L       10.00
2858       TV                          2/28/07        100.00     0.00           0.00         100.00         0.00       100.00          0.00   S/L        7.00
2859       ORGAN                       2/28/07        625.00     0.00           0.00         614.58        10.42       625.00          0.00   S/L       10.00
2860       ELECTRIC SCOOTER            2/28/07      2,500.00     0.00           0.00       2,500.00         0.00     2,500.00          0.00   S/L        7.00
2861       TOOLS                       2/28/07        104.89     0.00           0.00         103.15         1.74       104.89          0.00   S/L       10.00
2862       SUPPLIES-SHELVING           2/28/07         39.92     0.00           0.00          39.92         0.00        39.92          0.00   S/L       10.00
2863       2 AIR PURIFIERS             2/28/07        259.92     0.00           0.00         255.57         4.35       259.92          0.00   S/L       10.00
2864       2 OASIS SMOKERS             2/28/07        291.78     0.00           0.00         286.94         4.84       291.78          0.00   S/L       10.00
2865   d   2 ASHTRAYS                  2/28/07          7.94     0.00           0.00           7.94         0.00         7.94          0.00   S/L       10.00
2869   d   CABLE-PRINTER              11/01/07        127.50     0.00           0.00         127.50         0.00       127.50          0.00   S/L        5.00
2881   d   20" TV                      2/14/07        112.87     0.00           0.00         112.87         0.00       112.87          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                               Book Asset Detail             1/01/17 - 12/31/17                                                Page 52
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
2896     POWER PRUNER                3/01/07        429.00       0.00           0.00         421.85         7.15       429.00          0.00   S/L       10.00
2897     2 LATERAL FILES             3/02/07        640.00       0.00           0.00         629.33        10.67       640.00          0.00   S/L       10.00
2898     6 WHEELCHAIRS               3/28/07      1,073.76       0.00           0.00       1,046.95        26.81     1,073.76          0.00   S/L       10.00
2899     32" COLOR TV                3/31/07        300.00       0.00           0.00         300.00         0.00       300.00          0.00   S/L        7.00
2907     NEW LOCKS-HR OFFICE        11/01/07         82.50       0.00           0.00          75.63         6.87        82.50          0.00   S/L       10.00
2928     PRUNER, SAW AND CASE        4/11/07        997.99       0.00           0.00         973.05        24.94       997.99          0.00   S/L       10.00
2929     POWER CHAIR                 4/11/07        500.00       0.00           0.00         487.50        12.50       500.00          0.00   S/L       10.00
2930     MEDCOM TRAINER TAPES        4/11/07      1,872.96       0.00           0.00       1,826.17        46.79     1,872.96          0.00   S/L       10.00
2931     RECLINER                    4/24/07        391.42       0.00           0.00         378.35        13.07       391.42          0.00   S/L       10.00
2932     8 6' FOLDING TABLES         4/24/07        383.76       0.00           0.00         371.00        12.76       383.76          0.00   S/L       10.00
2937     KEYS & CLOSERS             11/01/07        480.62       0.00           0.00         440.55        40.07       480.62          0.00   S/L       10.00
2938     HOOK UP MODEM              11/01/07         65.00       0.00           0.00          65.00         0.00        65.00          0.00   S/L        5.00
2939     CURTAINS-CS OFFICE         11/01/07          7.96       0.00           0.00           7.96         0.00         7.96          0.00   S/L       10.00
2940     CURTAINS-CS OFFICE         11/01/07          4.32       0.00           0.00           4.32         0.00         4.32          0.00   S/L       10.00
2941     LIGHTS-CS OFFICE           11/01/07         99.70       0.00           0.00          91.39         8.31        99.70          0.00   S/L       10.00
2952     6 MATTRESSES                3/31/07        654.01       0.00           0.00         637.65        16.36       654.01          0.00   S/L       10.00
2953     6 MATTRESSES                4/28/07        654.01       0.00           0.00         632.20        21.81       654.01          0.00   S/L       10.00
2964     5 WHEELCHAIRS               5/04/07        640.25       0.00           0.00         618.95        21.30       640.25          0.00   S/L       10.00
2965     KITCHEN HEATER CABINET      5/07/07      1,430.82       0.00           0.00       1,383.11        47.71     1,430.82          0.00   S/L       10.00
2966     KITCHEN GRILL               5/10/07        328.86       0.00           0.00         317.93        10.93       328.86          0.00   S/L       10.00
2967     DESK                        5/12/07        325.00       0.00           0.00         314.17        10.83       325.00          0.00   S/L       10.00
2968     7 WHEELCHAIRS               5/16/07        826.96       0.00           0.00         792.54        34.42       826.96          0.00   S/L       10.00
2969     MINI BLINDS                 5/24/07        405.68       0.00           0.00         388.79        16.89       405.68          0.00   S/L       10.00
2970     REHAB HAND EVALUATION KIT 5/24/07          340.93       0.00           0.00         326.70        14.23       340.93          0.00   S/L       10.00
2971     6 MATTRESSES                5/26/07        654.01       0.00           0.00         626.75        27.26       654.01          0.00   S/L       10.00
2972     6 WHEELCHAIRS               5/31/07        666.96       0.00           0.00         639.21        27.75       666.96          0.00   S/L       10.00
2975     ART/PLANTS                  5/01/07        595.98       0.00           0.00         576.13        19.85       595.98          0.00   S/L       10.00
2987     FILE CABINET-FINANCE OFFICE 1/23/07        295.00       0.00           0.00         292.54         2.46       295.00          0.00   S/L       10.00
2988     4 TRANSPONDERS-ROAM ALERT 5/31/07          462.50       0.00           0.00         462.50         0.00       462.50          0.00   S/L        5.00
2989     36 CASTER LOCKS             6/25/07      1,994.58       0.00           0.00       1,894.87        99.71     1,994.58          0.00   S/L       10.00
2990     LAUNDRY MACHINE PARTS       6/27/07      1,599.50       0.00           0.00       1,519.53        79.97     1,599.50          0.00   S/L       10.00
2992     KEYS-LOCKS, CYLINDERS      11/01/07      1,427.24       0.00           0.00       1,308.27       118.97     1,427.24          0.00   S/L       10.00
2995     SILK PLANTS-BUS OFFICE     11/01/07        136.86       0.00           0.00         136.86         0.00       136.86          0.00   S/L        5.00
2998     CURTAINS/PLANT HANGARS      5/23/07        190.44       0.00           0.00         182.47         7.97       190.44          0.00   S/L       10.00
2999     PICTURES,PLANTERS           6/18/07        300.81       0.00           0.00         285.76        15.05       300.81          0.00   S/L       10.00
3000     CURTAINS, FLORAL            6/22/07         45.96       0.00           0.00          43.70         2.26        45.96          0.00   S/L       10.00
3004     TV, CHEST,CHAIR,LAMP        6/30/07        325.00       0.00           0.00         325.00         0.00       325.00          0.00   S/L        7.00
3005     ELECTRIC BED                6/30/07      2,000.00       0.00           0.00       2,000.00         0.00     2,000.00          0.00   S/L        7.00
3006     ELEC BED,MATRESS, GERI CHAIR6/30/07      1,500.00       0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L        7.00
3007     TV                          6/30/07         25.00       0.00           0.00          25.00         0.00        25.00          0.00   S/L        7.00
3021     VOLLBRATH CART-KITCHEN      6/12/07        975.26       0.00           0.00         934.66        40.60       975.26          0.00   S/L       10.00
3023     6 PHONES                    7/05/07        950.00       0.00           0.00         950.00         0.00       950.00          0.00   S/L        5.00
3024     2 BEDSIDE CARTS             7/09/07        725.76       0.00           0.00         689.51        36.25       725.76          0.00   S/L       10.00
3025     CUBICLE CURTAINS            7/13/07      1,024.02       0.00           0.00         972.80        51.22     1,024.02          0.00   S/L       10.00
3026     FIN OFC FILE CABINET        7/21/07        250.00       0.00           0.00         235.42        14.58       250.00          0.00   S/L       10.00
3032     WALL CLOCK                  6/01/07         14.97       0.00           0.00          14.97         0.00        14.97          0.00   S/L        7.00
3043     LAUNDRY WASHER              5/16/07      1,381.43       0.00           0.00       1,323.84        57.59     1,381.43          0.00   S/L       10.00
3044     O2 CONCENTRATOR             6/18/07        649.56       0.00           0.00         617.12        32.44       649.56          0.00   S/L       10.00
3045     FLOOR BURNISHER             8/10/07        950.00       0.00           0.00         894.58        55.42       950.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 53
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
3046     8 MATTRESSES                 8/22/07      1,148.70      0.00           0.00       1,072.12        76.58     1,148.70          0.00   S/L       10.00
3053     6 CLOCKS/3 TELEPHONES        8/23/07        212.17      0.00           0.00         212.17         0.00       212.17          0.00   S/L        5.00
3054     4 CLOCKS/7 PH0NES            8/25/07        217.08      0.00           0.00         217.08         0.00       217.08          0.00   S/L        5.00
3061     2 CANVAS TRUCK               8/29/07        777.00      0.00           0.00         725.20        51.80       777.00          0.00   S/L       10.00
3062     EAR THERMOMETER              9/13/07        182.50      0.00           0.00         170.33        12.17       182.50          0.00   S/L       10.00
3065     BEDSPREADS                  10/01/07      1,012.32      0.00           0.00       1,012.32         0.00     1,012.32          0.00   S/L        5.00
3066     TV SUPPLIES FOR CONNECTS 10/01/07           409.71      0.00           0.00         409.71         0.00       409.71          0.00   S/L        7.00
3067     INSTALL CABLE CONNECTS      10/01/07        388.61      0.00           0.00         388.61         0.00       388.61          0.00   S/L        5.00
3068     7 PHONES                    10/01/07        125.72      0.00           0.00         125.72         0.00       125.72          0.00   S/L        5.00
3069     9 BATHS-VINYL TILE          10/01/07      2,419.30      0.00           0.00       2,237.85       181.45     2,419.30          0.00   S/L       10.00
3070     16 19" TV'S                 10/01/07      4,751.84      0.00           0.00       4,751.84         0.00     4,751.84          0.00   S/L        7.00
3071     16 19" TV'S                 10/01/07      5,219.84      0.00           0.00       5,219.84         0.00     5,219.84          0.00   S/L        7.00
3072     32 PIVOT STANDS             10/01/07      1,904.32      0.00           0.00       1,904.32         0.00     1,904.32          0.00   S/L        7.00
3082     26 8' TABLES                11/08/07      1,813.24      0.00           0.00       1,662.10       151.14     1,813.24          0.00   S/L       10.00
3085     EAR THERMOMETER             10/11/07        182.50      0.00           0.00         168.81        13.69       182.50          0.00   S/L       10.00
3087     V-RISER BED                 10/16/07      1,150.00      0.00           0.00       1,054.17        95.83     1,150.00          0.00   S/L       10.00
3088     6 MATTRESSES                10/27/07        736.99      0.00           0.00         675.58        61.41       736.99          0.00   S/L       10.00
3095     6 TELEPHONES                10/24/07        107.76      0.00           0.00         107.76         0.00       107.76          0.00   S/L        5.00
3096     UNIT 5 TV CONNECTORS        10/26/07         80.18      0.00           0.00          73.52         6.66        80.18          0.00   S/L       10.00
3112     6 TABLES 60"                10/30/07      4,966.50      0.00           0.00       4,552.63       413.87     4,966.50          0.00   S/L       10.00
3113     5 WHEEL CHAIRS              11/05/07      1,195.00      0.00           0.00       1,095.42        99.58     1,195.00          0.00   S/L       10.00
3114     O2 CONCENTRATOR             11/07/07        499.00      0.00           0.00         457.42        41.58       499.00          0.00   S/L       10.00
3115     3 TABLE CADDIES             11/07/07        765.36      0.00           0.00         701.62        63.74       765.36          0.00   S/L       10.00
3131     EAR THERMOMETER             12/05/07        182.50      0.00           0.00         165.77        16.73       182.50          0.00   S/L       10.00
3132     HAMMER DRILL                11/12/07        299.00      0.00           0.00         274.08        24.92       299.00          0.00   S/L       10.00
3133     WHEELCHAIR                  12/18/07        335.56      0.00           0.00         302.04        33.52       335.56          0.00   S/L       10.00
3134     EAR THERMOMETER             12/19/07        182.50      0.00           0.00         164.25        18.25       182.50          0.00   S/L       10.00
3135     KITCHEN ICEMAKER            12/21/07      6,226.68      0.00           0.00       5,604.03       622.65     6,226.68          0.00   S/L       10.00
3160     RECLINER W/TRAY              1/11/08        399.99      0.00           0.00         360.00        39.99       399.99          0.00   S/L       10.00
3161     MEDICAL EQUIP.-PROBE, BP PRINT
                                      1/28/08      9,315.00      0.00           0.00       8,305.88       931.50     9,237.38         77.62   S/L       10.00
3176     POWER WASHER                 2/13/08        350.00      0.00           0.00         312.08        35.00       347.08          2.92   S/L       10.00
3178     BEARINGS REPLACEMENT         2/25/08      3,486.82      0.00           0.00       3,486.82         0.00     3,486.82          0.00   S/L        7.00
3179     42" TV                       2/22/08        898.00      0.00           0.00         898.00         0.00       898.00          0.00   S/L        7.00
3182     INSTALL 20 TV'S-UNIT 5       1/24/08      1,500.00      0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L        7.00
3195     2 FILE CABINETS              2/26/08        543.98      0.00           0.00         480.53        54.40       534.93          9.05   S/L       10.00
3196     2 BOOKCASES                  3/18/08        330.97      0.00           0.00         289.62        33.10       322.72          8.25   S/L       10.00
3197     ELEC. BED/PUMP/MATTRESSES 1/01/08         2,650.00      0.00           0.00       2,385.00       265.00     2,650.00          0.00   S/L       10.00
3198     30 ELEC BEDS/41 MATTRESSES 1/28/08       71,547.35      0.00           0.00      63,796.43     7,154.74    70,951.17        596.18   S/L       10.00
3199     ELEC. SCOOTER                3/01/08      5,000.00      0.00           0.00       4,416.67       500.00     4,916.67         83.33   S/L       10.00
3223     FILE CABINET                 4/08/08        297.49      0.00           0.00         260.31        29.75       290.06          7.43   S/L       10.00
3224     MOTORIZED WHEELCHAIR         4/30/08        200.00      0.00           0.00         173.33        20.00       193.33          6.67   S/L       10.00
3244     VIDEO PICTURE FRAME          3/01/08        374.96      0.00           0.00         331.25        37.50       368.75          6.21   S/L       10.00
3245     CHEST FREEZER-KITCHEN        4/25/08        876.38      0.00           0.00         759.55        87.64       847.19         29.19   S/L       10.00
3246     DESK & BOOKCASE              5/01/08        533.00      0.00           0.00         461.93        53.30       515.23         17.77   S/L       10.00
3247     3 OFFICE CHAIRS, EXED CHAIR 5/01/08         888.04      0.00           0.00         769.60        88.80       858.40         29.64   S/L       10.00
3284     TV- UNIT 5                   6/27/08        364.00      0.00           0.00         364.00         0.00       364.00          0.00   S/L        7.00
3285     WII SYSTEMS                  5/23/08        682.39      0.00           0.00         682.39         0.00       682.39          0.00   S/L        5.00
3286     HIGH BACK SHOWER CHAIR       6/23/08        240.01      0.00           0.00         204.00        24.00       228.00         12.01   S/L       10.00
3287     POWER CHAIR                  6/30/08        600.00      0.00           0.00         510.00        60.00       570.00         30.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                              Book Asset Detail              1/01/17 - 12/31/17                                                Page 54
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
3309     2 WATER SOURCE HEAT PUMPS 7/08/08        2,402.00       0.00           0.00       2,041.70       240.20     2,281.90        120.10   S/L       10.00
3310     3 POSITION RECLINER        7/10/08         415.02       0.00           0.00         352.75        41.50       394.25         20.77   S/L       10.00
3327     VITAL STEM EQUIPMENT       7/29/08       2,422.00       0.00           0.00       2,038.52       242.20     2,280.72        141.28   S/L       10.00
3328     FILE CABINET(FD OFFICE)    8/19/08         373.72       0.00           0.00         311.42        37.37       348.79         24.93   S/L       10.00
3329     FABRIC FOR WEIGHT LIFT     7/30/08         274.95       0.00           0.00         231.46        27.50       258.96         15.99   S/L       10.00
3330     ICE CREAM FREEZER          8/27/08         224.45       0.00           0.00         187.08        22.45       209.53         14.92   S/L       10.00
3340     COMMERCIAL WASHER, DRYER 6/30/08        30,454.10       0.00           0.00      30,454.10         0.00    30,454.10          0.00   S/L        7.00
3342     COMMERCIAL WASHER          6/30/08      17,837.00       0.00           0.00      17,837.00         0.00    17,837.00          0.00   S/L        7.00
3343     ICEMAKER, BOWL CUTTER, OVEN6/30/08      16,667.23       0.00           0.00      16,667.23         0.00    16,667.23          0.00   S/L        7.00
3346     IN-BED SCALE               8/25/08       3,090.05       0.00           0.00       2,575.08       309.01     2,884.09        205.96   S/L       10.00
3347     CAMERA, ACCESSORIES        8/22/08         799.95       0.00           0.00         799.95         0.00       799.95          0.00   S/L        7.00
3370     WHEELCHAIR RECLINER       10/30/08         365.88       0.00           0.00         298.82        36.59       335.41         30.47   S/L       10.00
3371     WHEELCHAIR RECLINER       10/31/08         346.88       0.00           0.00         283.30        34.69       317.99         28.89   S/L       10.00
3382     RECLINER WHEELCHAIR       11/21/08         391.74       0.00           0.00         316.62        39.17       355.79         35.95   S/L       10.00
3390     BLADDER SCAN              11/28/08      11,992.96       0.00           0.00       9,694.34     1,199.30    10,893.64      1,099.32   S/L       10.00
3393     ROOM ALERT SYSTEM TRANSPONDER
                                    1/01/09       2,837.50       0.00           0.00       2,837.50         0.00     2,837.50          0.00   S/L        7.00
3397     ELECTRIC SCOOTER           1/31/09         500.00       0.00           0.00         395.83        50.00       445.83         54.17   S/L       10.00
3404     EMERGENCY CART             2/03/09         336.86       0.00           0.00         266.71        33.69       300.40         36.46   S/L       10.00
3405     EXCEL 3000 REMVE DESKARM 2/12/09           439.48       0.00           0.00         347.94        43.95       391.89         47.59   S/L       10.00
3406     O2 CONCENTRATOR            2/13/09         686.99       0.00           0.00         543.87        68.70       612.57         74.42   S/L       10.00
3407     DISHWASHER CONVEYOR MOTOR2/20/09         1,784.40       0.00           0.00       1,397.78       178.44     1,576.22        208.18   S/L       10.00
3442     DIGITAL CAMERAS            4/01/09         501.91       0.00           0.00         501.91         0.00       501.91          0.00   S/L        5.00
3443     ARTWORK, WHEELCHAIR, WALKER4/30/09       1,400.00       0.00           0.00       1,073.33       140.00     1,213.33        186.67   S/L       10.00
3459     MICROWAVE                  4/30/09         275.65       0.00           0.00         211.37        27.57       238.94         36.71   S/L       10.00
3460     OFFICE DESK/FILE/CHAIRS    5/19/09         995.94       0.00           0.00         755.23        99.59       854.82        141.12   S/L       10.00
3486     RECLINER WHEELCHAIR        7/28/09         367.99       0.00           0.00         272.93        36.80       309.73         58.26   S/L       10.00
3509     FOOD PROCESSOR             8/11/09         457.80       0.00           0.00         339.54        45.78       385.32         72.48   S/L       10.00
3510     TRACER IV WHEELCHAIR       8/18/09         639.98       0.00           0.00         469.33        64.00       533.33        106.65   S/L       10.00
3511     4 HAIR DRYERS, 3 STANDS    8/22/09         666.85       0.00           0.00         489.06        66.69       555.75        111.10   S/L       10.00
3512     CONFERENCE PHONE           8/05/09         557.19       0.00           0.00         557.19         0.00       557.19          0.00   S/L        5.00
3513     COMMUNION SERVICE SET      8/13/09         602.95       0.00           0.00         447.22        60.30       507.52         95.43   S/L       10.00
3514     6 LATERAL FILES            8/31/09       2,394.00       0.00           0.00       1,755.60       239.40     1,995.00        399.00   S/L       10.00
3528     TV FOR REHAB               9/15/09         781.00       0.00           0.00         572.73        78.10       650.83        130.17   S/L       10.00
3529     OFFICE EQUIPMENT           9/18/09         855.00       0.00           0.00         619.88        85.50       705.38        149.62   S/L       10.00
3530     RECLINER WHEELCHAIR        9/25/09         388.99       0.00           0.00         282.02        38.90       320.92         68.07   S/L       10.00
3553     CEO TV                    10/03/09       1,329.98       0.00           0.00         964.25       133.00     1,097.25        232.73   S/L       10.00
3554     TV-ROOM 505                9/22/09         292.25       0.00           0.00         211.92        29.23       241.15         51.10   S/L       10.00
3614     ECG EQUIPMENT             12/02/09       3,551.99       0.00           0.00       2,516.00       355.20     2,871.20        680.79   S/L       10.00
3615     PORTABLE DEFIBRILLATOR    12/17/09       1,100.00       0.00           0.00         770.00       110.00       880.00        220.00   S/L       10.00
3616     BOOKCASE                  12/22/09         109.99       0.00           0.00          77.00        11.00        88.00         21.99   S/L       10.00
3617     CPR KIT, ID CAMERA        12/22/09       2,036.09       0.00           0.00       2,036.09         0.00     2,036.09          0.00   S/L        5.00
3618     INSTRUMENT CART           12/30/09         318.99       0.00           0.00         223.30        31.90       255.20         63.79   S/L       10.00
3619     CUBICLES-HR, FD OFFICE    12/29/09         798.00       0.00           0.00         558.60        79.80       638.40        159.60   S/L       10.00
3627     TABLE-UNIT 1              12/01/10          75.76       0.00           0.00          46.11         7.58        53.69         22.07   S/L       10.00
3645     LATERAL FILES-UNIT 1      12/01/10         798.00       0.00           0.00         485.45        79.80       565.25        232.75   S/L       10.00
3661     4 BED REMOTES              1/01/10         822.48       0.00           0.00         575.75        82.25       658.00        164.48   S/L       10.00
3662     CPR KIT                    1/22/10         513.50       0.00           0.00         355.17        51.35       406.52        106.98   S/L       10.00
3663     GOLF CAR                   1/29/10       3,276.00       0.00           0.00       3,276.00         0.00     3,276.00          0.00   S/L        5.00
3672     ANTIQUE BRONZE FIREBOW-UNIT
                                   12/01/10
                                      1             398.00       0.00           0.00         242.12        39.80       281.92        116.08   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                              Book Asset Detail              1/01/17 - 12/31/17                                                Page 55
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
3673     UNIT 1 LITES,FANS, DISHWASHER-UNIT
                                      12/01/10 1   5,204.11      0.00           0.00       3,165.83       520.41     3,686.24      1,517.87   S/L       10.00
3687     MEDICAL EQUIPMENT             1/23/10       700.96      0.00           0.00         484.85        70.10       554.95        146.01   S/L       10.00
3691     EXEC CHAIR-CFO OFFICE         2/15/10       599.99      0.00           0.00         415.00        60.00       475.00        124.99   S/L       10.00
3692     4 DUCTLESS A/C/HEAT UNITS     2/16/10     4,721.92      0.00           0.00       3,226.63       472.19     3,698.82      1,023.10   S/L       10.00
3693     EXEC CHAIR-CFO OFFICE         2/17/10       346.49      0.00           0.00         236.77        34.65       271.42         75.07   S/L       10.00
3711     GARBAGE DISPOSAL              3/18/10     1,792.00      0.00           0.00       1,209.60       179.20     1,388.80        403.20   S/L       10.00
3712     ELEC MOTOR-DRYER #1           3/18/10       608.85      0.00           0.00         411.00        60.89       471.89        136.96   S/L       10.00
3713     RECLINER WHEELCHAIR           3/24/10       388.99      0.00           0.00         262.57        38.90       301.47         87.52   S/L       10.00
3714     DRIVE MOTOR-DISH MACHINE 3/26/10          1,240.05      0.00           0.00       1,195.76        44.29     1,240.05          0.00   S/L        7.00
3715     OFFICE FURNITURE-HUFF         3/30/10       485.35      0.00           0.00         327.64        48.54       376.18        109.17   S/L       10.00
3716     TABLE LAMP-HUFF               3/30/10        84.14      0.00           0.00          56.77         8.41        65.18         18.96   S/L       10.00
3720     TV MOUNT-UNIT 1              12/01/10        86.56      0.00           0.00          52.68         8.66        61.34         25.22   S/L       10.00
3724     NEW LOGO DOORMATS-UNIT 1 12/01/10           811.09      0.00           0.00         493.42        81.11       574.53        236.56   S/L       10.00
3729     LATERAL FILE CABINET          4/09/10       219.99      0.00           0.00         148.50        22.00       170.50         49.49   S/L       10.00
3730     USED ELECTRIC BED             4/10/10       150.00      0.00           0.00         101.25        15.00       116.25         33.75   S/L       10.00
3731     DISHWASHER REPAIRS            4/05/10     2,070.00      0.00           0.00       1,397.25       207.00     1,604.25        465.75   S/L       10.00
3732     UNIT 3 PRIVACY CURTAINS       4/06/10       565.70      0.00           0.00         381.85        56.57       438.42        127.28   S/L       10.00
3733     UNIT 3 PRIVACY CURTAINS       4/06/10       566.48      0.00           0.00         382.39        56.65       439.04        127.44   S/L       10.00
3734     UNIT 3 PRIVACY CURTAINS       4/08/10       565.16      0.00           0.00         381.51        56.52       438.03        127.13   S/L       10.00
3735     STEAMER REPAIR                4/08/10     1,910.91      0.00           0.00       1,289.86       191.09     1,480.95        429.96   S/L       10.00
3737     SIGN AND BRACKETS-UNIT 1     12/01/10       479.00      0.00           0.00         291.39        47.90       339.29        139.71   S/L       10.00
3756     CART REPAIR                   5/23/10       928.97      0.00           0.00         873.67        55.30       928.97          0.00   S/L        7.00
3765     1000 WATT OVEN                5/28/10       307.10      0.00           0.00         288.81        18.29       307.10          0.00   S/L        7.00
3766     4 RELIANT SERIES SIT-TO-STAND 6/11/10
                                        LIFTS      9,127.30      0.00           0.00       6,008.81       912.73     6,921.54      2,205.76   S/L       10.00
3767     2 RELIANT SERIES FLOOR LIFTS 6/11/10      2,604.78      0.00           0.00       1,714.83       260.48     1,975.31        629.47   S/L       10.00
3768     10 RELIANT SERIES SLINGS      6/21/10     1,178.24      0.00           0.00         765.83       117.82       883.65        294.59   S/L       10.00
3786     FRONT LOBBY FURNISHINGS       9/01/10   187,070.23      0.00           0.00     118,477.79    18,707.02   137,184.81     49,885.42   S/L       10.00
3787     58" TV-FRONT LOBBY            9/01/10     3,256.81      0.00           0.00       2,062.64       325.68     2,388.32        868.49   S/L       10.00
3788     32" TV-FRONT LOBBY            9/01/10       689.98      0.00           0.00         437.00        69.00       506.00        183.98   S/L       10.00
3799     DRYER #2 IGNITION UPGRADE 7/13/10           500.71      0.00           0.00         464.94        35.77       500.71          0.00   S/L        7.00
3800     FLY LIGHT, WALL SCONCE        7/22/10       691.55      0.00           0.00         691.55         0.00       691.55          0.00   S/L        5.00
3801     CHAIN LINK FENCE GATE LOCK 7/22/10           38.07      0.00           0.00          24.45         3.81        28.26          9.81   S/L       10.00
3802     KEYPAD FENCE GATE UN 3,6      7/22/10       106.42      0.00           0.00          68.27        10.64        78.91         27.51   S/L       10.00
3803     MOUNT LOCK FENCE GATE UN 3,67/22/10         497.86      0.00           0.00         319.48        49.79       369.27        128.59   S/L       10.00
3804     HYDROCOLLATOR-REHAB           7/07/10       962.07      0.00           0.00         625.36        96.21       721.57        240.50   S/L       10.00
3811     kitchen equipment-lease       5/05/10    22,337.00      0.00           0.00      21,273.33     1,063.67    22,337.00          0.00   S/L        7.00
3812     8 ULTRACARE BEDS              4/12/10    19,459.80      0.00           0.00      13,135.37     1,945.98    15,081.35      4,378.45   S/L       10.00
3816     UNIT 1 MISCELLANEOUS         12/01/10       192.19      0.00           0.00         116.92        19.22       136.14         56.05   S/L       10.00
3820     REPLACE GAS VALVE-KIT. CONVECTION
                                       8/09/10 OVEN 352.70       0.00           0.00         226.32        35.27       261.59         91.11   S/L       10.00
3821     AIR CURTAIN AT KITCHEN ENTRY7/26/10       1,305.44      0.00           0.00         837.63       130.54       968.17        337.27   S/L       10.00
3839     UPGRADE SOAP DISPENSERS      10/07/10     1,175.00      0.00           0.00       1,049.12       125.88     1,175.00          0.00   S/L        7.00
3840     HI BACK W/C RECLINER         10/09/10       452.32      0.00           0.00         282.69        45.23       327.92        124.40   S/L       10.00
3841     11 STOOLS, 2 SHELF UTILITY CART
                                      10/15/10     1,906.66      0.00           0.00       1,191.69       190.67     1,382.36        524.30   S/L       10.00
3842     INSTALLED NEW TXV            10/18/10     1,446.63      0.00           0.00         892.07       144.66     1,036.73        409.90   S/L       10.00
3843     EASY TILT DELUXE SHOWER CHAIRS
                                      10/22/10       812.98      0.00           0.00         501.35        81.30       582.65        230.33   S/L       10.00
3844     DVD, MODEMS                  10/22/10       358.26      0.00           0.00         358.26         0.00       358.26          0.00   S/L        5.00
3845     OUTDOOR SIGN-HUMAN RELATIONS 10/05/10       380.96      0.00           0.00         238.12        38.10       276.22        104.74   S/L       10.00
3884     3 POSITION RECLINER          12/06/10     1,365.97      0.00           0.00         830.98       136.60       967.58        398.39   S/L       10.00
3885     FINGERTIP PULSE ODOMETER 12/06/10           539.92      0.00           0.00         328.44        53.99       382.43        157.49   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                   Book Asset Detail         1/01/17 - 12/31/17                                                Page 56
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
3886     OXIMETER                       12/27/10        612.47   0.00           0.00         367.50        61.25       428.75        183.72   S/L       10.00
3899     EASY TILT SHOWER CHAIR          1/04/11        548.99   0.00           0.00         329.40        54.90       384.30        164.69   S/L       10.00
3900     HYDRATION ICE CART              1/25/11      2,750.97   0.00           0.00       1,627.67       275.10     1,902.77        848.20   S/L       10.00
3901     50" TV-WALL MOUNT               1/28/11      1,411.97   0.00           0.00       1,411.97         0.00     1,411.97          0.00   S/L        5.00
3915     KITCHEN HOLDING CABINET         1/26/11      1,884.63   0.00           0.00       1,115.06       188.46     1,303.52        581.11   S/L       10.00
3916     ELECTRONIC CHARTING SYSTEM2/03/11           46,305.00   0.00           0.00      46,305.00         0.00    46,305.00          0.00   S/L        5.00
3917     TRIMMER, BLOWER                 2/08/01        719.98   0.00           0.00         617.10       102.88       719.98          0.00   S/L        7.00
3919     MOWER/SHREDDER                  2/08/11      2,088.50   0.00           0.00       1,235.70       208.85     1,444.55        643.95   S/L       10.00
3921     GOLF CART                       2/09/11        925.00   0.00           0.00         925.00         0.00       925.00          0.00   S/L        5.00
3923     EASY TILT SHOWER CART           2/15/11        559.99   0.00           0.00         331.33        56.00       387.33        172.66   S/L       10.00
3924     BATH BLANKETS                   1/28/11      1,077.42   0.00           0.00       1,077.42         0.00     1,077.42          0.00   S/L        5.00
3925     GAS FRYER                       1/31/11        949.35   0.00           0.00         561.72        94.94       656.66        292.69   S/L       10.00
3926     ELECTRONIC CHARTING SYSTEM2/23/11            1,953.78   0.00           0.00       1,953.78         0.00     1,953.78          0.00   S/L        5.00
3927     ELECTRONIC CHARTING SYSTEM2/28/11              416.79   0.00           0.00         416.79         0.00       416.79          0.00   S/L        5.00
3943     ELECTRONIC CHARTING CONSULTANT  2/17/11        500.00   0.00           0.00         500.00         0.00       500.00          0.00   S/L        5.00
3944     HARDWARE/SOFTWARE-HOWE 2/24/11               2,845.90   0.00           0.00       2,845.90         0.00     2,845.90          0.00   S/L        5.00
3945     HARDWARE CONNECTOR              3/11/11        199.95   0.00           0.00         116.66        20.00       136.66         63.29   S/L       10.00
3946     PAN REPAIR-GAS CONTROL          3/17/11      2,165.25   0.00           0.00       1,245.04       216.53     1,461.57        703.68   S/L       10.00
3947     HUBBEL DISHWASHER BOOSTER 1/01/11              633.45   0.00           0.00         380.10        63.35       443.45        190.00   S/L       10.00
3948     CABLE CABINET/RACK & CONNECTORS 3/15/11      2,752.32   0.00           0.00       1,605.51       275.23     1,880.74        871.58   S/L       10.00
3949     KITCHEN FREEZER/REPAIR          3/29/11        559.03   0.00           0.00         321.43        55.90       377.33        181.70   S/L       10.00
3958     GOLF CART COVER                12/31/10        320.00   0.00           0.00         192.00        32.00       224.00         96.00   S/L       10.00
3967     COMPUTER EQUIPMENT              3/07/11      2,300.00   0.00           0.00       2,300.00         0.00     2,300.00          0.00   S/L        5.00
3968     NETWORK CONFIGURE MATERIALS     3/19/11         76.75   0.00           0.00          76.75         0.00        76.75          0.00   S/L        5.00
3969     NETWORK CONFIGURE MATERIALS     3/19/11         23.78   0.00           0.00          23.78         0.00        23.78          0.00   S/L        5.00
3970     FIBER MATERIALS-SC PROJECT 3/30/11              59.61   0.00           0.00          59.61         0.00        59.61          0.00   S/L        5.00
3971     BACK-UP POWER SUPPLIES          3/22/11        319.92   0.00           0.00         319.92         0.00       319.92          0.00   S/L        5.00
3972     SMART CHARTING EQUIP BALANCE    3/24/11      1,591.10   0.00           0.00       1,591.10         0.00     1,591.10          0.00   S/L        5.00
3973     ELECTRICAL WORK-SC PROJECT 3/24/11          12,417.00   0.00           0.00      12,417.00         0.00    12,417.00          0.00   S/L        5.00
3974     LABOR-SC PROJECT(CONSULTANT)    3/28/11      4,900.00   0.00           0.00       4,900.00         0.00     4,900.00          0.00   S/L        5.00
3975     MATERIALS-SC PROJECT            3/31/11      2,529.09   0.00           0.00       2,529.09         0.00     2,529.09          0.00   S/L        5.00
3976     WALL SAVER RECLINER             2/25/11      4,538.88   0.00           0.00       2,647.69       453.89     3,101.58      1,437.30   S/L       10.00
3977     LAUNDRY A/C                     4/04/11        435.79   0.00           0.00         250.58        43.58       294.16        141.63   S/L       10.00
3978     FAN MOTOR-KITCHEN REACH IN 4/20/11             363.30   0.00           0.00         205.87        36.33       242.20        121.10   S/L       10.00
3979     SC ON-SITE TRAINING             4/12/11      1,347.07   0.00           0.00       1,347.07         0.00     1,347.07          0.00   S/L        5.00
3989     CRT WALL MOUNTS                 5/06/11      1,409.56   0.00           0.00       1,409.56         0.00     1,409.56          0.00   S/L        5.00
3990     2 50" TV'S, 1 40" TV, WALL MOUNTS
                                         5/03/11      3,338.95   0.00           0.00       2,702.95       476.99     3,179.94        159.01   S/L        7.00
3991     3 POWER SURGE SUPPRESSORS 5/05/11              219.93   0.00           0.00         178.05        31.42       209.47         10.46   S/L        7.00
3992     TV STAND                        5/06/11        229.99   0.00           0.00         130.33        23.00       153.33         76.66   S/L       10.00
4010     ISOLATION STATION               6/01/11        250.99   0.00           0.00         140.14        25.10       165.24         85.75   S/L       10.00
4011     STORAGE SHED-FOR GROUNDS 6/02/11               424.00   0.00           0.00         236.73        42.40       279.13        144.87   S/L       10.00
4012     KITCHEN POWER TILT ACUATOR 2/15/11           2,143.78   0.00           0.00       1,268.41       214.38     1,482.79        660.99   S/L       10.00
4013     ISOALTION STATION-2             6/24/11        501.98   0.00           0.00         276.10        50.20       326.30        175.68   S/L       10.00
4014     2 TRASH/LINEN CARTS             6/27/11        939.96   0.00           0.00         517.00        94.00       611.00        328.96   S/L       10.00
4025     KEYPAD/INSTALLATION             6/22/11        712.00   0.00           0.00         391.60        71.20       462.80        249.20   S/L       10.00
4026     54 QUILTS                       7/15/11      4,521.00   0.00           0.00       2,486.55       452.10     2,938.65      1,582.35   S/L       10.00
4027     5 QUILTS                        7/25/11        370.01   0.00           0.00         200.42        37.00       237.42        132.59   S/L       10.00
4028     SURGE PROTECTOR-UN 6 TV         7/27/11         36.99   0.00           0.00          28.60         5.28        33.88          3.11   S/L        7.00
4029     42" FLAT SCREEN                 7/27/11        649.99   0.00           0.00         352.08        65.00       417.08        232.91   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                             Book Asset Detail               1/01/17 - 12/31/17                                                Page 57
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
4044     WANDER GUARD BRACELETS        7/18/11    1,958.29       0.00           0.00       1,060.75       195.83     1,256.58        701.71   S/L       10.00
4045     CARPET CLEANING MACHINE       8/18/11    3,967.00       0.00           0.00       2,115.73       396.70     2,512.43      1,454.57   S/L       10.00
4046     WALK-IN FREEZER GASKETS       8/11/11      317.32       0.00           0.00         171.87        31.73       203.60        113.72   S/L       10.00
4087     PORTA SCRUB MACHINE           8/31/11    1,680.00       0.00           0.00         896.00       168.00     1,064.00        616.00   S/L       10.00
4117     START KIT-REFRIGERATION      10/27/11      343.71       0.00           0.00         177.58        34.37       211.95        131.76   S/L       10.00
4168     MICROWAVE                    12/01/11      155.00       0.00           0.00          78.79        15.50        94.29         60.71   S/L       10.00
4169     FOOD PROCESSOR               12/07/11      657.58       0.00           0.00         334.28        65.76       400.04        257.54   S/L       10.00
4177     ARTWORK-GIK                  12/31/11   30,000.00       0.00           0.00      15,000.00     3,000.00    18,000.00     12,000.00   S/L       10.00
4178     OFFICE CHAIR-GIK             12/31/11    1,522.87       0.00           0.00         761.45       152.29       913.74        609.13   S/L       10.00
4179     TABLE, CHAIR.DRESSER-GIK     12/31/11      500.00       0.00           0.00         250.00        50.00       300.00        200.00   S/L       10.00
4189     PORTABLE A/C,HEAT             1/16/12      911.24       0.00           0.00         448.01        91.12       539.13        372.11   S/L       10.00
4190     HEAT EXCHANGER                1/16/12    2,264.00       0.00           0.00       1,113.13       226.40     1,339.53        924.47   S/L       10.00
4207     GRADE LEVEL FOR UTILITY LINE1/27/12        302.26       0.00           0.00         148.63        30.23       178.86        123.40   S/L       10.00
4208     CONTROLLER & GAS VALVE        1/31/12      629.60       0.00           0.00         309.55        62.96       372.51        257.09   S/L       10.00
4209     ELEC. CONTACTOR-STEAMER       2/03/12      521.50       0.00           0.00         256.40        52.15       308.55        212.95   S/L       10.00
4262     KITCHEN DISH MACHINE MOTOR3/26/12        1,579.35       0.00           0.00         750.21       157.94       908.15        671.20   S/L       10.00
4263     FAN VIBRATION SWITCH          3/28/12    2,541.00       0.00           0.00       1,206.98       254.10     1,461.08      1,079.92   S/L       10.00
4264     UNIT 5 BED REMOTES            4/03/12      911.77       0.00           0.00         433.10        91.18       524.28        387.49   S/L       10.00
4327     UNIT 5 MCR ELEC BED MOTORS 5/03/12         324.21       0.00           0.00         151.29        32.42       183.71        140.50   S/L       10.00
4328     7 BEDS, MATTRESSES            5/31/12   19,093.60       0.00           0.00       8,751.23     1,909.36    10,660.59      8,433.01   S/L       10.00
4397     HAND TRUCK                    6/25/12      390.60       0.00           0.00         175.77        39.06       214.83        175.77   S/L       10.00
4398     DISH MACHINE REPAIR           6/26/12      550.75       0.00           0.00         247.86        55.08       302.94        247.81   S/L       10.00
4399     RECYCLE TRASH CANS            7/09/12      387.48       0.00           0.00         174.37        38.75       213.12        174.36   S/L       10.00
4400     UNIT 5/6 BED REMOTES          7/26/12      402.98       0.00           0.00         177.99        40.30       218.29        184.69   S/L       10.00
4401     ASSIST HANDLES-EASYCARE BEDS  6/29/12    1,801.74       0.00           0.00         810.77       180.17       990.94        810.80   S/L       10.00
4424     GROUNDS TOOLS                 7/17/12      867.94       0.00           0.00         383.32        86.79       470.11        397.83   S/L       10.00
4425     UNIT 5/6 ELECTRIC BED REMOTES8/23/12       974.95       0.00           0.00         422.50        97.50       520.00        454.95   S/L       10.00
4426     EVN OFFICE A/C SVC            8/23/12      394.68       0.00           0.00         171.04        39.47       210.51        184.17   S/L       10.00
4427     KITCHEN WALK-IN FREEZER CAPACITOR
                                       7/17/12      413.83       0.00           0.00         182.76        41.38       224.14        189.69   S/L       10.00
4428     UNIT 5 A/C REPAIR             7/20/12    1,276.26       0.00           0.00         563.70       127.63       691.33        584.93   S/L       10.00
4429     UNIT 6 SLIDING DOOR MOTION SENSOR
                                       8/13/12      640.00       0.00           0.00         282.67        64.00       346.67        293.33   S/L       10.00
4430     WANDER GUARD BRACELETS        7/27/12    2,550.06       0.00           0.00       1,126.29       255.01     1,381.30      1,168.76   S/L       10.00
4459     3 SIT TO STAND LIFTS          8/22/12    7,175.80       0.00           0.00       3,109.51       717.58     3,827.09      3,348.71   S/L       10.00
4460     AUTOMATIC CHECK SIGNER        9/02/12    1,529.00       0.00           0.00         946.53       218.43     1,164.96        364.04   S/L        7.00
4461     30 PAIR ASSIST DEVICES        9/20/12    4,501.42       0.00           0.00       1,913.10       450.14     2,363.24      2,138.18   S/L       10.00
4462     3 FLOOR LIFTS, 3 FULL BODY SWINGS
                                       9/21/12    4,470.16       0.00           0.00       1,899.83       447.02     2,346.85      2,123.31   S/L       10.00
4463     3 FULL BODY SLINGS            9/24/12      268.44       0.00           0.00         114.07        26.84       140.91        127.53   S/L       10.00
4489     BEAUTY SHOP HOT WATER HEATER 10/17/12      377.78       0.00           0.00         157.42        37.78       195.20        182.58   S/L       10.00
4490     POWER CABLE FEEDER           10/19/12      467.00       0.00           0.00         194.58        46.70       241.28        225.72   S/L       10.00
4491     2 FLOOR LIFTS                10/22/12    2,808.92       0.00           0.00       1,170.38       280.89     1,451.27      1,357.65   S/L       10.00
4524     PYRAMID SIDE SLOT RECEPTACLE 10/24/12      842.57       0.00           0.00         351.08        84.26       435.34        407.23   S/L       10.00
4554     REACH-IN REFRIGERATOR        11/29/12    3,511.00       0.00           0.00       1,433.66       351.10     1,784.76      1,726.24   S/L       10.00
4555     TRASH, LINEN CARTS           10/10/12      824.40       0.00           0.00         350.37        82.44       432.81        391.59   S/L       10.00
4556     HOUSEKEEPING FLOOR SIGNS 10/17/12          689.68       0.00           0.00         287.37        68.97       356.34        333.34   S/L       10.00
4604     MORRISON                      1/31/13    2,215.02       0.00           0.00           0.00         0.00         0.00      2,215.02   Memo       0.00
4605     MORRISON                      1/31/13    6,800.00       0.00           0.00           0.00         0.00         0.00      6,800.00   Memo       0.00
4636     FOOD UTENSILS                 1/25/13    1,558.60       0.00           0.00         872.08       222.66     1,094.74        463.86   S/L        7.00
4637     COOLING TOWER SYSTEM CONTROL  2/05/13    2,182.24       0.00           0.00         854.70       218.22     1,072.92      1,109.32   S/L       10.00
4663     RENTAL CONTAINERS             3/20/13      686.40       0.00           0.00         257.40        68.64       326.04        360.36   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                               Book Asset Detail             1/01/17 - 12/31/17                                                Page 58
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
4664     30 (30 QT) PITCHERS         1/31/13      1,497.04       0.00           0.00         837.62       213.86     1,051.48        445.56   S/L        7.00
4702     CHINAWARE                   3/07/13      7,237.39       0.00           0.00       2,774.34       723.74     3,498.08      3,739.31   S/L       10.00
4703     MAGNETIC DOOR LOCKS-UNIT 5 4/12/13         528.49       0.00           0.00         198.19        52.85       251.04        277.45   S/L       10.00
4729     2 PORTABLE A/C UNITS        4/30/13      1,068.00       0.00           0.00         391.60       106.80       498.40        569.60   S/L       10.00
4730     UNIT 5/6 HEAT PUMP REPLACEMENTS
                                     4/30/13      5,715.00       0.00           0.00       2,095.50       571.50     2,667.00      3,048.00   S/L       10.00
4731     COMBUSTIBLE GAS LEAK DETECTOR
                                     5/28/13        439.20       0.00           0.00         157.38        43.92       201.30        237.90   S/L       10.00
4756     UNIT 5 NURSE CALL SYSTEM    5/20/13        357.50       0.00           0.00         128.10        35.75       163.85        193.65   S/L       10.00
4757     HYDRATION ICE CART          6/17/13      1,089.36       0.00           0.00         381.29       108.94       490.23        599.13   S/L       10.00
4780     BED REMOTES-UNIT 5          7/17/13        842.64       0.00           0.00         287.89        84.26       372.15        470.49   S/L       10.00
4803     DISHWASHER REPAIR           7/23/13      2,403.15       0.00           0.00         821.09       240.32     1,061.41      1,341.74   S/L       10.00
4804     SMALL WARES                 7/23/13      4,461.25       0.00           0.00       3,067.69       398.16     3,465.85        995.40   200DB       7.0
4810     LAUNDRY A/C UNITS           8/02/13        982.30       0.00           0.00         335.62        98.23       433.85        548.45   S/L       10.00
4811     CART FOR PINNACLE           8/09/13        432.45       0.00           0.00         147.77        43.25       191.02        241.43   S/L       10.00
4812     CLEAR GLASS FOR TABLES      8/28/13        653.63       0.00           0.00         217.87        65.36       283.23        370.40   S/L       10.00
4813     UNIT 6 WARDROPE HASPS       8/29/13        439.60       0.00           0.00         146.53        43.96       190.49        249.11   S/L       10.00
4850     TREATMENT CART              9/13/13        945.99       0.00           0.00         315.33        94.60       409.93        536.06   S/L       10.00
4851     CHEMICAL FEEDER PUMPS       8/22/13        938.38       0.00           0.00         312.80        93.84       406.64        531.74   S/L       10.00
4852     FLOOR LIFT                  9/20/13      1,490.99       0.00           0.00         484.57       149.10       633.67        857.32   S/L       10.00
4853     4 GOLF CART BATTERIES       9/16/13        850.00       0.00           0.00         394.65       121.43       516.08        333.92   S/L        7.00
4854     BRAISING PAN GAS VALVE      7/22/13        852.00       0.00           0.00         291.10        85.20       376.30        475.70   S/L       10.00
4867     DIETARY SANDWICH UNIT       7/17/13      3,055.19       0.00           0.00       1,043.86       305.52     1,349.38      1,705.81   S/L       10.00
4868     LOBBY CARTS/TRASH CAN CARTS9/25/13      11,280.00       0.00           0.00       3,666.00     1,128.00     4,794.00      6,486.00   S/L       10.00
4918     ACCESS KEYPADS-UNIT 6      10/24/13        422.10       0.00           0.00         133.67        42.21       175.88        246.22   S/L       10.00
4919     BOOKCASE-HOSPITALITY       10/24/13        474.24       0.00           0.00         150.16        47.42       197.58        276.66   S/L       10.00
4920     KITCHEN COOKWARE/UTENSILS 8/31/13          945.34       0.00           0.00         630.23       189.07       819.30        126.04   S/L        5.00
4921     2 TREATMENT CARTS          10/09/13      1,791.98       0.00           0.00         582.40       179.20       761.60      1,030.38   S/L       10.00
4922     DISPLAY BOOTH               8/22/13        851.88       0.00           0.00         283.97        85.19       369.16        482.72   S/L       10.00
4978     PUNCH CARD, ACCESSORIES    11/05/13      2,208.94       0.00           0.00       1,399.00       441.79     1,840.79        368.15   S/L        5.00
4979     TREATMENT CART, ACCESSORIES11/06/13      1,783.94       0.00           0.00         564.90       178.39       743.29      1,040.65   S/L       10.00
4980     GOLF CART BATTERIES         9/22/13        850.00       0.00           0.00         394.65       121.43       516.08        333.92   S/L        7.00
4981     FIRE EXTINGUISHERS         11/22/13      2,355.56       0.00           0.00       1,037.57       336.51     1,374.08        981.48   S/L        7.00
4984     WANDER GUARDS SIGNAL DEVICE11/20/13      1,525.49       0.00           0.00         470.36       152.55       622.91        902.58   S/L       10.00
4985     PALLET JACK                11/25/13        378.00       0.00           0.00         116.55        37.80       154.35        223.65   S/L       10.00
5028     NARCOTICS BOX              12/05/13      1,365.00       0.00           0.00         420.88       136.50       557.38        807.62   S/L       10.00
5149     ELEVATOR SUPPLIES           1/01/14        827.80       0.00           0.00         248.34        82.78       331.12        496.68   S/L       10.00
5150     BED CONTROL REPLACEMENT-UNIT1/15/14
                                         5        1,130.15       0.00           0.00         339.06       113.02       452.08        678.07   S/L       10.00
5151     BADGE PRINTER               1/22/14      1,742.50       0.00           0.00       1,016.46       348.50     1,364.96        377.54   S/L        5.00
5152     BRASS TRANSPORTER BELL CART1/23/14         369.89       0.00           0.00         107.89        36.99       144.88        225.01   S/L       10.00
5180     SMALL WARES                12/01/13      1,862.06       0.00           0.00       1,148.26       372.41     1,520.67        341.39   S/L        5.00
5181     SMALL WARES                12/01/13      2,370.11       0.00           0.00       1,461.56       474.02     1,935.58        434.53   S/L        5.00
5188     UPGRADE BADGE MAKER         2/11/14        657.00       0.00           0.00         383.25       131.40       514.65        142.35   S/L        5.00
5198     MORRISON-DEPT EQUIP         2/01/14      2,816.53       0.00           0.00         821.48       281.65     1,103.13      1,713.40   S/L       10.00
5225     MORRISON EQUIPMENT          3/01/14      3,182.37       0.00           0.00         901.68       318.24     1,219.92      1,962.45   S/L       10.00
5226     ACCESS FOBS-PINNACLE RESIDENTS
                                     4/11/14        482.25       0.00           0.00         265.24        96.45       361.69        120.56   S/L        5.00
5250     SE20" DET ARMS              4/04/14        341.72       0.00           0.00          93.97        34.17       128.14        213.58   S/L       10.00
5251     16" DET ARM                 4/15/14      1,288.60       0.00           0.00         354.36       128.86       483.22        805.38   S/L       10.00
5252     BATTERIES-GOLF CARTS        4/23/14      1,028.00       0.00           0.00         548.27       205.60       753.87        274.13   S/L        5.00
5253     RACK O2 CYLINDER            4/10/14        126.00       0.00           0.00          34.65        12.60        47.25         78.75   S/L       10.00
5254     2 WASHERS, 2 DRYERS         4/11/14      1,451.95       0.00           0.00         399.30       145.20       544.50        907.45   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 59
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
5255     LAL SYSTEM 350 LB            4/23/14        480.82      0.00           0.00         128.21        48.08       176.29        304.53   S/L       10.00
5256     20 METAL MESH FILTERS-A/C    5/14/14        898.00      0.00           0.00         478.93       179.60       658.53        239.47   S/L        5.00
5284     6 CART CYLINDERS             5/01/14         92.00      0.00           0.00          49.07        18.40        67.47         24.53   S/L        5.00
5285     6 CART CYLINDERS             5/12/14         92.00      0.00           0.00          49.07        18.40        67.47         24.53   S/L        5.00
5286     OXYGEN CONN W/SENSOR         5/15/14      3,983.45      0.00           0.00       1,062.26       398.35     1,460.61      2,522.84   S/L       10.00
5287     4 NEW TV'S FOR MEDICARE ROOMS5/09/14        996.91      0.00           0.00         265.84        99.69       365.53        631.38   S/L       10.00
5288     T PUMP                       5/19/14        375.49      0.00           0.00          97.00        37.55       134.55        240.94   S/L       10.00
5289     MATT APM                     5/23/14      1,429.17      0.00           0.00         369.21       142.92       512.13        917.04   S/L       10.00
5317     TRANSMISSION-2007 FORD       6/09/14      1,850.00      0.00           0.00         955.83       370.00     1,325.83        524.17   S/L        5.00
5318     DIGITAL ALERT DEVICE         6/04/14      1,032.15      0.00           0.00         380.91       147.45       528.36        503.79   S/L        7.00
5319     PORTABLE A/C UNIT 4          6/18/14        568.10      0.00           0.00         142.03        56.81       198.84        369.26   S/L       10.00
5320     PORTABLE A/C UNIT 4          6/22/14        837.00      0.00           0.00         209.25        83.70       292.95        544.05   S/L       10.00
5321     BOARD CONTROL ASSEMBLY       6/23/14        475.83      0.00           0.00         118.95        47.58       166.53        309.30   S/L       10.00
5347     4 NEW TV'S FOR MEDICARE ROOMS5/16/14        792.00      0.00           0.00         204.60        79.20       283.80        508.20   S/L       10.00
5394     TELECOM EQUIPMENT            8/08/14        726.96      0.00           0.00         351.36       145.39       496.75        230.21   S/L        5.00
5416     GENERATOR STARTER MOTOR 2/10/14           1,397.50      0.00           0.00         407.60       139.75       547.35        850.15   S/L       10.00
5417     BURGLAR ALARM RENEWAL        9/11/14        200.00      0.00           0.00          93.33        40.00       133.33         66.67   S/L        5.00
5432     HARDWARE-PHONE SYSTEM        8/01/14     12,757.21      0.00           0.00       6,165.98     2,551.44     8,717.42      4,039.79   S/L        5.00
5479     PERMANENT METAL MESH FILTERS12/12/14        898.00      0.00           0.00         187.08        89.80       276.88        621.12   S/L       10.00
5580     VOIP PHONE SERVICE/TELEPHONES1/01/15      2,036.21      0.00           0.00         814.48       407.24     1,221.72        814.49   S/L        5.00
5581     VITAL SIGNS MONITOR          1/15/15      2,243.99      0.00           0.00         448.80       224.40       673.20      1,570.79   S/L       10.00
5582     COMMERCIAL REFRIGERATOR 1/22/15           1,719.72      0.00           0.00         329.61       171.97       501.58      1,218.14   S/L       10.00
5595     6 CREDENZAS                  2/03/15      2,106.95      0.00           0.00         403.84       210.70       614.54      1,492.41   S/L       10.00
5596     EMPLOYEE LOCKERS             2/26/15      1,772.91      0.00           0.00         325.03       177.29       502.32      1,270.59   S/L       10.00
5611     2 HEAT/COOL UNITS UNIT 6     3/06/15      1,005.10      0.00           0.00         184.27       100.51       284.78        720.32   S/L       10.00
5613     35 SHARPS CONTAINERS         2/25/15      2,099.65      0.00           0.00         384.94       209.97       594.91      1,504.74   S/L       10.00
5823     2 MATT APM/LAL SYSTEM        6/12/15        929.98      0.00           0.00         147.25        93.00       240.25        689.73   S/L       10.00
5824     4 18" DET. DESK              6/25/15        469.96      0.00           0.00          70.50        47.00       117.50        352.46   S/L       10.00
5825     2 22" DESK ARM               6/25/15        459.46      0.00           0.00          68.92        45.95       114.87        344.59   S/L       10.00
5880     8 32 GAL DELUXE HAMPERS      9/25/15      1,600.00      0.00           0.00         200.00       160.00       360.00      1,240.00   S/L       10.00
5933     DOOR ALARM SYSTEM           11/13/15      4,540.00      0.00           0.00         529.67       454.00       983.67      3,556.33   S/L       10.00
5934     LAUNDRY LABEL MAKER SYSTEM  11/17/15      2,903.00      0.00           0.00         314.49       290.30       604.79      2,298.21   S/L       10.00
5961     STORE DISPLAY FIXTURES-GIFT 11/23/15
                                     SHOP          1,279.73      0.00           0.00         138.63       127.97       266.60      1,013.13   S/L       10.00
5970     GIFT STORE EQUIPMENT        11/30/15        455.00      0.00           0.00          49.29        45.50        94.79        360.21   S/L       10.00
6252     PAGERS FOR NURSING 5         1/14/16        745.00      0.00           0.00         149.00       149.00       298.00        447.00   S/L        5.00
6292     REPLACEMENT MOTOR-AUTO WHEEL 3/15/16      2,439.02      0.00           0.00         203.25       243.90       447.15      1,991.87   S/L       10.00
6319     ATTENDANT VITAL SIGNS MONITOR4/26/16      2,226.79      0.00           0.00         148.45       222.68       371.13      1,855.66   S/L       10.00
6344     3 MINI WRIST STRAPS          5/26/16        100.00      0.00           0.00           5.83        10.00        15.83         84.17   S/L       10.00
6382     HC DISH ROOM REMODEL         7/16/16        359.82      0.00           0.00          14.99        35.98        50.97        308.85   S/L       10.00
6383     WALL SURFACE BOARD TRIM      7/11/16        174.71      0.00           0.00           8.74        17.47        26.21        148.50   S/L       10.00
6384     WEST ENTRANCE EXTERIOR LIGHTING
                                      7/06/16      1,200.00      0.00           0.00          40.00        80.00       120.00      1,080.00   S/L       15.00
6411     CHAPEL PROJECTION EQUIPMENT9/02/16        4,742.39      0.00           0.00         158.08       474.24       632.32      4,110.07   S/L       10.00
6412     GE TERMINAL HEAT PUMP        8/09/16      1,399.00      0.00           0.00          58.29       139.90       198.19      1,200.81   S/L       10.00
6478     GIFT SHOP TERMINAL SETUP     4/04/16      1,012.50      0.00           0.00         151.88       202.50       354.38        658.12   S/L        5.00
6554     PENDANT DEWERT IPROXX        3/02/17      1,356.00      0.00c          0.00           0.00       113.00       113.00      1,243.00   S/L       10.00
6571     MEDICATION CART              4/05/17      1,418.50      0.00c          0.00           0.00       106.39       106.39      1,312.11   S/L       10.00
6572     20" BURNISHER                4/25/17      1,039.00      0.00c          0.00           0.00        69.27        69.27        969.73   S/L       10.00
6593     NURSING TREATMENT CART       5/02/17      1,052.59      0.00c          0.00           0.00        70.17        70.17        982.42   S/L       10.00
6594     NURSING MED CART             5/05/17      1,418.51      0.00c          0.00           0.00        94.57        94.57      1,323.94   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                                 03/03/2018 9:01 AM
                                                     Book Asset Detail          1/01/17 - 12/31/17                                                  Page 60
FYE: 12/31/2017

       d                               Date In   Book    Book Sec            Book Sal      Book Prior Book Current      Book          Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c           Value       Depreciation Depreciation   End Depr       Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-DEPARTMENTAL EQUIP (continued)
6647    PORTABLE WHEELCHAIR SCALE 8/30/17                 2,074.99   0.00c         0.00           0.00        69.17          69.17      2,005.82   S/L       10.00
6688    ROLLING CONFERENCE CHAIRS 10/27/17
                                         (12)               781.24   0.00c         0.00           0.00        13.02          13.02        768.22   S/L       10.00
6689    PATIENT CARE MANIKIN            10/27/17            757.55   0.00c         0.00           0.00        12.63          12.63        744.92   S/L       10.00
6690    ELECTRIC BEDS                   11/18/17          3,000.00   0.00c         0.00           0.00        25.00          25.00      2,975.00   S/L       10.00
6706    MONOTOP CLEANING MACHINE 12/27/17                 1,100.00   0.00c         0.00           0.00         0.00           0.00      1,100.00   S/L       10.00
6707    CARPET MACHINE                  12/21/17          1,695.00   0.00c         0.00           0.00         0.00           0.00      1,695.00   S/L       10.00
   EH-DEPARTMENTAL EQUIP                              2,681,226.92   0.00c         0.00   2,362,186.22    79,047.48   2,441,233.70    239,993.22
                *Less: Dispositions and Transfers       304,409.51   0.00          0.00     304,409.51         0.00     304,409.51          0.00
              Net EH-DEPARTMENTAL EQUIP               2,376,817.41   0.00c         0.00   2,057,776.71    79,047.48   2,136,824.19    239,993.22

   Group: EH-DEPT. EQUIP (BIHL)
 954     FURNITURE/EQUIPMENT              1/01/67        4,751.50    0.00          0.00       4,751.50         0.00      4,751.50           0.00   S/L       10.00
 955     FURNITURE/EQUIPMENT              1/01/68        7,141.11    0.00          0.00       7,141.11         0.00      7,141.11           0.00   S/L       10.00
 956     FURNITURE/EQUIPMENT              1/01/69        6,799.01    0.00          0.00       6,799.01         0.00      6,799.01           0.00   S/L       10.00
 957     FURNITURE/EQUIPMENT              1/01/70        1,765.51    0.00          0.00       1,765.51         0.00      1,765.51           0.00   S/L       10.00
 958     FURNITURE/EQUIPMENT              1/01/71          182.00    0.00          0.00         182.00         0.00        182.00           0.00   S/L       10.00
 959     FURNITURE/EQUIPMENT              1/01/72          102.74    0.00          0.00         102.74         0.00        102.74           0.00   S/L       10.00
 960     FURNITURE/EQUIPMENT              1/01/73          141.75    0.00          0.00         141.75         0.00        141.75           0.00   S/L       10.00
 961     FURNITURE/EQUIPMENT              1/01/74        1,216.10    0.00          0.00       1,216.10         0.00      1,216.10           0.00   S/L       10.00
 962 d TYPEWRITER                        10/01/79          355.50    0.00          0.00         355.50         0.00        355.50           0.00   S/L       10.00
 963     HOT PACK UNIT                    3/01/80          236.52    0.00          0.00         236.52         0.00        236.52           0.00   S/L        8.00
 964 d TYPEWRITER                        12/01/80          360.00    0.00          0.00         360.00         0.00        360.00           0.00   S/L        8.00
 965     1983 ACQUISITIONS                1/01/83        1,500.00    0.00          0.00       1,500.00         0.00      1,500.00           0.00   S/L        6.00
 966     HALON EXTINGUISHERS              3/23/87           83.50    0.00          0.00          83.50         0.00         83.50           0.00   S/L        5.00
 967 d COPIER (ADLER-ROYAL)              11/07/89        1,295.00    0.00          0.00       1,295.00         0.00      1,295.00           0.00   S/L        8.33
   EH-DEPT. EQUIP (BIHL)                                25,930.24    0.00c         0.00      25,930.24         0.00     25,930.24           0.00
                 *Less: Dispositions and Transfers       2,010.50    0.00          0.00       2,010.50         0.00      2,010.50           0.00
                   Net EH-DEPT. EQUIP (BIHL)            23,919.74    0.00c         0.00      23,919.74         0.00     23,919.74           0.00

   Group: EH-FURNITURE
2253     DESK & CREDENZA              5/01/05             1,495.00   0.00          0.00       1,495.00         0.00       1,495.00          0.00   S/L       10.00
2254     4 CHAIRS                     5/01/05               700.00   0.00          0.00         700.00         0.00         700.00          0.00   S/L       10.00
2255     FURNITURE DELIVERY           5/01/05                50.00   0.00          0.00          50.00         0.00          50.00          0.00   S/L       10.00
2266     8 CHAIRS                     2/08/05             1,400.00   0.00          0.00       1,400.00         0.00       1,400.00          0.00   S/L       10.00
2289     OFFICE CHAIRS                5/01/05               239.44   0.00          0.00         239.44         0.00         239.44          0.00   S/L       10.00
2345     PATIO FURNITURE              4/23/05               611.79   0.00          0.00         611.79         0.00         611.79          0.00   S/L       10.00
2346     STACK CHAIRS                 5/06/05               356.16   0.00          0.00         356.16         0.00         356.16          0.00   S/L       10.00
2351     FURNITURE                    5/01/05               453.44   0.00          0.00         453.44         0.00         453.44          0.00   S/L       10.00
2353     FURNITURE                    5/01/05             1,233.60   0.00          0.00       1,233.60         0.00       1,233.60          0.00   S/L       10.00
2358     EXEC DESK                    5/01/05             1,345.00   0.00          0.00       1,345.00         0.00       1,345.00          0.00   S/L       10.00
2365     TABLE, CHAIRS                5/01/05               479.90   0.00          0.00         479.90         0.00         479.90          0.00   S/L       10.00
2377 d RENTAL FURNITURE               6/30/05               566.80   0.00          0.00         566.80         0.00         566.80          0.00   S/L       10.00
2397     FURNITURE-UNIT 2             7/01/05               566.80   0.00          0.00         566.80         0.00         566.80          0.00   S/L       10.00
2412     FURNITURE-UNIT 2             8/04/05               566.80   0.00          0.00         566.80         0.00         566.80          0.00   S/L       10.00
2523     TABLES AND CHAIRS            4/26/06             1,522.08   0.00          0.00       1,522.08         0.00       1,522.08          0.00   S/L       10.00
2996     OFFICE FURNITURE-FIN OFFICE 11/01/07             1,875.00   0.00          0.00       1,718.75       156.25       1,875.00          0.00   S/L       10.00
3027     20 STACK CHAIRS              7/01/07               549.40   0.00          0.00         521.93        27.47         549.40          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                              Book Asset Detail               1/01/17 - 12/31/17                                                Page 61
FYE: 12/31/2017

       d                               Date In   Book        Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost         179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-FURNITURE (continued)
3136     OFFICE FURNITURE-IT OFFICE 11/22/07       1,046.96        0.00          0.00         951.02        95.94     1,046.96          0.00   S/L       10.00
3555     BOOKCASE/FILE/CHAIR        10/20/09         189.00        0.00          0.00         135.45        18.90       154.35         34.65   S/L       10.00
3556 d   REFRIGERATOR-CEO OFFICE     9/19/09         246.92        0.00          0.00         179.00         0.00       179.00         67.92   S/L       10.00
3928     WALL SAVER RECLINER         1/24/11       1,108.49        0.00          0.00         655.86       110.85       766.71        341.78   S/L       10.00
4305     MARKETING DESK AND 2 BOOKCASE
                                     3/23/12         816.95        0.00          0.00         388.07        81.70       469.77        347.18   S/L       10.00
5826     COUNTER TOP, BLINDS         6/18/15         659.03        0.00          0.00          98.85        65.90       164.75        494.28   S/L       10.00
5827     PAINT UNIT 2 REMODELING     6/18/15          44.07        0.00          0.00           6.61         4.41        11.02         33.05   S/L       10.00
5828     14 BOXES CEILING TILES      6/17/15       1,844.14        0.00          0.00         276.62       184.41       461.03      1,383.11   S/L       10.00
5829     PAINT UNIT 2 REMODELING     6/29/15         269.90        0.00          0.00          40.49        26.99        67.48        202.42   S/L       10.00
5848     UNIT 2 REMODEL PAINT        7/06/15         134.95        0.00          0.00          28.92        19.28        48.20         86.75   S/L        7.00
5849     UNIT 2 REMODEL-WINDOWS      7/13/15         576.00        0.00          0.00         123.43        82.29       205.72        370.28   S/L        7.00
5850     FLOOR PATCH                 7/15/15         135.15        0.00          0.00          28.96        19.31        48.27         86.88   S/L        7.00
5851     UNIT 2 MAKE READY           7/30/15         134.95        0.00          0.00          27.31        19.28        46.59         88.36   S/L        7.00
5865     CARPET-HERITAGE 2 FLOORING 8/12/15       31,186.00        0.00          0.00       4,418.02     3,118.60     7,536.62     23,649.38   S/L       10.00
5881     FABRIC FOR HERITAGE BENCH 9/22/15            25.17        0.00          0.00           3.15         2.52         5.67         19.50   S/L       10.00
5901     KIT WASH ROOM LOCK         10/05/15         778.39        0.00          0.00          97.30        77.84       175.14        603.25   S/L       10.00
5902     CARPET-RESIDENT ROOMS      10/08/15       3,224.80        0.00          0.00         403.10       322.48       725.58      2,499.22   S/L       10.00
5903     INTALL CALL LIGHT SYSTEM   10/12/15      10,908.90        0.00          0.00       1,363.61     1,090.89     2,454.50      8,454.40   S/L       10.00
5904     HAUL OFF-FIRE WALL CONTSRUCT9/15/15         425.00        0.00          0.00         113.33        85.00       198.33        226.67   S/L        5.00
5905     PAINT FOR BUSINESS OFFICE 10/19/15          134.95        0.00          0.00          31.49        26.99        58.48         76.47   S/L        5.00
5906     BUSINESS OFFICE CABINETS    8/18/15         818.90        0.00          0.00         109.19        81.89       191.08        627.82   S/L       10.00
5935     PLUMB PIECES/BUNDS         11/04/15         603.84        0.00          0.00          70.44        60.38       130.82        473.02   S/L       10.00
5936     BUSINESS OFFICE CARPET     11/09/15         647.50        0.00          0.00          75.54        64.75       140.29        507.21   S/L       10.00
5937     NURSE CALL SYSTEM          11/01/15       2,812.50        0.00          0.00         468.75       401.79       870.54      1,941.96   S/L        7.00
5938     BUSINESS OFFICE/ACCTNG WINDOWS
                                    11/23/15       1,444.42        0.00          0.00         156.48       144.44       300.92      1,143.50   S/L       10.00
5939     DOOR ALERT CANCEL BUTTON 11/30/15           240.00        0.00          0.00          26.00        24.00        50.00        190.00   S/L       10.00
6243     CONSULTING-SEWER            1/08/16         515.00        0.00          0.00          51.50        51.50       103.00        412.00   S/L       10.00
6320     PAINT PROJECT #117          4/28/16         231.35        0.00          0.00          30.85        46.27        77.12        154.23   S/L        5.00
6345     CONSULTING SVCS-NBU SEWER MAIN
                                     5/07/16       1,290.00        0.00          0.00          86.00       129.00       215.00      1,075.00   S/L       10.00
6368     CONSULTANT-LAKEVIEW PROJECT 6/10/16       1,750.00        0.00          0.00         102.08       175.00       277.08      1,472.92   S/L       10.00
6369     CONSULTANT-SEWER INTERCEPTOR2/10/16       3,906.50        0.00          0.00         358.10       390.65       748.75      3,157.75   S/L       10.00
6370     CONSULTANT-SEWER INTERCEPTOR3/10/16       2,200.00        0.00          0.00         183.33       220.00       403.33      1,796.67   S/L       10.00
6371     CONSULTANT-BAR SCREEN ALTERNATIVE
                                     4/08/16       1,670.00        0.00          0.00         125.25       167.00       292.25      1,377.75   S/L       10.00
6413     WPAP EXTENSION FOR PARKING 9/21/16
                                     LOT             150.00        0.00          0.00           7.50        30.00        37.50        112.50   S/L        5.00
6414     EQUIPMENT WAREHOUSING       1/01/16       4,866.20        0.00          0.00         486.62       486.62       973.24      3,892.96   S/L       10.00
6462     CONSULTING SERVICES-WPAP EXTENSION
                                    10/08/16         750.00        0.00          0.00          37.50       150.00       187.50        562.50   S/L        5.00
6479     PRE-TREATMENT SYSTEM       12/01/16         650.00        0.00          0.00          10.83       130.00       140.83        509.17   S/L        5.00
6480     SEWER LINE INSPECTION      11/04/16         648.00        0.00          0.00          10.80        64.80        75.60        572.40   S/L       10.00
6508     CARPET EH RM 268            1/12/17       3,343.66        0.00c         0.00           0.00       334.37       334.37      3,009.29   S/L       10.00
6509     GEOLOGY ASSESSMENT          1/31/17       1,650.00        0.00c         0.00           0.00       216.07       216.07      1,433.93   S/L        7.00
6510     400' CONDUIT                1/31/17         294.46        0.00c         0.00           0.00        26.99        26.99        267.47   S/L       10.00
6555     SEWER INTERCEPTOR           3/09/17       2,700.00        0.00c         0.00           0.00       150.00       150.00      2,550.00   S/L       15.00
6573     LAKEVIEW PARK SEWER INTERCEPTOR
                                     1/30/17      10,025.00        0.00c         0.00           0.00       612.64       612.64      9,412.36   S/L       15.00
6574     CARPET ROOM 524             4/18/17         510.00        0.00c         0.00           0.00        34.00        34.00        476.00   S/L       10.00
6575     3 NEW WATER SOURCE HEAT PUMPS
                                     4/25/17       6,060.00        0.00c         0.00           0.00       404.00       404.00      5,656.00   S/L       10.00
6595     KUROGUARD END CAPS          4/19/17       1,024.50        0.00c         0.00           0.00        68.30        68.30        956.20   S/L       10.00
6596     SCS MODIFICATION-SEWER INTERCEPTOR
                                     5/01/17       2,825.00        0.00c         0.00           0.00       125.56       125.56      2,699.44   S/L       15.00
6607     FLOOR COVERING ROOM 606     5/05/17       3,343.59        0.00c         0.00           0.00       222.91       222.91      3,120.68   S/L       10.00
6675     LIGHT FIXTURES FOR WILLOWS 10/22/17
                                    REMODEL        1,824.20        0.00c         0.00           0.00        30.40        30.40      1,793.80   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                    Book Asset Detail         1/01/17 - 12/31/17                                                Page 62
FYE: 12/31/2017

       d                               Date In   Book        Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost         179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-FURNITURE (continued)
6676    NBU INTERCEPTOR                 10/16/17         820.00    0.00c         0.00           0.00        13.67        13.67        806.33 S/L         10.00
6691    GATE MODIFICATION-POOL          11/08/17         611.00    0.00c         0.00           0.00         6.79         6.79        604.21 S/L         15.00
6692    MAIN KITCHEN-OVEN REPAIR 11/09/17              2,560.00    0.00c         0.00           0.00        42.67        42.67      2,517.33 S/L         10.00
   EH-FURNITURE                                      130,686.55    0.00c         0.00      25,594.84    10,743.76    36,338.60     94,347.95
                *Less: Dispositions and Transfers        813.72    0.00          0.00         745.80         0.00       745.80         67.92
                           Net EH-FURNITURE          129,872.83    0.00c         0.00      24,849.04    10,743.76    35,592.80     94,280.03

   Group: EH-LAND IMPROVEMENTS
 968     PAVING                       1/01/58          4,537.02    0.00          0.00       4,537.02         0.00     4,537.02          0.00   S/L       10.00
 969     PAVING                       1/01/60          1,241.11    0.00          0.00       1,241.11         0.00     1,241.11          0.00   S/L       10.00
 970     PAVING                       1/01/62            631.50    0.00          0.00         631.50         0.00       631.50          0.00   S/L       10.00
 971     PAVING                       1/01/64            145.00    0.00          0.00         145.00         0.00       145.00          0.00   S/L       10.00
 972     PAVING                      12/01/80          6,500.00    0.00          0.00       6,500.00         0.00     6,500.00          0.00   S/L       20.00
 973     SIDEWALKS                    9/01/82         10,080.40    0.00          0.00      10,080.40         0.00    10,080.40          0.00   S/L       20.00
 974     4 BENCHES FOR SIDEWALKS     10/01/82            680.40    0.00          0.00         680.40         0.00       680.40          0.00   S/L       10.00
 977     BUSINESS ENTRANCE COVER      2/01/85          1,710.00    0.00          0.00       1,710.00         0.00     1,710.00          0.00   S/L       10.00
 978     3 STOP SIGNS                 6/01/85            202.14    0.00          0.00         202.14         0.00       202.14          0.00   S/L       10.00
 981     PAVING                       6/16/89         24,934.00    0.00          0.00      24,934.00         0.00    24,934.00          0.00   S/L       10.00
 982     GAZEBO                       1/01/90          1,495.00    0.00          0.00       1,495.00         0.00     1,495.00          0.00   S/L       10.00
 983     FENCE                       10/26/90         19,000.00    0.00          0.00      19,000.00         0.00    19,000.00          0.00   S/L       10.00
 984     DECK                         1/21/97          3,984.50    0.00          0.00       3,984.50         0.00     3,984.50          0.00   S/L       10.00
 985     PLAYSCAPE (PLAYGROUND)       3/07/97          4,400.00    0.00          0.00       4,400.00         0.00     4,400.00          0.00   S/L       10.00
 986     DECK EXPANSION               3/21/97            165.88    0.00          0.00         165.88         0.00       165.88          0.00   S/L       10.00
 987     CURB                        12/29/97          5,700.00    0.00          0.00       5,700.00         0.00     5,700.00          0.00   S/L       15.00
 988     TREE                         8/31/98            200.00    0.00          0.00         200.00         0.00       200.00          0.00   S/L       15.00
 989     NEW DUMPSTER PAD            11/17/98          2,458.00    0.00          0.00       2,222.44       122.90     2,345.34        112.66   S/L       20.00
1237     NEW EPOXY STONE             12/17/99          1,971.00    0.00          0.00       1,971.00         0.00     1,971.00          0.00   S/L       10.00
1568     PARKING LOT LIGHTING        11/20/01          6,728.00    0.00          0.00       5,051.33       336.40     5,387.73      1,340.27   S/L       20.00
1569     PARKING LOT PREPARATION     11/05/01          4,500.00    0.00          0.00       4,500.00         0.00     4,500.00          0.00   S/L       10.00
1593     PARKING LOT                  1/24/02         43,629.00    0.00          0.00      43,629.00         0.00    43,629.00          0.00   S/L       10.00
1622     PARKING LOT LIGHTS           2/21/02          7,375.00    0.00          0.00       7,293.10        81.90     7,375.00          0.00   S/L       15.00
1644     CARSTOPS-PARKING LOT         4/01/02            279.50    0.00          0.00         279.50         0.00       279.50          0.00   S/L        7.00
1645     CONTAINMENT POND             2/27/02          5,300.00    0.00          0.00       5,300.00         0.00     5,300.00          0.00   S/L       10.00
1723     SIGNAGE                     11/21/02            240.00    0.00          0.00         240.00         0.00       240.00          0.00   S/L       10.00
2106     CONCRETE CURB                8/20/04          1,531.25    0.00          0.00         944.24        76.56     1,020.80        510.45   S/L       20.00
2107     ASPHALT WORK                 8/24/04          1,750.00    0.00          0.00       1,750.00         0.00     1,750.00          0.00   S/L       10.00
2217     COURT YARD SPRINKLER SYSTEM  5/01/05          1,010.50    0.00          0.00         785.98        67.37       853.35        157.15   S/L       15.00
2228 d RE-LANDSCAPE COURTYARD         5/01/05          2,901.64    0.00          0.00       2,256.80         0.00     2,256.80        644.84   S/L       15.00
2394 d LANDSCAPING-REMOVE PLANTS 6/24/05                 711.45    0.00          0.00         711.45         0.00       711.45          0.00   S/L        5.00
2395 d SHRUB, BED MAINTENANCE         6/27/05            582.46    0.00          0.00         582.46         0.00       582.46          0.00   S/L        5.00
2396     FIN. OFFICE-EXT. STONE ENTRY 7/21/05          2,255.00    0.00          0.00       1,716.27       150.33     1,866.60        388.40   S/L       15.00
2411     SPRINKLER SYSTEMS            8/16/05          2,163.00    0.00          0.00       2,163.00         0.00     2,163.00          0.00   S/L       10.00
2425     SPRINKLER PARTS              7/09/05            495.00    0.00          0.00         495.00         0.00       495.00          0.00   S/L       10.00
2524     PAINT FOR FENCE              4/19/06            322.60    0.00          0.00         322.60         0.00       322.60          0.00   S/L        7.00
2525     LABOR-PAINT FENCE            4/19/06          2,500.00    0.00          0.00       2,500.00         0.00     2,500.00          0.00   S/L        7.00
2549     PAINT FENCE                  4/20/06            645.20    0.00          0.00         645.20         0.00       645.20          0.00   S/L        7.00
2550     PAINT CURBS                  5/04/06            664.80    0.00          0.00         664.80         0.00       664.80          0.00   S/L        7.00
2551     PAINT CURBS                  5/08/06          1,155.25    0.00          0.00       1,155.25         0.00     1,155.25          0.00   S/L        7.00
EDENHOME EDEN HOME, INC.                                                                                                           03/03/2018 9:01 AM
                                                 Book Asset Detail          1/01/17 - 12/31/17                                                Page 63
FYE: 12/31/2017

       d                               Date In   Book    Book Sec        Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost     179 Exp c       Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-LAND IMPROVEMENTS (continued)
2552    PAINT CURBS                       5/10/06       750.00   0.00          0.00         750.00         0.00       750.00          0.00   S/L        7.00
2554    PAINT POSTS                       5/16/06       125.00   0.00          0.00         125.00         0.00       125.00          0.00   S/L        7.00
2555    PLACE SIGNS                       5/16/06       400.00   0.00          0.00         400.00         0.00       400.00          0.00   S/L        7.00
2695    FREE STAND SWING                  7/31/06       250.00   0.00          0.00         250.00         0.00       250.00          0.00   S/L       10.00
2696    PAVILLION ADDITION                7/31/06     7,200.00   0.00          0.00       3,750.00       360.00     4,110.00      3,090.00   S/L       20.00
3089 d TREE TRIM & REMOVAL               10/01/07     4,000.00   0.00          0.00       3,700.00         0.00     3,700.00        300.00   S/L       10.00
3090    PARKING LOT FIXTURES              9/21/07       491.59   0.00          0.00         454.73        36.86       491.59          0.00   S/L       10.00
3669 d LANDSCAPING-UNIT 1                12/01/10     1,433.10   0.00          0.00         871.85         0.00       871.85        561.25   S/L       10.00
3805 d SIDEWALK HANDRAIL FENCE EV 7/22/10  2C           789.00   0.00          0.00         506.28         0.00       506.28        282.72   S/L       10.00
3822 d LANDSCAPE AT ENTRY                 8/10/10     1,532.00   0.00          0.00       1,532.00         0.00     1,532.00          0.00   S/L        3.00
4732    PARKING LOT                       5/02/13       682.40   0.00          0.00         166.80        45.49       212.29        470.11   S/L       15.00
5322    PARKING APPLICATION-8.45 ACRES    6/13/14     5,000.00   0.00          0.00           0.00         0.00         0.00      5,000.00   Memo       0.00
5830    PARKING LOT ASPHALT               6/10/15     2,250.00   0.00          0.00         356.25       225.00       581.25      1,668.75   S/L       10.00
6399    NBU ORDINANCE/GRINDER DESIGN      8/12/16     3,120.00   0.00          0.00         185.71       445.71       631.42      2,488.58   S/L        7.00
6527    STORM WATER POLLUTION PREVENTION  2/25/17 PLAN 350.00    0.00c         0.00           0.00        29.17        29.17        320.83   S/L       10.00
6528    STORM WATER POLLUTION PREVENTION  2/25/17 PLAN1,500.00   0.00c         0.00           0.00       125.00       125.00      1,375.00   S/L       10.00
6556    PREPARE LAKEVIEW PARK AREA3/02/17            25,000.00   0.00c         0.00           0.00     1,388.89     1,388.89     23,611.11   S/L       15.00
6557    DEE MEYER REVISED DRAWINGS-NATURE 3/09/17  AREA
                                                      2,620.00   0.00c         0.00           0.00       145.56       145.56      2,474.44   S/L       15.00
6558    STORM WATER POLLUTION PREVENTION  3/20/17 PLAN 350.00    0.00c         0.00           0.00        17.50        17.50        332.50   S/L       15.00
6576    SEWER INTERCEPTOR PROJECT 4/03/17             1,155.00   0.00c         0.00           0.00        57.75        57.75      1,097.25   S/L       15.00
6577    PARKING AREA EXCAVATION           4/27/17    34,392.00   0.00c         0.00           0.00     1,528.53     1,528.53     32,863.47   S/L       15.00
6578    PROJECT COORDINATION              1/30/17     1,930.00   0.00c         0.00           0.00       117.94       117.94      1,812.06   S/L       15.00
6579    WEEKLY CONSTRUCTION INSPECTION-PARK
                                          4/28/17       350.00   0.00c         0.00           0.00        15.56        15.56        334.44   S/L       15.00
6597    LAKEVIEW PARK COORDINATION/DRAWINGS
                                          5/01/17     3,875.00   0.00c         0.00           0.00       172.22       172.22      3,702.78   S/L       15.00
6598    LAKEVIEW PARK EXCAVATION 5/23/17             68,093.00   0.00c         0.00           0.00     2,648.06     2,648.06     65,444.94   S/L       15.00
6625    PRIVATE PARK DESIGN LAYOUT 6/13/17            2,500.00   0.00c         0.00           0.00        97.22        97.22      2,402.78   S/L       15.00
6628    BAR SCREEN INTERCEPTOR AND 7/31/17SEWER LINE129,075.00   0.00c         0.00           0.00     3,585.42     3,585.42    125,489.58   S/L       15.00
6629    LAKEVIEW PARK-ADA ASSISTANCE      8/01/17       457.28   0.00c         0.00           0.00        19.05        19.05        438.23   S/L       10.00
6677    PARK PEDESTRIAN CROSSING 7/05/17              1,370.00   0.00c         0.00           0.00        45.67        45.67      1,324.33   S/L       15.00
6678    FENCES, GATES, MANHOLES-PARK     10/12/17    89,243.97   0.00c         0.00           0.00     1,487.40     1,487.40     87,756.57   S/L       15.00
6679    PARK SIGNAGE-DEE MEYER PARK       8/08/17     1,950.50   0.00c         0.00           0.00        81.27        81.27      1,869.23   S/L       10.00
6680    PEDESTRIAN CROSSING              10/16/17       705.00   0.00c         0.00           0.00         7.83         7.83        697.17   S/L       15.00
6693    INSTALL FENCING                  11/13/17    44,930.00   0.00c         0.00           0.00       499.22       499.22     44,430.78   S/L       15.00
6694    CONSTRUCTION INSPECTIONS-PARK    11/30/17       350.00   0.00c         0.00           0.00         2.92         2.92        347.08   S/L       10.00
6708    2 STEEL BRIDGES-LAKEVIEW PARK    12/23/17    12,000.00   0.00c         0.00           0.00         0.00         0.00     12,000.00   S/L       15.00
6709    CONCRETE PAD FOR BENCHES 1/23/17              2,475.00   0.00c         0.00           0.00       151.25       151.25      2,323.75   S/L       15.00
   EH-LAND IMPROVEMENTS                             629,470.44   0.00c         0.00     185,834.99    14,171.95   200,006.94    429,463.50
                 *Less: Dispositions and Transfers   11,949.65   0.00          0.00      10,160.84         0.00    10,160.84      1,788.81
                Net EH-LAND IMPROVEMENTS            617,520.79   0.00c         0.00     175,674.15    14,171.95   189,846.10    427,674.69

   Group: EH-SECURITY EQUIPMENT
 990     SECURITY EQUIPMENT         12/23/91      2,331.79       0.00          0.00       2,331.79         0.00     2,331.79          0.00   S/L       10.00
 991     DOUBLE DOOR MONITOR         3/10/92      2,772.45       0.00          0.00       2,772.45         0.00     2,772.45          0.00   S/L       10.00
 992     SECURITY EQUIPMENT- D14 PRESENCE
                                     8/03/92 DETECTOR
                                                  1,174.00       0.00          0.00       1,174.00         0.00     1,174.00          0.00   S/L       10.00
 993     SURVEILLANCE MONITOR, 2 CAMERAS
                                     9/10/92        559.00       0.00          0.00         559.00         0.00       559.00          0.00   S/L       10.00
 994     DOUBLE DOOR MONITOR         1/31/94      1,257.45       0.00          0.00       1,257.45         0.00     1,257.45          0.00   S/L       10.00
 995     DOUBLE DOOR MONITOR         2/28/94      1,282.35       0.00          0.00       1,282.35         0.00     1,282.35          0.00   S/L       10.00
 996     ROAM ALERT DOOR MONITORING8/09/95
                                       SYSTEM     8,685.00       0.00          0.00       8,685.00         0.00     8,685.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                     Book Asset Detail        1/01/17 - 12/31/17                                                Page 64
FYE: 12/31/2017

       d                               Date In    Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost    179 Exp c         Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN HOME,INC. | Group: EH-SECURITY EQUIPMENT (continued)
1446    ROAM ALERT, TWO MAGLOCKS 2/16/01                2,724.40   0.00          0.00       2,724.40         0.00     2,724.40          0.00   S/L       10.00
1535    CHURCH ROAM ALERT SYSTEM 8/29/01                  562.00   0.00          0.00         562.00         0.00       562.00          0.00   S/L       10.00
1623    STOPPER WITH HORN                 2/15/02         248.50   0.00          0.00         248.50         0.00       248.50          0.00   S/L       10.00
1679    ELECTRONIC SWITCHES               8/23/02         419.50   0.00          0.00         419.50         0.00       419.50          0.00   S/L       10.00
1686    RELOCATE ANNUNCIATOR              9/11/02         975.00   0.00          0.00         975.00         0.00       975.00          0.00   S/L       10.00
1687    ANNUNCIATOR                       9/20/02         340.11   0.00          0.00         340.11         0.00       340.11          0.00   S/L       10.00
1753    CAMERA SURVEILLANCE SYSTEM       12/31/02       2,975.00   0.00          0.00       2,975.00         0.00     2,975.00          0.00   S/L        5.00
1754 d CALL SYSTEM-UNIT 4                12/31/02       1,945.00   0.00          0.00       1,945.00         0.00     1,945.00          0.00   S/L        5.00
1784    MAGLOCK-UNIT 5                    3/21/03         881.00   0.00          0.00         881.00         0.00       881.00          0.00   S/L       10.00
1831    WANDERGARD ALARM                  6/18/03         634.25   0.00          0.00         634.25         0.00       634.25          0.00   S/L        5.00
2167    KEYS, LOCKS                      11/03/04         612.00   0.00          0.00         612.00         0.00       612.00          0.00   S/L       10.00
2191    UNIT 3 LOCKS                     12/08/04       1,850.00   0.00          0.00       1,850.00         0.00     1,850.00          0.00   S/L       10.00
2295    LOCK, PANIC BAR                   3/02/05         558.00   0.00          0.00         440.20        37.20       477.40         80.60   S/L       15.00
2991    MAGLOCK, KEY PADS UNIT 6          6/22/07       1,281.12   0.00          0.00       1,281.12         0.00     1,281.12          0.00   S/L        5.00
3116    PANIC DEVICE AND LOCK            11/09/07         534.50   0.00          0.00         534.50         0.00       534.50          0.00   S/L        5.00
3823    STANLEY SECURITY SOLUTION 7/27/10              11,383.62   0.00          0.00       7,304.48     1,138.36     8,442.84      2,940.78   S/L       10.00
4355    DIRECTIONAL SIGNS                 5/08/12         172.68   0.00          0.00         115.13        24.67       139.80         32.88   S/L        7.00
4433    SECURITY CAMERA EQUIP             7/22/12         476.52   0.00          0.00         210.46        47.65       258.11        218.41   S/L       10.00
4587    PARKING/TOW SIGNS                 1/01/13         281.25   0.00          0.00         112.52        28.13       140.65        140.60   S/L       10.00
4665    ALARM APPLICATION                 3/14/13          50.00   0.00          0.00          19.17         5.00        24.17         25.83   S/L       10.00
5227    MONTHLY SERVICE                   4/16/14          30.27   0.00          0.00          16.14         6.05        22.19          8.08   S/L        5.00
5257    PROJECT SIGNS                     4/23/14       2,363.56   0.00          0.00         630.29       236.36       866.65      1,496.91   S/L       10.00
5258    FALSE BURGLAR ALARM INCIDENTS     4/17/14         150.00   0.00          0.00          40.00        15.00        55.00         95.00   S/L       10.00
5395    SECURITY EQUIPMENT                8/29/14         165.10   0.00          0.00          38.52        16.51        55.03        110.07   S/L       10.00
5433    SECURITY EQUIPMENT               10/11/14         125.24   0.00          0.00          56.36        25.05        81.41         43.83   S/L        5.00
5867    SECURITY EQUIPMENT                7/21/15          76.73   0.00          0.00          21.74        15.35        37.09         39.64   S/L        5.00
   EH-SECURITY EQUIPMENT                               49,877.39   0.00c         0.00      43,049.43     1,595.33    44,644.76      5,232.63
                 *Less: Dispositions and Transfers      1,945.00   0.00          0.00       1,945.00         0.00     1,945.00          0.00
                Net EH-SECURITY EQUIPMENT              47,932.39   0.00c         0.00      41,104.43     1,595.33    42,699.76      5,232.63

   Group: EH-TRANSP. EQUIPMENT
2661     2000 FORD VAN E150          7/25/06           13,316.75   0.00          0.00      13,316.75         0.00    13,316.75          0.00   S/L        5.00
2833     VAN TIRES                   1/01/07              458.54   0.00          0.00         458.54         0.00       458.54          0.00   S/L        5.00
2900     2007 FORD 500               3/12/07           31,082.01   0.00          0.00      31,082.01         0.00    31,082.01          0.00   S/L        5.00
2901     WARRANTY-07 FORD 500        3/07/07            1,115.00   0.00          0.00       1,115.00         0.00     1,115.00          0.00   S/L        3.00
3383     2009 SUPREME CANDIDATE BUS 11/17/08           56,322.58   0.00          0.00      56,322.58         0.00    56,322.58          0.00   S/L        5.00
3401     2007 FORD F-150 TRUCK       1/08/09            7,843.89   0.00          0.00       7,843.89         0.00     7,843.89          0.00   S/L        5.00
3694     2010 ELDORADO AMERICAN VAN2/01/10             44,186.76   0.00          0.00      44,186.76         0.00    44,186.76          0.00   S/L        5.00
4265     2012 EL DORADO BUS          4/26/12           57,233.35   0.00          0.00      53,417.79     3,815.56    57,233.35          0.00   S/L        5.00
6400     2017 ELKHART COACH BUS      8/26/16           64,515.00   0.00          0.00       4,301.00    12,903.00    17,204.00     47,311.00   S/L        5.00
6463     2015 FORD TRANSIT          10/29/16           20,781.33   0.00          0.00         692.71     4,156.27     4,848.98     15,932.35   S/L        5.00
   EH-TRANSP. EQUIPMENT                               296,855.21   0.00c         0.00     212,737.03    20,874.83   233,611.86     63,243.35

   Group: EV-DEPARTMENTAL EQUIP
6687     FIRE RETARDANT BEDSPREADS 11/29/17             7,032.96   0.00c         0.00           0.00       117.22       117.22      6,915.74 S/L          5.00
EDENHOME EDEN HOME, INC.                                                                                                              03/03/2018 9:01 AM
                                                  Book Asset Detail          1/01/17 - 12/31/17                                                  Page 65
FYE: 12/31/2017

       d                               Date In   Book    Book Sec         Book Sal      Book Prior Book Current      Book         Book Net       Book    Book
Asset t         Property Description   Service   Cost     179 Exp c        Value       Depreciation Depreciation   End Depr      Book Value     Method   Period
    Location: EDEN HOME,INC. | Group: EV-DEPARTMENTAL EQUIP (continued)

   EV-DEPARTMENTAL EQUIP                             7,032.96    0.00c          0.00          0.00        117.22        117.22       6,915.74

   Group: EV-FURNITURE, APPLIANCES
5962     UNIT 2 FIRE ALARM         12/15/15          1,550.00    0.00           0.00        167.92        155.00        322.92       1,227.08   S/L       10.00
6321     PAINT PROJECT #117         4/28/16             44.40    0.00           0.00          5.92          8.88         14.80          29.60   S/L        5.00
6715     TOE KICK/SUPPLIES DOOR 2E 12/21/17             60.80    0.00c          0.00          0.00          0.00          0.00          60.80   S/L        5.00
6716     CARPET-2E                 12/14/17          1,919.61    0.00c          0.00          0.00         16.00         16.00       1,903.61   S/L       10.00
   EV-FURNITURE, APPLIANCES                          3,574.81    0.00c          0.00        173.84        179.88        353.72       3,221.09

   Group: EV-LAND IMPROVEMENTS
5866     EARTH PILE REDUCTION       7/28/15          2,300.00    0.00           0.00        325.83        230.00        555.83      1,744.17    S/L       10.00
6648     WEEKLY INSPECTION REPORT 8/31/17              350.00    0.00c          0.00          0.00         11.67         11.67        338.33    S/L       10.00
6649     LIGHTING FOR PARKING LOT-  9/18/17         25,000.73    0.00c          0.00          0.00        416.68        416.68     24,584.05    S/L       15.00
6650     LAKEVIEW PARK CONSTRUCTION9/18/17         221,441.40    0.00c          0.00          0.00      3,690.69      3,690.69    217,750.71    S/L       15.00
6651     TABLES/BENCHES/TRASH CANS-PARK
                                    8/21/17         10,436.15    0.00c          0.00          0.00        347.87        347.87     10,088.28    S/L       10.00
6652     WEEKLY INSPECTION REPORT 6/30/17              350.00    0.00c          0.00          0.00         17.50         17.50        332.50    S/L       10.00
6653     WEEKLY INSPECTION REPORT 7/31/17              350.00    0.00c          0.00          0.00         14.58         14.58        335.42    S/L       10.00
6654     WEEKLY INSPECTION REPORT 9/30/17              350.00    0.00c          0.00          0.00          8.75          8.75        341.25    S/L       10.00
   EV-LAND IMPROVEMENTS                            260,578.28    0.00c          0.00        325.83      4,737.74      5,063.57    255,514.71

   Group: INTANGIBLE ASSETS
6599     2017 WEB DESIGN PLAN UPDATE 5/17/17         5,000.00    0.00c          0.00          0.00          0.00          0.00       5,000.00 Memo         0.00
   INTANGIBLE ASSETS                                 5,000.00    0.00c          0.00          0.00          0.00          0.00       5,000.00
                              EDEN HOME,INC. 18,103,092.61       0.00c          0.00 10,616,987.14    503,591.13 11,120,578.27   6,982,514.34
                 *Less: Dispositions and Transfers 701,135.63    0.00           0.00    618,767.39          0.00    618,767.39      82,368.24
                          Net EDEN HOME,INC. 17,401,956.98       0.00c          0.00 9,998,219.75     503,591.13 10,501,810.88   6,900,146.10

Location: EDEN VILLAGE

   Group: CIP-EH, VILLAGE UNITS
6602     CASH RECEIPT               5/31/17          -4,257.00   0.00c          0.00          0.00          0.00          0.00      -4,257.00 Memo         0.00
6613     HOFFMAN FLOORS PROJECT 17-118
                                    6/22/17           4,257.00   0.00c          0.00          0.00          0.00          0.00       4,257.00 Memo         0.00
   CIP-EH, VILLAGE UNITS                                  0.00   0.00c          0.00          0.00          0.00          0.00           0.00

   Group: CIP-EV
6700     CASH RECEIPT                  11/30/17      -2,625.96   0.00c          0.00          0.00          0.00          0.00      -2,625.96 Memo         0.00
   CIP-EV                                            -2,625.96   0.00c          0.00          0.00          0.00          0.00      -2,625.96

   Group: CIP-VILLAGE UNITS
6407     CASH RECEIPT                   8/31/16     -19,500.00   0.00           0.00          0.00          0.00          0.00     -19,500.00 Memo         0.00
6431     EV 6E PROJECT 139              9/30/16      19,500.00   0.00           0.00          0.00          0.00          0.00      19,500.00 Memo         0.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                Book Asset Detail            1/01/17 - 12/31/17                                                Page 66
FYE: 12/31/2017

       d                                Date In  Book         Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description    Service   Cost        179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: CIP-VILLAGE UNITS (continued)

   CIP-VILLAGE UNITS                                   0.00       0.00c         0.00           0.00         0.00         0.00          0.00

   Group: EH- BUILDING
5993     MASTER PLAN DEVELOPMENT-INTEREST
                                   8/01/15       236,622.83       0.00          0.00      13,408.62     9,464.91    22,873.53    213,749.30   S/L       25.00
5994     PREDEVELOPMENT COSTS EV   8/01/15        33,579.63       0.00          0.00       1,902.85     1,343.19     3,246.04     30,333.59   S/L       25.00
6042     EV MAILBOX                8/01/15         1,564.47       0.00          0.00         221.64       156.45       378.09      1,186.38   S/L       10.00
6133     PROJECT TRANSPORTATIONS COSTS
                                   8/01/15         1,826.00       0.00          0.00         172.45       121.73       294.18      1,531.82   S/L       15.00
6182     REMODEL 30C,D,E,F         8/01/15        52,000.00       0.00          0.00       3,683.33     2,600.00     6,283.33     45,716.67   S/L       20.00
   EH- BUILDING                                  325,592.93       0.00c         0.00      19,388.89    13,686.28    33,075.17    292,517.76

   Group: EH-FURNITURE
6674     30C CARPET REPLACEMENT       9/30/17         97.37       0.00c         0.00           0.00         2.43         2.43         94.94 S/L         10.00
   EH-FURNITURE                                       97.37       0.00c         0.00           0.00         2.43         2.43         94.94

   Group: EV- BUILDING
1011     ANDERSON                   2/01/64        6,894.00       0.00          0.00       6,894.00         0.00     6,894.00          0.00   S/L       40.00
1020     8 UNIT COMPLEX            11/01/78      244,480.63       0.00          0.00     244,480.63         0.00   244,480.63          0.00   S/L       29.85
1021     8 UNIT COMPLEX             1/01/79       12,389.49       0.00          0.00      12,389.49         0.00    12,389.49          0.00   S/L       29.85
1022     4 UNIT COMPLEX            12/01/80      141,550.41       0.00          0.00     141,550.41         0.00   141,550.41          0.00   S/L       29.85
1023     8 CARPORTS                 2/01/82        6,787.00       0.00          0.00       6,787.00         0.00     6,787.00          0.00   S/L       10.00
1024     4 CARPORTS                 5/01/82        3,740.00       0.00          0.00       3,740.00         0.00     3,740.00          0.00   S/L       10.00
1025     PATIO COVERS               8/01/82        5,227.32       0.00          0.00       5,227.32         0.00     5,227.32          0.00   S/L       29.85
1027     #17 ROOF                   9/01/82        1,430.00       0.00          0.00       1,430.00         0.00     1,430.00          0.00   S/L       10.00
1028     5 SCREEN PORCHES           9/01/82        4,937.00       0.00          0.00       4,937.00         0.00     4,937.00          0.00   S/L       14.29
1029     1983 ACQUISITIONS          1/01/83      225,883.65       0.00          0.00     225,883.65         0.00   225,883.65          0.00   S/L       14.29
1030     IMPROVEMENTS              12/01/83          548.76       0.00          0.00         548.76         0.00       548.76          0.00   S/L       10.00
1031     6 UNITS                    1/01/85      288,288.72       0.00          0.00     288,288.72         0.00   288,288.72          0.00   S/L       17.99
1037     #314 INSULATION            6/09/88          207.00       0.00          0.00         207.00         0.00       207.00          0.00   S/L       10.00
1039     #9 ROOF                    6/09/88        2,160.00       0.00          0.00       2,160.00         0.00     2,160.00          0.00   S/L       10.00
1041     9 UNITS                   12/01/88      495,036.35       0.00          0.00     495,036.35         0.00   495,036.35          0.00   S/L       27.50
1042     4 UNITS                    3/14/89      254,098.47       0.00          0.00     254,098.47         0.00   254,098.47          0.00   S/L       27.50
1043     ROOF REPAIR                8/09/92        1,256.84       0.00          0.00       1,256.84         0.00     1,256.84          0.00   S/L       10.00
1044     ROOF 5B                    8/01/93          300.52       0.00          0.00         300.52         0.00       300.52          0.00   S/L       10.00
1045     ROOF                       2/08/95        1,200.00       0.00          0.00       1,200.00         0.00     1,200.00          0.00   S/L       10.00
1047     UNIT 11-NEW ROOF           6/26/97        2,260.00       0.00          0.00       2,260.00         0.00     2,260.00          0.00   S/L       15.00
1048     8 UNIT VILLAGE UNITS      10/27/98      682,895.86       0.00          0.00     451,125.20    24,832.58   475,957.78    206,938.08   S/L       27.50
1049     GUTTERS                   10/27/98        2,327.52       0.00          0.00       2,327.52         0.00     2,327.52          0.00   S/L       15.00
1050     CONCRETE WALK             10/27/98        4,525.50       0.00          0.00       4,110.75       226.28     4,337.03        188.47   S/L       20.00
1051     FLOOR COVERINGS           10/27/98       22,156.50       0.00          0.00      22,156.50         0.00    22,156.50          0.00   S/L       10.00
1052     WINDOW COVERINGS          11/30/98          595.56       0.00          0.00         595.56         0.00       595.56          0.00   S/L       10.00
1053     FLOOR REFINISHING          1/01/99        2,192.43       0.00          0.00       2,192.43         0.00     2,192.43          0.00   S/L       10.00
1054     TELEPHONE JACK             1/21/99          137.12       0.00          0.00         137.12         0.00       137.12          0.00   S/L       10.00
1055     BATHROOM REMODEL           8/17/99        2,650.00       0.00          0.00       1,177.80        67.95     1,245.75      1,404.25   S/L       39.00
1056     CONCRETE CAP               8/18/99        2,000.00       0.00          0.00         888.85        51.28       940.13      1,059.87   S/L       39.00
1057     ENCLOSE LAUNDRY PORTION OF10/12/99
                                     GARAGE        1,410.00       0.00          0.00         623.59        36.15       659.74        750.26   S/L       39.00
1256     NEW DOOR                   6/07/00          148.00       0.00          0.00         148.00         0.00       148.00          0.00   S/L       15.00
1328     ALUMINUM PATIO COVER       7/06/00        1,459.00       0.00          0.00       1,203.68        72.95     1,276.63        182.37   S/L       20.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                               Book Asset Detail              1/01/17 - 12/31/17                                                Page 67
FYE: 12/31/2017

       d                                Date In    Book        Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost        179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
1329     8 X 16 CONCRETE PATIO     8/10/00            850.00        0.00         0.00         697.71        42.50       740.21        109.79   S/L       20.00
1400     CEILING FANS, FAUCETS     4/24/01            551.63        0.00         0.00         551.63         0.00       551.63          0.00   S/L       10.00
1401     MIRROR ENCLOSURE          4/30/01            302.50        0.00         0.00         302.50         0.00       302.50          0.00   S/L       15.00
1402     DRAWERS, CABINETS         5/09/01            223.92        0.00         0.00         223.92         0.00       223.92          0.00   S/L       15.00
1596     CARPORT REBUILT           2/06/02         35,784.25        0.00         0.00      35,585.50       198.75    35,784.25          0.00   S/L       15.00
1629     WASHER/DRYER PLUGS        4/01/02            546.70        0.00         0.00         546.70         0.00       546.70          0.00   S/L       10.00
1812     RENOVATIONS-2A            5/06/03          3,690.70        0.00         0.00       2,522.04       184.54     2,706.58        984.12   S/L       20.00
1857     BLDG SUPPLIES-5D          7/01/03            740.44        0.00         0.00         499.77        37.02       536.79        203.65   S/L       20.00
1902     SHOWER DOOR               9/29/03            129.00        0.00         0.00         129.00         0.00       129.00          0.00   S/L       10.00
2008     ELECTRIC SUPPLIES         1/01/04            201.70        0.00         0.00         174.85        13.45       188.30         13.40   S/L       15.00
2009     PAINT SUPPLIES            1/09/04              7.96        0.00         0.00           6.89         1.07         7.96          0.00   S/L       15.00
2010     DOOR                      1/12/04             94.00        0.00         0.00          81.51         6.27        87.78          6.22   S/L       15.00
2011     SUPPLIES-ELEC. CONST.     1/21/04             64.34        0.00         0.00          64.34         0.00        64.34          0.00   S/L       10.00
2012     DRAINAGE-ROOF SUPPLIES    1/23/04             92.30        0.00         0.00          92.30         0.00        92.30          0.00   S/L       10.00
2052     RENOVATIONS-UNIT 9       12/01/03          6,438.33        0.00         0.00       5,615.63       429.22     6,044.85        393.48   S/L       15.00
2088     RE-FIT BATHROOMS UNIT 2G  7/08/04            993.76        0.00         0.00         993.76         0.00       993.76          0.00   S/L       10.00
2109     ROOF-UNIT 17              8/24/04          1,136.60        0.00         0.00       1,136.60         0.00     1,136.60          0.00   S/L       10.00
2110     SOFFIT-UNIT 17            8/26/04            725.00        0.00         0.00         725.00         0.00       725.00          0.00   S/L       10.00
2133     ROOF REPLACEMENT-UNIT 17  8/31/04          1,336.60        0.00         0.00       1,336.60         0.00     1,336.60          0.00   S/L       10.00
2283     INTERIOR RENOVATION       2/01/05          1,100.00        0.00         0.00       1,100.00         0.00     1,100.00          0.00   S/L        7.00
2284     REPLACE ROOF              2/07/05          2,540.00        0.00         0.00       2,540.00         0.00     2,540.00          0.00   S/L       10.00
2285     PATIO, HANDICAP RAMP      2/18/05          2,450.00        0.00         0.00       2,450.00         0.00     2,450.00          0.00   S/L       10.00
2287     WALLCOVERING              2/17/05            146.00        0.00         0.00         146.00         0.00       146.00          0.00   S/L       10.00
2359     OVERHEAD GARAGE DOOR-UNIT 5/20/05
                                   11                 513.89        0.00         0.00         513.89         0.00       513.89          0.00   S/L       10.00
2360     OVERHEAD GARAGE DOOR-UNIT 5/03/05
                                   9                  253.70        0.00         0.00         253.70         0.00       253.70          0.00   S/L       10.00
2405     ENTRY DOORS-UNIT 5B       8/23/05            635.23        0.00         0.00         479.97        42.35       522.32        112.91   S/L       15.00
2416     REMODEL BATH-UNIT 5B      7/05/05            935.12        0.00         0.00         716.91        62.34       779.25        155.87   S/L       15.00
2417     RENOVATE BATH-UNIT 5B     7/18/05            568.53        0.00         0.00         432.69        37.90       470.59         97.94   S/L       15.00
2448     ROOF-UNIT 7              12/19/05          6,100.00        0.00         0.00       6,100.00         0.00     6,100.00          0.00   S/L       10.00
2461     ROOF-BLDG 1               1/20/06          3,500.00        0.00         0.00       3,500.00         0.00     3,500.00          0.00   S/L       10.00
2462     ROOF-BLDG 2               1/20/06          5,700.00        0.00         0.00       5,700.00         0.00     5,700.00          0.00   S/L       10.00
2464     ROOF-BLDG 15              1/04/06          3,100.00        0.00         0.00       3,100.00         0.00     3,100.00          0.00   S/L       10.00
2465     ROOF-BLDG 6               1/01/06          5,200.00        0.00         0.00       5,200.00         0.00     5,200.00          0.00   S/L       10.00
2466     ROOF-BLDG 3               1/12/06          5,320.00        0.00         0.00       5,320.00         0.00     5,320.00          0.00   S/L       10.00
2476     INTERIOR PAINTING         2/15/06          1,000.00        0.00         0.00       1,000.00         0.00     1,000.00          0.00   S/L        7.00
2477     ROOF-UNIT 4               1/27/06          2,500.00        0.00         0.00       2,500.00         0.00     2,500.00          0.00   S/L       10.00
2478     ROOF-UNIT 5               1/31/06          5,800.00        0.00         0.00       5,800.00         0.00     5,800.00          0.00   S/L       10.00
2479     ROOF-UNIT 9               1/08/06          4,600.00        0.00         0.00       4,600.00         0.00     4,600.00          0.00   S/L       10.00
2481     ROOF-UNIT 11              2/15/06          5,800.00        0.00         0.00       5,800.00         0.00     5,800.00          0.00   S/L       10.00
2510     PAINT FOR REMODEL         3/14/06            420.00        0.00         0.00         420.00         0.00       420.00          0.00   S/L       10.00
2511     EXTERIOR PAINT            4/06/06          1,600.00        0.00         0.00       1,600.00         0.00     1,600.00          0.00   S/L       10.00
2512     ELECTRICAL SUPPLIES       3/16/06             83.85        0.00         0.00          83.85         0.00        83.85          0.00   S/L       10.00
2513     CONSTRUCTION MATERIALS    3/22/06            281.96        0.00         0.00         281.96         0.00       281.96          0.00   S/L       10.00
2536     PAINT FOR #2 UNITS        4/05/06            693.40        0.00         0.00         693.40         0.00       693.40          0.00   S/L        7.00
2537     EXT. PAINT-UNITS 2I,J,K   4/06/06          1,800.00        0.00         0.00       1,800.00         0.00     1,800.00          0.00   S/L        7.00
2538     EXT. PAINT-2A TO 2F       4/10/06          3,600.00        0.00         0.00       3,600.00         0.00     3,600.00          0.00   S/L        7.00
2539     PAINT FOR #2              4/07/06            701.10        0.00         0.00         701.10         0.00       701.10          0.00   S/L        7.00
2540     PAINT FOR #2              4/11/06            701.10        0.00         0.00         701.10         0.00       701.10          0.00   S/L        7.00
2541     REPAINT 2IJK              4/12/06            400.00        0.00         0.00         400.00         0.00       400.00          0.00   S/L        7.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                Book Asset Detail             1/01/17 - 12/31/17                                                Page 68
FYE: 12/31/2017

       d                                Date In    Book        Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost        179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
2542     PAINT FOR #2                 4/17/06         701.31        0.00         0.00         701.31         0.00       701.31          0.00   S/L        7.00
2543     PAINT JKLMN                  4/18/06       3,000.00        0.00         0.00       3,000.00         0.00     3,000.00          0.00   S/L        7.00
2644     REPLACE PATIO COVERS         6/22/06      13,275.00        0.00         0.00       4,425.00       885.00     5,310.00      7,965.00   S/L       15.00
2645     THERMOSTAT (UNIT 6C)         6/26/06         250.00        0.00         0.00         250.00         0.00       250.00          0.00   S/L       10.00
2732     PAINT 30M                    8/11/06       1,250.00        0.00         0.00       1,250.00         0.00     1,250.00          0.00   S/L        7.00
2733     CANOPIES, AWNINGS            8/24/06      44,029.47        0.00         0.00      30,331.43     2,935.30    33,266.73     10,762.74   S/L       15.00
2738     PATCH CEILING, PAINT-UNOT 7C 8/30/06       1,450.00        0.00         0.00       1,450.00         0.00     1,450.00          0.00   S/L        7.00
2770     BUILDING REHAP-TEMP. LODGING 9/15/06         192.58        0.00         0.00         192.58         0.00       192.58          0.00   S/L       10.00
2801     CANOPIES, AWNINGS           11/01/06       5,900.00        0.00         0.00       3,998.86       393.33     4,392.19      1,507.81   S/L       15.00
2842     A/C-COMPRESSOR, UNIT 7D      1/01/07         825.00        0.00         0.00         825.00         0.00       825.00          0.00   S/L       10.00
2843     HEAT PUMP-2F                 1/01/07       7,200.00        0.00         0.00       7,200.00         0.00     7,200.00          0.00   S/L       10.00
2844     HEAT PUMP-2D                 1/01/07       7,200.00        0.00         0.00       7,200.00         0.00     7,200.00          0.00   S/L       10.00
2915     REMODEL UNIT 6F              3/31/07       1,400.00        0.00         0.00         909.97        93.33     1,003.30        396.70   S/L       15.00
3058     PAINT-5C                     9/05/07         248.00        0.00         0.00         231.47        16.53       248.00          0.00   S/L       10.00
3098     UNIT 5D-WALL COVERINGS       9/26/07       1,554.06        0.00         0.00       1,437.54       116.52     1,554.06          0.00   S/L       10.00
3141     REPLACE GATE VALVE          10/10/07         580.19        0.00         0.00         536.68        43.51       580.19          0.00   S/L       10.00
3163     PORCH/SIDEWALK UNIT 5D       1/14/08         875.00        0.00         0.00         524.97        58.33       583.30        291.70   S/L       15.00
3164     FRONT DOOR-5B                1/24/08         360.00        0.00         0.00         214.00        24.00       238.00        122.00   S/L       15.00
3165     FRONT DOOR-3B                1/24/08         360.00        0.00         0.00         214.00        24.00       238.00        122.00   S/L       15.00
3166     REMODEL KITCHEN-6B           1/28/08       1,700.00        0.00         0.00       1,010.53       113.33     1,123.86        576.14   S/L       15.00
3167     KITCHEN CABINETS-6B          1/15/08       1,486.15        0.00         0.00         891.72        99.08       990.80        495.35   S/L       15.00
3183     NEW CIRCUIT                  2/25/08         731.65        0.00         0.00         646.33        73.17       719.50         12.15   S/L       10.00
3208     PAINT APT.-6E                3/17/08       1,700.00        0.00         0.00       1,700.00         0.00     1,700.00          0.00   S/L        5.00
3209     REMODEL LAUNDRY ROOM-6E 3/17/08              750.00        0.00         0.00         656.25        75.00       731.25         18.75   S/L       10.00
3231     PAINT-UNIT 7A                3/31/08       2,400.00        0.00         0.00       2,400.00         0.00     2,400.00          0.00   S/L        7.00
3232     REMODEL UNIT 7A              4/01/08       1,800.00        0.00         0.00       1,050.00       120.00     1,170.00        630.00   S/L       15.00
3233     UNIT 7A-TRIM, DOOR FINISH    4/18/08         325.00        0.00         0.00         187.80        21.67       209.47        115.53   S/L       15.00
3234     UNIT 7A-PREHUNG DOORS        4/23/08         764.66        0.00         0.00         441.82        50.98       492.80        271.86   S/L       15.00
3235     UNIT 5A-PAINT                4/25/08       1,800.00        0.00         0.00       1,800.00         0.00     1,800.00          0.00   S/L        7.00
3261     MOVE DRYER UNIT-5A           5/08/08         100.00        0.00         0.00          86.67        10.00        96.67          3.33   S/L       10.00
3262     LAY CLOSET FLOOR-6E          5/01/08         150.00        0.00         0.00         130.00        15.00       145.00          5.00   S/L       10.00
3290     REPLACE DOORS-7A, PAINT 5B 6/05/08           995.00        0.00         0.00         569.33        66.33       635.66        359.34   S/L       15.00
3291     FASCIA- UNIT 5B              5/08/08         275.00        0.00         0.00         158.86        18.33       177.19         97.81   S/L       15.00
3292     OUTLET-UNIT 6E               6/24/08         389.50        0.00         0.00         220.74        25.97       246.71        142.79   S/L       15.00
3312     VINYL, CARPET-UNIT 6E        6/05/08       1,478.28        0.00         0.00       1,268.87       147.83     1,416.70         61.58   S/L       10.00
3357     ELECTRICAL SUPPLIES         10/06/08         108.47        0.00         0.00          59.65         7.23        66.88         41.59   S/L       15.00
3359     PAINT 2A                    10/14/08         251.08        0.00         0.00         251.08         0.00       251.08          0.00   S/L        7.00
3362     PAINT 2-A, OUTSIDE          10/20/08         119.97        0.00         0.00         119.97         0.00       119.97          0.00   S/L        7.00
3368     RENOVATIONS-UNIT 2A         10/28/08       6,260.00        0.00         0.00       3,408.20       417.33     3,825.53      2,434.47   S/L       15.00
3372     VILLAGE DUPLEX UNIT 8       10/09/08     448,151.68        0.00         0.00      94,806.66    11,491.07   106,297.73    341,853.95   S/L       39.00
3373     VILLAGE DUPLEX UNIT 10      10/09/08     448,151.67        0.00         0.00      94,806.66    11,491.07   106,297.73    341,853.94   S/L       39.00
3374     VILLAGE DUPLEX UNIT 12      10/09/08     448,151.68        0.00         0.00      94,806.66    11,491.07   106,297.73    341,853.95   S/L       39.00
3375     VILLAGE DUPLEX UNIT 14      12/31/08     448,151.68        0.00         0.00      91,928.56    11,491.07   103,419.63    344,732.05   S/L       39.00
3380     NEW VILLAGE UNITS-SOFT COSTS10/09/08     109,081.19        0.00         0.00      23,074.84     2,796.95    25,871.79     83,209.40   S/L       39.00
3384 d   DOORS/MATERIAL UNIT 5D      11/20/08         618.78        0.00         0.00         333.57         0.00       333.57        285.21   S/L       15.00
3391 d   PAINT-5D                    12/04/08         187.85        0.00         0.00         151.89         0.00       151.89         35.96   S/L       10.00
3396     PAINT FOR 2N                 1/12/09         187.85        0.00         0.00         187.85         0.00       187.85          0.00   S/L        7.00
3398     MEDICINE CABINET             1/27/09         168.00        0.00         0.00         133.00        16.80       149.80         18.20   S/L       10.00
3399     ADDL LEGAL COSTS-VILLAGE UNITS
                                      1/01/09       2,677.11        0.00         0.00         546.26        68.64       614.90      2,062.21   S/L        39.0
EDENHOME EDEN HOME, INC.                                                                                                               03/03/2018 9:01 AM
                                                   Book Asset Detail            1/01/17 - 12/31/17                                                Page 69
FYE: 12/31/2017

       d                                Date In    Book          Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost          179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
3400       FINAL CAP. INT.-VILLAGE UNITS 1/01/09      9,151.52        0.00         0.00       1,877.20       234.65     2,111.85      7,039.67   S/L       39.00
3411   d   UNIT 5D RENOVATIONS           2/09/09      9,875.00        0.00         0.00       5,211.78         0.00     5,211.78      4,663.22   S/L       15.00
3412   d   5D BUILDING MATERIALS         2/27/09        103.15        0.00         0.00          53.89         0.00        53.89         49.26   S/L       15.00
3424       VILLAGE UNIT RETAINAGE        2/28/09     29,475.00        0.00         0.00       5,920.20       755.77     6,675.97     22,799.03   S/L       39.00
3425       ADDL. CAP. INT.-VILLAGE UNITS 2/28/09     11,321.22        0.00         0.00       2,273.94       290.29     2,564.23      8,756.99   S/L       39.00
3429       2C BUILDING MATERIALS         3/20/09      1,405.09        0.00         0.00         792.22        93.67       885.89        519.20   S/L       15.00
3430       2C BUILDING MATERIALS         3/03/09        427.89        0.00         0.00         241.28        28.53       269.81        158.08   S/L       15.00
3431   d   5D PAINT                      3/10/09         98.20        0.00         0.00          98.20         0.00        98.20          0.00   S/L        7.00
3432       2C PAINT                      3/10/09         98.20        0.00         0.00          98.20         0.00        98.20          0.00   S/L        7.00
3433       2C PAINT                      3/11/09        196.40        0.00         0.00         196.40         0.00       196.40          0.00   S/L        7.00
3434       VANITY/CABINETS 2C            3/04/09      2,965.04        0.00         0.00       2,322.59       296.50     2,619.09        345.95   S/L       10.00
3435       APPLIANCES-UNIT 2C            3/17/09      2,271.65        0.00         0.00       1,760.56       227.17     1,987.73        283.92   S/L       10.00
3436       UNIT 2C UPDATES               3/31/09     12,155.00        0.00         0.00       6,280.06       810.33     7,090.39      5,064.61   S/L       15.00
3448   d   MAKE READY 3-A                3/23/09      5,397.00        0.00         0.00       4,182.68         0.00     4,182.68      1,214.32   S/L       10.00
3449   d   PAINT 3-A                     4/01/09        236.38        0.00         0.00         236.38         0.00       236.38          0.00   S/L        7.00
3450   d   BLDG MATERIALS-2C,3A          4/06/09        188.46        0.00         0.00         146.08         0.00       146.08         42.38   S/L       10.00
3451   d   PAINT 3-A                     4/15/09         98.20        0.00         0.00          98.20         0.00        98.20          0.00   S/L        7.00
3452       SINK,FAUCET,DISPOSAL          4/17/09        403.22        0.00         0.00         309.12        40.32       349.44         53.78   S/L       10.00
3453       RE-KEY NEW COTTAGES           4/22/09        730.00        0.00         0.00         373.13        48.67       421.80        308.20   S/L       15.00
3455       VILLAGE ADDITIONAL COSTS      1/01/09      2,741.17        0.00         0.00         562.32        70.29       632.61      2,108.56   S/L       39.00
3462   d   MAKE READY- EV 3A             4/24/09      9,195.00        0.00         0.00       7,049.50         0.00     7,049.50      2,145.50   S/L       10.00
3463       PAINT 2N                      5/01/09        592.00        0.00         0.00         592.00         0.00       592.00          0.00   S/L        7.00
3464       1/4 ROUND-2C                  5/28/09         36.48        0.00         0.00          27.68         3.65        31.33          5.15   S/L       10.00
3465       MAKE READY-2N                 6/01/09      3,295.00        0.00         0.00       2,498.71       329.50     2,828.21        466.79   S/L       10.00
3466       FOUNDATION STAB.-2L-2N        6/01/09      2,047.50        0.00         0.00       1,035.13       136.50     1,171.63        875.87   S/L       15.00
3477       REPAIR WORK, CARPET           5/05/09        545.00        0.00         0.00         417.83        54.50       472.33         72.67   S/L       10.00
3478       UNIT 30L-MAKE OVER MATERIALS  6/16/09        209.31        0.00         0.00         156.98        20.93       177.91         31.40   S/L       10.00
3479       UNIT 30L-MAKE OVER MATERIALS  6/30/09      1,819.83        0.00         0.00       1,364.85       181.98     1,546.83        273.00   S/L       10.00
3489       PAINT 30L                     6/25/09        199.20        0.00         0.00         199.20         0.00       199.20          0.00   S/L        7.00
3490       PAINT 30L                     6/17/09        693.00        0.00         0.00         693.00         0.00       693.00          0.00   S/L        7.00
3491       STABILIZATION                 7/06/09      2,047.50        0.00         0.00         767.85       102.38       870.23      1,177.27   S/L       20.00
3492       MAKE READY-30L                7/09/09     14,995.00        0.00         0.00       7,497.52       999.67     8,497.19      6,497.81   S/L       15.00
3493       VANITIES, FAUCETS-30L         7/07/09        637.96        0.00         0.00         478.50        63.80       542.30         95.66   S/L       10.00
3521       6E ENTRY STORM DOORS          8/18/09        955.00        0.00         0.00         700.33        95.50       795.83        159.17   S/L       10.00
3522       PAINT-6E                      8/18/09        213.68        0.00         0.00         156.71        21.37       178.08         35.60   S/L       10.00
3523       REKEY DOOR LOCKS              8/19/09        138.38        0.00         0.00         101.49        13.84       115.33         23.05   S/L       10.00
3546       MAKE READY (6E)               9/04/09      8,010.00        0.00         0.00       5,874.00       801.00     6,675.00      1,335.00   S/L       10.00
3572   d   MAKE READY 3D                10/05/09      1,491.94        0.00         0.00       1,081.63         0.00     1,081.63        410.31   S/L       10.00
3573   d   CONSTRUCTION MATERIALS 3D 10/07/09           300.02        0.00         0.00         217.50         0.00       217.50         82.52   S/L       10.00
3574       PAINT                        10/07/09        395.60        0.00         0.00         395.60         0.00       395.60          0.00   S/L        5.00
3575       DOORS, MATERIALS 7D          10/16/09        724.62        0.00         0.00         519.30        72.46       591.76        132.86   S/L       10.00
3576       MAKE READY 3D                10/21/09     16,899.00        0.00         0.00      12,110.95     1,689.90    13,800.85      3,098.15   S/L       10.00
3596       7D IMPROVEMENTS              11/03/09        545.83        0.00         0.00         260.79        36.39       297.18        248.65   S/L       15.00
3597       7D IMPROVEMENTS              10/28/09        294.60        0.00         0.00         140.75        19.64       160.39        134.21   S/L       15.00
3603       7D IMPROVEMENTS              11/03/09     12,633.32        0.00         0.00       6,035.91       842.22     6,878.13      5,755.19   S/L       15.00
3646       UNIT 7D-CABINETS             11/22/09      5,836.94        0.00         0.00       4,134.47       583.69     4,718.16      1,118.78   S/L       10.00
3647       TUB REMODEL W/SHOWER         11/30/09      1,950.00        0.00         0.00         920.83       130.00     1,050.83        899.17   S/L       15.00
3648       SHOE MOLD UNIT 7D            11/17/09        310.00        0.00         0.00         146.41        20.67       167.08        142.92   S/L       15.00
3649       UNIT 7D-CABINETS             11/23/09        450.00        0.00         0.00         318.75        45.00       363.75         86.25   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                               Book Asset Detail              1/01/17 - 12/31/17                                                Page 70
FYE: 12/31/2017

       d                                Date In    Book        Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost        179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
3650     UTILITY ROOM-UNIT 7D       11/30/09     645.00             0.00         0.00         304.58        43.00       347.58        297.42   S/L       15.00
3651     FLOORING                   12/17/09   1,411.46             0.00         0.00         988.05       141.15     1,129.20        282.26   S/L       10.00
3684     UNIT 9 IMPROVEMENTS         1/27/10   1,017.00             0.00         0.00         468.95        67.80       536.75        480.25   S/L       15.00
3725     2I MAKEOVER                 3/24/10   6,781.94             0.00         0.00       3,051.88       452.13     3,504.01      3,277.93   S/L       15.00
3726     2I CABINETS/COUNTERTOPS     3/31/10     661.06             0.00         0.00         297.47        44.07       341.54        319.52   S/L       15.00
3727     HAUGH SETTLEMENT-VILLAGE COTTAGES
                                     1/05/09 309,654.00             0.00         0.00      63,518.80     7,939.85    71,458.65    238,195.35   S/L       39.00
3741     UNIT 2I MAKE READY          4/01/10      98.00             0.00         0.00          44.08         6.53        50.61         47.39   S/L       15.00
3742     UNIT 30I MAKE READY         4/14/10     146.20             0.00         0.00          65.81         9.75        75.56         70.64   S/L       15.00
3743     PAINT 30I                   4/20/10   5,870.00             0.00         0.00       2,608.87       391.33     3,000.20      2,869.80   S/L       15.00
3744     UNIT 2I MAKE READY          3/26/10   4,486.00             0.00         0.00       2,018.72       299.07     2,317.79      2,168.21   S/L       15.00
3745     PAINT 30I, 2L               3/31/10     638.15             0.00         0.00         287.15        42.54       329.69        308.46   S/L       15.00
3746     UNIT 30L MAKE READY         4/23/10   3,209.64             0.00         0.00       1,426.53       213.98     1,640.51      1,569.13   S/L       15.00
3747     UNIT 2L MAKE READY          4/23/10   5,022.00             0.00         0.00       2,232.00       334.80     2,566.80      2,455.20   S/L       15.00
3748     UNIT 2L MAKE READY          4/23/10   5,473.00             0.00         0.00       2,432.46       364.87     2,797.33      2,675.67   S/L       15.00
3749     PRIMER 30L MAKE READY       4/01/10      28.96             0.00         0.00          13.03         1.93        14.96         14.00   S/L       15.00
3849     UNIT 30E MAKE READY        11/01/10     463.96             0.00         0.00         408.73        55.23       463.96          0.00   S/L        7.00
3850     UNIT 30E MAKE READY        11/14/10     106.95             0.00         0.00          94.23        12.72       106.95          0.00   S/L        7.00
3851     GUEST HOUSE MAKE READY     11/15/10     372.00             0.00         0.00         327.70        44.30       372.00          0.00   S/L        7.00
3860     UNIT 30D MAKE READY        11/02/10     106.95             0.00         0.00          94.23        12.72       106.95          0.00   S/L        7.00
3861     EV GUEST HOUSE REPAIRS     11/12/10   4,964.00             0.00         0.00       2,040.74       330.93     2,371.67      2,592.33   S/L       15.00
3862     UNIT 30E, 8B MAKE READY    11/15/10     111.91             0.00         0.00          46.00         7.46        53.46         58.45   S/L       15.00
3863     UNIT 30D MAKE READY        10/26/10     258.04             0.00         0.00         106.07        17.20       123.27        134.77   S/L       15.00
3864     UNIT 30D, 30E MAKE READY   11/11/10     122.59             0.00         0.00          50.38         8.17        58.55         64.04   S/L       15.00
3865     UNIT 30E MAKE READY        11/11/10      30.90             0.00         0.00          12.70         2.06        14.76         16.14   S/L       15.00
3866     UNIT 30E CEILING FANS, COMMODE
                                    11/22/10     580.44             0.00         0.00         235.42        38.70       274.12        306.32   S/L       15.00
3867     UNIT 30D, 30E MAKE READY   11/22/10   9,518.87             0.00         0.00       3,860.42       634.59     4,495.01      5,023.86   S/L       15.00
3868     UNIT 30D, 30E MAKE READY   11/23/10     185.20             0.00         0.00          75.13        12.35        87.48         97.72   S/L       15.00
3869     UNIT 30E MAKE READY        11/29/10      21.62             0.00         0.00           8.76         1.44        10.20         11.42   S/L       15.00
3870     UNIT 30E CARPET            10/19/10   3,189.20             0.00         0.00       2,809.53       379.67     3,189.20          0.00   S/L        7.00
3871     UNIT 30D, 30E MAKE READY   11/30/10  21,746.16             0.00         0.00       8,819.25     1,449.74    10,268.99     11,477.17   S/L       15.00
3887     MAKE READY UNIT 6F         12/21/10   3,930.89             0.00         0.00       1,572.36       262.06     1,834.42      2,096.47   S/L       15.00
3888     MAKE READY UNIT 6F         12/31/10     165.13             0.00         0.00          66.06        11.01        77.07         88.06   S/L       15.00
3902     MAKE READY-UNIT 6F          1/07/11     123.84             0.00         0.00          74.28        12.38        86.66         37.18   S/L       10.00
3903     MAKE READY-UNIT 6F (PAINT) 1/17/11      398.53             0.00         0.00         235.78        39.85       275.63        122.90   S/L       10.00
3904     MAKE READY-UNIT 6F          1/04/11     226.35             0.00         0.00         135.84        22.64       158.48         67.87   S/L       10.00
3905     MAKE READY-UNIT 6F          1/24/11      79.15             0.00         0.00          46.86         7.92        54.78         24.37   S/L       10.00
3906     MAKE READY-UNIT 6F          1/11/11     240.21             0.00         0.00         144.12        24.02       168.14         72.07   S/L       10.00
3929     MAKE READY-6F               2/25/11   6,428.47             0.00         0.00       2,499.94       428.56     2,928.50      3,499.97   S/L       15.00
3930     MAKE READY-6F               2/17/11     258.54             0.00         0.00         100.56        17.24       117.80        140.74   S/L       15.00
3931     MAKE READY-6F               2/21/11     331.77             0.00         0.00         129.03        22.12       151.15        180.62   S/L       15.00
3932     PAINT-UNIT 6F               2/23/11      35.63             0.00         0.00          13.88         2.38        16.26         19.37   S/L       15.00
3933     PAINT-UNIT 6F               2/24/11      59.45             0.00         0.00          23.10         3.96        27.06         32.39   S/L       15.00
3950     MAKE READY-6F               3/31/11   1,554.48             0.00         0.00         893.84       155.45     1,049.29        505.19   S/L       10.00
3980     TERMITE PEST CONTROL        4/04/11   2,600.00             0.00         0.00       2,600.00         0.00     2,600.00          0.00   S/L        2.00
3983     KITCHEN UPDATES-6C          5/17/11   1,579.84             0.00         0.00         588.04       105.32       693.36        886.48   S/L       15.00
3993     MAKE READY KITCHEN-6A       5/17/11   1,098.81             0.00         0.00         408.98        73.25       482.23        616.58   S/L       15.00
3994     30M STORAGE ROOM MATERIALS5/19/11       300.39             0.00         0.00         111.83        20.03       131.86        168.53   S/L       15.00
3995     6C KITCHEN COUNTERTOP       5/27/11     521.00             0.00         0.00         290.89        52.10       342.99        178.01   S/L       10.00
4048     MAKE READY PAINT 10A,2M     8/02/11     268.00             0.00         0.00          96.79        17.87       114.66        153.34   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                              03/03/2018 9:01 AM
                                                  Book Asset Detail            1/01/17 - 12/31/17                                                Page 71
FYE: 12/31/2017

       d                                Date In    Book         Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost         179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
4049     MAKE READY PAINT 30E           8/16/11        113.75        0.00         0.00          40.43         7.58        48.01         65.74   S/L       15.00
4050     MAKE READY 30E                 8/04/11         98.97        0.00         0.00          35.75         6.60        42.35         56.62   S/L       15.00
4051     MAKE READY 30E-PATIO           8/03/11      2,500.00        0.00         0.00         902.79       166.67     1,069.46      1,430.54   S/L       15.00
4052     REAR PORCH-UNIT 30E            8/07/11      8,000.00        0.00         0.00       2,888.87       533.33     3,422.20      4,577.80   S/L       15.00
4053     MAKE READY, 2N,2E              8/08/11        183.53        0.00         0.00          66.30        12.24        78.54        104.99   S/L       15.00
4054     MAKE READY PAINT 10A           8/08/11         21.37        0.00         0.00           7.69         1.42         9.11         12.26   S/L       15.00
4055     MAKE READY 2N                  8/09/11         82.93        0.00         0.00          29.95         5.53        35.48         47.45   S/L       15.00
4056     MAKE READY PAINT 30E           8/09/11        216.45        0.00         0.00          78.16        14.43        92.59        123.86   S/L       15.00
4057     MAKE READY 2E, 2F              8/15/11        160.94        0.00         0.00          58.12        10.73        68.85         92.09   S/L       15.00
4058     MAKE READY PAINT 2F            8/15/11        333.75        0.00         0.00         120.52        22.25       142.77        190.98   S/L       15.00
4059     MAKE READY 2F                  8/11/11        528.50        0.00         0.00         190.83        35.23       226.06        302.44   S/L       15.00
4060     MAKE READY 2E                  8/23/11        420.21        0.00         0.00         149.39        28.01       177.40        242.81   S/L       15.00
4061     MAKE READY 2F                  8/19/11        100.09        0.00         0.00          35.57         6.67        42.24         57.85   S/L       15.00
4062     MAKE READY 2F                  8/21/11        249.79        0.00         0.00          88.80        16.65       105.45        144.34   S/L       15.00
4063     MAKE READY 2F                  8/25/11        246.64        0.00         0.00          87.68        16.44       104.12        142.52   S/L       15.00
4064     MAKE READY 2F                  8/29/11        746.54        0.00         0.00         265.44        49.77       315.21        431.33   S/L       15.00
4067     MAKE READY 30F                 8/31/11        283.67        0.00         0.00         100.85        18.91       119.76        163.91   S/L       15.00
4071     MAKE READY DUMPSTER            8/22/11        594.69        0.00         0.00         211.47        39.65       251.12        343.57   S/L       15.00
4072     MAKE READY 2F                  8/22/11      2,675.04        0.00         0.00         951.15       178.34     1,129.49      1,545.55   S/L       15.00
4073     DISHWASHER 2F                  8/22/11        549.00        0.00         0.00         292.80        54.90       347.70        201.30   S/L       10.00
4074     SUPPLIES 2F                    8/22/11         20.66        0.00         0.00           7.36         1.38         8.74         11.92   S/L       15.00
4075     MAKE READY 8B                  8/22/11        124.49        0.00         0.00          44.27         8.30        52.57         71.92   S/L       15.00
4076     MAKE READY 2F                  8/22/11         39.29        0.00         0.00          13.97         2.62        16.59         22.70   S/L       15.00
4077     MAKE READY 8B                  8/22/11         64.90        0.00         0.00          23.09         4.33        27.42         37.48   S/L       15.00
4078     MAKE READY 8B                  8/22/11        363.62        0.00         0.00         129.28        24.24       153.52        210.10   S/L       15.00
4088     MAKE READY 30F MATERIALS       9/06/11        221.02        0.00         0.00          78.56        14.73        93.29        127.73   S/L       15.00
4089     MAKE READY 30F MATERIALS       9/08/11        301.55        0.00         0.00         107.20        20.10       127.30        174.25   S/L       15.00
4090     PAINT 2M                       9/15/11        364.44        0.00         0.00         129.60        24.30       153.90        210.54   S/L       15.00
4091     PORCH 30F                      9/07/11      4,300.00        0.00         0.00       1,528.91       286.67     1,815.58      2,484.42   S/L       15.00
4092     PAINT 2N                       9/08/11        111.25        0.00         0.00          39.57         7.42        46.99         64.26   S/L       15.00
4093     MAKE READY 30F SUPPLIES        9/13/11        771.73        0.00         0.00         274.40        51.45       325.85        445.88   S/L       15.00
4094     MAKE READY 30F SUPPLIES        9/15/11         82.30        0.00         0.00          29.28         5.49        34.77         47.53   S/L       15.00
4095     MAKE READY 30F SUPPLIES        9/16/11         56.85        0.00         0.00          19.90         3.79        23.69         33.16   S/L       15.00
4096     MAKE READY 2M,2N,30F,2F        9/01/11     13,967.36        0.00         0.00       4,966.19       931.16     5,897.35      8,070.01   S/L       15.00
4097     MAKE READY 2M                  9/22/11        333.23        0.00         0.00         116.65        22.22       138.87        194.36   S/L       15.00
4098     MAKE READY 2F                  9/27/11         71.34        0.00         0.00          24.99         4.76        29.75         41.59   S/L       15.00
4099     PAINT 30F                      8/31/11        416.20        0.00         0.00         148.00        27.75       175.75        240.45   S/L       15.00
4100     MAKE READY 8B, 30F             9/19/11        340.12        0.00         0.00         119.02        22.67       141.69        198.43   S/L       15.00
4118     MAKE READY-UNIT 2M             9/30/11      9,595.00        0.00         0.00       3,358.27       639.67     3,997.94      5,597.06   S/L       15.00
4119     CARPET, VINYL-2F               9/14/11      2,870.02        0.00         0.00       2,186.67       410.00     2,596.67        273.35   S/L        7.00
4120     CARPET, VINYL-30F              9/29/11      3,239.41        0.00         0.00       2,429.54       462.77     2,892.31        347.10   S/L        7.00
4121     CARPET, VINYL-2M               9/30/11      3,171.58        0.00         0.00       2,378.67       453.08     2,831.75        339.83   S/L        7.00
4122     MAKE READY-UNIT 2F/2E          8/18/11        591.50        0.00         0.00         210.29        39.43       249.72        341.78   S/L       15.00
4123     MAKE READY-2M,30F,2N,2E       10/22/11     10,232.73        0.00         0.00       3,524.60       682.18     4,206.78      6,025.95   S/L       15.00
4124     MAKE READY-UNIT 2E            10/27/11        178.73        0.00         0.00          61.59        11.92        73.51        105.22   S/L       15.00
4125     2F SCREENED IN PORCH          10/28/11      3,390.00        0.00         0.00       1,167.67       226.00     1,393.67      1,996.33   S/L       15.00
4142     SHEET VINYL-UNIT 30F          11/02/11        322.04        0.00         0.00         110.93        21.47       132.40        189.64   S/L       15.00
4143     MAKE READY-2F                 11/03/11        156.90        0.00         0.00          54.04        10.46        64.50         92.40   S/L       15.00
4144     MAKE READY-2E                 11/09/11        992.47        0.00         0.00         341.83        66.16       407.99        584.48   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                Book Asset Detail             1/01/17 - 12/31/17                                                Page 72
FYE: 12/31/2017

       d                                Date In    Book        Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost        179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
4145     MAKE READY-2E               11/11/11          59.07        0.00         0.00          20.36         3.94        24.30         34.77   S/L       15.00
4146     MAKE READY-30H              11/14/11         432.65        0.00         0.00         149.01        28.84       177.85        254.80   S/L       15.00
4147     MAKE READY-2E & 30H         11/01/11       1,172.00        0.00         0.00         403.67        78.13       481.80        690.20   S/L       15.00
4148     TERMITE TREATMENT-30G,30H,30I
                                     11/21/11       1,900.00        0.00         0.00       1,900.00         0.00     1,900.00          0.00   S/L        5.00
4149     MAKE READY-30H              11/16/11         253.89        0.00         0.00          86.06        16.93       102.99        150.90   S/L       15.00
4150     PAINT                       11/16/11          12.79        0.00         0.00           6.51         1.28         7.79          5.00   S/L       10.00
4151     MAKE READY-2E/30H           11/18/11         133.67        0.00         0.00          45.29         8.91        54.20         79.47   S/L       15.00
4152     FLOORING-2E                 11/22/11       2,629.02        0.00         0.00       1,909.15       375.57     2,284.72        344.30   S/L        7.00
4153     FLOORING-2L                 11/22/11         654.52        0.00         0.00         475.29        93.50       568.79         85.73   S/L        7.00
4154     MAKE READY-6E               11/22/11          56.85        0.00         0.00          19.27         3.79        23.06         33.79   S/L       15.00
4155     PAINT                       11/22/11         405.60        0.00         0.00         206.18        40.56       246.74        158.86   S/L       10.00
4170     MAKE READY 30H              12/08/11         455.32        0.00         0.00         154.28        30.35       184.63        270.69   S/L       15.00
4171     MAKE READY 30H              12/13/11         636.04        0.00         0.00         215.53        42.40       257.93        378.11   S/L       15.00
4172     PAINT-2E                    12/13/11         246.04        0.00         0.00         125.05        24.60       149.65         96.39   S/L       10.00
4173     MAKE READY-2E               12/14/11       5,733.52        0.00         0.00       1,943.00       382.23     2,325.23      3,408.29   S/L       15.00
4174     MAKE READY 30H              12/16/11         129.35        0.00         0.00          43.10         8.62        51.72         77.63   S/L       15.00
4175     FLOOR COVERINGS             12/20/11       2,642.29        0.00         0.00       1,887.35       377.47     2,264.82        377.47   S/L        7.00
4176     MAKE READY 2E               12/27/11         123.99        0.00         0.00          41.35         8.27        49.62         74.37   S/L       15.00
4191     2E MAKE READY                1/03/12         134.93        0.00         0.00          45.00         9.00        54.00         80.93   S/L       15.00
4192     2E SCREENED PORCH            1/05/12       3,470.00        0.00         0.00       1,156.65       231.33     1,387.98      2,082.02   S/L       15.00
4193     2E MAKE READY                1/09/12         143.17        0.00         0.00          47.70         9.54        57.24         85.93   S/L       15.00
4194     2E MAKE READY                1/11/12         146.15        0.00         0.00          48.70         9.74        58.44         87.71   S/L       15.00
4195     30N MAKE READY               1/16/12         395.39        0.00         0.00         129.60        26.36       155.96        239.43   S/L       15.00
4196     30N MAKE READY               1/17/12         166.53        0.00         0.00          54.58        11.10        65.68        100.85   S/L       15.00
4197     30N MAKE READY               1/18/12       1,189.82        0.00         0.00         389.99        79.32       469.31        720.51   S/L       15.00
4212     APPLIANCES-UNIT 30N          2/22/12       3,168.40        0.00         0.00       1,531.39       316.84     1,848.23      1,320.17   S/L       10.00
4213     MAKE READY UNIT 30N          2/22/12         425.00        0.00         0.00         136.93        28.33       165.26        259.74   S/L       15.00
4214     MAKE READY UNIT 30N          2/22/12         324.91        0.00         0.00         104.69        21.66       126.35        198.56   S/L       15.00
4215     MAKE READY UNIT 30N          2/22/12         114.34        0.00         0.00          36.83         7.62        44.45         69.89   S/L       15.00
4216     MAKE READY UNIT 30N          1/25/12      12,170.00        0.00         0.00       3,989.04       811.33     4,800.37      7,369.63   S/L       15.00
4217     MAKE READY UNIT 30N          2/29/12         240.28        0.00         0.00          77.43        16.02        93.45        146.83   S/L       15.00
4219     MAKE READY UNIT 30N          1/06/12         425.00        0.00         0.00         141.65        28.33       169.98        255.02   S/L       15.00
4220     MAKE READY UNIT 30N          1/18/12       1,774.28        0.00         0.00         581.59       118.29       699.88      1,074.40   S/L       15.00
4266     UNIT 30N MAKE READY          1/23/12         210.15        0.00         0.00          68.88        14.01        82.89        127.26   S/L       15.00
4267     UNIT 30N-VINYL FLOOR         3/05/12       2,925.47        0.00         0.00       1,413.99       292.55     1,706.54      1,218.93   S/L       10.00
4268     UNIT 30N-CARPET              4/04/12       1,456.10        0.00         0.00         691.65       145.61       837.26        618.84   S/L       10.00
4298     UNIT 30N MAKE READY          2/22/12          27.00        0.00         0.00           8.70         1.80        10.50         16.50   S/L       15.00
4299     UNIT 30N MAKE READY          1/23/12          98.94        0.00         0.00          32.45         6.60        39.05         59.89   S/L       15.00
4300     UNIT 30N MAKE READY          1/24/12         780.79        0.00         0.00         255.91        52.05       307.96        472.83   S/L       15.00
4356     MAKE READY-30H               6/07/12          83.52        0.00         0.00          25.53         5.57        31.10         52.42   S/L       15.00
4526     UNIT 30K APPLIANCES, CABINETS
                                     10/24/12      11,420.16        0.00         0.00       4,758.42     1,142.02     5,900.44      5,519.72   S/L       10.00
4527     2K MAKE READY PAINT         11/30/12         330.85        0.00         0.00         192.98        47.26       240.24         90.61   S/L        7.00
4557     2K MAKE READY PAINT         12/04/12         248.16        0.00         0.00         144.75        35.45       180.20         67.96   S/L        7.00
4558     REPLACE WATER DAMAGED FLOOR-#9
                                     12/03/12         725.00        0.00         0.00         296.04        72.50       368.54        356.46   S/L       10.00
4559     30N INTERIOR DOOR           12/12/12         690.00        0.00         0.00         281.75        69.00       350.75        339.25   S/L       10.00
4560     MAKE READY 2K               12/03/12      13,475.00        0.00         0.00       3,668.18       898.33     4,566.51      8,908.49   S/L       15.00
4561     2K MAKE READY-TERMITE CARE12/20/12         2,080.00        0.00         0.00       1,188.56       297.14     1,485.70        594.30   S/L        7.00
4562     6C DOOR REPLACEMENT         12/28/12         415.21        0.00         0.00         166.08        41.52       207.60        207.61   S/L       10.00
4563     APPLIANCES/CABINETS/LIGHTS 12/22/12        8,954.06        0.00         0.00       3,581.64       895.41     4,477.05      4,477.01   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                               Book Asset Detail              1/01/17 - 12/31/17                                                Page 73
FYE: 12/31/2017

       d                                Date In    Book        Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost        179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
4585     COTTAGE 11 OFFICES-FLOOR     1/10/13         683.47        0.00         0.00         273.40        68.35       341.75        341.72   S/L       10.00
4586     COTTAGE 30C MAKE READY       1/30/13         169.87        0.00         0.00          44.34        11.32        55.66        114.21   S/L       15.00
4588     2K-MAKE READY CABINETS       1/02/13         262.20        0.00         0.00          69.92        17.48        87.40        174.80   S/L       15.00
4589     COTTAGE 2K-MAKE READY        1/04/13          22.05        0.00         0.00           5.88         1.47         7.35         14.70   S/L       15.00
4590     30C FLOORING                 1/10/13       6,859.29        0.00         0.00       2,743.72       685.93     3,429.65      3,429.64   S/L       10.00
4591     30K FLOORING                 1/10/13       8,732.04        0.00         0.00       3,492.80       873.20     4,366.00      4,366.04   S/L       10.00
4592     2K MAKE READY MATERIALS      1/10/13         990.09        0.00         0.00         264.04        66.01       330.05        660.04   S/L       15.00
4593     2K MAKE READY MATERIALS      1/15/13          96.49        0.00         0.00          25.72         6.43        32.15         64.34   S/L       15.00
4594     2K MAKE READY MATERIALS      1/17/13         147.49        0.00         0.00          38.50         9.83        48.33         99.16   S/L       15.00
4595     2K MAKE READY FLOORING       1/17/13       2,949.15        0.00         0.00       1,155.10       294.92     1,450.02      1,499.13   S/L       10.00
4596     2K/30C/30K MAKE READY        1/22/13       7,656.58        0.00         0.00       1,999.22       510.44     2,509.66      5,146.92   S/L       15.00
4638     30D/30C ENCLOSURE FLOORING 2/01/13           507.00        0.00         0.00         283.68        72.43       356.11        150.89   S/L        7.00
4639     MAKE READY 30C/30K           2/10/13       9,073.18        0.00         0.00       2,369.11       604.88     2,973.99      6,099.19   S/L       15.00
4640     6C FRONT DOOR                2/11/13         500.65        0.00         0.00         130.74        33.38       164.12        336.53   S/L       15.00
4641     6C REPLACE FRONT DOOR        2/13/13         594.00        0.00         0.00         155.10        39.60       194.70        399.30   S/L       15.00
4642     30C ACCESS DOOR TO PATIO     2/26/13         738.29        0.00         0.00         188.68        49.22       237.90        500.39   S/L       15.00
4643     30C/30D MAKE READY           2/27/13          69.76        0.00         0.00          17.83         4.65        22.48         47.28   S/L       15.00
4644     30C DOOR                     2/22/13         188.91        0.00         0.00          48.27        12.59        60.86        128.05   S/L       15.00
4667     NEW FACADES 30C,D,E,F        3/05/13      24,367.00        0.00         0.00       4,670.34     1,218.35     5,888.69     18,478.31   S/L       20.00
4704     STORAGE CONTAINERS-MED CABINET
                                      4/23/13         320.67        0.00         0.00         117.59        32.07       149.66        171.01   S/L       10.00
4733     SURVEILLANCE VIDEO, MAGNETIC 5/07/13
                                         LOCKS      6,375.24        0.00         0.00       2,337.58       637.52     2,975.10      3,400.14   S/L       10.00
4758     FRONT ENTRY COVERS, 30E, 30F 6/27/13       9,628.00        0.00         0.00       1,684.90       481.40     2,166.30      7,461.70   S/L       20.00
4814     BASE TRIM-30F RENOVATION     8/07/13         255.84        0.00         0.00          58.29        17.06        75.35        180.49   S/L       15.00
4815     2G MAKE-READY SUPPLIES       8/28/13         927.60        0.00         0.00         206.13        61.84       267.97        659.63   S/L       15.00
4855     2 G MAKE READY-CONSTRUCTION  9/22/13      21,250.00        0.00         0.00       4,604.18     1,416.67     6,020.85     15,229.15   S/L       15.00
4923     DOOR HARDWARE-2G/6D         10/08/13         558.85        0.00         0.00         181.64        55.89       237.53        321.32   S/L       10.00
4924     MAKE READY 2G               10/27/13       5,792.80        0.00         0.00       1,222.93       386.19     1,609.12      4,183.68   S/L       15.00
4925     PAINT 2G                    10/20/13         135.55        0.00         0.00          61.31        19.36        80.67         54.88   S/L        7.00
4926     PAINT 6D                    10/21/13         135.55        0.00         0.00          61.31        19.36        80.67         54.88   S/L        7.00
4987     6D FLOOR INSTALLATION       11/05/13       2,660.00        0.00         0.00       1,203.33       380.00     1,583.33      1,076.67   S/L        7.00
5025     MAKE READY-UNIT 6D          11/06/13      13,650.00        0.00         0.00       2,881.67       910.00     3,791.67      9,858.33   S/L       15.00
5026     COUNTERS, CABINETS-30A      12/13/13         620.47        0.00         0.00         191.32        62.05       253.37        367.10   S/L       10.00
5029     PAINT-2H,30A                12/02/13         625.20        0.00         0.00         385.54       125.04       510.58        114.62   S/L        5.00
5030     FLOORING-30M VINYL          11/27/13       1,262.50        0.00         0.00         389.27       126.25       515.52        746.98   S/L       10.00
5031     CABINETS-30A                12/06/13       1,166.47        0.00         0.00         359.67       116.65       476.32        690.15   S/L       10.00
5032     CABINETS-2H                 12/06/13       1,145.07        0.00         0.00         353.07       114.51       467.58        677.49   S/L       10.00
5033     PAINT-30A                   12/06/13         163.83        0.00         0.00         101.04        32.77       133.81         30.02   S/L        5.00
5034     MAKE READY-30A              12/11/13         870.18        0.00         0.00         178.86        58.01       236.87        633.31   S/L       15.00
5035     MAKE READY-30A SUPPLIES     12/12/13         652.45        0.00         0.00         134.12        43.50       177.62        474.83   S/L       15.00
5146     MAKE READY-UNIT 2H           1/09/14      17,900.00        0.00         0.00       3,579.99     1,193.33     4,773.32     13,126.68   S/L       15.00
5147     MAKE READY-UNIT 30A          1/09/14      18,450.00        0.00         0.00       3,690.00     1,230.00     4,920.00     13,530.00   S/L       15.00
5153     WOODSHOP ELECTRICAL          1/27/14       3,500.00        0.00         0.00         680.55       233.33       913.88      2,586.12   S/L       15.00
5189     NEW FAN MOTOR                1/31/14         762.17        0.00         0.00         222.31        76.22       298.53        463.64   S/L       10.00
5190     ELECTRIC-WORKSHOP            2/17/14       1,755.84        0.00         0.00         248.74        87.79       336.53      1,419.31   S/L       20.00
5275     INSTALLED SIDEWALK           2/20/14       1,542.88        0.00         0.00         291.44       102.86       394.30      1,148.58   S/L       15.00
5323     REMODEL UNIT 30M             6/10/14      21,750.00        0.00         0.00       3,745.83     1,450.00     5,195.83     16,554.17   S/L       15.00
5350     FLOORING-UNIT 30M            7/02/14       4,751.22        0.00         0.00       1,187.80       475.12     1,662.92      3,088.30   S/L       10.00
5351     BLINDS-30M                   7/08/14         990.70        0.00         0.00         247.68        99.07       346.75        643.95   S/L       10.00
5352     5 ELECTRICAL OUTLETS-2F      7/09/14         300.00        0.00         0.00          50.00        20.00        70.00        230.00   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                                      03/03/2018 9:01 AM
                                                     Book Asset Detail               1/01/17 - 12/31/17                                                  Page 74
FYE: 12/31/2017

       d                                Date In    Book              Book Sec     Book Sal      Book Prior Book Current      Book          Book Net       Book    Book
Asset t         Property Description   Service     Cost              179 Exp c     Value       Depreciation Depreciation   End Depr       Book Value     Method   Period
    Location: EDEN VILLAGE | Group: EV- BUILDING (continued)
5353    MAKE READY-UNIT 30M               7/08/14         1,365.00        0.00          0.00         227.50        91.00         318.50       1,046.50   S/L       15.00
5639    ALLUMINUM CARPORT                 4/13/15        16,922.00        0.00          0.00       1,974.23     1,128.13       3,102.36      13,819.64   S/L       15.00
5907    DOORS-EV 30B                     10/20/15           398.05        0.00          0.00          46.44        39.81          86.25         311.80   S/L       10.00
6258    PAINT 2C VILLAGE                  2/17/16           641.46        0.00          0.00         106.91       128.29         235.20         406.26   S/L        5.00
6260    REPAINT 2C VILLAGE                2/22/16         2,000.00        0.00          0.00         333.33       400.00         733.33       1,266.67   S/L        5.00
6261    REPAINT 2D VILLAGE                2/22/16         2,000.00        0.00          0.00         333.33       400.00         733.33       1,266.67   S/L        5.00
6262    PAINT 2D VILLAGE                  2/22/16           273.00        0.00          0.00          45.50        54.60         100.10         172.90   S/L        5.00
6263    PAINT 2D VILLAGE                  2/23/16           136.50        0.00          0.00          22.75        27.30          50.05          86.45   S/L        5.00
6303    EV 2D REMODEL                     3/14/16           224.72        0.00          0.00          18.73        22.47          41.20         183.52   S/L       10.00
6304    MAKE READY UNIT 2D                3/16/16        11,154.50        0.00          0.00         557.73       743.63       1,301.36       9,853.14   S/L       15.00
6305    PAINT UNIT 2D                     3/16/16           136.50        0.00          0.00          20.48        27.30          47.78          88.72   S/L        5.00
6306    PAINT UNIT 7B                     3/23/16           460.37        0.00          0.00          69.06        92.07         161.13         299.24   S/L        5.00
6307    UNIT 7B MAKE READY                3/28/16         1,025.05        0.00          0.00          51.25        68.34         119.59         905.46   S/L       15.00
6308    UNIT 7B MAKE READY                3/28/16         7,182.10        0.00          0.00         359.11       478.81         837.92       6,344.18   S/L       15.00
6309    PAINT UNIT 7B                     3/30/16           316.72        0.00          0.00          47.51        63.34         110.85         205.87   S/L        5.00
6420    EV 2F FINISH OUT                  9/08/16           379.77        0.00          0.00          12.66        37.98          50.64         329.13   S/L       10.00
6421    EV 2F BLINDS                      9/19/16           281.23        0.00          0.00           7.03        28.12          35.15         246.08   S/L       10.00
   EV- BUILDING                                       5,556,896.67        0.00c         0.00   3,102,591.67   136,293.81   3,238,885.48   2,318,011.19
                 *Less: Dispositions and Transfers       27,789.98        0.00          0.00      18,861.30         0.00      18,861.30       8,928.68
                              Net EV- BUILDING        5,529,106.69        0.00c         0.00   3,083,730.37   136,293.81   3,220,024.18   2,309,082.51

   Group: EV-BUILDING EQUIPMENT
1063     TV ANTENNA                   1/22/86              551.50         0.00          0.00         551.50         0.00        551.50            0.00   S/L        5.00
1064     200 AMO INSTALLATION         2/07/86            2,800.00         0.00          0.00       2,800.00         0.00      2,800.00            0.00   S/L        5.00
1065     AIR CONDITIONERS             8/12/86              975.00         0.00          0.00         975.00         0.00        975.00            0.00   S/L       10.00
1066     COOK TOP                     9/26/86              219.95         0.00          0.00         219.95         0.00        219.95            0.00   S/L       10.00
1067     SMOKE SENSOR UNIT            9/26/86               75.00         0.00          0.00          75.00         0.00         75.00            0.00   S/L       10.00
1068     SECURITY SYSTEM             12/23/86           10,724.00         0.00          0.00      10,724.00         0.00     10,724.00            0.00   S/L        5.00
1070     10 CEILING FANS             10/07/88              504.44         0.00          0.00         504.44         0.00        504.44            0.00   S/L        5.00
1071     10 MICROWAVES               10/27/88            2,735.00         0.00          0.00       2,735.00         0.00      2,735.00            0.00   S/L        5.00
1072     SECURITY EQUIPMENT          12/01/88            3,806.08         0.00          0.00       3,806.08         0.00      3,806.08            0.00   S/L        5.00
1073     WASHERS, DRYERS, & REFRIGERATORS
                                     12/01/88           18,582.60         0.00          0.00      18,582.60         0.00     18,582.60            0.00   S/L        5.00
1076     CARPET                       4/30/92            1,400.00         0.00          0.00       1,400.00         0.00      1,400.00            0.00   S/L       10.00
1077     CARPET UNIT #9              11/02/92              787.00         0.00          0.00         787.00         0.00        787.00            0.00   S/L       10.00
1079     CARPET #3C                   1/07/93              984.10         0.00          0.00         984.10         0.00        984.10            0.00   S/L       10.00
1080     CARPET #7A                   5/15/93            1,341.03         0.00          0.00       1,341.03         0.00      1,341.03            0.00   S/L       10.00
1081     CARPET #6D                   7/28/93              829.60         0.00          0.00         829.60         0.00        829.60            0.00   S/L       10.00
1086     GAS FURNACE                  8/24/94              871.50         0.00          0.00         871.50         0.00        871.50            0.00   S/L       10.00
1087     2 CARRIER UNITS, #10,#17     9/27/94            1,614.00         0.00          0.00       1,614.00         0.00      1,614.00            0.00   S/L       10.00
1088     RANGE UNIT 3C                1/01/95              429.00         0.00          0.00         429.00         0.00        429.00            0.00   S/L       10.00
1089     RHEEM 2.5 TON HEAT PUMP SYSTEM
                                     12/01/95            2,107.00         0.00          0.00       2,107.00         0.00      2,107.00            0.00   S/L       10.00
1090     RHEEM 2 TON HEAT PUMP        1/02/96            2,050.00         0.00          0.00       2,050.00         0.00      2,050.00            0.00   S/L       10.00
1091     2.5 TON A/C UNIT             3/03/96            2,498.24         0.00          0.00       2,498.24         0.00      2,498.24            0.00   S/L       10.00
1092     HEAT PUMP SYSTEM             3/20/96            2,050.00         0.00          0.00       2,050.00         0.00      2,050.00            0.00   S/L       10.00
1093     2.5 TON A/C SYSTEM, UNIT 17  4/03/96            2,058.24         0.00          0.00       2,058.24         0.00      2,058.24            0.00   S/L       10.00
1094     HEAT PUMP UNIT 3C            6/20/96            2,050.00         0.00          0.00       2,050.00         0.00      2,050.00            0.00   S/L       10.00
1095     A/C UNIT-UNIT 2D             7/17/97            1,322.00         0.00          0.00       1,322.00         0.00      1,322.00            0.00   S/L       10.00
1096     A/C UNIT                     8/29/97            2,672.00         0.00          0.00       2,672.00         0.00      2,672.00            0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                               Book Asset Detail           1/01/17 - 12/31/17                                                Page 75
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
1097     WALLPAPER                   3/19/98        167.42      0.00          0.00         167.42         0.00       167.42          0.00   S/L       10.00
1098     A/C UNIT-5D                 4/03/98      2,050.00      0.00          0.00       2,050.00         0.00     2,050.00          0.00   S/L       10.00
1099     HEAT PUMP UNIT 7C           4/21/98      2,050.00      0.00          0.00       2,050.00         0.00     2,050.00          0.00   S/L       10.00
1100     HEAT PUMP UNIT 7B           4/28/98      2,050.00      0.00          0.00       2,050.00         0.00     2,050.00          0.00   S/L       10.00
1101     EMERGENCY CALL SYSTEM       9/15/98     38,958.18      0.00          0.00      38,958.18         0.00    38,958.18          0.00   S/L       10.00
1102     RHEEM A/C SYSTEM            7/06/99      2,235.00      0.00          0.00       2,235.00         0.00     2,235.00          0.00   S/L       10.00
1103     NEW PLUMBING-WASHING MACHINE9/30/99      2,300.00      0.00          0.00       1,983.75       115.00     2,098.75        201.25   S/L       20.00
1104     NEW HEAT PUMP              10/14/99      2,346.00      0.00          0.00       2,346.00         0.00     2,346.00          0.00   S/L       10.00
1203     BATH FAN WITH LIGHT, HEAT 11/10/99         143.98      0.00          0.00         143.98         0.00       143.98          0.00   S/L       10.00
1227     CABINETS                   11/08/99        720.00      0.00          0.00         720.00         0.00       720.00          0.00   S/L       10.00
1228     WATER HEATER               12/20/99        216.04      0.00          0.00         216.04         0.00       216.04          0.00   S/L       10.00
1264     VINYL FLOORING-UNIT 2K      3/21/00      1,150.00      0.00          0.00       1,150.00         0.00     1,150.00          0.00   S/L       10.00
1265     CARPET-UNIT 6B              2/02/00      1,000.00      0.00          0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
1266     WATER HEATER                6/29/00        195.71      0.00          0.00         195.71         0.00       195.71          0.00   S/L       10.00
1298     CARPET-UNIT 2K              3/21/00      1,296.10      0.00          0.00       1,296.10         0.00     1,296.10          0.00   S/L       10.00
1336     NEW AIR COMPRESSOR          8/04/00      2,649.00      0.00          0.00       2,649.00         0.00     2,649.00          0.00   S/L       10.00
1337     NEW AIR COMPRESSOR          8/04/00      2,649.00      0.00          0.00       2,649.00         0.00     2,649.00          0.00   S/L       10.00
1338     WATER HEATER                8/31/00        138.00      0.00          0.00         138.00         0.00       138.00          0.00   S/L       10.00
1374     WATER HEATER               12/19/00        205.73      0.00          0.00         205.73         0.00       205.73          0.00   S/L       10.00
1375     2 HEAT LIGHTS              12/27/00        316.00      0.00          0.00         316.00         0.00       316.00          0.00   S/L       10.00
1406     HEAT PUMP                   1/25/01      2,837.00      0.00          0.00       2,837.00         0.00     2,837.00          0.00   S/L       10.00
1407     CARPETING-UNIT 7A           2/01/01      1,822.46      0.00          0.00       1,822.46         0.00     1,822.46          0.00   S/L       10.00
1408     VINYL FLOORING              2/01/01        470.00      0.00          0.00         470.00         0.00       470.00          0.00   S/L       10.00
1409     2 TRIMMERS                  2/22/01        318.00      0.00          0.00         318.00         0.00       318.00          0.00   S/L       10.00
1410     ELECTRIC RANGE-UNIT 2E      4/30/01        349.88      0.00          0.00         349.88         0.00       349.88          0.00   S/L       10.00
1411     DISHWASHER-UNIT 30D         4/09/01        469.99      0.00          0.00         469.99         0.00       469.99          0.00   S/L       10.00
1412     CONDENSER                   5/09/01        725.00      0.00          0.00         725.00         0.00       725.00          0.00   S/L       10.00
1506     FLOOR COVERINGS-APT. 3A     6/28/01        401.39      0.00          0.00         401.39         0.00       401.39          0.00   S/L       10.00
1507     FLOOR COVERINGS- APT. 3A    6/28/01      1,088.64      0.00          0.00       1,088.64         0.00     1,088.64          0.00   S/L       10.00
1508     2 TON LENNOX A/C-UNIT 2C    7/17/01      3,400.00      0.00          0.00       3,400.00         0.00     3,400.00          0.00   S/L       10.00
1521     VINYL FLOORING-UNIT 13 EV   7/10/01        175.02      0.00          0.00         175.02         0.00       175.02          0.00   S/L       10.00
1522     10,000 BTU A/C              8/24/01        279.00      0.00          0.00         279.00         0.00       279.00          0.00   S/L       10.00
1523     HEATPUMP-LENNOX UNIT 2B     8/18/01      3,485.00      0.00          0.00       3,485.00         0.00     3,485.00          0.00   S/L       10.00
1524     A/C-HEAT PUMP SYSTEM UNIT 7D8/29/01      2,500.00      0.00          0.00       2,500.00         0.00     2,500.00          0.00   S/L       10.00
1547     CARPET- UNIT 7B             8/13/01      1,980.97      0.00          0.00       1,980.97         0.00     1,980.97          0.00   S/L       10.00
1548     VINYL FLOORING- UNIT 7B     8/15/01        370.00      0.00          0.00         370.00         0.00       370.00          0.00   S/L       10.00
1549     VINYL FLOORING- UNIT 10     8/22/01        734.06      0.00          0.00         734.06         0.00       734.06          0.00   S/L       10.00
1571     DISHWASHER-#13             12/18/01        169.20      0.00          0.00         169.20         0.00       169.20          0.00   S/L       10.00
1572     HEAT PUMP SYSTEM-#6E       12/27/01      3,397.04      0.00          0.00       3,397.04         0.00     3,397.04          0.00   S/L        5.00
1573     LAUNDRY SET-#2K            12/26/01        699.99      0.00          0.00         699.99         0.00       699.99          0.00   S/L       10.00
1574     DIGITAL THERMOMETER        12/27/01        146.90      0.00          0.00         146.90         0.00       146.90          0.00   S/L       10.00
1575     CARPET-#3B                 11/28/01      1,631.40      0.00          0.00       1,631.40         0.00     1,631.40          0.00   S/L       10.00
1600     WALLCOVER-2J                2/20/02        152.19      0.00          0.00         152.19         0.00       152.19          0.00   S/L       10.00
1601     CARPET-2M                   3/25/02        924.50      0.00          0.00         924.50         0.00       924.50          0.00   S/L       10.00
1602     CARPET-2J                   3/12/02      2,148.28      0.00          0.00       2,148.28         0.00     2,148.28          0.00   S/L       10.00
1603     CARPET/TILE-2J              3/11/02        372.00      0.00          0.00         372.00         0.00       372.00          0.00   S/L       10.00
1604     WALLCOVER-2M                3/20/02        459.75      0.00          0.00         459.75         0.00       459.75          0.00   S/L       10.00
1605     CARPET-2M                   3/28/02      1,698.91      0.00          0.00       1,698.91         0.00     1,698.91          0.00   S/L       10.00
1606     WALLCOVER-2J                3/13/02        273.38      0.00          0.00         273.38         0.00       273.38          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 76
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
1607     FLOOR TILE                   3/28/02        640.50     0.00          0.00         640.50         0.00       640.50          0.00   S/L       10.00
1630     CEILING FAN                  4/25/02        119.00     0.00          0.00         119.00         0.00       119.00          0.00   S/L       10.00
1638     CARPET-UNIT 30J              5/20/02      1,886.98     0.00          0.00       1,886.98         0.00     1,886.98          0.00   S/L       10.00
1639     CARPET-UNIT 2N               5/07/02      1,476.40     0.00          0.00       1,476.40         0.00     1,476.40          0.00   S/L       10.00
1649     HEAT PUMP EV #8              6/26/02      3,285.00     0.00          0.00       3,285.00         0.00     3,285.00          0.00   S/L       10.00
1650     FURNACE EV #10               7/06/02      1,686.20     0.00          0.00       1,686.20         0.00     1,686.20          0.00   S/L       10.00
1651     CIRCUIT BOARD EV #8          7/16/02        385.79     0.00          0.00         385.79         0.00       385.79          0.00   S/L       10.00
1652     HEAT PUMP #5A                7/19/02      1,616.08     0.00          0.00       1,616.08         0.00     1,616.08          0.00   S/L       10.00
1653     CONDENSER UNIT #6C           7/01/02      1,754.24     0.00          0.00       1,754.24         0.00     1,754.24          0.00   S/L       10.00
1669     WALL COVERING-2N             8/13/02        185.96     0.00          0.00         185.96         0.00       185.96          0.00   S/L       10.00
1671     WATER HEATER-2B              8/26/02        199.00     0.00          0.00         199.00         0.00       199.00          0.00   S/L       10.00
1683     SARGENT MORTISE LOCK SET 9/16/02            510.50     0.00          0.00         510.50         0.00       510.50          0.00   S/L       10.00
1696     COMPRESSOR-VILLAGE SHOP 10/08/02            835.00     0.00          0.00         835.00         0.00       835.00          0.00   S/L       10.00
1697     CARPET-UNIT 3C              10/25/02      1,346.00     0.00          0.00       1,346.00         0.00     1,346.00          0.00   S/L       10.00
1698     BATH VINYL                  10/25/02        197.50     0.00          0.00         197.50         0.00       197.50          0.00   S/L       10.00
1710     VANITY                      11/09/02        139.00     0.00          0.00         139.00         0.00       139.00          0.00   S/L       10.00
1729     CEILING FAN                 12/09/02        129.00     0.00          0.00         129.00         0.00       129.00          0.00   S/L       10.00
1730     3 CEILING FANS              12/11/02        387.00     0.00          0.00         387.00         0.00       387.00          0.00   S/L       10.00
1731     CARPET-UNIT 6E              12/09/02      1,883.25     0.00          0.00       1,883.25         0.00     1,883.25          0.00   S/L       10.00
1732     FLOOR TILE-UNIT 6E          12/09/02        726.06     0.00          0.00         726.06         0.00       726.06          0.00   S/L       10.00
1733     FLOOR TILE-UNIT 6D          10/25/02        501.23     0.00          0.00         501.23         0.00       501.23          0.00   S/L       10.00
1734     CARPET-UNIT 6D              10/25/02      1,575.54     0.00          0.00       1,575.54         0.00     1,575.54          0.00   S/L       10.00
1735     FLOOR TILE-UNIT 5A          12/27/02        463.36     0.00          0.00         463.36         0.00       463.36          0.00   S/L       10.00
1736     CARPET-UNIT 5A              12/16/02      1,661.83     0.00          0.00       1,661.83         0.00     1,661.83          0.00   S/L       10.00
1768     TURBINE PUMP                 1/16/03        386.87     0.00          0.00         386.87         0.00       386.87          0.00   S/L       10.00
1778     TUB TO SHOWER CONVERSION 3/12/03            500.00     0.00          0.00         500.00         0.00       500.00          0.00   S/L       10.00
1785     CEILING FANS/SINKS-2K        3/05/03        912.31     0.00          0.00         912.31         0.00       912.31          0.00   S/L       10.00
1787     CONVERT TUB TO SHOWER-12,6D3/05/03        1,000.00     0.00          0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
1788     CONVERT TUB TO SHOWER-7C 3/19/03            500.00     0.00          0.00         500.00         0.00       500.00          0.00   S/L       10.00
1789     CONVERT TUB TO SHOWER-6B 3/25/03            500.00     0.00          0.00         500.00         0.00       500.00          0.00   S/L       10.00
1790     CONVERT TUB TO SHOWER-7D 3/20/03            500.00     0.00          0.00         500.00         0.00       500.00          0.00   S/L       10.00
1792     CARPET-2K                    3/07/03      1,923.75     0.00          0.00       1,923.75         0.00     1,923.75          0.00   S/L       10.00
1793     CARPET-7A                    3/13/03      1,203.71     0.00          0.00       1,203.71         0.00     1,203.71          0.00   S/L       10.00
1813     WATER HEATER-2D              5/08/03        170.70     0.00          0.00         170.70         0.00       170.70          0.00   S/L       10.00
1834     CARPET-UNIT 5C               5/30/03        745.92     0.00          0.00         745.92         0.00       745.92          0.00   S/L       10.00
1862     CARPET-5D                    5/30/03      1,872.70     0.00          0.00       1,872.70         0.00     1,872.70          0.00   S/L       10.00
1886     MIRRORS/GLASS                8/21/03        303.74     0.00          0.00         303.74         0.00       303.74          0.00   S/L       10.00
1903     WATER HEATER-30E             9/11/03        247.00     0.00          0.00         247.00         0.00       247.00          0.00   S/L       10.00
1956     EVAPORATOR COIL A/C-UNIT 10 11/05/03        612.50     0.00          0.00         612.50         0.00       612.50          0.00   S/L       10.00
1957     CARPET-UNIT 3D              11/11/03      2,295.95     0.00          0.00       2,295.95         0.00     2,295.95          0.00   S/L       10.00
1958     BATHTUB CONVERSION-UNIT 2A11/07/03          600.00     0.00          0.00         600.00         0.00       600.00          0.00   S/L       10.00
1977     WATER HEATER-UNIT 7C        12/05/03        156.74     0.00          0.00         156.74         0.00       156.74          0.00   S/L       10.00
1978     HEAT LIGHT-UNIT 2L          12/15/03        199.94     0.00          0.00         199.94         0.00       199.94          0.00   S/L       10.00
2020     WALLPAPER UNIT 2E            1/01/04        225.30     0.00          0.00         225.30         0.00       225.30          0.00   S/L       10.00
2021     TILE, CARPET UNIT 2N         1/01/04      1,357.41     0.00          0.00       1,357.41         0.00     1,357.41          0.00   S/L       10.00
2022     TILE-KITCHEN, BATH           1/01/04      1,201.00     0.00          0.00       1,201.00         0.00     1,201.00          0.00   S/L       10.00
2023     CARPET UNIT 2D               1/01/04      2,205.70     0.00          0.00       2,205.70         0.00     2,205.70          0.00   S/L       10.00
2024     EMERGENCY PHONES             2/05/04        527.50     0.00          0.00         527.50         0.00       527.50          0.00   S/L        5.00
2025     WATER HEATER UNIT 2N         2/18/04        159.00     0.00          0.00         159.00         0.00       159.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 77
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
2034     CARPET-UNIT 7D               2/26/04      2,390.94     0.00          0.00       2,390.94         0.00     2,390.94          0.00   S/L       10.00
2035     TILE-UNIT 7D                 2/26/04        859.05     0.00          0.00         859.05         0.00       859.05          0.00   S/L       10.00
2036     DISHWASHER/VENT HOOD-6F      3/14/04        478.00     0.00          0.00         478.00         0.00       478.00          0.00   S/L       10.00
2047     VINYL-UNIT 2E                3/30/04        971.25     0.00          0.00         971.25         0.00       971.25          0.00   S/L       10.00
2048     VINYL-UNIT 6F                3/30/04        670.06     0.00          0.00         670.06         0.00       670.06          0.00   S/L       10.00
2049     CARPET-UNIT 6F               3/30/04      2,376.90     0.00          0.00       2,376.90         0.00     2,376.90          0.00   S/L       10.00
2050     CARPET-UNIT 2E               3/30/04      1,936.45     0.00          0.00       1,936.45         0.00     1,936.45          0.00   S/L       10.00
2067     CABINETS-DESK AREA UNIT 2D 3/25/04          476.39     0.00          0.00         476.39         0.00       476.39          0.00   S/L       10.00
2068     VINYL-BATH UNIT #13          5/18/04        403.13     0.00          0.00         403.13         0.00       403.13          0.00   S/L       10.00
2074     WATER HEATER-30F             6/01/04        186.96     0.00          0.00         186.96         0.00       186.96          0.00   S/L       10.00
2075     A/C-HEAT PUMP                5/24/04      3,830.00     0.00          0.00       3,830.00         0.00     3,830.00          0.00   S/L       10.00
2089     WALLPAPER-UNIT 2G            7/27/04        463.00     0.00          0.00         463.00         0.00       463.00          0.00   S/L       10.00
2090     WALLPAPER-UNIT 7C            7/27/04        228.00     0.00          0.00         228.00         0.00       228.00          0.00   S/L       10.00
2111     CARPET-UNIT 7C               7/21/04      2,906.38     0.00          0.00       2,906.38         0.00     2,906.38          0.00   S/L       10.00
2112     WALLCOVER-UNIT 2G            7/01/04        251.57     0.00          0.00         251.57         0.00       251.57          0.00   S/L       10.00
2113     WALLCOVER-UNIT 7C            7/20/04        322.30     0.00          0.00         322.30         0.00       322.30          0.00   S/L       10.00
2114     WALLCOVER-UNIT 7C            7/15/04        415.59     0.00          0.00         415.59         0.00       415.59          0.00   S/L       10.00
2115     WATER HEATER UNIT 30M        8/07/04        216.54     0.00          0.00         216.54         0.00       216.54          0.00   S/L       10.00
2116     WATER HEATER UNIT 30L        8/12/04        200.55     0.00          0.00         200.55         0.00       200.55          0.00   S/L       10.00
2117     CONCRETE CURB                8/20/04      1,000.00     0.00          0.00         616.67        50.00       666.67        333.33   S/L       20.00
2118     LANDSCAPE-TREES              8/23/04        875.00     0.00          0.00         539.58        43.75       583.33        291.67   S/L       20.00
2119     TILE UNIT 5B                 9/09/04      1,016.74     0.00          0.00       1,016.74         0.00     1,016.74          0.00   S/L       10.00
2120     CARPET UNIT 5B               9/09/04      2,560.06     0.00          0.00       2,560.06         0.00     2,560.06          0.00   S/L       10.00
2134     CARPET-2B                    8/26/04      2,214.40     0.00          0.00       2,214.40         0.00     2,214.40          0.00   S/L       10.00
2135     BATHTUB CONVERSION-UNIT 11 9/13/04          700.00     0.00          0.00         575.60        46.67       622.27         77.73   S/L       15.00
2136     BATHTUB CONVERSION-UNIT 6A 9/28/04          600.00     0.00          0.00         490.00        40.00       530.00         70.00   S/L       15.00
2145     BATH FIXTURES-UNIT 6A       10/08/04        481.83     0.00          0.00         393.47        32.12       425.59         56.24   S/L       15.00
2146     CARPET-UNIT 2G               6/23/04      2,320.56     0.00          0.00       2,320.56         0.00     2,320.56          0.00   S/L       10.00
2147     VINYL-UNIT 2G                6/23/04        926.75     0.00          0.00         926.75         0.00       926.75          0.00   S/L       10.00
2148     FLOOR VINYL-UNIT 6A          9/10/04        120.00     0.00          0.00         120.00         0.00       120.00          0.00   S/L       10.00
2149     VINYL-UNIT 15               12/01/04      1,571.27     0.00          0.00       1,571.27         0.00     1,571.27          0.00   S/L       10.00
2150     KITCHEN CABINETS-UNIT 6A    10/08/04        539.76     0.00          0.00         440.76        35.98       476.74         63.02   S/L       15.00
2151     MICROWAVE-UNIT 6A           10/08/04        149.00     0.00          0.00         149.00         0.00       149.00          0.00   S/L       10.00
2152     CARPET-UNIT 6A              10/20/04      2,166.53     0.00          0.00       2,166.53         0.00     2,166.53          0.00   S/L       10.00
2153     VINYL-UNIT 6A               10/20/04        292.80     0.00          0.00         292.80         0.00       292.80          0.00   S/L       10.00
2154     STORM DOOR-UNIT 6A          10/29/04        156.45     0.00          0.00         126.90        10.43       137.33         19.12   S/L       15.00
2155     HANDICAP TOILETS-UNIT 6D,15 10/29/04        269.04     0.00          0.00         218.27        17.94       236.21         32.83   S/L       15.00
2156     UNIT 15 UPGRADES            12/01/04        138.11     0.00          0.00         138.11         0.00       138.11          0.00   S/L       10.00
2157     PLUMBING ITEMS-UNIT 15      12/01/04        157.96     0.00          0.00         127.24        10.53       137.77         20.19   S/L       15.00
2158     UPGRADES-UNIT 15            12/01/04        441.80     0.00          0.00         441.80         0.00       441.80          0.00   S/L       10.00
2165     WATER HEATER-UNIT 7A        10/15/04        209.48     0.00          0.00         209.48         0.00       209.48          0.00   S/L       10.00
2179     WATER HEATER UNIT 30H       11/10/04        179.00     0.00          0.00         179.00         0.00       179.00          0.00   S/L       10.00
2180     WATER HEATER, UNIT 15       12/01/04        397.32     0.00          0.00         397.32         0.00       397.32          0.00   S/L       10.00
2181     ELECTRIC WIRING UNIT 15     12/01/04      1,289.96     0.00          0.00       1,039.17        86.00     1,125.17        164.79   S/L       15.00
2184     BEDDING SET UP              12/01/04        239.85     0.00          0.00         239.85         0.00       239.85          0.00   S/L       10.00
2201     A/C HEAT PUMP SYSTEM        12/27/04      3,285.00     0.00          0.00       3,285.00         0.00     3,285.00          0.00   S/L        7.00
2245     BATH EQUIPMENT               1/25/05        582.94     0.00          0.00         582.94         0.00       582.94          0.00   S/L       10.00
2246     BATH EQUIPMENT               1/21/05        659.04     0.00          0.00         659.04         0.00       659.04          0.00   S/L       10.00
2286     VINYL FLOOR COVERING         2/07/05        249.54     0.00          0.00         249.54         0.00       249.54          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 78
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
2309     CARPET-UNIT 6C               2/24/05      1,687.20     0.00          0.00       1,687.20         0.00     1,687.20          0.00   S/L       10.00
2310     FLOOR TILE-UNIT 6C           2/24/05        717.50     0.00          0.00         717.50         0.00       717.50          0.00   S/L       10.00
2311     WALL COVERING-UNIT 2B        2/10/05        557.00     0.00          0.00         557.00         0.00       557.00          0.00   S/L       10.00
2333     CARPET UNIT 13               4/17/05      1,001.00     0.00          0.00       1,001.00         0.00     1,001.00          0.00   S/L       10.00
2334     CARPET UNIT 6E               4/22/05      1,165.55     0.00          0.00       1,165.55         0.00     1,165.55          0.00   S/L       10.00
2335     PHONES FOR CALL SYSTEM       3/10/05      4,865.00     0.00          0.00       4,865.00         0.00     4,865.00          0.00   S/L        5.00
2336     FENCE UNIT 6D                4/26/05        332.50     0.00          0.00         258.65        22.17       280.82         51.68   S/L       15.00
2337     HANDICAP TOILETS-UNIT 6D,15 12/01/04        269.04     0.00          0.00         216.77        17.94       234.71         34.33   S/L       15.00
2361     CARPET-UNIT 30D              5/20/05      2,470.00     0.00          0.00       2,470.00         0.00     2,470.00          0.00   S/L       10.00
2362     VINYL TILE-UNIT 30D          5/17/05        105.00     0.00          0.00         105.00         0.00       105.00          0.00   S/L       10.00
2378     2 TON EVAPORATOR COIL-UNIT 30L
                                      6/03/05      1,533.15     0.00          0.00       1,533.15         0.00     1,533.15          0.00   S/L       10.00
2379     1.5 TRANE HEAT PUMP-UNIT 2N 6/23/05       2,785.00     0.00          0.00       2,785.00         0.00     2,785.00          0.00   S/L       10.00
2380     2 A/C UNITS                  6/24/05        268.00     0.00          0.00         268.00         0.00       268.00          0.00   S/L       10.00
2398     WALLCOVERINGS-2H             5/26/05        296.15     0.00          0.00         296.15         0.00       296.15          0.00   S/L       10.00
2399     CARPET-2H                    5/26/05      1,652.70     0.00          0.00       1,652.70         0.00     1,652.70          0.00   S/L       10.00
2400     WALLCOVERINGS-30N            6/01/05        128.22     0.00          0.00         128.22         0.00       128.22          0.00   S/L       10.00
2401     W/C INSTALLED-30N            7/11/05         80.00     0.00          0.00          80.00         0.00        80.00          0.00   S/L       10.00
2402     CARPET-5B                    7/21/05      2,560.06     0.00          0.00       2,560.06         0.00     2,560.06          0.00   S/L       10.00
2403     CARPET-PORCH 5B              7/26/05        331.50     0.00          0.00         331.50         0.00       331.50          0.00   S/L       10.00
2404     CHAIN LINK FENCE-6A          5/27/05        332.50     0.00          0.00         332.50         0.00       332.50          0.00   S/L       10.00
2429     HEAT PUMP- UNIT 3D           9/06/05      4,300.00     0.00          0.00       4,300.00         0.00     4,300.00          0.00   S/L       10.00
2432     EV #15 PAINTING RENOVATIONS 1/01/05       7,062.61     0.00          0.00       7,062.61         0.00     7,062.61          0.00   S/L       10.00
2433     REFINISH WOOD FLOORS-UNIT 151/01/05       1,150.93     0.00          0.00       1,150.93         0.00     1,150.93          0.00   S/L       10.00
2434     MISC. RENOVATIONS-UNIT 15    1/01/05      1,414.90     0.00          0.00       1,414.90         0.00     1,414.90          0.00   S/L       10.00
2437     GAS WASHER                  10/12/05        498.00     0.00          0.00         498.00         0.00       498.00          0.00   S/L       10.00
2447     VANITY & SINK-UNIT 2K       12/06/05        225.00     0.00          0.00         166.25        15.00       181.25         43.75   S/L       15.00
2454     MICROWAVE-UNIT 5B            1/01/06        409.00     0.00          0.00         409.00         0.00       409.00          0.00   S/L       10.00
2467     CALL SYSTEM                  1/04/06      2,739.00     0.00          0.00       2,739.00         0.00     2,739.00          0.00   S/L       10.00
2482     RANGE-UNIT 5B                1/01/06        269.10     0.00          0.00         269.10         0.00       269.10          0.00   S/L       10.00
2483     MICROWAVE-UNIT 5B            1/01/06        323.10     0.00          0.00         323.10         0.00       323.10          0.00   S/L       10.00
2484     REFRIGERATOR-UNIT 5B         1/01/06        404.10     0.00          0.00         404.10         0.00       404.10          0.00   S/L       10.00
2485     DISHWASHER-UNIT 5B           1/01/06        422.10     0.00          0.00         422.10         0.00       422.10          0.00   S/L       10.00
2486     WASHER-UNIT 5B               1/01/06        395.10     0.00          0.00         395.10         0.00       395.10          0.00   S/L       10.00
2487     WATER HEATER-UNIT 11         2/06/06        209.00     0.00          0.00         209.00         0.00       209.00          0.00   S/L       10.00
2488     WATER HEATER-UNIT 30G        2/09/06        209.00     0.00          0.00         209.00         0.00       209.00          0.00   S/L       10.00
2489     STACK WASHER-DRYER           2/22/06        943.97     0.00          0.00         943.97         0.00       943.97          0.00   S/L       10.00
2490     DRYER-UNIT 5B                1/01/06        269.10     0.00          0.00         269.10         0.00       269.10          0.00   S/L       10.00
2516     2 TON HEAT PUMP              3/09/06      5,018.38     0.00          0.00       5,018.38         0.00     5,018.38          0.00   S/L        7.00
2544     HEAT PUMP AND A/C            4/10/06      7,728.00     0.00          0.00       7,728.00         0.00     7,728.00          0.00   S/L       10.00
2545     WATER HEATER                 4/18/06        319.00     0.00          0.00         319.00         0.00       319.00          0.00   S/L       10.00
2646     2 A/C                        6/05/06        258.00     0.00          0.00         258.00         0.00       258.00          0.00   S/L       10.00
2647     3 TON A/C-HEAT SYSTEM        6/02/06      5,100.00     0.00          0.00       5,100.00         0.00     5,100.00          0.00   S/L       10.00
2689     A/C HEAT UNIT-UNIT 5B        6/29/06      5,100.00     0.00          0.00       5,100.00         0.00     5,100.00          0.00   S/L       10.00
2690     MICROWAVE/SINK/CEILING FANS6/30/06          622.89     0.00          0.00         622.89         0.00       622.89          0.00   S/L       10.00
2691     A/C HEAT UNIT-UNIT 15        7/05/06      5,100.00     0.00          0.00       5,100.00         0.00     5,100.00          0.00   S/L       10.00
2716     REMODELING-KITCHEN MATERIALS 8/31/06        347.90     0.00          0.00         239.63        23.19       262.82         85.08   S/L       15.00
2734     A/C-UNIT 2L                  7/19/06      5,100.00     0.00          0.00       5,100.00         0.00     5,100.00          0.00   S/L       10.00
2735     A/C-UNIT 3C                  7/27/06      5,100.00     0.00          0.00       5,100.00         0.00     5,100.00          0.00   S/L       10.00
2736     REFRIGERATOR-UNIT 7A         8/14/06        504.00     0.00          0.00         504.00         0.00       504.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 79
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
2744     FLOORING-UNIT 7C             8/25/06      2,879.85     0.00          0.00       2,879.85         0.00     2,879.85          0.00   S/L       10.00
2745     FLOORING-UNIT 7C ADD         8/31/06        576.00     0.00          0.00         576.00         0.00       576.00          0.00   S/L       10.00
2746     FLOORING-UNIT 2C             8/21/06      2,293.00     0.00          0.00       2,293.00         0.00     2,293.00          0.00   S/L       10.00
2771     CARPET-UNIT 2I               4/12/06      1,612.50     0.00          0.00       1,612.50         0.00     1,612.50          0.00   S/L       10.00
2772     VCT-UNIT 2I                  4/12/06        499.90     0.00          0.00         499.90         0.00       499.90          0.00   S/L       10.00
2773     LAMINATE-UNIT 30M            9/08/06      6,392.89     0.00          0.00       6,392.89         0.00     6,392.89          0.00   S/L       10.00
2794     CARPET 2E                   10/02/06      1,808.20     0.00          0.00       1,808.20         0.00     1,808.20          0.00   S/L       10.00
2818     2 DRYERS                    12/13/06      1,952.96     0.00          0.00       1,952.96         0.00     1,952.96          0.00   S/L       10.00
2882     CALL BUTTON SYSTEM           1/01/07      3,527.00     0.00          0.00       3,527.00         0.00     3,527.00          0.00   S/L       10.00
2883     SLAB LEAK REPAIR             2/23/07      2,336.28     0.00          0.00       2,297.36        38.92     2,336.28          0.00   S/L       10.00
2884     2 TON RUUD UNIT-5A           2/28/07      7,200.00     0.00          0.00       7,080.00       120.00     7,200.00          0.00   S/L       10.00
2916     HEAT PUMP-2G                 3/03/07      7,200.00     0.00          0.00       7,080.00       120.00     7,200.00          0.00   S/L       10.00
2917     HEATER, PARTS-UNIT 5C        3/25/07        244.28     0.00          0.00         238.19         6.09       244.28          0.00   S/L       10.00
2918     EVAPORATOR COILS             3/26/07      1,650.00     0.00          0.00       1,608.75        41.25     1,650.00          0.00   S/L       10.00
2949     CARPET AND PAD-UNIT 5C       3/29/07      2,255.75     0.00          0.00       2,199.40        56.35     2,255.75          0.00   S/L       10.00
2950     COUNTERTOPS-UNIT 6F          4/12/07        790.65     0.00          0.00         770.93        19.72       790.65          0.00   S/L       10.00
2951     2 REFIRGERATORS-6C,6F        4/20/07        862.99     0.00          0.00         834.23        28.76       862.99          0.00   S/L       10.00
2976     LEAK SEARCH                  4/10/07      1,605.52     0.00          0.00       1,565.36        40.16     1,605.52          0.00   S/L       10.00
2978     MESSENGER SYSTEM             5/14/07      1,999.00     0.00          0.00       1,999.00         0.00     1,999.00          0.00   S/L        5.00
3034     NEW RUUD 2 TON A/C           6/18/07      6,200.00     0.00          0.00       5,890.00       310.00     6,200.00          0.00   S/L       10.00
3035     NEW OUTLETS UNIT 6F          7/11/07        741.73     0.00          0.00         704.62        37.11       741.73          0.00   S/L       10.00
3036     DISHWASHER & PARTS           7/06/07        275.98     0.00          0.00         262.20        13.78       275.98          0.00   S/L       10.00
3047     A/C UNIT FOR UNIT 30E        8/15/07      6,200.00     0.00          0.00       5,838.33       361.67     6,200.00          0.00   S/L       10.00
3048     RENOVATIONS-UNIT 5C          8/23/07      6,233.81     0.00          0.00       3,878.84       415.59     4,294.43      1,939.38   S/L       15.00
3049     HEAT PUMP-UNIT 6F            8/29/07      6,200.00     0.00          0.00       5,786.67       413.33     6,200.00          0.00   S/L       10.00
3057     CARPET-2A                   10/21/08      1,110.42     0.00          0.00         906.83       111.04     1,017.87         92.55   S/L       10.00
3063     UNIT 2L CARPET               7/17/07      2,405.92     0.00          0.00       2,265.56       140.36     2,405.92          0.00   S/L       10.00
3064     TOILET BOWL TANK             9/14/07        358.00     0.00          0.00         334.13        23.87       358.00          0.00   S/L       10.00
3099     UNIT 5C VINYL                9/11/07        897.62     0.00          0.00         837.76        59.86       897.62          0.00   S/L       10.00
3100     UNIT 5C CARPET               9/11/07      2,249.27     0.00          0.00       2,099.35       149.92     2,249.27          0.00   S/L       10.00
3101     FLOOR REPAIR UNIT 9         10/15/07      2,319.77     0.00          0.00       2,145.81       173.96     2,319.77          0.00   S/L       10.00
3102     UNIT 30A CARPET             10/01/07      2,557.80     0.00          0.00       2,365.97       191.83     2,557.80          0.00   S/L       10.00
3184     WALK THRU BATH INSERT        2/13/08        700.00     0.00          0.00         624.17        70.00       694.17          5.83   S/L       10.00
3185     LAMINATE TOPS                2/19/08        881.60     0.00          0.00         519.14        58.77       577.91        303.69   S/L       15.00
3210     REMODEL KITCHEN-3B           3/03/08      1,600.00     0.00          0.00       1,413.33       160.00     1,573.33         26.67   S/L       10.00
3211     CABINETS, TOPS               3/05/08      1,677.49     0.00          0.00       1,481.79       167.75     1,649.54         27.95   S/L       10.00
3212     APPLIANCES, SINK             3/07/08      2,015.47     0.00          0.00       1,780.36       201.55     1,981.91         33.56   S/L       10.00
3213     REPLACE KITCHEN ITEMS-6E     3/10/08      1,900.00     0.00          0.00       1,678.33       190.00     1,868.33         31.67   S/L       10.00
3214     SPECIAL COLOR SINK           3/18/08        403.04     0.00          0.00         352.63        40.30       392.93         10.11   S/L       10.00
3263     CARPET-7A                    4/04/08      3,818.46     0.00          0.00       3,341.18       381.85     3,723.03         95.43   S/L       10.00
3264     CARPET-5A                    4/09/08      1,699.69     0.00          0.00       1,487.24       169.97     1,657.21         42.48   S/L       10.00
3265     CARPET-30F                   4/05/08      1,845.48     0.00          0.00       1,614.81       184.55     1,799.36         46.12   S/L       10.00
3332     MESSENGER SYSTEM             8/20/08      3,648.00     0.00          0.00       3,040.00       364.80     3,404.80        243.20   S/L       10.00
3349     DISHWASHER-UNIT 6A           8/27/08        399.65     0.00          0.00         333.08        39.97       373.05         26.60   S/L       10.00
3355     CARPET-30N                   9/26/08      2,863.20     0.00          0.00       2,362.14       286.32     2,648.46        214.74   S/L       10.00
3358     FANS/SHELVING-UNIT 2A       10/10/08        489.60     0.00          0.00         269.28        32.64       301.92        187.68   S/L       15.00
3360     CABINETS-UNIT 2A            10/15/08      4,558.61     0.00          0.00       2,507.26       303.91     2,811.17      1,747.44   S/L       15.00
3363     CONSTRUCTION FINISHES       10/20/08        718.56     0.00          0.00         391.18        47.90       439.08        279.48   S/L       15.00
3364     VINYL-2A                    10/21/08      1,293.81     0.00          0.00       1,056.60       129.38     1,185.98        107.83   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                              Book Asset Detail            1/01/17 - 12/31/17                                                Page 80
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
3365     PAINT 2A CABINETS         10/22/08         25.63       0.00          0.00          25.63         0.00        25.63          0.00   S/L        7.00
3366     FAUCETS, HANDLES          10/23/08        129.40       0.00          0.00          70.48         8.63        79.11         50.29   S/L       15.00
3376     APPLIANCES-UNIT 8         10/09/08      6,400.00       0.00          0.00       5,280.00       640.00     5,920.00        480.00   S/L       10.00
3377     APPLIANCES-UNIT 10        10/09/08      6,400.00       0.00          0.00       5,280.00       640.00     5,920.00        480.00   S/L       10.00
3378     APPLIANCES-UNIT 12        10/09/08      6,400.00       0.00          0.00       5,280.00       640.00     5,920.00        480.00   S/L       10.00
3379     APPLIANCES-UNIT 14        12/31/08      6,400.00       0.00          0.00       5,120.00       640.00     5,760.00        640.00   S/L       10.00
3385     CABINET MATERIALS-UNIT 2A 10/20/08         23.54       0.00          0.00          12.82         1.57        14.39          9.15   S/L       15.00
3386     FRIDGE-UNIT 5B            11/23/08        528.00       0.00          0.00         426.80        52.80       479.60         48.40   S/L       10.00
3392     CARPET-UNIT 5D            12/15/08      2,931.52       0.00          0.00       2,369.63       293.15     2,662.78        268.74   S/L       10.00
3413     VINYL FLOORING-UNIT 2N     1/27/09        482.14       0.00          0.00         482.14         0.00       482.14          0.00   S/L        7.00
3414     TOILET BOWL                1/29/09        269.96       0.00          0.00         213.75        27.00       240.75         29.21   S/L       10.00
3415     CARPET-UNIT 2N             1/29/09      1,906.38       0.00          0.00       1,906.38         0.00     1,906.38          0.00   S/L        7.00
3416     WATER HEATER               2/04/09        279.45       0.00          0.00         221.27        27.95       249.22         30.23   S/L       10.00
3417     VANITY, COMMODE SEATS      2/05/09        222.88       0.00          0.00         176.46        22.29       198.75         24.13   S/L       10.00
3418     UNIT 2N RENOVATIONS        2/09/09      4,600.00       0.00          0.00       2,427.80       306.67     2,734.47      1,865.53   S/L       15.00
3419     VANITY/FAUCETS/LOCKSETS    2/17/09        219.87       0.00          0.00         114.84        14.66       129.50         90.37   S/L       15.00
3420     APPLIANCES-UNIT 5D         2/18/09      1,354.52       0.00          0.00       1,061.03       135.45     1,196.48        158.04   S/L       10.00
3421     APPLIANCES-UNIT 2N         2/11/09      2,140.89       0.00          0.00       1,694.88       214.09     1,908.97        231.92   S/L       10.00
3422     CABINET-STORM DOOR SUPPLIES2/13/09        216.06       0.00          0.00         171.08        21.61       192.69         23.37   S/L       10.00
3423     UNIT 2N REFRIGERATOR       2/14/09        467.99       0.00          0.00         370.50        46.80       417.30         50.69   S/L       10.00
3437     LIGHTS-UNIT 2C             3/23/09        222.56       0.00          0.00         172.51        22.26       194.77         27.79   S/L       10.00
3454     CABINETS, MATERIALS, 3A    4/23/09      2,655.73       0.00          0.00       2,036.04       265.57     2,301.61        354.12   S/L       10.00
3467     3A FLOORING                4/27/09      1,762.46       0.00          0.00       1,351.25       176.25     1,527.50        234.96   S/L       10.00
3468     2E HEAT PUMP               5/21/09      5,397.00       0.00          0.00       4,092.73       539.70     4,632.43        764.57   S/L       10.00
3469     MESSENGER SYSTEM PHONES 5/14/09         1,528.00       0.00          0.00       1,528.00         0.00     1,528.00          0.00   S/L        5.00
3470     APPLIANCES                 5/23/09      4,307.33       0.00          0.00       3,266.37       430.73     3,697.10        610.23   S/L       10.00
3480     VINYL-UNIT 2C              4/30/09      1,286.65       0.00          0.00         986.47       128.67     1,115.14        171.51   S/L       10.00
3481     CARPET-UNIT 2C             4/30/09      1,285.00       0.00          0.00         985.17       128.50     1,113.67        171.33   S/L       10.00
3482     WATER HEATER-UNIT 2H       5/29/09        313.91       0.00          0.00         238.04        31.39       269.43         44.48   S/L       10.00
3494     REFRIGERATOR-30L           6/18/09        659.97       0.00          0.00         495.00        66.00       561.00         98.97   S/L       10.00
3495     RANGE-30L                  6/18/09        817.96       0.00          0.00         613.50        81.80       695.30        122.66   S/L       10.00
3496     MICROWAVE                  6/18/09        198.00       0.00          0.00         148.50        19.80       168.30         29.70   S/L       10.00
3497     DISHWASHER-30L             6/18/09        398.00       0.00          0.00         298.50        39.80       338.30         59.70   S/L       10.00
3498     STACK WASHER/DRYER-30L     6/18/09      1,211.93       0.00          0.00         908.93       121.19     1,030.12        181.81   S/L       10.00
3499     ELECTRICAL-30L             7/13/09        319.44       0.00          0.00         239.55        31.94       271.49         47.95   S/L       10.00
3500     COMMODE-30L                7/22/09        292.74       0.00          0.00         217.09        29.27       246.36         46.38   S/L       10.00
3501     LAMP 14A                   7/11/09        124.99       0.00          0.00          93.75        12.50       106.25         18.74   S/L       10.00
3502     PICTURE FRAMES-14A         7/15/09         58.98       0.00          0.00          44.25         5.90        50.15          8.83   S/L       10.00
3524     30L CARPET                 6/23/09      1,969.88       0.00          0.00       1,477.42       196.99     1,674.41        295.47   S/L       10.00
3525     30L VINYL                  6/23/09        711.14       0.00          0.00         533.33        71.11       604.44        106.70   S/L       10.00
3549     VINYL=UNIT 6E              9/10/09        664.32       0.00          0.00         487.15        66.43       553.58        110.74   S/L       10.00
3577     CARPET 6E                  9/10/09      1,882.15       0.00          0.00       1,380.28       188.22     1,568.50        313.65   S/L       10.00
3578     CABINETS 3D               10/12/09      1,973.72       0.00          0.00       1,430.93       197.37     1,628.30        345.42   S/L       10.00
3598     CABINET-7D                11/03/09        116.00       0.00          0.00          83.13        11.60        94.73         21.27   S/L       10.00
3599     LAV FAUCETS               11/09/09         68.98       0.00          0.00          49.45         6.90        56.35         12.63   S/L       10.00
3600     UNIT 3D LOCKS             10/22/09        219.78       0.00          0.00         157.52        21.98       179.50         40.28   S/L       10.00
3609     APPLIANCES-6E              1/01/09      1,062.99       0.00          0.00         850.40       106.30       956.70        106.29   S/L       10.00
3610     APPLIANCES-5D              1/01/09        449.00       0.00          0.00         359.20        44.90       404.10         44.90   S/L       10.00
3611     APPLIANCES-30D             1/01/09        830.99       0.00          0.00         664.80        83.10       747.90         83.09   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                               Book Asset Detail           1/01/17 - 12/31/17                                                Page 81
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
3652     VINYL-UNIT 7D              10/23/09      3,185.04      0.00          0.00       2,282.58       318.50     2,601.08        583.96   S/L       10.00
3653     A/C, UNIT 7D CONTACTOR     11/20/09        148.48      0.00          0.00         105.19        14.85       120.04         28.44   S/L       10.00
3654     UNIT 7D MAKE READY         11/22/09        149.00      0.00          0.00         105.54        14.90       120.44         28.56   S/L       10.00
3685     EV 2D DISHWASHER            1/22/10        379.00      0.00          0.00         262.14        37.90       300.04         78.96   S/L       10.00
3705     2D A/C HEAT UNIT            2/11/10        566.93      0.00          0.00         283.45        56.69       340.14        226.79   S/L       10.00
3762     30I REMODEL BATH EQ         5/12/10        412.45      0.00          0.00         183.33        27.50       210.83        201.62   S/L       15.00
3763     2I FLOORING                 5/20/10      2,082.88      0.00          0.00       1,371.24       208.29     1,579.53        503.35   S/L       10.00
3780     A/C UNIT 2I                 5/31/10      5,597.00      0.00          0.00       3,684.69       559.70     4,244.39      1,352.61   S/L       10.00
3781     DISHWASHER UNIT 30K         6/22/10        354.14      0.00          0.00         230.17        35.41       265.58         88.56   S/L       10.00
3806     30I VINYL REPAIRS           6/16/10        732.72      0.00          0.00         680.36        52.36       732.72          0.00   S/L        7.00
3807     30I CARPET                  6/21/10      1,625.40      0.00          0.00       1,509.30       116.10     1,625.40          0.00   S/L        7.00
3808     DISHWASHER UNIT 30          7/22/10        399.00      0.00          0.00         256.03        39.90       295.93        103.07   S/L       10.00
3824     5A A/C UPGRADE REPAIR       8/12/10        795.54      0.00          0.00         510.45        79.55       590.00        205.54   S/L       10.00
3825     14A DISHWASHER              8/22/10        359.10      0.00          0.00         227.43        35.91       263.34         95.76   S/L       10.00
3826     COOL TOWER COMMUN. UPGRADE  8/12/10        500.00      0.00          0.00         500.00         0.00       500.00          0.00   S/L        5.00
3828     GUEST HOUSE A/C             8/27/10        337.00      0.00          0.00         304.89        32.11       337.00          0.00   S/L        7.00
3829     REFRIG-6B,2J,30E            9/22/10      1,669.56      0.00          0.00       1,043.50       166.96     1,210.46        459.10   S/L       10.00
3846     INSTALL HOMERUN WIRING     10/29/10        900.00      0.00          0.00         555.00        90.00       645.00        255.00   S/L       10.00
3872     UNIT 30D CARPET            10/19/10      2,522.10      0.00          0.00       2,221.85       300.25     2,522.10          0.00   S/L        7.00
3873     FLOORING UNIT 30D          10/19/10        792.82      0.00          0.00         698.44        94.38       792.82          0.00   S/L        7.00
3907     3A COMPRESSOR REPLACEMENT 1/01/11        1,011.19      0.00          0.00         606.72       101.12       707.84        303.35   S/L       10.00
3934     UNIT 3 HOT WATER HEATERS    2/08/11        695.00      0.00          0.00         411.21        69.50       480.71        214.29   S/L       10.00
3951     UNIT 30B A/C REPAIR         3/23/11        893.47      0.00          0.00         513.76        89.35       603.11        290.36   S/L       10.00
3981     UNIT 30N SERVICE REFRIGERANT4/22/11        394.25      0.00          0.00         394.25         0.00       394.25          0.00   S/L        5.00
3982     UNIT 6F FLOORING            1/08/11      3,181.10      0.00          0.00       1,908.66       318.11     2,226.77        954.33   S/L       10.00
3996     12B A/C SERVICE             5/05/11        394.43      0.00          0.00         394.43         0.00       394.43          0.00   S/L        5.00
4015     30A DISHWASHER              6/22/11        395.98      0.00          0.00         217.80        39.60       257.40        138.58   S/L       10.00
4068     LOCKS, DEADBOLTS 30E,30F    8/16/11        551.29      0.00          0.00         294.03        55.13       349.16        202.13   S/L       10.00
4101     CARPET 30E                  7/07/11      2,013.03      0.00          0.00       1,581.69       287.58     1,869.27        143.76   S/L        7.00
4102     CARPET 10A                  7/22/11      1,378.20      0.00          0.00       1,066.49       196.89     1,263.38        114.82   S/L        7.00
4103     CARPET 10A                  7/25/11      1,417.14      0.00          0.00       1,096.60       202.45     1,299.05        118.09   S/L        7.00
4104     CARPET 8B                   8/18/11      2,361.11      0.00          0.00       1,798.93       337.30     2,136.23        224.88   S/L        7.00
4105     A/C REPAIR 14B              9/01/11         35.84      0.00          0.00          27.31         5.12        32.43          3.41   S/L        7.00
4106     SINK BASE                   9/21/11        189.05      0.00          0.00          99.28        18.91       118.19         70.86   S/L       10.00
4198     2E MAKE READY               1/09/12        625.27      0.00          0.00         208.40        41.68       250.08        375.19   S/L       15.00
4199     30D CABINETS                1/03/12      1,501.35      0.00          0.00         500.45       100.09       600.54        900.81   S/L       15.00
4218     6A A/C REPLACEMENT          2/24/12        764.22      0.00          0.00         369.37        76.42       445.79        318.43   S/L       10.00
4329     EMERGENCY PHONES, BRACELETS 5/07/12      2,040.00      0.00          0.00       1,904.00       136.00     2,040.00          0.00   S/L        5.00
4330     MOTOR-12B A/C               5/11/12        318.47      0.00          0.00         148.63        31.85       180.48        137.99   S/L       10.00
4331     STACK WASHER/DRYER-30H      5/08/12      1,484.00      0.00          0.00         692.53       148.40       840.93        643.07   S/L       10.00
4332     SERVICE A/C-12A             5/31/12        311.20      0.00          0.00         142.63        31.12       173.75        137.45   S/L       10.00
4357     30M A/C SERVICE             5/24/12        373.00      0.00          0.00         244.24        53.29       297.53         75.47   S/L        7.00
4402     UNIT 2C A/C                 6/27/12        668.97      0.00          0.00         301.05        66.90       367.95        301.02   S/L       10.00
4434     COTTAGE 2I A/C SVC          7/25/12        333.15      0.00          0.00         147.16        33.32       180.48        152.67   S/L       10.00
4435     COTTAGE 6B DISHWASHER       8/21/12        424.89      0.00          0.00         184.12        42.49       226.61        198.28   S/L       10.00
4436     COTTAGE 14B A/C SVC         8/06/12        972.33      0.00          0.00         429.43        97.23       526.66        445.67   S/L       10.00
4468     30H DISHWASHER              9/04/12        379.05      0.00          0.00         164.28        37.91       202.19        176.86   S/L       10.00
4469     30F DISHWASHER              9/26/12        383.90      0.00          0.00         163.16        38.39       201.55        182.35   S/L       10.00
4470     7C A/C                      9/20/12        335.17      0.00          0.00         142.46        33.52       175.98        159.19   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 82
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
4492     2H A/C REPAIR               10/16/12        577.60     0.00          0.00         240.67        57.76       298.43        279.17   S/L       10.00
4528     7D A/C THERMOSTAT           11/26/12        384.74     0.00          0.00         157.09        38.47       195.56        189.18   S/L       10.00
4564     ELECTRIC RANGE UNIT 6B      12/22/12        549.00     0.00          0.00         219.60        54.90       274.50        274.50   S/L       10.00
4597     EMERGENCY PHONES KIT         1/07/13        920.00     0.00          0.00         525.72       131.43       657.15        262.85   S/L        7.00
4598     2C A/C THERMOSTAT            1/04/13        539.35     0.00          0.00         215.76        53.94       269.70        269.65   S/L       10.00
4599     #9 A/C MOTOR REPLACEMENT 1/07/13          1,331.50     0.00          0.00         532.60       133.15       665.75        665.75   S/L       10.00
4600     6C A/C BLOWER MOTOR          1/14/13        423.97     0.00          0.00         169.60        42.40       212.00        211.97   S/L       10.00
4601     #15 QUEEN SLEEPER            1/22/13        953.00     0.00          0.00         373.26        95.30       468.56        484.44   S/L       10.00
4645     LEVERSET FOR 30C DOOR        2/27/13         66.47     0.00          0.00          16.98         4.43        21.41         45.06   S/L       15.00
4668     A/C/HEATER REPAIR            3/21/13      1,156.89     0.00          0.00         433.84       115.69       549.53        607.36   S/L       10.00
4705     3 EV REPLACEMENT PHONES      4/17/13        695.00     0.00          0.00         509.67       139.00       648.67         46.33   S/L        5.00
4706     30L OVEN TIMER               4/02/13        303.17     0.00          0.00         113.70        30.32       144.02        159.15   S/L       10.00
4734     14A A/C SERVICE              4/22/13        351.59     0.00          0.00         128.92        35.16       164.08        187.51   S/L       10.00
4735     2J A/C SERVICE               5/01/13        443.95     0.00          0.00         162.80        44.40       207.20        236.75   S/L       10.00
4736     2 REFRIGERATORS 7B/2L        5/01/13      1,245.66     0.00          0.00         456.75       124.57       581.32        664.34   S/L       10.00
4737     14B A/C SERVICE              5/14/13        426.82     0.00          0.00         156.49        42.68       199.17        227.65   S/L       10.00
4738     MASTER KEYING 30C TO 30F     4/22/13        749.77     0.00          0.00         274.92        74.98       349.90        399.87   S/L       10.00
4759     A/C SYSTEM UNIT 30C          6/13/13      6,457.00     0.00          0.00       2,313.76       645.70     2,959.46      3,497.54   S/L       10.00
4781     WATER HEATER-UNIT 10A        7/11/13        311.60     0.00          0.00         109.06        31.16       140.22        171.38   S/L       10.00
4816     COMPRESSORS-A/C UNIT 14B     6/14/13        755.96     0.00          0.00         386.97       107.99       494.96        261.00   S/L        7.00
4817     UNIT 30F CARPET              8/13/13      3,995.50     0.00          0.00       1,365.13       399.55     1,764.68      2,230.82   S/L       10.00
4818     2G PAINT                     8/28/13        270.70     0.00          0.00         128.90        38.67       167.57        103.13   S/L        7.00
4856     2G MAKE READY-SUPPLIES       9/04/13        559.43     0.00          0.00         124.33        37.30       161.63        397.80   S/L       15.00
4857     2G MAKE READY-DUMPSTER       8/31/13        495.19     0.00          0.00         110.03        33.01       143.04        352.15   S/L       15.00
4858     2 G MAKE READY-SUPPLIES      9/11/13        513.54     0.00          0.00         114.13        34.24       148.37        365.17   S/L       15.00
4859     2G FLOORING                  9/13/13      3,094.29     0.00          0.00       1,031.43       309.43     1,340.86      1,753.43   S/L       10.00
4860     2G REMODEL SUPPLIES          9/13/13        101.15     0.00          0.00          22.47         6.74        29.21         71.94   S/L       15.00
4861     2G PAINT                     9/13/13         44.09     0.00          0.00          21.00         6.30        27.30         16.79   S/L        7.00
4862     2G REMODEL SUPPLIES          9/05/13        888.72     0.00          0.00         197.50        59.25       256.75        631.97   S/L       15.00
4863     2G CABINETS/FIXTURES         9/22/13      4,899.94     0.00          0.00       1,592.47       489.99     2,082.46      2,817.48   S/L       10.00
4864     MAIL BOX CLUSTER FOR 6'S     9/10/13      1,373.40     0.00          0.00         457.80       137.34       595.14        778.26   S/L       10.00
4865     PEDESTAL BASE                9/11/13         87.08     0.00          0.00          29.03         8.71        37.74         49.34   S/L       10.00
4927     WALK-IN SHOWER               9/25/13      2,800.00     0.00          0.00         606.68       186.67       793.35      2,006.65   S/L       15.00
4928     WALK-IN SHOWER               9/25/13      2,427.00     0.00          0.00         525.85       161.80       687.65      1,739.35   S/L       15.00
4929     A/C-UNIT 2I,6D               7/29/13      4,917.63     0.00          0.00       1,680.18       491.76     2,171.94      2,745.69   S/L       10.00
4930     CEILING LIGHT FIXTURE-UNIT 6D
                                     10/30/13        367.40     0.00          0.00         116.34        36.74       153.08        214.32   S/L       10.00
4988     6D FIXTURES, SUPPLIES       11/07/13      1,026.80     0.00          0.00         325.15       102.68       427.83        598.97   S/L       10.00
4989     6D CABINETS                 11/07/13      1,046.94     0.00          0.00         331.52       104.69       436.21        610.73   S/L       10.00
4990     6D WATER HEATER, APPLIANCES11/22/13       3,560.82     0.00          0.00       1,097.91       356.08     1,453.99      2,106.83   S/L       10.00
4991     6D CHANDELIER, BATH HEATER 11/27/13         519.63     0.00          0.00         160.21        51.96       212.17        307.46   S/L       10.00
4992     6C COUNTERTOP/FRODGE        11/26/13        560.85     0.00          0.00         172.94        56.09       229.03        331.82   S/L       10.00
5036     PAINT-30A                    9/18/13        572.65     0.00          0.00         372.22       114.53       486.75         85.90   S/L        5.00
5037     UPGRADE THERMOSTAT          11/27/13        330.75     0.00          0.00         102.00        33.08       135.08        195.67   S/L       10.00
5038     SUPPLIES-PLUMBING,HAND RAILS12/19/13        319.10     0.00          0.00          95.73        31.91       127.64        191.46   S/L       10.00
5039     2H CABIINETS,DISHWASHER     12/20/13        487.78     0.00          0.00         146.34        48.78       195.12        292.66   S/L       10.00
5040     30A SUPPLIES-TOWEL BARS     12/20/13        201.13     0.00          0.00          60.33        20.11        80.44        120.69   S/L       10.00
5041     PAINT-2H,30A                12/22/13        450.74     0.00          0.00         270.45        90.15       360.60         90.14   S/L        5.00
5042     REPACE HVAC UNIT-WOOD SHOP12/02/13        4,995.00     0.00          0.00       1,540.13       499.50     2,039.63      2,955.37   S/L       10.00
5154     MAKE READY-COTTAGE           1/02/14      1,244.82     0.00          0.00         248.97        82.99       331.96        912.86   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                               Book Asset Detail           1/01/17 - 12/31/17                                                Page 83
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
5155     MAKE READY-UNIT 2H          1/07/14        331.55      0.00          0.00          66.30        22.10        88.40        243.15   S/L       15.00
5156     MAKE READY-UNIT 30A, KEYS 1/17/14          544.50      0.00          0.00         158.81        54.45       213.26        331.24   S/L       10.00
5157     MAKE READY-UNIT 30A FLOORING1/20/14      2,660.00      0.00          0.00         775.83       266.00     1,041.83      1,618.17   S/L       10.00
5158     MAKE READY-UNIT 2H FLOORING1/20/14       2,660.00      0.00          0.00         775.83       266.00     1,041.83      1,618.17   S/L       10.00
5159     MAKE READY-UNIT 17 FLOORING1/20/14         975.00      0.00          0.00         284.38        97.50       381.88        593.12   S/L       10.00
5160     MAKE READY-UNIT 2H,30A      1/22/14      5,697.18      0.00          0.00       1,107.78       379.81     1,487.59      4,209.59   S/L       15.00
5161     WASHER, DRYER-30A, 7B       1/28/14      1,401.39      0.00          0.00         408.74       140.14       548.88        852.51   S/L       10.00
5162     REFRIGERATOR-UNIT 2H        1/28/14        582.39      0.00          0.00         169.87        58.24       228.11        354.28   S/L       10.00
5163     DISHWASHER-UNIT 6B          1/28/14        362.73      0.00          0.00         105.79        36.27       142.06        220.67   S/L       10.00
5191     CONDENSOR, REFRIGERANT      2/06/14        379.36      0.00          0.00         110.65        37.94       148.59        230.77   S/L       10.00
5192     LOCKSMITH WORK-2H           2/14/14        553.70      0.00          0.00         161.50        55.37       216.87        336.83   S/L       10.00
5193     COUNTERTOPS-UNIT 2H         2/14/14        235.60      0.00          0.00          45.82        15.71        61.53        174.07   S/L       15.00
5194     DUST COLLECTOR              2/17/14      1,084.11      0.00          0.00         307.16       108.41       415.57        668.54   S/L       10.00
5199     ALLIED ASSOCIATES           2/28/14      3,391.73      0.00          0.00         960.98       339.17     1,300.15      2,091.58   S/L       10.00
5290     REPLACED COMPRESSOR         5/09/14      1,855.11      0.00          0.00         706.72       265.02       971.74        883.37   S/L        7.00
5324     REPLACE COMPRESSOR          6/03/14      2,199.11      0.00          0.00         568.10       219.91       788.01      1,411.10   S/L       10.00
5325     A/C-UNIT 2C                 6/04/14      5,475.00      0.00          0.00       1,414.38       547.50     1,961.88      3,513.12   S/L       10.00
5326     BLINDS, UNIT 2N             6/17/14        193.80      0.00          0.00          48.45        19.38        67.83        125.97   S/L       10.00
5327     REMODEL UNIT 30M            6/22/14      9,020.29      0.00          0.00       1,503.38       601.35     2,104.73      6,915.56   S/L       15.00
5354     TOILETS-UNIT 30M            6/29/14        245.10      0.00          0.00          61.28        24.51        85.79        159.31   S/L       10.00
5355     PERSONALIZATION-UNIT 2F     6/30/14        411.70      0.00          0.00          68.62        27.45        96.07        315.63   S/L       15.00
5356     AP DOORS, STORM DOORS       7/31/14        779.00      0.00          0.00         125.50        51.93       177.43        601.57   S/L       15.00
5357     BLINDS-30A                  7/23/14        330.50      0.00          0.00          79.87        33.05       112.92        217.58   S/L       10.00
5358     MICROWAVE-2G, DISHWASHER-30D7/22/14        603.10      0.00          0.00         145.75        60.31       206.06        397.04   S/L       10.00
5359     WOOD BLINDS-UNIT 6D         7/23/14        330.50      0.00          0.00          79.87        33.05       112.92        217.58   S/L       10.00
5406     A/C-UNIT 30G                8/29/14      4,955.30      0.00          0.00       1,156.24       495.53     1,651.77      3,303.53   S/L       10.00
5407     A/C-UNIT 7C                 8/29/14      5,975.00      0.00          0.00       1,394.17       597.50     1,991.67      3,983.33   S/L       10.00
5452     TOILET-UNIT 2I             11/05/14        155.95      0.00          0.00          33.80        15.60        49.40        106.55   S/L       10.00
5453     CARPET-UNIT2I              11/19/14      2,480.30      0.00          0.00         516.73       248.03       764.76      1,715.54   S/L       10.00
5606     DISHWASHER-6B               2/23/15        224.10      0.00          0.00          41.09        22.41        63.50        160.60   S/L       10.00
5607     WATER HEATER                2/26/15        322.05      0.00          0.00          59.05        32.21        91.26        230.79   S/L       10.00
5608     WASHER/DRYER                1/27/15      2,698.00      0.00          0.00         517.12       269.80       786.92      1,911.08   S/L       10.00
5610     MAKE READY-UNIT 7C          3/03/15        614.63      0.00          0.00         112.68        61.46       174.14        440.49   S/L       10.00
5620     MAKE READY UNIT 7C          3/03/15        665.27      0.00          0.00         121.97        66.53       188.50        476.77   S/L       10.00
5621     VANITY TOP UNIT 7C          3/05/15        179.55      0.00          0.00          32.92        17.96        50.88        128.67   S/L       10.00
5622     CABINETS, FLOOR COVERING    3/07/15      2,200.24      0.00          0.00         403.37       220.02       623.39      1,576.85   S/L       10.00
5876     DEMO CARPET-10B             8/03/15      3,388.75      0.00          0.00         480.08       338.88       818.96      2,569.79   S/L       10.00
5896     ELECTRIC RANGE-EV 10B       9/09/15        512.05      0.00          0.00          68.28        51.21       119.49        392.56   S/L       10.00
5908     COUNTERS/BATH CABINETS-30B10/20/15         853.02      0.00          0.00          99.52        85.30       184.82        668.20   S/L       10.00
5909     CEILING LIGHT FIXTURES/FAUCETS-30B
                                    10/13/15        599.47      0.00          0.00          74.94        59.95       134.89        464.58   S/L       10.00
5910     FREEZER/REFRIGERATOR       10/13/15        986.78      0.00          0.00         123.35        98.68       222.03        764.75   S/L       10.00
5911     ELEC WASHER/DRYER-30B      10/13/15      1,511.22      0.00          0.00         188.90       151.12       340.02      1,171.20   S/L       10.00
5912     FLOORING-UNIT 8B           10/13/15      2,978.31      0.00          0.00         372.29       297.83       670.12      2,308.19   S/L       10.00
5948     REPLACE FLOORING EV 30C    11/07/15      1,895.62      0.00          0.00         221.15       189.56       410.71      1,484.91   S/L       10.00
6244     STATE TECH SERVICES         1/29/16     29,306.83      0.00          0.00       1,790.97     1,953.79     3,744.76     25,562.07   S/L       15.00
6264     STORM DOORS 30B VILLAGE     2/01/16        642.18      0.00          0.00          58.87        64.22       123.09        519.09   S/L       10.00
6265     CARPET 2C VILLAGE           2/15/16      1,924.56      0.00          0.00         176.42       192.46       368.88      1,555.68   S/L       10.00
6266     WASHER/DRYER 2D VILLAGE     2/25/16      1,028.72      0.00          0.00          85.73       102.87       188.60        840.12   S/L       10.00
6267     MAKE READY UNIT 2D          2/25/16      4,653.53      0.00          0.00         258.53       310.24       568.77      4,084.76   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 84
FYE: 12/31/2017

       d                               Date In   Book     Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service   Cost      179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-BUILDING EQUIPMENT (continued)
6311    MAKE READY UNIT 2D           3/09/16         245.10     0.00          0.00          13.62        16.34        29.96        215.14   S/L       15.00
6312    CARPET EV 30H                3/04/14       1,581.93     0.00          0.00         158.19       158.19       316.38      1,265.55   S/L       10.00
6322    MAKE READY UNIT 2D           3/04/16         214.12     0.00          0.00          17.84        21.41        39.25        174.87   S/L       10.00
6323    NURSE CALL SYSTEM            4/15/16      15,849.88     0.00          0.00       1,188.74     1,584.99     2,773.73     13,076.15   S/L       10.00
6324    UNIT 7B MAKE READY           4/14/16          98.43     0.00          0.00           7.38         9.84        17.22         81.21   S/L       10.00
6325    UNIT 7B MAKE READY           4/20/16         515.73     0.00          0.00          34.38        51.57        85.95        429.78   S/L       10.00
6326    NURSE CALL SYSTEM            4/21/16      24,702.91     0.00          0.00       1,646.86     2,470.29     4,117.15     20,585.76   S/L       10.00
6327    UNIT 7B MAKE READY           4/22/16          86.22     0.00          0.00           5.75         8.62        14.37         71.85   S/L       10.00
6350    WASHER/DRYER 7B              5/02/16         918.12     0.00          0.00          61.21        91.81       153.02        765.10   S/L       10.00
6351    CABINETRY, BUILDING, MOTOR 5/17/16         2,472.09     0.00          0.00         144.21       247.21       391.42      2,080.67   S/L       10.00
6352    DRYWALL, WATER HEATER, BLINDS4/23/16         813.97     0.00          0.00          54.26        81.40       135.66        678.31   S/L       10.00
6353    FLOORING UNIT 7B             5/20/16       1,059.90     0.00          0.00          61.83       105.99       167.82        892.08   S/L       10.00
6354    FLOORING UNIT 7B             5/20/16       1,922.41     0.00          0.00         112.14       192.24       304.38      1,618.03   S/L       10.00
6406    2 GE WASHER/DRYER UNITS 6B,6E8/10/16       2,349.40     0.00          0.00          97.89       234.94       332.83      2,016.57   S/L       10.00
6501    HOFFMAN FLOORS               3/25/16       1,581.93     0.00          0.00         169.49       225.99       395.48      1,186.45   S/L        7.00
6612    FLOOR COVERING UNIT 6D       4/27/17         865.05     0.00c         0.00           0.00        57.67        57.67        807.38   S/L       10.00
   EV-BUILDING EQUIPMENT                         804,902.02     0.00c         0.00     572,988.48    39,395.43   612,383.91    192,518.11

   Group: EV-DEPARTMENTAL EQUIP
1106     1985 ADDITIONS               1/01/85        499.95     0.00          0.00         499.95         0.00       499.95          0.00   S/L        5.00
1110     MECHANICAL BLOWER            4/12/88        107.99     0.00          0.00         107.99         0.00       107.99          0.00   S/L        5.00
1112     LENNOX CONDENSER             7/01/92      1,300.00     0.00          0.00       1,300.00         0.00     1,300.00          0.00   S/L       10.00
1114     CARPET #5A                   5/12/93      1,341.03     0.00          0.00       1,341.03         0.00     1,341.03          0.00   S/L       10.00
1115     AC UNIT #17                  6/17/93        185.00     0.00          0.00         185.00         0.00       185.00          0.00   S/L       10.00
1116     CARPET UNIT #30D             8/06/93      1,467.43     0.00          0.00       1,467.43         0.00     1,467.43          0.00   S/L       10.00
1117     CARPET UNIT #3A              8/11/93        789.36     0.00          0.00         789.36         0.00       789.36          0.00   S/L       10.00
1118     CARPET UNIT #7B              8/11/93      1,292.75     0.00          0.00       1,292.75         0.00     1,292.75          0.00   S/L       10.00
1119     CARPET UNIT #2D              8/18/93        309.60     0.00          0.00         309.60         0.00       309.60          0.00   S/L       10.00
1120     CARPET UNIT #5D              9/25/93        323.00     0.00          0.00         323.00         0.00       323.00          0.00   S/L       10.00
1122     CARPET #5C                   1/01/94      1,530.43     0.00          0.00       1,530.43         0.00     1,530.43          0.00   S/L       10.00
1123     CARPET & TILE #7C & #9       1/24/94      1,637.00     0.00          0.00       1,637.00         0.00     1,637.00          0.00   S/L       10.00
1124     CARPET #2H                   3/09/94        874.92     0.00          0.00         874.92         0.00       874.92          0.00   S/L       10.00
1129     CARPET- UNIT #2B             7/25/94      1,246.00     0.00          0.00       1,246.00         0.00     1,246.00          0.00   S/L       10.00
1130     CARPET- UNIT 6A              7/25/94      1,993.00     0.00          0.00       1,993.00         0.00     1,993.00          0.00   S/L       10.00
1131     WASHER/DRYER                 7/31/94        300.00     0.00          0.00         300.00         0.00       300.00          0.00   S/L       10.00
1132     KENMORE WASHER/DRYER        10/03/94        350.00     0.00          0.00         350.00         0.00       350.00          0.00   S/L       10.00
1133     AIR CONDITIONER             10/06/94        397.00     0.00          0.00         397.00         0.00       397.00          0.00   S/L       10.00
1136     CARPET & VINYL UNIT 6B       1/06/95      1,876.62     0.00          0.00       1,876.62         0.00     1,876.62          0.00   S/L       10.00
1138     CARPET- UNIT 6F              6/20/95      1,600.00     0.00          0.00       1,600.00         0.00     1,600.00          0.00   S/L       10.00
1139     A/C SYSTEM                   7/24/95      2,100.00     0.00          0.00       2,100.00         0.00     2,100.00          0.00   S/L       10.00
1143     DISHWASHER UNIT 5B           9/20/95        178.00     0.00          0.00         178.00         0.00       178.00          0.00   S/L       10.00
1145     CARPET #2I                   1/16/96      1,285.20     0.00          0.00       1,285.20         0.00     1,285.20          0.00   S/L       10.00
1146     CARPET-UNIT 2D & 2I          4/01/96      2,145.39     0.00          0.00       2,145.39         0.00     2,145.39          0.00   S/L       10.00
1147     CARPET, UNIT 17              4/22/96      1,534.00     0.00          0.00       1,534.00         0.00     1,534.00          0.00   S/L       10.00
1148     REFRIGERATOR                 6/07/96        564.99     0.00          0.00         564.99         0.00       564.99          0.00   S/L       10.00
1149     CARPET-UNIT 7C              11/09/96      1,999.34     0.00          0.00       1,999.34         0.00     1,999.34          0.00   S/L       10.00
1150     STOVE-UNIT 7B               11/30/96        439.99     0.00          0.00         439.99         0.00       439.99          0.00   S/L       10.00
1151     CARPET-UNIT 6C              11/30/96      1,000.00     0.00          0.00       1,000.00         0.00     1,000.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                              Book Asset Detail            1/01/17 - 12/31/17                                                Page 85
FYE: 12/31/2017

       d                               Date In  Book     Book Sec       Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service  Cost      179 Exp c      Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-DEPARTMENTAL EQUIP (continued)
1153     STACKABLE WASHER/DRYER(2) 1/01/97       1,758.90       0.00          0.00       1,758.90         0.00     1,758.90          0.00   S/L       10.00
1154     REFRIGERATOR               1/02/97        579.49       0.00          0.00         579.49         0.00       579.49          0.00   S/L       10.00
1155     CARPET-UNIT 2E             3/27/97      1,628.72       0.00          0.00       1,628.72         0.00     1,628.72          0.00   S/L       10.00
1157     CARPET-UNIT 11            10/17/97      1,780.05       0.00          0.00       1,780.05         0.00     1,780.05          0.00   S/L       10.00
1158     TREE TRIMMER              10/27/97        599.00       0.00          0.00         599.00         0.00       599.00          0.00   S/L       10.00
1159     ELECTRIC RANGE            12/17/97        384.00       0.00          0.00         384.00         0.00       384.00          0.00   S/L       10.00
1161     GAS RANGE                  2/05/98        315.00       0.00          0.00         315.00         0.00       315.00          0.00   S/L       10.00
1162     IBM TYPEWRITER             2/12/98        150.00       0.00          0.00         150.00         0.00       150.00          0.00   S/L        5.00
1163     KENMORE ELECTRIC RANGE     2/26/98        323.89       0.00          0.00         323.89         0.00       323.89          0.00   S/L       10.00
1164     VINYL FLOORING             3/10/98        117.00       0.00          0.00         117.00         0.00       117.00          0.00   S/L       10.00
1165     CARPET                     3/10/98      1,306.73       0.00          0.00       1,306.73         0.00     1,306.73          0.00   S/L       10.00
1166     VINYL FLOORING             3/10/98        172.25       0.00          0.00         172.25         0.00       172.25          0.00   S/L       10.00
1167     PRESSURE WASHER            3/11/98        997.00       0.00          0.00         997.00         0.00       997.00          0.00   S/L       10.00
1168     FITTINGS FOR POWER WASHER 3/12/98         203.30       0.00          0.00         203.30         0.00       203.30          0.00   S/L       10.00
1169     GE GAS RANGE               5/12/98        355.00       0.00          0.00         355.00         0.00       355.00          0.00   S/L       10.00
1170     CARPET-30A/30B             5/28/98      3,681.70       0.00          0.00       3,681.70         0.00     3,681.70          0.00   S/L       10.00
1171     VINYL & CARPET-UNIT 3B     8/17/98      1,239.50       0.00          0.00       1,239.50         0.00     1,239.50          0.00   S/L       10.00
1172     SMOKE DETECTORS            9/15/98      3,100.00       0.00          0.00       3,100.00         0.00     3,100.00          0.00   S/L       10.00
1175     WASHER/DRYER              11/20/98        913.47       0.00          0.00         913.47         0.00       913.47          0.00   S/L       10.00
1176     CARPET                     1/19/99        504.92       0.00          0.00         504.92         0.00       504.92          0.00   S/L       10.00
1182     DRYER                      4/16/99        832.96       0.00          0.00         832.96         0.00       832.96          0.00   S/L       10.00
1183     MICROWAVE OVEN             5/20/99        119.96       0.00          0.00         119.96         0.00       119.96          0.00   S/L       10.00
1184     DISHWASHER                 5/26/99        399.99       0.00          0.00         399.99         0.00       399.99          0.00   S/L       10.00
1187     REFRIGERATOR               9/30/99      1,109.99       0.00          0.00       1,109.99         0.00     1,109.99          0.00   S/L       10.00
1188     MICROHOOD                 10/16/99        377.99       0.00          0.00         377.99         0.00       377.99          0.00   S/L       10.00
1189     STACK WASHER-DRYER        10/18/99        699.99       0.00          0.00         699.99         0.00       699.99          0.00   S/L       10.00
1204     ELECTRIC RANGE            11/09/99        464.99       0.00          0.00         464.99         0.00       464.99          0.00   S/L       10.00
1205     ELECTRIC RANGE            11/02/99        550.17       0.00          0.00         550.17         0.00       550.17          0.00   S/L       10.00
1206     CARPET                    10/22/99        819.50       0.00          0.00         819.50         0.00       819.50          0.00   S/L       10.00
1207     VINYL FLOOR COVERING       9/26/99        286.38       0.00          0.00         286.38         0.00       286.38          0.00   S/L       10.00
1208     CARPET                     9/28/99        129.92       0.00          0.00         129.92         0.00       129.92          0.00   S/L       10.00
1209     REFRIGERATOR              11/23/99        479.99       0.00          0.00         479.99         0.00       479.99          0.00   S/L       10.00
1210     REFRIGERATOR              11/18/99        599.99       0.00          0.00         599.99         0.00       599.99          0.00   S/L       10.00
1211     REFRIGERATOR              11/18/99        479.99       0.00          0.00         479.99         0.00       479.99          0.00   S/L       10.00
1212     CARPET                     9/20/99      1,297.61       0.00          0.00       1,297.61         0.00     1,297.61          0.00   S/L       10.00
1296     ELECTRIC RANGE             3/31/00        449.88       0.00          0.00         449.88         0.00       449.88          0.00   S/L       10.00
1297     REFRIGERATOR               3/31/00        499.99       0.00          0.00         499.99         0.00       499.99          0.00   S/L       10.00
1299     REFRIGERATOR               2/04/00        499.99       0.00          0.00         499.99         0.00       499.99          0.00   S/L       10.00
1348     ELECTRIC RANGE             7/03/00        399.99       0.00          0.00         399.99         0.00       399.99          0.00   S/L       10.00
1349     2 WASHER/DRYERS            8/03/00      1,399.98       0.00          0.00       1,399.98         0.00     1,399.98          0.00   S/L       10.00
1350     MICROWAVE                  8/03/00        360.99       0.00          0.00         360.99         0.00       360.99          0.00   S/L       10.00
1386     WASHER/DRYER              10/13/00        839.98       0.00          0.00         839.98         0.00       839.98          0.00   S/L       10.00
1387     REFRIGERATOR              10/10/00        609.99       0.00          0.00         609.99         0.00       609.99          0.00   S/L       10.00
1388     MICROHOOD                 10/13/00        413.99       0.00          0.00         413.99         0.00       413.99          0.00   S/L       10.00
1389     RANGE                     10/10/00        452.98       0.00          0.00         452.98         0.00       452.98          0.00   S/L       10.00
1390     ELECTRIC RANGE            10/26/00        445.00       0.00          0.00         445.00         0.00       445.00          0.00   S/L       10.00
1391     WASHER/DRYER              11/02/00        719.99       0.00          0.00         719.99         0.00       719.99          0.00   S/L       10.00
1438     MOWER                      2/22/01        319.87       0.00          0.00         319.87         0.00       319.87          0.00   S/L       10.00
1439     MOWER                      2/19/01        319.87       0.00          0.00         319.87         0.00       319.87          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                             Book Asset Detail             1/01/17 - 12/31/17                                                Page 86
FYE: 12/31/2017

       d                               Date In  Book     Book Sec       Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service  Cost      179 Exp c      Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-DEPARTMENTAL EQUIP (continued)
1440     MICROHOOD                 3/29/01         739.98       0.00          0.00         739.98         0.00       739.98          0.00   S/L       10.00
1441     LAUNDRY CART              3/06/01         849.99       0.00          0.00         849.99         0.00       849.99          0.00   S/L       10.00
1442     DISHWASHER                5/03/01         469.99       0.00          0.00         469.99         0.00       469.99          0.00   S/L       10.00
1488     SPEED QUEEN WASHER, DRYER 6/20/01         100.00       0.00          0.00         100.00         0.00       100.00          0.00   S/L        7.00
1489     CARPET                    5/04/01         844.25       0.00          0.00         844.25         0.00       844.25          0.00   S/L       10.00
1490     FLOOR COVERINGS-2L        5/05/01         140.00       0.00          0.00         140.00         0.00       140.00          0.00   S/L       10.00
1491     TILE-KITCHEN UNIT 17      5/31/01         372.00       0.00          0.00         372.00         0.00       372.00          0.00   S/L       10.00
1492     MICROHOOD                 6/21/01         359.99       0.00          0.00         359.99         0.00       359.99          0.00   S/L       10.00
1493     FLOOR COVERINGS           5/04/01       1,254.00       0.00          0.00       1,254.00         0.00     1,254.00          0.00   S/L       10.00
1494     VINYL TILE- UNIT 2E       6/13/01         925.00       0.00          0.00         925.00         0.00       925.00          0.00   S/L       10.00
1516     MICROHOOD                 7/09/01         279.99       0.00          0.00         279.99         0.00       279.99          0.00   S/L       10.00
1533     ELECTRIC RANGE-UNIT 2L    6/15/01         439.88       0.00          0.00         439.88         0.00       439.88          0.00   S/L       10.00
1534     REFRIGERATOR-UNIT 2E      8/29/01         398.00       0.00          0.00         398.00         0.00       398.00          0.00   S/L       10.00
1579     REFRIGERATOR-#3B         12/04/01         499.99       0.00          0.00         499.99         0.00       499.99          0.00   S/L       10.00
1580     RANGE, WASHER, DRYER-#3B 11/30/01       1,257.81       0.00          0.00       1,257.81         0.00     1,257.81          0.00   S/L       10.00
1581     MICROHOOD                11/30/01         740.98       0.00          0.00         740.98         0.00       740.98          0.00   S/L       10.00
1592     MESSAGE UNIT              1/24/02         539.35       0.00          0.00         539.35         0.00       539.35          0.00   S/L       10.00
1620     WASHER/DRYER-3D           3/26/02         537.99       0.00          0.00         537.99         0.00       537.99          0.00   S/L       10.00
1621     DISHWASHER-7B             3/19/02         269.99       0.00          0.00         269.99         0.00       269.99          0.00   S/L       10.00
1631     STOVE- UNIT 2J            4/29/02         469.00       0.00          0.00         469.00         0.00       469.00          0.00   S/L       10.00
1632     REFRIGERATOR-UNIT 2N      4/29/02         429.00       0.00          0.00         429.00         0.00       429.00          0.00   S/L       10.00
1662     MICROWAVE 30J             7/13/02         139.99       0.00          0.00         139.99         0.00       139.99          0.00   S/L       10.00
1678     A/C-EV SPARE              8/28/02         240.00       0.00          0.00         240.00         0.00       240.00          0.00   S/L       10.00
1691     REFRIG W/ ICE MAKER      10/17/02         399.00       0.00          0.00         399.00         0.00       399.00          0.00   S/L       10.00
1692     DISHWASHER               10/17/02         399.00       0.00          0.00         399.00         0.00       399.00          0.00   S/L       10.00
1693     MICROWAVE                10/17/02         299.00       0.00          0.00         299.00         0.00       299.00          0.00   S/L       10.00
1694     WASHER                   10/17/02         279.00       0.00          0.00         279.00         0.00       279.00          0.00   S/L       10.00
1695     DRYER                    10/17/02         239.01       0.00          0.00         239.01         0.00       239.01          0.00   S/L       10.00
1714     OVEN                     11/04/02         269.00       0.00          0.00         269.00         0.00       269.00          0.00   S/L       10.00
1715     STACK WASHER/DRYER        1/11/02         699.00       0.00          0.00         699.00         0.00       699.00          0.00   S/L       10.00
1716     STOVE                    11/11/02         476.00       0.00          0.00         476.00         0.00       476.00          0.00   S/L       10.00
1717     REFREGERATOR             11/11/02         399.00       0.00          0.00         399.00         0.00       399.00          0.00   S/L       10.00
1718     MICROHOOD                11/11/02         399.01       0.00          0.00         399.01         0.00       399.01          0.00   S/L       10.00
1721     WATER HEATER             11/14/02         134.00       0.00          0.00         134.00         0.00       134.00          0.00   S/L        7.00
1741     WASHER/DRYER-UNIT6E      12/05/02         959.00       0.00          0.00         959.00         0.00       959.00          0.00   S/L       10.00
1742     STOVE-UNIT 6E            12/05/02         476.00       0.00          0.00         476.00         0.00       476.00          0.00   S/L       10.00
1743     REFRIG-UNIT 6E           12/05/02         399.00       0.00          0.00         399.00         0.00       399.00          0.00   S/L       10.00
1744     MICROWAVE-UNIT 6E        12/05/02         428.00       0.00          0.00         428.00         0.00       428.00          0.00   S/L       10.00
1745     DISHWASHER-UNIT 6E       12/05/02         484.00       0.00          0.00         484.00         0.00       484.00          0.00   S/L       10.00
1746     EMERGENCY PHONES         12/03/02         822.00       0.00          0.00         822.00         0.00       822.00          0.00   S/L        5.00
1747     FRIG-UNIT 5A             12/19/02         449.00       0.00          0.00         449.00         0.00       449.00          0.00   S/L       10.00
1748     MICROWAVE-UNIT 5A        12/19/02         428.00       0.00          0.00         428.00         0.00       428.00          0.00   S/L       10.00
1749     WASHER/DRYER-UNIT 5A     12/19/02         924.00       0.00          0.00         924.00         0.00       924.00          0.00   S/L       10.00
1750     STOVE-UNIT 5A            12/19/02         419.00       0.00          0.00         419.00         0.00       419.00          0.00   S/L       10.00
1751     DISHWASHERS-UNIT 5A,6D   12/19/02         598.00       0.00          0.00         598.00         0.00       598.00          0.00   S/L       10.00
1752     FREIGHT                  12/19/02          35.00       0.00          0.00          35.00         0.00        35.00          0.00   S/L       10.00
1769     4 EMERGENCY PHONES        1/10/03       1,091.00       0.00          0.00       1,091.00         0.00     1,091.00          0.00   S/L        5.00
1786     APPLIANCES-UNIT 2K        3/05/03       1,820.00       0.00          0.00       1,820.00         0.00     1,820.00          0.00   S/L       10.00
1791     RANGE-30F                 3/05/03         795.00       0.00          0.00         795.00         0.00       795.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 87
FYE: 12/31/2017

       d                               Date In  Book     Book Sec       Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service  Cost      179 Exp c      Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-DEPARTMENTAL EQUIP (continued)
1794     PLANER                       3/13/03        255.00     0.00          0.00         255.00         0.00       255.00          0.00   S/L       10.00
1795     RANGE-30E                    3/17/03        884.00     0.00          0.00         884.00         0.00       884.00          0.00   S/L       10.00
1796     AIR COMPRESSOR               3/29/03        369.00     0.00          0.00         369.00         0.00       369.00          0.00   S/L       10.00
1802     6 SMOKE DETECTORS            4/24/03        877.50     0.00          0.00         877.50         0.00       877.50          0.00   S/L       10.00
1814     REFRIGERATOR-2K              4/15/03      1,039.99     0.00          0.00       1,039.99         0.00     1,039.99          0.00   S/L       10.00
1833     3 PAGERS FOR CALL SYSTEM     6/11/03        672.50     0.00          0.00         672.50         0.00       672.50          0.00   S/L        5.00
1858     STOVE-5D                     7/01/03        461.50     0.00          0.00         461.50         0.00       461.50          0.00   S/L       10.00
1859     DISHWASHER-5D                7/01/03        231.50     0.00          0.00         231.50         0.00       231.50          0.00   S/L       10.00
1860     MICROVENT HOOD-5D            7/01/03        261.50     0.00          0.00         261.50         0.00       261.50          0.00   S/L       10.00
1861     REFRIGERATOR-5D              7/01/03        460.51     0.00          0.00         460.51         0.00       460.51          0.00   S/L       10.00
1887     SMOKE DETECTORS              8/02/03        577.50     0.00          0.00         577.50         0.00       577.50          0.00   S/L       10.00
1938     RANGE-3D                     9/17/03        382.10     0.00          0.00         382.10         0.00       382.10          0.00   S/L       10.00
1939     DISHWASHER-3D                9/17/03        337.10     0.00          0.00         337.10         0.00       337.10          0.00   S/L       10.00
1940     REFRIGERATOR-3D              9/17/03        499.10     0.00          0.00         499.10         0.00       499.10          0.00   S/L       10.00
1941     MICROWAVE-3D                 9/17/03        265.10     0.00          0.00         265.10         0.00       265.10          0.00   S/L       10.00
1979     MICROWAVE-UNIT 30I          12/15/03        249.00     0.00          0.00         249.00         0.00       249.00          0.00   S/L       10.00
1980     SHOP DRILL-SHOP             12/19/03        215.20     0.00          0.00         215.20         0.00       215.20          0.00   S/L       10.00
2006     MICROHOOD-UNIT 7D            1/27/04        299.99     0.00          0.00         299.99         0.00       299.99          0.00   S/L       10.00
2007     WATER HEATER-UNIT 30F        1/30/04        187.33     0.00          0.00         187.33         0.00       187.33          0.00   S/L       10.00
2026     REFRIG/MICROWAVE/STOVE       2/03/04      1,055.00     0.00          0.00       1,055.00         0.00     1,055.00          0.00   S/L       10.00
2027     DISHWASHER UNIT 7D           2/20/04        499.99     0.00          0.00         499.99         0.00       499.99          0.00   S/L       10.00
2029     WASHER/DRYER UNIT 7D         2/26/04      1,128.99     0.00          0.00       1,128.99         0.00     1,128.99          0.00   S/L       10.00
2037     WATER HEATER-UNIT 2D         3/10/04        159.00     0.00          0.00         159.00         0.00       159.00          0.00   S/L       10.00
2038     DISHWASHER/MICROWAVE-2D      3/12/04        698.00     0.00          0.00         698.00         0.00       698.00          0.00   S/L       10.00
2039     STACK WASHER-UNIT 6F         3/25/04        869.00     0.00          0.00         869.00         0.00       869.00          0.00   S/L       10.00
2040     MICROHOOD-UNIT 6F            3/25/04        349.00     0.00          0.00         349.00         0.00       349.00          0.00   S/L       10.00
2041     MICROHOOD-UNIT 2E            3/25/04        349.00     0.00          0.00         349.00         0.00       349.00          0.00   S/L       10.00
2042     STOVE-UNIT 6F                3/25/04        479.00     0.00          0.00         479.00         0.00       479.00          0.00   S/L       10.00
2043     DISHWASHER-UNIT 2E           3/25/04        289.00     0.00          0.00         289.00         0.00       289.00          0.00   S/L       10.00
2069     REFRIGERATOR-UNIT 2M         5/11/04        469.00     0.00          0.00         469.00         0.00       469.00          0.00   S/L       10.00
2070     AIR PURIFICATION UNITS       3/25/04        628.00     0.00          0.00         628.00         0.00       628.00          0.00   S/L       10.00
2076     20" CHAIN SAW                6/01/04        199.00     0.00          0.00         199.00         0.00       199.00          0.00   S/L       10.00
2077     MICROVENT HOOD-6B            6/14/04        199.00     0.00          0.00         199.00         0.00       199.00          0.00   S/L       10.00
2078     REFRIGERATOR-UNIT 3B         6/14/04        474.00     0.00          0.00         474.00         0.00       474.00          0.00   S/L       10.00
2079     DISHWASHER-UNIT 30F          6/14/04        264.00     0.00          0.00         264.00         0.00       264.00          0.00   S/L       10.00
2091     MICROVENT HOOD-UNIT 2G       7/08/04        211.50     0.00          0.00         211.50         0.00       211.50          0.00   S/L       10.00
2092     DISHWASHER-UNIT 2G           7/08/04        361.50     0.00          0.00         361.50         0.00       361.50          0.00   S/L       10.00
2093     WASHER/DRYER UNIT 2G         7/08/04        411.50     0.00          0.00         411.50         0.00       411.50          0.00   S/L       10.00
2094     STOVE-UNIT 2G                7/08/04        441.50     0.00          0.00         441.50         0.00       441.50          0.00   S/L       10.00
2095     REFRIGERATOR-UNIT 2G         7/08/04        699.00     0.00          0.00         699.00         0.00       699.00          0.00   S/L       10.00
2096     REFRIGERATOR UNIT 7C         7/15/04        725.67     0.00          0.00         725.67         0.00       725.67          0.00   S/L       10.00
2097     MICROVENT HOOD-UNIT 7C       7/15/04        283.67     0.00          0.00         283.67         0.00       283.67          0.00   S/L       10.00
2098     DISHWASHER-UNIT 7C           7/15/04        415.67     0.00          0.00         415.67         0.00       415.67          0.00   S/L       10.00
2159     RANGE UNIT 6A               10/08/04        424.00     0.00          0.00         424.00         0.00       424.00          0.00   S/L       10.00
2160     REFRIGERATOR-UNIT 6A        10/08/04        494.00     0.00          0.00         494.00         0.00       494.00          0.00   S/L       10.00
2161     WASHER-UNIT 6A              10/08/04        399.00     0.00          0.00         399.00         0.00       399.00          0.00   S/L       10.00
2162     DRYER-UNIT 6A               10/08/04        369.00     0.00          0.00         369.00         0.00       369.00          0.00   S/L       10.00
2163     MICROWAVE-UNIT 6E           10/18/04        274.00     0.00          0.00         274.00         0.00       274.00          0.00   S/L       10.00
2164     DISHWASHER-UNIT 6E          10/18/04        424.00     0.00          0.00         424.00         0.00       424.00          0.00   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                              Book Asset Detail            1/01/17 - 12/31/17                                                Page 88
FYE: 12/31/2017

       d                               Date In  Book     Book Sec       Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service  Cost      179 Exp c      Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-DEPARTMENTAL EQUIP (continued)
2170     TV #15                    11/16/04        109.93       0.00          0.00         109.93         0.00       109.93          0.00   S/L       10.00
2182     DISHWASHER UNIT 7A        11/11/04        374.65       0.00          0.00         374.65         0.00       374.65          0.00   S/L       10.00
2202     STACK WASHER/DRYER        12/08/04        883.49       0.00          0.00         883.49         0.00       883.49          0.00   S/L       10.00
2247     WASHER/DRYER               1/21/05        871.49       0.00          0.00         871.49         0.00       871.49          0.00   S/L       10.00
2248     DISHWASHER                 1/21/05        551.49       0.00          0.00         551.49         0.00       551.49          0.00   S/L        7.00
2249     REFRIGERATOR               1/21/05        531.50       0.00          0.00         531.50         0.00       531.50          0.00   S/L       10.00
2250     MICROWAVE                  1/21/05        381.49       0.00          0.00         381.49         0.00       381.49          0.00   S/L       10.00
2251     A/C-CONFERENCE ROOM        1/03/05        449.00       0.00          0.00         449.00         0.00       449.00          0.00   S/L       10.00
2252     DISHWASHER                 1/03/05        359.00       0.00          0.00         359.00         0.00       359.00          0.00   S/L        7.00
2381     REWORK GOLF CART           6/20/05      1,193.15       0.00          0.00       1,193.15         0.00     1,193.15          0.00   S/L        7.00
2424     WASHER/DRYER-UNIT 5D       9/28/05        568.00       0.00          0.00         568.00         0.00       568.00          0.00   S/L       10.00
2430     FILE CABINET-COORDINATOR 8/31/05          430.00       0.00          0.00         430.00         0.00       430.00          0.00   S/L       10.00
2442     STOVE UNIT 30C            11/15/05        412.99       0.00          0.00         412.99         0.00       412.99          0.00   S/L       10.00
2592     REFRIGERATOR-UNIT 7B       5/09/06        399.00       0.00          0.00         399.00         0.00       399.00          0.00   S/L       10.00
2593     REFRIGERATOR/RANGE/DRYER 5/26/06        1,715.97       0.00          0.00         858.00       171.60     1,029.60        686.37   S/L       10.00
2774     WOOD BLINDS                9/22/06        725.00       0.00          0.00         725.00         0.00       725.00          0.00   S/L       10.00
2919     34 STACK CHAIRS            3/13/07      1,131.66       0.00          0.00       1,112.84        18.82     1,131.66          0.00   S/L       10.00
2920     RANGE, WASHER ,DRYER       3/13/07      1,391.97       0.00          0.00       1,368.80        23.17     1,391.97          0.00   S/L       10.00
3022     REFRIGERATOR-UNIT 30C      7/02/07        359.00       0.00          0.00         341.05        17.95       359.00          0.00   S/L       10.00
3050     APPLIANCES-UNIT 5C         8/31/07      2,188.98       0.00          0.00       2,043.07       145.91     2,188.98          0.00   S/L       10.00
3051     A/C UNIT                   8/23/07        336.94       0.00          0.00         314.44        22.50       336.94          0.00   S/L       10.00
3177     POWER WASHER               2/13/08        349.00       0.00          0.00         311.19        34.90       346.09          2.91   S/L       10.00
3186     REFRIG, DRYER REMODELING 1/28/08        2,263.89       0.00          0.00       2,018.64       226.39     2,245.03         18.86   S/L       10.00
3215     REFRIGERATOR-UNIT 30L      3/19/08        474.09       0.00          0.00         414.84        47.41       462.25         11.84   S/L       10.00
3236     UNIT 5A-WASHER, DRYER      4/11/08        816.98       0.00          0.00         714.87        81.70       796.57         20.41   S/L       10.00
3237     UNIT 30B-FRIDGE            4/22/08        449.00       0.00          0.00         389.13        44.90       434.03         14.97   S/L       10.00
3293     CLEAN 6E                   6/09/08        905.95       0.00          0.00         905.95         0.00       905.95          0.00   S/L        5.00
3294     RANGE-6E                   6/18/08        428.09       0.00          0.00         363.88        42.81       406.69         21.40   S/L       10.00
3295     CONDUIT-6E                 6/23/08          4.43       0.00          0.00           4.43         0.00         4.43          0.00   S/L       10.00
3296     DISHWASHER-6E              6/23/08        269.61       0.00          0.00         229.16        26.96       256.12         13.49   S/L       10.00
3297     MICROWAVE-6E               6/23/08        294.92       0.00          0.00         294.92         0.00       294.92          0.00   S/L        7.00
3367     APPLIANCES-UNIT 2A        10/24/08      2,504.61       0.00          0.00       2,045.42       250.46     2,295.88        208.73   S/L       10.00
3686     CALL BUTTONS               1/01/10      1,599.00       0.00          0.00       1,119.30       159.90     1,279.20        319.80   S/L       10.00
3764     NEW GOLF CART              5/23/10      3,550.84       0.00          0.00       3,339.46       211.38     3,550.84          0.00   S/L        7.00
3809     CHAIN SAW                  7/22/10        309.99       0.00          0.00         309.99         0.00       309.99          0.00   S/L        5.00
3847     CONCRETE SAW              10/01/10        845.14       0.00          0.00         528.19        84.51       612.70        232.44   S/L       10.00
3874     UNIT 6E REFRIG            11/22/10        541.56       0.00          0.00         329.47        54.16       383.63        157.93   S/L       10.00
3890     WASHER/DRYER 2D, 30K      11/30/10      2,529.94       0.00          0.00       1,539.02       252.99     1,792.01        737.93   S/L       10.00
3918     TRIMMER, BLOWER            2/08/11        719.98       0.00          0.00         608.53       102.85       711.38          8.60   S/L        7.00
3920     MOWER/SHREDDER             2/08/11      2,088.49       0.00          0.00       1,235.69       208.85     1,444.54        643.95   S/L       10.00
3922     GOLF CART                  2/09/11        925.00       0.00          0.00         925.00         0.00       925.00          0.00   S/L        5.00
3952     UNIT 8B HEATER BLOWER MOTOR3/03/11        408.72       0.00          0.00         238.41        40.87       279.28        129.44   S/L       10.00
4030     AIRLESS SPRAY RIG          7/21/11        628.95       0.00          0.00         340.71        62.90       403.61        225.34   S/L       10.00
4069     CHAINSAW 18" GAS           8/04/11        319.00       0.00          0.00         172.79        31.90       204.69        114.31   S/L       10.00
4070     AIR COMPRESSOR             7/26/11        898.00       0.00          0.00         486.42        89.80       576.22        321.78   S/L       10.00
4156     CONTACTOR                  9/23/11        311.95       0.00          0.00         163.80        31.20       195.00        116.95   S/L       10.00
4157     THERMOSTAT                10/26/11        431.20       0.00          0.00         222.79        43.12       265.91        165.29   S/L       10.00
4269     BATTERIES-GOLF CART        4/03/12      1,049.28       0.00          0.00         996.83        52.45     1,049.28          0.00   S/L        5.00
4358     WASHER/DRYER-6F            6/06/12      1,008.18       0.00          0.00         462.09       100.82       562.91        445.27   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                                Page 89
FYE: 12/31/2017

       d                               Date In  Book     Book Sec       Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service  Cost      179 Exp c      Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-DEPARTMENTAL EQUIP (continued)
4437    COTTAGE 2H ELECTRIC RANGE     8/29/12        401.00     0.00          0.00         173.77        40.10       213.87        187.13   S/L       10.00
4866    30M REFRIGERATOR              9/24/13        554.89     0.00          0.00         180.34        55.49       235.83        319.06   S/L       10.00
4931    6 NEW GOLF BATTERIES         10/15/13        771.36     0.00          0.00         501.38       154.27       655.65        115.71   S/L        5.00
5276    EMERGENCY PHONE               4/11/14      1,730.00     0.00          0.00         475.75       173.00       648.75      1,081.25   S/L       10.00
5291    GOLF CART BATTERIES           5/23/14        767.80     0.00          0.00         396.70       153.56       550.26        217.54   S/L        5.00
5328    PAINT-UNIT 30M                6/09/14        568.62     0.00          0.00         209.85        81.23       291.08        277.54   S/L        7.00
5360    PHOSPHATE INHIBITOR           6/19/14      1,152.00     0.00          0.00         288.00       115.20       403.20        748.80   S/L       10.00
5623    2 MICROWAVES-6B/30F           3/13/15        359.10     0.00          0.00          65.84        35.91       101.75        257.35   S/L       10.00
5624    FRIDGE/ICEMAKER-UNIT 30I      3/20/15        596.49     0.00          0.00         104.39        59.65       164.04        432.45   S/L       10.00
6268    REFRIGERATOR UNIT 2C          2/23/16        596.60     0.00          0.00          49.72        59.66       109.38        487.22   S/L       10.00
   EV-DEPARTMENTAL EQUIP                         165,931.77     0.00c         0.00     153,578.46     3,611.25   157,189.71      8,742.06

   Group: EV-FURNITURE, APPLIANCES
2203     MISC FURNITURE, APPLIANCES 11/29/04       1,941.27     0.00          0.00       1,941.27         0.00     1,941.27          0.00   S/L        7.00
5913     GARBAGE DISPOSAL-30B        10/13/15         80.71     0.00          0.00          10.09         8.07        18.16         62.55   S/L       10.00
5914     2 CABINETS-UNIT 30B         10/19/15        276.83     0.00          0.00          32.29        27.68        59.97        216.86   S/L       10.00
5915     CABINETS-UNIT 30B           10/13/15      1,196.05     0.00          0.00         149.51       119.61       269.12        926.93   S/L       10.00
5916     RANGE/MICROWAVE-UNIT 30B 10/13/15         1,261.75     0.00          0.00         157.72       126.18       283.90        977.85   S/L       10.00
5917     CABINET/APPLIANCES-UNIT 30B 10/30/15        126.75     0.00          0.00          14.79        12.68        27.47         99.28   S/L       10.00
5918     PAINT-UNIT 30B              10/13/15        242.13     0.00          0.00          60.54        48.43       108.97        133.16   S/L        5.00
5949     DUCT MATERIALS-30B          11/03/15         93.64     0.00          0.00          10.92         9.36        20.28         73.36   S/L       10.00
5950     CARPET-UNIT 30B             11/30/15      1,723.68     0.00          0.00         186.73       172.37       359.10      1,364.58   S/L       10.00
5951     LAMINATE FLOOR-30B          10/20/15      1,239.09     0.00          0.00         144.56       123.91       268.47        970.62   S/L       10.00
5952     PAINT-UNIT 30B              10/13/15        377.08     0.00          0.00          47.14        37.71        84.85        292.23   S/L       10.00
5953     MAKE READY-UNIT 30B         10/16/15      2,407.17     0.00          0.00         280.84       240.72       521.56      1,885.61   S/L       10.00
6422     6E DISHWASHER/WASHER/REFRIG  8/26/16      2,064.83     0.00          0.00          68.83       206.48       275.31      1,789.52   S/L       10.00
6423     EV 6E STOVE                  8/26/16        879.12     0.00          0.00          29.30        87.91       117.21        761.91   S/L       10.00
6424     PAINT EV 2F                  9/14/16        286.20     0.00          0.00           9.54        28.62        38.16        248.04   S/L       10.00
6425     PAINT EV 6E                  9/15/16        104.35     0.00          0.00           3.48        10.44        13.92         90.43   S/L       10.00
6426     PAINT EV 6E                  9/15/16         13.34     0.00          0.00           0.44         1.33         1.77         11.57   S/L       10.00
6427     6E, REMOVE BATHTUB, INSTALL 9/26/16
                                      SHOWER       2,950.00     0.00          0.00          49.17       196.67       245.84      2,704.16   S/L       15.00
6428     PAINT EV 6E                  9/21/16        286.20     0.00          0.00           7.16        28.62        35.78        250.42   S/L       10.00
6429     EV 6E CLOSET BRACKETS        9/30/16         57.92     0.00          0.00           1.45         5.79         7.24         50.68   S/L       10.00
6450     CARPET-EV 2F                 9/29/16      1,145.60     0.00          0.00          28.64       114.56       143.20      1,002.40   S/L       10.00
6451     PAINT-EV 6E                  9/29/16        143.10     0.00          0.00           7.16        28.62        35.78        107.32   S/L        5.00
6452     LIGHT FIXTURE-EV 6E         10/18/16         94.11     0.00          0.00           1.57         9.41        10.98         83.13   S/L       10.00
6453     ICEMAKER/CORD EV 6E         10/19/16        104.48     0.00          0.00           1.74        10.45        12.19         92.29   S/L       10.00
6454     CARPET-EV 2F                 9/29/16      2,371.56     0.00          0.00          59.29       237.16       296.45      2,075.11   S/L       10.00
6455     CARPET -EV 6E                9/30/16      4,484.24     0.00          0.00         112.11       448.42       560.53      3,923.71   S/L       10.00
6467     REFRIGERATOR-EV 2F          11/14/16        568.10     0.00          0.00           9.47        56.81        66.28        501.82   S/L       10.00
6483     CARPET EV 14B               12/15/16      2,165.80     0.00          0.00          18.05       216.58       234.63      1,931.17   S/L       10.00
6484     CARPET EV 14B               12/15/16        272.09     0.00          0.00           2.27        27.21        29.48        242.61   S/L       10.00
6531     TRENCH FOR CABLE/INTERNET 2/09/17         2,990.00     0.00c         0.00           0.00       274.08       274.08      2,715.92   S/L       10.00
6583     CARPET EV 2I                 2/15/17        992.60     0.00c         0.00           0.00        90.99        90.99        901.61   S/L       10.00
6584     CARPET EV 30N                3/18/17      3,042.40     0.00c         0.00           0.00       228.18       228.18      2,814.22   S/L       10.00
6635     2I BATHROOM MODEL            8/28/17        520.19     0.00c         0.00           0.00        11.56        11.56        508.63   S/L       15.00
6636     2I BATHROOM MODEL            8/24/17        160.55     0.00c         0.00           0.00         3.57         3.57        156.98   S/L       15.00
6637     2I BATHROOM MODEL            8/29/17         34.82     0.00c         0.00           0.00         0.77         0.77         34.05   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                               Book Asset Detail              1/01/17 - 12/31/17                                                Page 90
FYE: 12/31/2017

       d                               Date In    Book    Book Sec         Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service    Cost     179 Exp c        Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: EDEN VILLAGE | Group: EV-FURNITURE, APPLIANCES (continued)
6638    2I BATHROOM MODEL            8/29/17        446.48        0.00c          0.00           0.00         9.92         9.92        436.56   S/L       15.00
6639    2I BATHROOM MODEL            8/29/17         94.05        0.00c          0.00           0.00         2.09         2.09         91.96   S/L       15.00
6640    2I BATHROOM MODEL            8/29/17        303.05        0.00c          0.00           0.00         6.73         6.73        296.32   S/L       15.00
6641    2I BATHROOM MODEL            8/30/17        516.94        0.00c          0.00           0.00        11.49        11.49        505.45   S/L       15.00
6659    EV 30C FLOORING-LVP          8/30/17      5,039.37        0.00c          0.00           0.00       167.98       167.98      4,871.39   S/L       10.00
6660    EV 30C CARPET                8/30/17      1,032.40        0.00c          0.00           0.00        34.41        34.41        997.99   S/L       10.00
6661    TILE FLOOR UNIT 2I           8/30/17      1,464.70        0.00c          0.00           0.00        48.82        48.82      1,415.88   S/L       10.00
6662    EV 2I REMODEL                9/01/17        209.33        0.00c          0.00           0.00         6.98         6.98        202.35   S/L       10.00
6663    STORAGE RENTAL CONTAINER 8/14/17            249.90        0.00c          0.00           0.00        10.41        10.41        239.49   S/L       10.00
6664    STORAGE RENTAL CONTAINER 9/14/17            159.95        0.00c          0.00           0.00         5.33         5.33        154.62   S/L       10.00
6697    8A DRYER/30E BLINDS/2E DISHWASHER
                                    11/28/17        896.66        0.00c          0.00           0.00         7.47         7.47        889.19   S/L       10.00
6698    PAINT FOR 30D MAKEREADY     11/20/17        477.69        0.00c          0.00           0.00         7.96         7.96        469.73   S/L        5.00
6699    PAINT FOR 30D MAKEREADY     11/20/17         10.51        0.00c          0.00           0.00         0.18         0.18         10.33   S/L        5.00
   EV-FURNITURE, APPLIANCES                      47,598.78        0.00c          0.00       3,446.07     3,570.72     7,016.79     40,581.99

   Group: EV-LAND IMPROVEMENTS
1190     WALKWAYS                    2/21/86      1,320.00        0.00           0.00       1,320.00         0.00     1,320.00          0.00   S/L       10.00
1191     REPAVE VILLAGE UNIT STREET 10/06/95     26,928.00        0.00           0.00      26,928.00         0.00    26,928.00          0.00   S/L       10.00
1192     GRADING SOIL- NEW PAVILION 12/20/95        414.00        0.00           0.00         414.00         0.00       414.00          0.00   S/L       10.00
1193     HYDROMULCH                  1/15/99        850.00        0.00           0.00         850.00         0.00       850.00          0.00   S/L       10.00
1194     CURBING                     1/15/99      4,640.00        0.00           0.00       4,176.00       232.00     4,408.00        232.00   S/L       20.00
1195     SPRINKLER INSTALLATION      4/16/99      6,200.00        0.00           0.00       6,200.00         0.00     6,200.00          0.00   S/L       15.00
1196     LANDSCAPE-ZOYSIA GRASS      5/31/99      8,871.08        0.00           0.00       8,871.08         0.00     8,871.08          0.00   S/L       15.00
1197     LANDSCAPE-ST. AUGUSTINE GRASS
                                     5/31/99      6,090.00        0.00           0.00       6,090.00         0.00     6,090.00          0.00   S/L       15.00
1198     LANDSCAPING-WATER DIVERT 6/08/99         1,500.00        0.00           0.00       1,500.00         0.00     1,500.00          0.00   S/L       15.00
1199     LANDSCAPING-TOPSOIL         6/08/99        575.00        0.00           0.00         575.00         0.00       575.00          0.00   S/L       15.00
1200     LANDSCAPE WORK              7/22/99      3,300.00        0.00           0.00       3,300.00         0.00     3,300.00          0.00   S/L       15.00
1201     LANDSCAPE WORK(ROCK WORK)7/30/99         5,960.00        0.00           0.00       5,960.00         0.00     5,960.00          0.00   S/L       15.00
1202     PLANTS                      8/10/99        183.00        0.00           0.00         183.00         0.00       183.00          0.00   S/L       15.00
1229     SIDEWALKS                  12/01/99      4,185.00        0.00           0.00       4,185.00         0.00     4,185.00          0.00   S/L       10.00
1445     HDCP RAMPS, CURBS, DRAIN    2/24/01      4,900.00        0.00           0.00       3,879.17       245.00     4,124.17        775.83   S/L       20.00
1646     HANDICAP RAMP, CURB, PORCH 3/05/02       2,319.00        0.00           0.00       2,319.00         0.00     2,319.00          0.00   S/L       10.00
1724     SIGNAGE                    11/01/02        300.00        0.00           0.00         300.00         0.00       300.00          0.00   S/L       10.00
1770     CONCRETE WALK               1/22/03        500.00        0.00           0.00         463.85        33.33       497.18          2.82   S/L       15.00
1904     LABOR-CURBING               9/10/03        540.00        0.00           0.00         270.00        54.00       324.00        216.00   S/L       10.00
2045     HANDICAP RAMPS, PATIO       3/23/04      4,235.00        0.00           0.00       2,699.81       211.75     2,911.56      1,323.44   S/L       20.00
2080     SIDEWALK, UNIT 6 TO UNIT 2  5/26/04      2,980.00        0.00           0.00       2,499.93       198.67     2,698.60        281.40   S/L       15.00
2173     SIGN POLES                 11/30/04        317.00        0.00           0.00         255.32        21.13       276.45         40.55   S/L       15.00
2183     HANDICAP RAMP              10/27/04      1,100.00        0.00           0.00         892.18        73.33       965.51        134.49   S/L       15.00
2204     BOBCAT WORK                12/14/04        427.50        0.00           0.00         427.50         0.00       427.50          0.00   S/L        5.00
2205     SIGNAGE                    12/15/04      1,424.85        0.00           0.00       1,424.85         0.00     1,424.85          0.00   S/L       10.00
2288     ASPHALT RESURFACING         2/03/05        400.00        0.00           0.00         400.00         0.00       400.00          0.00   S/L        7.00
2363     RAIL AND FITTINGS           4/21/05        554.28        0.00           0.00         431.08        36.95       468.03         86.25   S/L       15.00
2418     PATIO STEPS/SIDEWALK        8/16/05      2,525.00        0.00           0.00       1,430.83       126.25     1,557.08        967.92   S/L       20.00
2431     FENCE PARTS                 8/24/05        827.29        0.00           0.00         827.29         0.00       827.29          0.00   S/L       10.00
2438     LAND IMPROV.-GRASS          9/14/05        164.00        0.00           0.00         123.87        10.93       134.80         29.20   S/L       15.00
2441     GRASS                      11/07/05        826.30        0.00           0.00         461.41        41.32       502.73        323.57   S/L       20.00
2553     PAINT CURBS                 5/10/06        750.00        0.00           0.00         750.00         0.00       750.00          0.00   S/L        7.00
EDENHOME EDEN HOME, INC.                                                                                                                 03/03/2018 9:01 AM
                                                    Book Asset Detail          1/01/17 - 12/31/17                                                   Page 91
FYE: 12/31/2017

       d                               Date In   Book    Book Sec           Book Sal      Book Prior Book Current      Book          Book Net       Book    Book
Asset t         Property Description   Service   Cost     179 Exp c          Value       Depreciation Depreciation   End Depr       Book Value     Method   Period
    Location: EDEN VILLAGE | Group: EV-LAND IMPROVEMENTS (continued)
2556    PLACE SIGNS                5/16/06                400.00    0.00          0.00         400.00         0.00        400.00           0.00    S/L        7.00
2594    TERMITE CONTRACT           3/03/06              1,035.00    0.00          0.00       1,035.00         0.00      1,035.00           0.00    S/L        5.00
2595    TERMITE CONTRACT           5/18/06                650.00    0.00          0.00         650.00         0.00        650.00           0.00    S/L        5.00
2692    PAVILLION LANDSCAPING      7/12/06              1,496.00    0.00          0.00       1,047.17        99.73      1,146.90         349.10    S/L       15.00
2737    SIGNAGE                    8/10/06                549.63    0.00          0.00         549.63         0.00        549.63           0.00    S/L       10.00
2795    REPAIR WATER LEAK         11/06/06              1,405.79    0.00          0.00       1,405.79         0.00      1,405.79           0.00    S/L       10.00
2796    INSTALL CI BOX            11/09/06              1,910.34    0.00          0.00       1,910.34         0.00      1,910.34           0.00    S/L       10.00
2797    PRIVACY FENCE             11/21/06              2,907.14    0.00          0.00       1,954.25       193.81      2,148.06         759.08    S/L       15.00
2980    SIGNAGE                    4/30/07              1,267.71    0.00          0.00       1,225.44        42.27      1,267.71           0.00    S/L       10.00
3120    BAIT SYSTEM-TERMITES       3/02/07              1,035.00    0.00          0.00       1,035.00         0.00      1,035.00           0.00    S/L        5.00
3216    CONCRETE WORK              3/11/08              2,200.00    0.00          0.00       1,295.58       146.67      1,442.25         757.75    S/L       15.00
3266    RE-ROUTE WATER LINE        4/01/08                449.94    0.00          0.00         262.50        30.00        292.50         157.44    S/L       15.00
3503    CHAIN LINK FENCING         6/24/09              1,150.00    0.00          0.00         575.02        76.67        651.69         498.31    S/L       15.00
3655    UNIT 9 FENCE              12/22/09              1,389.76    0.00          0.00         972.86       138.98      1,111.84         277.92    S/L       10.00
3810    SOD                        7/12/10              3,850.50    0.00          0.00       3,850.50         0.00      3,850.50           0.00    S/L        2.00
3830    TREE REMOVAL               9/30/10                900.00    0.00          0.00         900.00         0.00        900.00           0.00    S/L        3.00
4438    BOBCAT FOR GRANITE         7/22/12              1,325.78    0.00          0.00         585.56       132.58        718.14         607.64    S/L       10.00
4565    UNIT 30I CEDAR PICKETS    12/13/12                326.34    0.00          0.00         133.24        32.63        165.87         160.47    S/L       10.00
4669    SIDEWALK/SPRINKLER RELOCATION
                                   3/04/13             15,933.50    0.00          0.00       4,071.88     1,062.23      5,134.11      10,799.39    S/L       15.00
4670    SIDEWALKS/NEW IRRIGATION SYSTEM
                                   3/06/13             63,061.71    0.00          0.00      16,115.76     4,204.11     20,319.87      42,741.84    S/L       15.00
5292    TREE REMOVAL               5/30/14              1,100.00    0.00          0.00         284.17       110.00        394.17         705.83    S/L       10.00
5329    MAGNOLIA TREE              6/26/14                345.32    0.00          0.00          57.55        23.02         80.57         264.75    S/L       15.00
5361    TERMITE TREATMENTS         7/02/14              1,255.00    0.00          0.00         627.50       251.00        878.50         376.50    S/L        5.00
5501    COASTAL RIVER ROCK        12/22/14                596.25    0.00          0.00         119.26        59.63        178.89         417.36    S/L       10.00
5861    RAIN/FLOOD DIVERTERS       7/17/15              2,700.00    0.00          0.00         382.50       270.00        652.50       2,047.50    S/L       10.00
6355    RETAINING WALL             5/27/16              1,213.32    0.00          0.00          70.78       121.33        192.11       1,021.21    S/L       10.00
6430    CONSULTING SERVICE         9/10/16                380.00    0.00          0.00          12.67        38.00         50.67         329.33    S/L       10.00
6468    CONSULTING-DRAINAGE CHANNEL
                                  10/08/16                370.00    0.00          0.00          18.50        74.00         92.50         277.50    S/L        5.00
   EV-LAND IMPROVEMENTS                               207,310.33    0.00c         0.00     131,956.62     8,391.32    140,347.94      66,962.39
                                EDEN VILLAGE         7,105,703.91   0.00c         0.00   3,983,950.19   204,951.24   4,188,901.43   2,916,802.48
                *Less: Dispositions and Transfers       27,789.98   0.00          0.00      18,861.30         0.00      18,861.30       8,928.68
                           Net EDEN VILLAGE          7,077,913.93   0.00c         0.00   3,965,088.89   204,951.24   4,170,040.13   2,907,873.80

Location: FUND DEVELOPMENT

   Group: EH-FURNITURE
6432     CAST BRONZE PLAQUE              8/25/16         1,689.50   0.00          0.00          56.32       168.95        225.27        1,464.23 S/L         10.00
6457     PLAQUE-ELMO FISCHER            10/07/16         1,689.50   0.00          0.00          42.24       168.95        211.19        1,478.31 S/L         10.00
   EH-FURNITURE                                          3,379.00   0.00c         0.00          98.56       337.90        436.46        2,942.54
                        FUND DEVELOPMENT                 3,379.00   0.00c         0.00          98.56       337.90        436.46        2,942.54

Location: NEW H.C.-MEMORY CARE
EDENHOME EDEN HOME, INC.                                                                                                        03/03/2018 9:01 AM
                                                Book Asset Detail        1/01/17 - 12/31/17                                                Page 92
FYE: 12/31/2017

        d                             Date In     Book   Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t       Property Description   Service      Cost   179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
Location: NEW H.C.-MEMORY CARE (continued)

   Group: EH- BUILDING
6113     LIFE SAFETY CUNSULTING FEES 8/01/15  8,717.43        0.00          0.00         308.75       217.94       526.69      8,190.74 S/L         40.00
6137     PROJECT FOOD MANAGEMENT COSTS
                                     8/01/15 31,123.60        0.00          0.00       2,939.45     2,074.91     5,014.36     26,109.24 S/L         15.00
6142     CAPITALIZE MORRISON HOUSEKEEPING/LAUNDRY
                                     8/01/15  7,049.65
                                                    MANA      0.00          0.00         665.80       469.98     1,135.78      5,913.87 S/L         15.00
   EH- BUILDING                              46,890.68        0.00c         0.00       3,914.00     2,762.83     6,676.83     40,213.85

   Group: FURNITURE-3RD FLOOR MC
5745     OUTDOOR LOUNGE CHAIRS      1/06/15   3,800.00        0.00          0.00        506.66        253.33       759.99      3,040.01   S/L       15.00
5746     OUTDOOR SIDE TABLES        1/06/15     700.00        0.00          0.00         93.34         46.67       140.01        559.99   S/L       15.00
5747     MANICURE TABLE             1/06/15   1,500.00        0.00          0.00        300.00        150.00       450.00      1,050.00   S/L       10.00
5748     MANICURE STOOL             1/06/15     450.00        0.00          0.00         90.00         45.00       135.00        315.00   S/L       10.00
5749     GUEST CHAIR                1/06/15     450.00        0.00          0.00         60.00         30.00        90.00        360.00   S/L       15.00
5750     ARTWORK                    1/06/15     500.00        0.00          0.00         66.66         33.33        99.99        400.01   S/L       15.00
5751     WINDOW TREATMENTS          1/06/15     500.00        0.00          0.00        100.00         50.00       150.00        350.00   S/L       10.00
5752     ARTWORK-3RD FLOOR SPA TOILET
                                    1/06/15     250.00        0.00          0.00         33.34         16.67        50.01        199.99   S/L       15.00
5753     STYLING CHAIR-SALON (2)    1/06/15   1,700.00        0.00          0.00        340.00        170.00       510.00      1,190.00   S/L       10.00
5754     STYLING ANTI-FATIGUE MAT   1/06/15     400.00        0.00          0.00        114.28         57.14       171.42        228.58   S/L        7.00
5755     DECORATIVE MIRROR-SALON 1/06/15        500.00        0.00          0.00         66.66         33.33        99.99        400.01   S/L       15.00
5756     DRYER CHAIR-SALON          1/06/15   1,700.00        0.00          0.00        340.00        170.00       510.00      1,190.00   S/L       10.00
5757     DRYER-SALON                1/06/15     500.00        0.00          0.00        100.00         50.00       150.00        350.00   S/L       10.00
5758     SIDE TABLE-SALON           1/06/15     500.00        0.00          0.00         66.66         33.33        99.99        400.01   S/L       15.00
5759     ARTWORK-SALON              1/06/15   1,750.00        0.00          0.00        233.34        116.67       350.01      1,399.99   S/L       15.00
5760     ACCESSORIES-SALON          1/06/15     350.00        0.00          0.00         70.00         35.00       105.00        245.00   S/L       10.00
5761     WINDOW TREATMENTS-SALON 1/06/15      1,250.00        0.00          0.00        250.00        125.00       375.00        875.00   S/L       10.00
5762     OUTDOOR DINING TABLE-WANDER1/06/15
                                       COURTYARD
                                              4,000.00        0.00          0.00        533.34        266.67       800.01      3,199.99   S/L       15.00
5763     OUTDOOR DINING CHAIR-WANDER1/06/15
                                       COURTYARD
                                              7,200.00        0.00          0.00        960.00        480.00     1,440.00      5,760.00   S/L       15.00
5764     UMBRELLA, STAND-WANDER COURTYARD
                                    1/06/15   1,800.00        0.00          0.00        514.28        257.14       771.42      1,028.58   S/L        7.00
5765     ARTWORK-ELEVATOR VESTIBULE 1/06/15     350.00        0.00          0.00         46.66         23.33        69.99        280.01   S/L       15.00
5766     ADJ HEIGHT DINING TABLES   1/06/15   3,200.00        0.00          0.00        426.66        213.33       639.99      2,560.01   S/L       15.00
5767     DINING CHAIRS              1/06/15   4,200.00        0.00          0.00        560.00        280.00       840.00      3,360.00   S/L       15.00
5768     ARTWORK-DINING ROOM        1/06/15     750.00        0.00          0.00        100.00         50.00       150.00        600.00   S/L       15.00
5769     WINDOW TREATMENTS-DINING ROOM
                                    1/06/15   2,500.00        0.00          0.00        500.00        250.00       750.00      1,750.00   S/L       10.00
5770     LOUNGE CHAIR-LOBBY/LIVING 1/06/15    1,700.00        0.00          0.00        226.66        113.33       339.99      1,360.01   S/L       15.00
5771     SIDE TABLE-LOBBY/LIVING    1/06/15     500.00        0.00          0.00         66.66         33.33        99.99        400.01   S/L       15.00
5772     TABLE LAMP-LOBBY/LIVING    1/06/15     250.00        0.00          0.00         71.42         35.71       107.13        142.87   S/L        7.00
5773     ACCESSORIES-LOBBY/LIVING   1/06/15     250.00        0.00          0.00         50.00         25.00        75.00        175.00   S/L       10.00
5774     ARTWORK-LOBBY/LIIVING      1/06/15     500.00        0.00          0.00         66.66         33.33        99.99        400.01   S/L       15.00
5775     BARSTOOLS-SERVING          1/06/15   1,800.00        0.00          0.00        240.00        120.00       360.00      1,440.00   S/L       15.00
5776     ARTWORK-SERVING STATIION 1/06/15       250.00        0.00          0.00         33.34         16.67        50.01        199.99   S/L       15.00
5777     ADJ HEIGHT DINING TABLE    1/06/15   3,200.00        0.00          0.00        426.66        213.33       639.99      2,560.01   S/L       15.00
5778     DINING CHAIRS              1/06/15   4,200.00        0.00          0.00        560.00        280.00       840.00      3,360.00   S/L       15.00
5779     ARTWORK-DINING ROOM        1/06/15     750.00        0.00          0.00        100.00         50.00       150.00        600.00   S/L       15.00
5780     WINDOW TREATMENTS-DINING ROOM
                                    1/06/15   4,000.00        0.00          0.00        800.00        400.00     1,200.00      2,800.00   S/L       10.00
5781     LOUNGE CHAIRS-LIVING ROOM 1/06/15    3,400.00        0.00          0.00        453.34        226.67       680.01      2,719.99   S/L       15.00
5782     SIDE TABLE-LIVING ROOM     1/06/15   1,000.00        0.00          0.00        133.34         66.67       200.01        799.99   S/L       15.00
5783     FLOOR LAMPS-LIVING ROOM    1/06/15   1,100.00        0.00          0.00        314.28        157.14       471.42        628.58   S/L        7.00
5784     ACCESSORIES-LIVING ROOM    1/06/15     350.00        0.00          0.00         70.00         35.00       105.00        245.00   S/L       10.00
5785     ARTWORK-RESTROOM           1/06/15     200.00        0.00          0.00         26.66         13.33        39.99        160.01   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                         03/03/2018 9:01 AM
                                               Book Asset Detail          1/01/17 - 12/31/17                                                Page 93
FYE: 12/31/2017

       d                             Date In    Book      Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t        Property Description  Service    Cost      179 Exp c      Value      Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: NEW H.C.-MEMORY CARE | Group: FURNITURE-3RD FLOOR MC (continued)
5786    LOUNGE CHAIRS-FAMILY ROOM 1/06/15         1,700.00     0.00          0.00         226.66       113.33       339.99      1,360.01   S/L       15.00
5787    SIDE TABLE-FAMILY ROOM     1/06/15          500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5788    TABLE LAMPS-FAMILY ROOM    1/06/15          250.00     0.00          0.00          71.42        35.71       107.13        142.87   S/L        7.00
5789    ACTIVITY TABLE-FAMILY ROOM 1/06/15          500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5790    ARM CHAIRS-FAMILY ROOM     1/06/15        1,400.00     0.00          0.00         186.66        93.33       279.99      1,120.01   S/L       15.00
5791    ARTWORK-LOBBY/LIIVING      1/06/15          750.00     0.00          0.00         100.00        50.00       150.00        600.00   S/L       15.00
5792    WINDOW TREATMENTS-FAMILY ROOM
                                   1/06/15          700.00     0.00          0.00         140.00        70.00       210.00        490.00   S/L       10.00
5793    PLANT-FAMILY ROOM          1/06/15          450.00     0.00          0.00          90.00        45.00       135.00        315.00   S/L       10.00
5794    TRESTLE TABLE-LIBRARY      1/06/15        1,200.00     0.00          0.00         160.00        80.00       240.00        960.00   S/L       15.00
5795    ARM CHAIRS-LIBRARY         1/06/15        1,400.00     0.00          0.00         186.66        93.33       279.99      1,120.01   S/L       15.00
5796    ARTWORK-LIBRARY            1/06/15          500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5797    WINDOW TREATMENTS-LIBRARY1/06/15            700.00     0.00          0.00         140.00        70.00       210.00        490.00   S/L       10.00
5798    PLANT-LIBRARY              1/06/15          450.00     0.00          0.00          90.00        45.00       135.00        315.00   S/L       10.00
5799    TASK CHAIRS-CORRIDOR       1/06/15          900.00     0.00          0.00         120.00        60.00       180.00        720.00   S/L       15.00
5800    ARTWORK-CORRIDOR           1/06/15        1,000.00     0.00          0.00         133.34        66.67       200.01        799.99   S/L       15.00
5801    TRESTLE TABLE-LIBRARY      1/06/15        1,200.00     0.00          0.00         160.00        80.00       240.00        960.00   S/L       15.00
5802    ARM CHAIRS(4)-LIBRARY      1/06/15        1,400.00     0.00          0.00         186.66        93.33       279.99      1,120.01   S/L       15.00
5803    ARTWORK-LIBRARY            1/06/15          500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5804    WINDOW TREATMENTS-LIBRARY1/06/15            700.00     0.00          0.00         140.00        70.00       210.00        490.00   S/L       10.00
5805    PLANT-LIBRARY              1/06/15          450.00     0.00          0.00          90.00        45.00       135.00        315.00   S/L       10.00
5806    BENCH-SPA BATHING          1/06/15          650.00     0.00          0.00          86.66        43.33       129.99        520.01   S/L       15.00
5807    GUEST CHAIR-SPA BATHING    1/06/15          450.00     0.00          0.00          60.00        30.00        90.00        360.00   S/L       15.00
5808    SIDE TABLE-SPA BATHING     1/06/15          450.00     0.00          0.00          60.00        30.00        90.00        360.00   S/L       15.00
5809    TABLE LAMP-SPA BATHING     1/06/15          250.00     0.00          0.00          71.42        35.71       107.13        142.87   S/L        7.00
5810    ARTWORK-SPA BATHING        1/06/15          500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5811    CUBICLE CURTAIN-SPA BATHING1/06/15          550.00     0.00          0.00         157.14        78.57       235.71        314.29   S/L        7.00
5812    WINDOW TREATMENTS-SPA BATHING
                                   1/06/15        1,000.00     0.00          0.00         200.00       100.00       300.00        700.00   S/L       10.00
5813    ACCESSORIES-SPA BATHING    1/06/15          250.00     0.00          0.00          50.00        25.00        75.00        175.00   S/L       10.00
5814    ARTWORK-SPA RESTROOM       1/06/15          250.00     0.00          0.00          33.34        16.67        50.01        199.99   S/L       15.00
5815    TASK CHAIR-CORRIDOR        1/06/15          900.00     0.00          0.00         120.00        60.00       180.00        720.00   S/L       15.00
5816    ARTWORK-CORRIDOR           1/06/15        1,200.00     0.00          0.00         160.00        80.00       240.00        960.00   S/L       15.00
5817    WINDOW TREATMENTS-CORRIDOR 1/06/15        1,500.00     0.00          0.00         300.00       150.00       450.00      1,050.00   S/L       10.00
   FURNITURE-3RD FLOOR MC                        88,850.00     0.00c         0.00      13,964.16     6,982.08    20,946.24     67,903.76
                    NEW H.C.-MEMORY CARE        135,740.68     0.00c         0.00      17,878.16     9,744.91    27,623.07    108,117.61

Location: NEW HEALTHCARE-AL

   Group: EH BLDG EQUIP-ASST LIVING
5552     FIRE EXTINGUISHERS/CABINETS 1/06/15     10,502.00     0.00          0.00       2,100.40     1,050.20     3,150.60      7,351.40   S/L       10.00
5554     TOILET ACCESSORIES          1/06/15     30,570.00     0.00          0.00       6,114.00     3,057.00     9,171.00     21,399.00   S/L       10.00
5556     APPLIANCES                  1/06/15      7,355.20     0.00          0.00       1,471.04       735.52     2,206.56      5,148.64   S/L       10.00
5560     FOOD SERVICE EQUIPMENT      1/06/15     49,091.20     0.00          0.00       9,818.24     4,909.12    14,727.36     34,363.84   S/L       10.00
5562     HVAC                        1/06/15    355,235.20     0.00          0.00      47,364.70    23,682.35    71,047.05    284,188.15   S/L       15.00
   EH BLDG EQUIP-ASST LIVING                    452,753.60     0.00c         0.00      66,868.38    33,434.19   100,302.57    352,451.03
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                               Book Asset Detail             1/01/17 - 12/31/17                                                Page 94
FYE: 12/31/2017

       d                             Date In     Book        Book Sec     Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t         Property Description Service     Cost        179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: NEW HEALTHCARE-AL (continued)

   Group: EH- BUILDING
5532     DEFERRED MARKETING COSTS-AL  5/01/14    363,522.32       0.00          0.00      76,888.45    33,597.26   110,485.71     253,036.61   S/L       10.82
5982     BUILDING DESIGN FOR PROJECT 8/01/15     289,265.69       0.00          0.00      10,244.82     7,231.64    17,476.46     271,789.23   S/L       40.00
5985     LAND CONTROL                 8/01/15      5,912.70       0.00          0.00         335.06       236.51       571.57       5,341.13   S/L       25.00
5988     MASTER PLAN DEVELOPMENT 8/01/15          93,108.61       0.00          0.00       5,276.15     3,724.34     9,000.49      84,108.12   S/L       25.00
5991     MASTER PLAN DEVELOPMENT-INTEREST
                                      8/01/15     53,331.78       0.00          0.00       3,022.13     2,133.27     5,155.40      48,176.38   S/L       25.00
5996     MASTER PLAN DEV COSTS-CONSULTANTS
                                      8/01/15     43,748.48       0.00          0.00       2,479.08     1,749.94     4,229.02      39,519.46   S/L       25.00
6001     SIGNAGE                      2/01/15     15,100.80       0.00          0.00       1,929.55     1,006.72     2,936.27      12,164.53   S/L       15.00
6066     TESTING/INSPECTION SERVICES 8/01/15      13,875.03       0.00          0.00         491.41       346.88       838.29      13,036.74   S/L       40.00
6071     SURVEILLANCE/ACCESS SYSTEM8/01/15        34,268.01       0.00          0.00       2,427.32     1,713.40     4,140.72      30,127.29   S/L       20.00
6075     NURSE CALL SYSTEM            8/01/15     56,045.47       0.00          0.00       3,969.88     2,802.27     6,772.15      49,273.32   S/L       20.00
6078     GENERAL CONDITIONS/SITE/PERMITS/BONDS/INSURAN
                                      8/01/15    114,467.06       0.00          0.00       4,054.05     2,861.68     6,915.73     107,551.33   S/L       40.00
6080     ELECTRICAL                   8/01/15     71,685.54       0.00          0.00       5,077.73     3,584.28     8,662.01      63,023.53   S/L       20.00
6082     PLUMBING                     8/01/15     17,050.14       0.00          0.00         966.18       682.01     1,648.19      15,401.95   S/L       25.00
6084     FIRE PROTECTION SYSTEM (SPRINKLERS)
                                      8/01/15      3,435.66       0.00          0.00         194.69       137.43       332.12       3,103.54   S/L       25.00
6086     FLOORING/TILE                8/01/15     40,573.08       0.00          0.00       2,873.92     2,028.65     4,902.57      35,670.51   S/L       20.00
6088     MEMBRANE ROOFING             8/01/15     70,087.32       0.00          0.00       9,929.04     7,008.73    16,937.77      53,149.55   S/L       10.00
6089     STONE COUNTERTOPS            8/01/15        379.80       0.00          0.00          35.87        25.32        61.19         318.61   S/L       15.00
6092     DOOR, FRAME, & HARDWARE      8/01/15      3,220.02       0.00          0.00         304.12       214.67       518.79       2,701.23   S/L       15.00
6105     PROJECT PLANNING & DEVELOPMENT
                                      8/01/15    351,619.49       0.00          0.00      12,453.19     8,790.49    21,243.68     330,375.81   S/L       40.00
6109     PROJECT FINANCING            8/01/15    130,283.92       0.00          0.00       7,382.76     5,211.36    12,594.12     117,689.80   S/L       25.00
6112     LIFE SAFETY CUNSULTING FEES 8/01/15       2,905.80       0.00          0.00         102.92        72.65       175.57       2,730.23   S/L       40.00
6122     FLOORING                     8/01/15      4,400.00       0.00          0.00         415.55       293.33       708.88       3,691.12   S/L       15.00
6132     PROJECT TRANSPORTATIONS COSTS8/01/15     28,861.62       0.00          0.00       2,725.82     1,924.11     4,649.93      24,211.69   S/L       15.00
6136     PROJECT FOOD MANAGEMENT COSTS8/01/15     36,310.86       0.00          0.00       3,429.36     2,420.72     5,850.08      30,460.78   S/L       15.00
6141     CAPITALIZE MORRISON HOUSEKEEPING/LAUNDRY
                                      8/01/15      8,224.59
                                                         MANA     0.00          0.00         776.77       548.31     1,325.08       6,899.51   S/L       15.00
6145     CAPITALIZE TEMPORARY OFFICE8/01/15
                                       FOR PROJECT 5,647.41       0.00          0.00         533.36       376.49       909.85       4,737.56   S/L       15.00
6148     TEMPORARY OFFICE FOR PROJECT 8/01/15      7,630.54       0.00          0.00         720.66       508.70     1,229.36       6,401.18   S/L       15.00
6151     ARCHITECT CONSULTING FEES 8/01/15        26,255.59       0.00          0.00         929.89       656.39     1,586.28      24,669.31   S/L       40.00
6159     CONTAINER RENTAL & GRAVEL FOR8/01/15
                                           PARKING3,037.99
                                                    LOTS          0.00          0.00         286.92       202.53       489.45       2,548.54   S/L       15.00
6165     BUILDING PERMIT FOR PROJECT 8/01/15      14,514.11       0.00          0.00         822.46       580.56     1,403.02      13,111.09   S/L       25.00
6171     TDADS PLAN REVIEW            8/01/15        800.00       0.00          0.00          28.33        20.00        48.33         751.67   S/L       40.00
6181     CONCRETE RAMP FOR NEW HC BUILDING
                                      8/01/15      6,540.00       0.00          0.00         370.60       261.60       632.20       5,907.80   S/L       25.00
6192     PROJECT MISCELLANEOUS DEVELOPMENT
                                      8/01/15   COSTS
                                                  13,549.84       0.00          0.00         479.89       338.75       818.64      12,731.20   S/L       40.00
6197     DEVELOPMENT COSTS - LEGAL FEES
                                      8/01/15      5,165.47       0.00          0.00         292.71       206.62       499.33       4,666.14   S/L       25.00
6202     MISC DEVELOPMENT COSTS       8/01/15      1,151.44       0.00          0.00         108.74        76.76       185.50         965.94   S/L       15.00
6203     CONSULTANT FEES FOR LICENSURE8/01/15      3,283.22       0.00          0.00         116.28        82.08       198.36       3,084.86   S/L       40.00
6208     TITLE POLICY FOR 8.467 ACRES 8/01/15        198.22       0.00          0.00           9.36         6.61        15.97         182.25   S/L       30.00
6209     HOSPITALITY TRAINING         8/01/15      6,871.83       0.00          0.00         973.51       687.18     1,660.69       5,211.14   S/L       10.00
6238     CAPITALIZED INTEREST         8/01/15    950,881.74       0.00          0.00      41,448.69    29,257.90    70,706.59     880,175.15   S/L       32.50
   EH- BUILDING                                2,897,211.19       0.00c         0.00     204,907.22   123,608.14   328,515.36   2,568,695.83

   Group: EH- DEFERRED MARKETING
6129     PROJECT MARKETING COSTS 8/01/15          3,749.13        0.00          0.00        442.61        312.43       755.04       2,994.09 S/L         12.00
   EH- DEFERRED MARKETING                         3,749.13        0.00c         0.00        442.61        312.43       755.04       2,994.09
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                Book Asset Detail             1/01/17 - 12/31/17                                                Page 95
FYE: 12/31/2017

       d                             Date In      Book        Book Sec     Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t         Property Description Service      Cost        179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: NEW HEALTHCARE-AL (continued)

   Group: EH-BLDG EQUIPMENT
6093     HVAC                       8/01/15     43,358.76          0.00          0.00       4,094.99     2,890.58     6,985.57     36,373.19    S/L       15.00
6096     TOILET ACCESSORIES         8/01/15      1,458.00          0.00          0.00         206.55       145.80       352.35      1,105.65    S/L       10.00
6097     BUILDING                   8/01/15     40,078.08          0.00          0.00       1,419.43     1,001.95     2,421.38     37,656.70    S/L       40.00
6156     RELOCATION & REPAIR OF TELEPHONE
                                    8/01/15 CABLE3,529.00          0.00          0.00         333.30       235.27       568.57      2,960.43    S/L       15.00
   EH-BLDG EQUIPMENT                            88,423.84          0.00c         0.00       6,054.27     4,273.60    10,327.87     78,095.97

   Group: EH-BLDG(ASSISTED LIVING)
5541     STONE COUNTERTOPS-ASSISTED 1/06/15
                                     LIVING    16,378.80           0.00          0.00       2,183.84     1,091.92     3,275.76      13,103.04   S/L       15.00
5542     TERMITE CONTROL            1/06/15     1,018.00           0.00          0.00         101.80        50.90       152.70         865.30   S/L       20.00
5544     ROOFING-ASSISTED LIVING    1/06/15    79,348.40           0.00          0.00      15,869.68     7,934.84    23,804.52      55,543.88   S/L       10.00
5548     FINISH CARPENTRY           1/06/15    47,207.60           0.00          0.00       6,294.34     3,147.17     9,441.51      37,766.09   S/L       15.00
5550     ELEVATORS                  1/06/15    67,578.00           0.00          0.00       6,757.80     3,378.90    10,136.70      57,441.30   S/L       20.00
5558     DOOR/FRAME/HARDWARD        1/06/15   115,755.60           0.00          0.00      15,434.08     7,717.04    23,151.12      92,604.48   S/L       15.00
5564     PLUMBING                   1/06/15   449,644.00           0.00          0.00      35,971.52    17,985.76    53,957.28     395,686.72   S/L       25.00
5566     FLOORING(TILE/RESILIENT)   1/06/15   139,984.40           0.00          0.00      13,998.44     6,999.22    20,997.66     118,986.74   S/L       20.00
5568     GLASS AND GLAZING          1/06/15   140,882.40           0.00          0.00      11,270.60     5,635.30    16,905.90     123,976.50   S/L       25.00
5570     FIRE PROTECTION SYSTEM     1/06/15   104,984.00           0.00          0.00       8,398.72     4,199.36    12,598.08      92,385.92   S/L       25.00
5572     ELECTRICAL                 1/06/15   568,240.40           0.00          0.00      56,824.04    28,412.02    85,236.06     483,004.34   S/L       20.00
5574     BUILDING                   1/06/15 1,320,016.80           0.00          0.00      66,000.84    33,000.42    99,001.26   1,221,015.54   S/L       40.00
5578     GLASS AND GLAZING          1/06/15   140,882.40           0.00          0.00      11,270.60     5,635.30    16,905.90     123,976.50   S/L       25.00
   EH-BLDG(ASSISTED LIVING)                 3,191,920.80           0.00c         0.00     250,376.30   125,188.15   375,564.45   2,816,356.35

   Group: EH-BLDG(NEW HEALTHCARE)
5576     GENERAL CONDITIONS       1/06/15        719,299.00        0.00          0.00      35,964.96    17,982.48    53,947.44    665,351.56 S/L          40.00
   EH-BLDG(NEW HEALTHCARE)                       719,299.00        0.00c         0.00      35,964.96    17,982.48    53,947.44    665,351.56

   Group: EH-COMPUTER SYSTEM
6168     NETWORK EQUIPMENT/CABLING8/01/15          6,200.83        0.00          0.00        878.45        620.08     1,498.53       4,702.30 S/L         10.00
   EH-COMPUTER SYSTEM                              6,200.83        0.00c         0.00        878.45        620.08     1,498.53       4,702.30

   Group: EH-DEPARTMENTAL EQUIP
6008     MISC EQUIPMENT/SUPPLIES      2/01/15      6,608.50        0.00          0.00       1,266.63       660.85     1,927.48       4,681.02 S/L         10.00
6196     KITCHEN SUPPLIES             8/01/15      5,227.85        0.00          0.00         493.74       348.52       842.26       4,385.59 S/L         15.00
   EH-DEPARTMENTAL EQUIP                          11,836.35        0.00c         0.00       1,760.37     1,009.37     2,769.74       9,066.61

   Group: EH-FURNITURE
5979     INTERIOR DESIGN FOR PROJECT 8/01/15   71,440.13           0.00          0.00      10,120.68     7,144.01    17,264.69     54,175.44    S/L       10.00
6018     CONSULTING/MANAGEMENT FEES  2/01/15   67,998.29           0.00          0.00      13,033.01     6,799.83    19,832.84     48,165.45    S/L       10.00
6040     LAMPS/FLOOD LIGHTS/WASHING 8/01/15
                                      MACHINE/DRYER
                                                1,585.02           0.00          0.00         224.54       158.50       383.04      1,201.98    S/L       10.00
6102     FREIGHT & WAREHOUSING       1/06/15   64,200.00           0.00          0.00      12,840.00     6,420.00    19,260.00     44,940.00    S/L       10.00
   EH-FURNITURE                               205,223.44           0.00c         0.00      36,218.23    20,522.34    56,740.57    148,482.87
EDENHOME EDEN HOME, INC.                                                                                                                03/03/2018 9:01 AM
                                                Book Asset Detail               1/01/17 - 12/31/17                                                 Page 96
FYE: 12/31/2017

       d                             Date In        Book        Book Sec     Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t         Property Description Service        Cost        179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: NEW HEALTHCARE-AL (continued)

   Group: EH-LAND IMPROVEMENTS
6026     WATER/SEWER IMPACT & FACILITY
                                    2/01/15
                                        FEES   16,785.21             0.00          0.00         804.29       419.63     1,223.92     15,561.29    S/L       40.00
6162     EQUIPMENT RENTAL FOR LAND IMPROVEMENTS
                                    8/01/15     1,871.14             0.00          0.00         106.04        74.85       180.89      1,690.25    S/L       25.00
6173     GRAVEL PATH                8/01/15     1,280.00             0.00          0.00         181.33       128.00       309.33        970.67    S/L       10.00
6177     CHAIN LINK FENCE BEHIND NEW8/01/15
                                     HC BUILDING2,323.20             0.00          0.00         164.56       116.16       280.72      2,042.48    S/L       20.00
6178     SIDEWALK BEHIND NEW HC BUILDING
                                    8/01/15     2,200.00             0.00          0.00         155.83       110.00       265.83      1,934.17    S/L       20.00
6213     LAND IMPROVEMENTS FOR PROJECT
                                    8/01/15     3,639.82             0.00          0.00         206.25       145.59       351.84      3,287.98    S/L       25.00
   EH-LAND IMPROVEMENTS                        28,099.37             0.00c         0.00       1,618.30       994.23     2,612.53     25,486.84

   Group: EH-TRANSP. EQUIPMENT
6030     GOLF CARTS                   2/01/15      12,224.23         0.00          0.00       4,685.96     2,444.85     7,130.81       5,093.42 S/L          5.00
   EH-TRANSP. EQUIPMENT                            12,224.23         0.00c         0.00       4,685.96     2,444.85     7,130.81       5,093.42
                       NEW HEALTHCARE-AL         7,616,941.78        0.00c         0.00     609,775.05   330,389.86   940,164.91   6,676,776.87

Location: NEW HEALTHCARE-SNF

   Group: EH BLDG EQUIP-HEALTHCARE
5551     FIRE EXTINGUISHERS/CABINETS 1/06/15       15,753.00         0.00          0.00       3,150.60     1,575.30     4,725.90     11,027.10    S/L       10.00
5553     TOILET ACCESSORIES          1/06/15       45,855.00         0.00          0.00       9,171.00     4,585.50    13,756.50     32,098.50    S/L       10.00
5555     APPLIANCES                  1/06/15       11,032.80         0.00          0.00       2,206.56     1,103.28     3,309.84      7,722.96    S/L       10.00
5559     FOOD SERVICE EQUIPMENT      1/06/15       73,636.80         0.00          0.00      14,727.36     7,363.68    22,091.04     51,545.76    S/L       10.00
5561     HVAC                        1/06/15      532,852.80         0.00          0.00      71,047.04    35,523.52   106,570.56    426,282.24    S/L       15.00
   EH BLDG EQUIP-HEALTHCARE                       679,130.40         0.00c         0.00     100,302.56    50,151.28   150,453.84    528,676.56

   Group: EH- BUILDING
5531     DEFERRED MARKETING COSTS-HEALTHCARE
                                     5/01/14 545,283.48              0.00          0.00     115,332.67    50,395.89   165,728.56    379,554.92    S/L       10.82
5609     CONCRETE SERVICE RAMP       3/11/15  10,370.00              0.00          0.00         950.58       518.50     1,469.08      8,900.92    S/L       20.00
5981     BUILDING DESIGN FOR PROJECT 8/01/15 445,024.14              0.00          0.00      15,761.27    11,125.60    26,886.87    418,137.27    S/L       40.00
5984     LAND CONTROL                8/01/15   9,096.46              0.00          0.00         515.47       363.86       879.33      8,217.13    S/L       25.00
5987     MASTER PLAN DEVELOPMENT 8/01/15     143,244.02              0.00          0.00       8,117.16     5,729.76    13,846.92    129,397.10    S/L       25.00
5990     MASTER PLAN DEVELOPMENT-INTEREST
                                     8/01/15 133,749.93              0.00          0.00       7,579.17     5,350.00    12,929.17    120,820.76    S/L       25.00
5995     MASTER PLAN DEV COSTS-CONSULTANTS
                                     8/01/15  67,305.36              0.00          0.00       3,813.97     2,692.21     6,506.18     60,799.18    S/L       25.00
6002     SIGNAGE                     2/01/15  15,100.80              0.00          0.00       1,929.55     1,006.72     2,936.27     12,164.53    S/L       15.00
6032     SERVICES TO NEW BUILDING    8/01/15   1,150.00              0.00          0.00         162.92       115.00       277.92        872.08    S/L       10.00
6034     MOVING COST FOR TO OFFICE 8/01/15       867.49              0.00          0.00         122.90        86.75       209.65        657.84    S/L       10.00
6035     DECOMPOSED GRANITE          8/01/15     441.00              0.00          0.00          62.48        44.10       106.58        334.42    S/L       10.00
6041     ROOFING FOR COTTAGES        8/01/15  19,030.33              0.00          0.00       2,695.96     1,903.03     4,598.99     14,431.34    S/L       10.00
6049     UMB                         8/01/15  41,916.25              0.00          0.00       3,958.76     2,794.42     6,753.18     35,163.07    S/L       15.00
6050     SIGNS FOR PARKING LOT       8/01/15   1,300.73              0.00          0.00         122.85        86.72       209.57      1,091.16    S/L       15.00
6051     SPRINKLER SYSTEMS           8/01/15   1,748.00              0.00          0.00         247.63       174.80       422.43      1,325.57    S/L       10.00
6052     FIRE ALARM                  8/01/15   3,471.47              0.00          0.00         491.79       347.15       838.94      2,632.53    S/L       10.00
6059     NURSING STATION CAMERAS     8/01/15   7,051.22              0.00          0.00         665.95       470.08     1,136.03      5,915.19    S/L       15.00
6060     AUTOMATIC/HANDICAP DOOR OPENERS
                                     8/01/15 134,995.65              0.00          0.00       7,649.76     5,399.83    13,049.59    121,946.06    S/L       25.00
6061     FLOORING - UNIT 4           8/01/15  15,150.50              0.00          0.00       1,430.88     1,010.03     2,440.91     12,709.59    S/L       15.00
6062     PAINTING OF MAIN HALLWAY 8/01/15      6,480.00              0.00          0.00       1,836.00     1,296.00     3,132.00      3,348.00    S/L        5.00
6063     INSTALLATION OF TELECOMMUNICATIONS
                                     8/01/15  18,250.00              0.00          0.00       1,723.61     1,216.67     2,940.28     15,309.72    S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                Book Asset Detail             1/01/17 - 12/31/17                                                Page 97
FYE: 12/31/2017

       d                             Date In    Book       Book Sec        Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t        Property Description  Service     Cost       179 Exp c       Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: NEW HEALTHCARE-SNF | Group: EH- BUILDING (continued)
6065     TESTING/INSPECTION SERVICES 8/01/15          21,346.20     0.00         0.00         756.02       533.66     1,289.68      20,056.52   S/L       40.00
6070     SURVEILLANCE/ACCESS SYSTEM8/01/15            52,720.02     0.00         0.00       3,734.33     2,636.00     6,370.33      46,349.69   S/L       20.00
6072     NURSING STATIONS                8/01/15     418,488.91     0.00         0.00      23,714.38    16,739.56    40,453.94     378,034.97   S/L       25.00
6073     CABLING/INSTALLATION NURSE CALL 8/01/15SYSTEM
                                                     312,353.91     0.00         0.00      22,125.07    15,617.70    37,742.77     274,611.14   S/L       20.00
6074     NURSE CALL SYSTEM               8/01/15     161,130.74     0.00         0.00      11,413.43     8,056.54    19,469.97     141,660.77   S/L       20.00
6077     GENERAL CONDITIONS/SITE/PERMITS/BONDS/INSURAN
                                         8/01/15     521,461.07     0.00         0.00      18,468.42    13,036.53    31,504.95     489,956.12   S/L       40.00
6079     ELECTRICAL                      8/01/15     326,567.46     0.00         0.00      23,131.86    16,328.37    39,460.23     287,107.23   S/L       20.00
6081     PLUMBING                        8/01/15      77,672.86     0.00         0.00       4,401.46     3,106.91     7,508.37      70,164.49   S/L       25.00
6083     FIRE PROTECTION SYSTEM (SPRINKLERS)
                                         8/01/15      15,651.34     0.00         0.00         886.91       626.05     1,512.96      14,138.38   S/L       25.00
6085     FLOORING/TILE                   8/01/15     184,832.92     0.00         0.00      13,092.34     9,241.65    22,333.99     162,498.93   S/L       20.00
6087     MEMBRANE ROOFING                8/01/15     319,286.68     0.00         0.00      45,232.28    31,928.67    77,160.95     242,125.73   S/L       10.00
6090     STONE COUNTERTOPS               8/01/15       1,730.20     0.00         0.00         163.41       115.35       278.76       1,451.44   S/L       15.00
6091     DOOR, FRAME, & HARDWARE         8/01/15      14,668.98     0.00         0.00       1,385.40       977.93     2,363.33      12,305.65   S/L       15.00
6104     PROJECT PLANNING & DEVELOPMENT  8/01/15     540,953.06     0.00         0.00      19,158.76    13,523.83    32,682.59     508,270.47   S/L       40.00
6108     PROJECT FINANCING               8/01/15     200,436.80     0.00         0.00      11,358.08     8,017.47    19,375.55     181,061.25   S/L       25.00
6110     2 HOUR FIRE WALL                8/01/15     107,381.14     0.00         0.00       6,084.94     4,295.25    10,380.19      97,000.95   S/L       25.00
6111     LIFE SAFETY CUNSULTING FEES 8/01/15          17,434.84     0.00         0.00         617.48       435.87     1,053.35      16,381.49   S/L       40.00
6114     EXHAUST FAN FOR LAUNDRY BUILDING8/01/15       1,642.00     0.00         0.00         116.31        82.10       198.41       1,443.59   S/L       20.00
6116     DOORS FOR LAUNDRY BUILDING8/01/15             4,151.00     0.00         0.00         294.03       207.55       501.58       3,649.42   S/L       20.00
6117     LAUNDRY BUILDING RENOVATION     8/01/15      61,048.40     0.00         0.00       3,459.41     2,441.94     5,901.35      55,147.05   S/L       25.00
6118     LAUNDRY BUILDING RENOVATION     8/01/15
                                            - ELECTRICAL
                                                      74,748.00     0.00         0.00       5,294.65     3,737.40     9,032.05      65,715.95   S/L       20.00
6124     SIGNAGE                         8/01/15       2,357.36     0.00         0.00         333.96       235.74       569.70       1,787.66   S/L       10.00
6125     FLOORING - UNIT 4, 5, & 6       8/01/15      27,272.19     0.00         0.00       2,575.71     1,818.15     4,393.86      22,878.33   S/L       15.00
6126     PAINT & SUPPLIES FOR UNIT 4, 5, 8/01/15
                                         & 6 PARTIAL20,741.25
                                                       R            0.00         0.00       2,938.35     2,074.13     5,012.48      15,728.77   S/L       10.00
6127     PROJECT EQUIPMENT RENTAL & 8/01/15
                                         SUPPLIES 20,764.24         0.00         0.00       1,961.06     1,384.28     3,345.34      17,418.90   S/L       15.00
6131     PROJECT TRANSPORTATIONS COSTS   8/01/15     336,267.23     0.00         0.00      31,758.58    22,417.82    54,176.40     282,090.83   S/L       15.00
6135     PROJECT FOOD MANAGEMENT COSTS   8/01/15     190,891.40     0.00         0.00      18,028.63    12,726.09    30,754.72     160,136.68   S/L       15.00
6140     CAPITALIZE MORRISON HOUSEKEEPING/LAUNDRY
                                         8/01/15      43,237.85
                                                             MANA   0.00         0.00       4,083.57     2,882.52     6,966.09      36,271.76   S/L       15.00
6144     CAPITALIZE TEMPORARY OFFICE8/01/15
                                          FOR PROJECT  8,688.33     0.00         0.00         820.56       579.22     1,399.78       7,288.55   S/L       15.00
6147     TEMPORARY OFFICE FOR PROJECT    8/01/15      11,739.29     0.00         0.00       1,108.71       782.62     1,891.33       9,847.96   S/L       15.00
6150     ARCHITECT CONSULTING FEES 8/01/15            39,383.38     0.00         0.00       1,394.82       984.58     2,379.40      37,003.98   S/L       40.00
6158     CONTAINER RENTAL & GRAVEL FOR   8/01/15
                                              PARKING4,673.83
                                                        LOTS        0.00         0.00         441.42       311.59       753.01       3,920.82   S/L       15.00
6164     BUILDING PERMIT FOR PROJECT 8/01/15          22,329.40     0.00         0.00       1,265.34       893.18     2,158.52      20,170.88   S/L       25.00
6170     TDADS PLAN REVIEW               8/01/15       1,200.00     0.00         0.00          42.50        30.00        72.50       1,127.50   S/L       40.00
6180     CONCRETE RAMP FOR NEW HC BUILDING
                                         8/01/15       4,360.00     0.00         0.00         247.07       174.40       421.47       3,938.53   S/L       25.00
6184     FLOORING                        8/01/15       7,072.50     0.00         0.00         500.97       353.63       854.60       6,217.90   S/L       20.00
6185     U4 REMODEL-MISC SUPPLIES        8/01/15       9,183.57     0.00         0.00         867.34       612.24     1,479.58       7,703.99   S/L       15.00
6186     UNIT 1 RENOVATION               8/01/15      23,888.24     0.00         0.00       2,256.11     1,592.55     3,848.66      20,039.58   S/L       15.00
6187     CONSTRUCTIN -UNIT 1 RENO        8/01/15      28,144.00     0.00         0.00       1,594.83     1,125.76     2,720.59      25,423.41   S/L       25.00
6188     FLOORING                        8/01/15       9,527.11     0.00         0.00         674.84       476.36     1,151.20       8,375.91   S/L       20.00
6191     PROJECT MISCELLANEOUS DEVELOPMENT
                                         8/01/15    COSTS
                                                      20,845.90     0.00         0.00         738.29       521.15     1,259.44      19,586.46   S/L       40.00
6198     DEVELOPMENT COSTS - LEGAL FEES  8/01/15       7,946.88     0.00         0.00         450.33       317.88       768.21       7,178.67   S/L       25.00
6201     MISC DEVELOPMENT COSTS          8/01/15       1,771.45     0.00         0.00         167.31       118.10       285.41       1,486.04   S/L       15.00
6204     CONSULTANT FEES FOR LICENSURE   8/01/15       5,051.10     0.00         0.00         178.90       126.28       305.18       4,745.92   S/L       40.00
6207     TITLE POLICY FOR 8.467 ACRES 8/01/15            304.96     0.00         0.00          14.41        10.17        24.58         280.38   S/L       30.00
6211     HOSPITALITY TRAINING            8/01/15      10,572.05     0.00         0.00       1,497.71     1,057.21     2,554.92       8,017.13   S/L       10.00
6234     MISC DEVELOP COSTS              8/01/15      10,827.59     0.00         0.00       1,022.61       721.84     1,744.45       9,083.14   S/L       15.00
6235     CAPITALIZED INTEREST            8/01/15   1,462,894.99     0.00         0.00      63,767.21    45,012.15   108,779.36   1,354,115.63   S/L       32.50
EDENHOME EDEN HOME, INC.                                                                                                           03/03/2018 9:01 AM
                                             Book Asset Detail             1/01/17 - 12/31/17                                                 Page 98
FYE: 12/31/2017

       d                             Date In    Book       Book Sec     Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t        Property Description  Service     Cost       179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: NEW HEALTHCARE-SNF | Group: EH- BUILDING (continued)

   EH- BUILDING                                7,388,669.45     0.00c         0.00     530,791.44   343,153.09   873,944.53   6,514,724.92

   Group: EH- DEFERRED MARKETING
6128     PROJECT MARKETING COSTS 8/01/15           3,749.14     0.00          0.00         442.61       312.43       755.04       2,994.10 S/L         12.00
   EH- DEFERRED MARKETING                          3,749.14     0.00c         0.00         442.61       312.43       755.04       2,994.10

   Group: EH-BLDG EQUIPMENT
5593     FAUX WOOD BLINDS            2/24/15        235.90      0.00          0.00          43.25        23.59        66.84        169.06    S/L       10.00
5975     LOW VOLTAGE DESIGN FOR PROJECT
                                     8/01/15     20,465.43      0.00          0.00       1,932.84     1,364.36     3,297.20     17,168.23    S/L       15.00
5976     LOW VOLTAGE DESIGN FOR PROJECT
                                     8/01/15      7,118.41      0.00          0.00         672.29       474.56     1,146.85      5,971.56    S/L       15.00
6053     SUPPLIES/RENTAL BINS        8/01/15      7,772.86      0.00          0.00         440.46       310.91       751.37      7,021.49    S/L       25.00
6054     CABINETS                    8/01/15      1,971.25      0.00          0.00         111.70        78.85       190.55      1,780.70    S/L       25.00
6055     AC INSTALL                  8/01/15     28,732.04      0.00          0.00       2,713.58     1,915.47     4,629.05     24,102.99    S/L       15.00
6056     BOILER                      8/01/15      7,860.00      0.00          0.00         445.40       314.40       759.80      7,100.20    S/L       25.00
6057     VARIOUS SUPPLIES            8/01/15      5,083.52      0.00          0.00         720.16       508.35     1,228.51      3,855.01    S/L       10.00
6094     HVAC                        8/01/15    197,523.24      0.00          0.00      18,654.98    13,168.22    31,823.20    165,700.04    S/L       15.00
6095     TOILET ACCESSORIES          8/01/15      6,642.00      0.00          0.00         940.95       664.20     1,605.15      5,036.85    S/L       10.00
6098     BUILDING                    8/01/15    182,577.92      0.00          0.00       6,466.30     4,564.45    11,030.75    171,547.17    S/L       40.00
6119     LAUNDRY BUILDING RENOVATION 8/01/15
                                        - HVAC 24,197.00        0.00          0.00       1,713.95     1,209.85     2,923.80     21,273.20    S/L       20.00
6120     LAUNDRY BUILDING RENOVATION 8/01/15
                                        - FIRE SUPRESSION
                                                  8,364.79      0.00          0.00         592.51       418.24     1,010.75      7,354.04    S/L       20.00
6123     ELECTRONIC IGNITION FOR HOT 8/01/15
                                     WATER BOILER 5,589.51      0.00          0.00         527.89       372.63       900.52      4,688.99    S/L       15.00
6155     RELOCATION & REPAIR OF TELEPHONE
                                     8/01/15 CABLE5,429.23      0.00          0.00         512.76       361.95       874.71      4,554.52    S/L       15.00
6174     BOILER REPLACEMENT - DOWNPAYMENT
                                     8/01/15     40,725.00      0.00          0.00       3,846.25     2,715.00     6,561.25     34,163.75    S/L       15.00
6183     AC WINDOW UNITS             8/01/15      1,739.71      0.00          0.00         246.46       173.97       420.43      1,319.28    S/L       10.00
6233     PTAC UNIT                   8/01/15      3,810.00      0.00          0.00         539.75       381.00       920.75      2,889.25    S/L       10.00
   EH-BLDG EQUIPMENT                            555,837.81      0.00c         0.00      41,121.48    29,020.00    70,141.48    485,696.33

   Group: EH-BLDG(NEW HEALTHCARE)
5540     ROOFING-NEW HEALTHCARE   1/06/15   119,022.60          0.00          0.00      23,804.52    11,902.26    35,706.78      83,315.82   S/L       10.00
5545     STONE COUNTERTOPS-NEW HEALTHCARE
                                  1/06/15    24,568.20          0.00          0.00       3,275.76     1,637.88     4,913.64      19,654.56   S/L       15.00
5546     TERMITE CONTROL          1/06/15     1,527.00          0.00          0.00         152.70        76.35       229.05       1,297.95   S/L       20.00
5547     FINISH CARPENTRY         1/06/15    70,811.40          0.00          0.00       9,441.52     4,720.76    14,162.28      56,649.12   S/L       15.00
5549     ELEVATORS                1/06/15   101,367.00          0.00          0.00      10,136.70     5,068.35    15,205.05      86,161.95   S/L       20.00
5557     DOOR/FRAME/HARDWARE      1/06/15   173,633.40          0.00          0.00      23,151.12    11,575.56    34,726.68     138,906.72   S/L       15.00
5563     PLUMBING                 1/06/15   674,466.00          0.00          0.00      53,957.28    26,978.64    80,935.92     593,530.08   S/L       25.00
5565     FLOORING(TILE/RESILIENT) 1/06/15   209,976.60          0.00          0.00      20,997.66    10,498.83    31,496.49     178,480.11   S/L       20.00
5567     GLASS AND GLAZING        1/06/15   211,323.60          0.00          0.00      16,905.88     8,452.94    25,358.82     185,964.78   S/L       25.00
5569     FIRE PROTECTION SYSTEM   1/06/15   157,476.00          0.00          0.00      12,598.08     6,299.04    18,897.12     138,578.88   S/L       25.00
5571     ELECTRICAL               1/06/15   852,360.60          0.00          0.00      85,236.06    42,618.03   127,854.09     724,506.51   S/L       20.00
5573     BUILDING                 1/06/15 1,980,025.20          0.00          0.00      99,001.26    49,500.63   148,501.89   1,831,523.31   S/L       40.00
5575     GENERAL CONDITIONS       1/06/15 1,078,949.00          0.00          0.00      53,947.46    26,973.73    80,921.19     998,027.81   S/L       40.00
5577     GLASS AND GLAZING        1/06/15   211,323.60          0.00          0.00      16,905.88     8,452.94    25,358.82     185,964.78   S/L       25.00
   EH-BLDG(NEW HEALTHCARE)                5,866,830.20          0.00c         0.00     429,511.88   214,755.94   644,267.82   5,222,562.38
EDENHOME EDEN HOME, INC.                                                                                                             03/03/2018 9:01 AM
                                                Book Asset Detail             1/01/17 - 12/31/17                                                Page 99
FYE: 12/31/2017

       d                             Date In      Book        Book Sec     Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description Service      Cost        179 Exp c     Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: NEW HEALTHCARE-SNF (continued)

   Group: EH-COMPUTER SYSTEM
5628     SMARTLYNX                 1/15/15         7,260.00        0.00          0.00       2,904.00     1,452.00     4,356.00      2,904.00   S/L        5.00
5641     3 MINI TOWER SYSTEMS      5/02/15         1,518.30        0.00          0.00         506.10       303.66       809.76        708.54   S/L        5.00
6058     COMPUTER EQUIP & INSTALL  8/01/15       134,508.10        0.00          0.00       7,622.12     5,380.32    13,002.44    121,505.66   S/L       25.00
6153     PAYROLL SOFTWARE          8/01/15        15,180.00        0.00          0.00       4,301.00     3,036.00     7,337.00      7,843.00   S/L        5.00
6154     NETWORK CABLING & INSTALLATION
                                   8/01/15         5,892.62        0.00          0.00       1,669.57     1,178.52     2,848.09      3,044.53   S/L        5.00
6167     NETWORK EQUIPMENT/CABLING8/01/15         15,502.08        0.00          0.00       2,196.13     1,550.21     3,746.34     11,755.74   S/L       10.00
   EH-COMPUTER SYSTEM                            179,861.10        0.00c         0.00      19,198.92    12,900.71    32,099.63    147,761.47

   Group: EH-DEPARTMENTAL EQUIP
5612     2 DESKS                    3/11/15       313.47           0.00          0.00          57.47        31.35        88.82        224.65   S/L       10.00
5629     MATT APM/LAL SYSTEM        4/03/15       464.99           0.00          0.00          81.37        46.50       127.87        337.12   S/L       10.00
5630     DETECTO FOLD-UP SCALE      1/22/15     2,229.99           0.00          0.00         427.42       223.00       650.42      1,579.57   S/L       10.00
5998     REHAB CAR                  2/01/15     7,500.00           0.00          0.00         958.33       500.00     1,458.33      6,041.67   S/L       15.00
5999     40 TELEVISIONS             2/01/15    19,507.88           0.00          0.00       5,341.44     2,786.84     8,128.28     11,379.60   S/L        7.00
6007     MISC EQUIPMENT/SUPPLIES    2/01/15    45,971.88           0.00          0.00       8,811.28     4,597.19    13,408.47     32,563.41   S/L       10.00
6009     MISC REHAB EQUIPMENT/SUPPLIES
                                    2/01/15     8,441.88           0.00          0.00       1,618.03       844.19     2,462.22      5,979.66   S/L       10.00
6010     DYNAMIC STAIR TRAINER      2/01/15    13,385.54           0.00          0.00       2,565.56     1,338.55     3,904.11      9,481.43   S/L       10.00
6011     MISC REHAB EQUIPMENT       2/01/15    24,623.56           0.00          0.00       9,439.03     4,924.71    14,363.74     10,259.82   S/L        5.00
6012     REHAB GYM                  2/01/15    24,200.00           0.00          0.00       4,638.33     2,420.00     7,058.33     17,141.67   S/L       10.00
6016     VITAL CARE TECHNOLOGY      2/01/15     8,850.00           0.00          0.00       2,423.22     1,264.29     3,687.51      5,162.49   S/L        7.00
6022     PHONE EQUIPMENT            2/01/15    18,703.19           0.00          0.00       3,584.78     1,870.32     5,455.10     13,248.09   S/L       10.00
6028     REHAB EQUIPMENT            2/01/15    19,140.00           0.00          0.00       3,668.50     1,914.00     5,582.50     13,557.50   S/L       10.00
6033     DEPT EQUIP FOR TEMP OFFICE 8/01/15       271.25           0.00          0.00          38.43        27.13        65.56        205.69   S/L       10.00
6043     NURSING DUTY STATIONS      8/01/15     5,202.34           0.00          0.00         736.99       520.23     1,257.22      3,945.12   S/L       10.00
6044     APPLIANCES                 8/01/15    58,639.00           0.00          0.00       8,307.19     5,863.90    14,171.09     44,467.91   S/L       10.00
6045     KEY DUPLICATOR             8/01/15     1,641.60           0.00          0.00         232.56       164.16       396.72      1,244.88   S/L       10.00
6046     GOLF CART                  8/01/15    11,745.00           0.00          0.00       1,663.88     1,174.50     2,838.38      8,906.62   S/L       10.00
6047     MONITOR WALL MOUNT/SURVEILLANCE
                                    8/01/15 VIDEO283.28            0.00          0.00          40.13        28.33        68.46        214.82   S/L       10.00
6115     FINAL PMT ON COMMERCIAL WASHER/DRYER
                                    8/01/15     1,475.00           0.00          0.00         139.30        98.33       237.63      1,237.37   S/L       15.00
6152     TIMECLOCKS (3)             8/01/15    10,095.00           0.00          0.00       2,043.03     1,442.14     3,485.17      6,609.83   S/L        7.00
6190     TELEPHONES                 8/01/15    14,810.99           0.00          0.00       2,098.22     1,481.10     3,579.32     11,231.67   S/L       10.00
6195     KITCHEN SUPPLIES           8/01/15     8,042.84           0.00          0.00         759.60       536.19     1,295.79      6,747.05   S/L       15.00
   EH-DEPARTMENTAL EQUIP                      305,538.68           0.00c         0.00      59,674.09    34,096.95    93,771.04    211,767.64

   Group: EH-FURNITURE
5978     INTERIOR DESIGN FOR PROJECT 8/01/15      66,975.12        0.00          0.00       9,488.14     6,697.51    16,185.65     50,789.47   S/L       10.00
6017     CONSULTING/MANAGEMENT FEES   2/01/15     67,998.29        0.00          0.00      13,033.01     6,799.83    19,832.84     48,165.45   S/L       10.00
6020     FURNITURE FOR NURSING STATIONS
                                      2/01/15     50,962.70        0.00          0.00       9,767.85     5,096.27    14,864.12     36,098.58   S/L       10.00
6021     TV MOUNTS                    2/01/15      1,740.05        0.00          0.00         667.02       348.01     1,015.03        725.02   S/L        5.00
6023     WARDROBE                     2/01/15     16,400.00        0.00          0.00       3,143.33     1,640.00     4,783.33     11,616.67   S/L       10.00
6038     TV CONSOLE                   8/01/15        399.99        0.00          0.00          56.67        40.00        96.67        303.32   S/L       10.00
6039     2 TELEVISIONS                8/01/15        999.94        0.00          0.00         202.37       142.85       345.22        654.72   S/L        7.00
6048     DECORATING SERVICES          8/01/15      1,775.00        0.00          0.00         167.64       118.33       285.97      1,489.03   S/L       15.00
6099     SIDE RAILS                   1/06/15      1,205.00        0.00          0.00         241.00       120.50       361.50        843.50   S/L       10.00
6100     63 RESIDENT BEDS             1/06/15    161,950.00        0.00          0.00      32,390.00    16,195.00    48,585.00    113,365.00   S/L       10.00
6101     FREIGHT & WAREHOUSING        1/06/15     64,200.00        0.00          0.00      12,840.00     6,420.00    19,260.00     44,940.00   S/L       10.00
6189     TV, RUGS, CHAIRS, DESIGN WORK8/01/15      9,373.90        0.00          0.00         885.32       624.93     1,510.25      7,863.65   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                        03/03/2018 9:01 AM
                                               Book Asset Detail         1/01/17 - 12/31/17                                               Page 100
FYE: 12/31/2017

       d                             Date In    Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t        Property Description  Service    Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: NEW HEALTHCARE-SNF | Group: EH-FURNITURE (continued)

   EH-FURNITURE                                 443,979.99    0.00c         0.00      82,882.35    44,243.23   127,125.58    316,854.41

   Group: EH-LAND IMPROVEMENTS
6025     WATER/SEWER IMPACT & FACILITY
                                    2/01/15
                                        FEES   25,823.40      0.00          0.00       1,237.38       645.59     1,882.97     23,940.43   S/L       40.00
6161     EQUIPMENT RENTAL FOR LAND IMPROVEMENTS
                                    8/01/15     2,878.67      0.00          0.00         163.13       115.15       278.28      2,600.39   S/L       25.00
6172     GRAVEL PATH                8/01/15     1,920.00      0.00          0.00         272.00       192.00       464.00      1,456.00   S/L       10.00
6176     CHAIN LINK FENCE BEHIND NEW8/01/15
                                     HC BUILDING3,484.80      0.00          0.00         246.84       174.24       421.08      3,063.72   S/L       20.00
6179     SIDEWALK BEHIND NEW HC BUILDING
                                    8/01/15     3,300.00      0.00          0.00         233.75       165.00       398.75      2,901.25   S/L       20.00
6212     LAND IMPROVEMENTS FOR PROJECT
                                    8/01/15     5,599.73      0.00          0.00         317.32       223.99       541.31      5,058.42   S/L       25.00
   EH-LAND IMPROVEMENTS                        43,006.60      0.00c         0.00       2,470.42     1,515.97     3,986.39     39,020.21

   Group: EH-SECURITY EQUIPMENT
6036     SECURITY FOR TEMP OFFICE    8/01/15      2,663.56    0.00          0.00        377.34        266.36       643.70      2,019.86 S/L         10.00
   EH-SECURITY EQUIPMENT                          2,663.56    0.00c         0.00        377.34        266.36       643.70      2,019.86

   Group: EH-TRANSP. EQUIPMENT
6013     LINCOLN MKS                 2/01/15     27,127.14    0.00          0.00       7,427.67     3,875.31    11,302.98     15,824.16 S/L          7.00
6029     GOLF CARTS                  2/01/15     12,224.23    0.00          0.00       4,685.96     2,444.85     7,130.81      5,093.42 S/L          5.00
   EH-TRANSP. EQUIPMENT                          39,351.37    0.00c         0.00      12,113.63     6,320.16    18,433.79     20,917.58

   Group: EV-DEPARTMENTAL EQUIP
6006     PORTABLE DEFIBRILLATOR      2/01/15      5,387.40    0.00          0.00       2,065.17     1,077.48     3,142.65      2,244.75 S/L          5.00
   EV-DEPARTMENTAL EQUIP                          5,387.40    0.00c         0.00       2,065.17     1,077.48     3,142.65      2,244.75

   Group: FURNITURE-1ST FLOOR HC
5653     WINDOW TREATMENTS          1/06/15       2,100.00    0.00          0.00         420.00       210.00       630.00      1,470.00   S/L       10.00
5654     ROLLER;; SHADES            1/06/15       1,000.00    0.00          0.00         200.00       100.00       300.00        700.00   S/L       10.00
5655     WINDOW TREATMENTS          1/06/15       5,000.00    0.00          0.00       1,000.00       500.00     1,500.00      3,500.00   S/L       10.00
5656     DINING TABLE (8)           1/06/15       6,400.00    0.00          0.00         853.34       426.67     1,280.01      5,119.99   S/L       15.00
5657     LOUNGE CHAIR (10)          1/06/15       8,500.00    0.00          0.00       1,133.34       566.67     1,700.01      6,799.99   S/L       15.00
5658     SIDE TABLE (4)             1/06/15       2,000.00    0.00          0.00         266.66       133.33       399.99      1,600.01   S/L       15.00
5659     LAMP, ACCESSORIES (6)      1/06/15       2,200.00    0.00          0.00         628.58       314.29       942.87      1,257.13   S/L        7.00
5660     BARSTOOL (3)               1/06/15       1,350.00    0.00          0.00         180.00        90.00       270.00      1,080.00   S/L       15.00
5661     PLANT (3)                  1/06/15       1,350.00    0.00          0.00         270.00       135.00       405.00        945.00   S/L       10.00
5662     TRESTLE TABLE (2)          1/06/15       2,400.00    0.00          0.00         320.00       160.00       480.00      1,920.00   S/L       15.00
5663     AACTIVITY TABLE/BULLETIN BOARD
                                    1/06/15         650.00    0.00          0.00         130.00        65.00       195.00        455.00   S/L       10.00
5664     BOOKCASE 5H                1/06/15         500.00    0.00          0.00         100.00        50.00       150.00        350.00   S/L       10.00
5665     LATERAL FILE 4DR           1/06/15         750.00    0.00          0.00         100.00        50.00       150.00        600.00   S/L       15.00
5666     WINDOW TREATMENTS (20)     1/06/15       5,000.00    0.00          0.00       1,000.00       500.00     1,500.00      3,500.00   S/L       10.00
5667     ARM CHAIR (10)             1/06/15       3,500.00    0.00          0.00         466.66       233.33       699.99      2,800.01   S/L       15.00
5668     DINING CHAIR (16)          1/06/15       5,600.00    0.00          0.00         746.66       373.33     1,119.99      4,480.01   S/L       15.00
5669     GUEST CHAIR (4)            1/06/15       1,400.00    0.00          0.00         186.66        93.33       279.99      1,120.01   S/L       15.00
5670     TASK CHAIR (6)             1/06/15       2,700.00    0.00          0.00         360.00       180.00       540.00      2,160.00   S/L       15.00
5671     DESK/RETURN                1/06/15       1,000.00    0.00          0.00         133.34        66.67       200.01        799.99   S/L       15.00
5672     DESK/RETURN                1/06/15       1,000.00    0.00          0.00         133.34        66.67       200.01        799.99   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                          03/03/2018 9:01 AM
                                                Book Asset Detail          1/01/17 - 12/31/17                                               Page 101
FYE: 12/31/2017

       d                             Date In    Book      Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t        Property Description  Service    Cost      179 Exp c       Value      Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: NEW HEALTHCARE-SNF | Group: FURNITURE-1ST FLOOR HC (continued)
5673    ARTWORK (38)                  1/06/15      8,700.00     0.00          0.00       1,160.00       580.00     1,740.00      6,960.00   S/L       15.00
5674    ARTWORK (2)                   1/06/15        500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5675    WINDOW TREATMENTS             1/06/15        250.00     0.00          0.00          50.00        25.00        75.00        175.00   S/L       10.00
5676    TABLE LAMP                    1/06/15        250.00     0.00          0.00          71.42        35.71       107.13        142.87   S/L        7.00
5677    CONSOLE                       1/06/15      1,000.00     0.00          0.00         133.34        66.67       200.01        799.99   S/L       15.00
5678    ARM CHAIRS (4)                1/06/15      1,400.00     0.00          0.00         186.66        93.33       279.99      1,120.01   S/L       15.00
5679    SMALL CONFERENCE TABLE        1/06/15        450.00     0.00          0.00          60.00        30.00        90.00        360.00   S/L       15.00
5680    ARTWORK (2)                   1/06/15        400.00     0.00          0.00          53.34        26.67        80.01        319.99   S/L       15.00
5681    TABLE LAMP                    1/06/15        200.00     0.00          0.00          57.14        28.57        85.71        114.29   S/L        7.00
5682    SIDE TABLE                    1/06/15        500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5683    LOUNGE CHAIR (2)              1/06/15      1,700.00     0.00          0.00         226.66       113.33       339.99      1,360.01   S/L       15.00
5684    ARTWORK                       1/06/15        500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5685    TASK CHAIR                    1/06/15        450.00     0.00          0.00          60.00        30.00        90.00        360.00   S/L       15.00
5686    ARTWORK                       1/06/15        200.00     0.00          0.00          26.66        13.33        39.99        160.01   S/L       15.00
5687    LATERAL FILE 4DR              1/06/15        750.00     0.00          0.00         100.00        50.00       150.00        600.00   S/L       15.00
5688    BOOKCASE 5H                   1/06/15        500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5689    GUEST CHAIR (2)               1/06/15        700.00     0.00          0.00          93.34        46.67       140.01        559.99   S/L       15.00
5690    TASK CHAIR                    1/06/15        450.00     0.00          0.00          60.00        30.00        90.00        360.00   S/L       15.00
5691    DESK/RETURN/CREDENZA          1/06/15      1,500.00     0.00          0.00         200.00       100.00       300.00      1,200.00   S/L       15.00
5692    ARTWORK                       1/06/15        200.00     0.00          0.00          26.66        13.33        39.99        160.01   S/L       15.00
5693    BOOKCASE 5H                   1/06/15        500.00     0.00          0.00          66.66        33.33        99.99        400.01   S/L       15.00
5694    GUEST CHAIR (2)               1/06/15        700.00     0.00          0.00          93.34        46.67       140.01        559.99   S/L       15.00
5695    TASK CHAIR                    1/06/15        450.00     0.00          0.00          60.00        30.00        90.00        360.00   S/L       15.00
5696    DESK/RETURN                   1/06/15      1,000.00     0.00          0.00         133.34        66.67       200.01        799.99   S/L       15.00
5697    WINDOW TREATMENTS (4)         1/06/15      1,000.00     0.00          0.00         200.00       100.00       300.00        700.00   S/L       10.00
5698    ROLLER SHADES (10)            1/06/15      5,000.00     0.00          0.00       1,000.00       500.00     1,500.00      3,500.00   S/L       10.00
5699    ARTWORK (3)                   1/06/15        600.00     0.00          0.00          80.00        40.00       120.00        480.00   S/L       15.00
5700    ARTWORK (3)                   1/06/15        600.00     0.00          0.00          80.00        40.00       120.00        480.00   S/L       15.00
5701    TABLE LAMP (2)                1/06/15        500.00     0.00          0.00         142.86        71.43       214.29        285.71   S/L        7.00
5702    SIDE TABLE (2)                1/06/15        900.00     0.00          0.00         120.00        60.00       180.00        720.00   S/L       15.00
5703    BENCH                         1/06/15      1,200.00     0.00          0.00         160.00        80.00       240.00        960.00   S/L       15.00
5704    WINDOW TREATMENTS (14)        1/06/15      3,500.00     0.00          0.00         700.00       350.00     1,050.00      2,450.00   S/L       10.00
5705    ARTWORK (5)                   1/06/15      1,000.00     0.00          0.00         133.34        66.67       200.01        799.99   S/L       15.00
5706    PHONE TABLE                   1/06/15        450.00     0.00          0.00          60.00        30.00        90.00        360.00   S/L       15.00
5707    BENCH                         1/06/15      1,200.00     0.00          0.00         160.00        80.00       240.00        960.00   S/L       15.00
5708    RESIDENT CHAIRS (30)          1/06/15     18,000.00     0.00          0.00       2,400.00     1,200.00     3,600.00     14,400.00   S/L       15.00
5709    DRESSERS (30)                 1/06/15     16,500.00     0.00          0.00       2,200.00     1,100.00     3,300.00     13,200.00   S/L       15.00
5710    WARDROBES (30)                1/06/15     25,500.00     0.00          0.00       3,400.00     1,700.00     5,100.00     20,400.00   S/L       15.00
5711    ARTWORK (60)                  1/06/15     12,000.00     0.00          0.00       1,600.00       800.00     2,400.00      9,600.00   S/L       15.00
5712    WINDOW TREATMENTS (30)        1/06/15     13,500.00     0.00          0.00       2,700.00     1,350.00     4,050.00      9,450.00   S/L       10.00
5713    SHOWER CURTAIN/LINER (30)     1/06/15     10,500.00     0.00          0.00       3,000.00     1,500.00     4,500.00      6,000.00   S/L        7.00
5714    OVER-BED TABLE (15)           1/06/15      6,000.00     0.00          0.00         800.00       400.00     1,200.00      4,800.00   S/L       15.00
5715    TABLE LAMP (30)               1/06/15      5,250.00     0.00          0.00       1,500.00       750.00     2,250.00      3,000.00   S/L        7.00
5716    ELECTRIC BEDS (30)            1/06/15     45,000.00     0.00          0.00       9,000.00     4,500.00    13,500.00     31,500.00   S/L       10.00
5717    HEADBOARD/FOOTBOARD           1/06/15     18,000.00     0.00          0.00       3,600.00     1,800.00     5,400.00     12,600.00   S/L       10.00
5718    BEDSIDE TABLE/LOCKABLE (30)   1/06/15     10,500.00     0.00          0.00       1,400.00       700.00     2,100.00      8,400.00   S/L       15.00
   FURNITURE-1ST FLOOR HC                        274,350.00     0.00c         0.00      46,249.98    23,124.99    69,374.97    204,975.03
EDENHOME EDEN HOME, INC.                                                                                                               03/03/2018 9:01 AM
                                                Book Asset Detail             1/01/17 - 12/31/17                                                 Page 102
FYE: 12/31/2017

       d                             Date In      Book        Book Sec     Book Sal      Book Prior Book Current      Book         Book Net       Book    Book
Asset t         Property Description Service      Cost        179 Exp c     Value       Depreciation Depreciation   End Depr      Book Value     Method   Period
    Location: NEW HEALTHCARE-SNF (continued)

   Group: FURNITURE-2ND FLOOR HC
5719     WINDOW TREATMENTS            1/06/15     24,450.00        0.00          0.00       4,890.00     2,445.00      7,335.00      17,115.00   S/L       10.00
5720     SIDE TABLES                  1/06/15      3,350.00        0.00          0.00         446.66       223.33        669.99       2,680.01   S/L       15.00
5721     TABLE LAMPS                  1/06/15      6,500.00        0.00          0.00       1,857.14       928.57      2,785.71       3,714.29   S/L        7.00
5722     ARTWORK                      1/06/15     22,100.00        0.00          0.00       2,946.66     1,473.33      4,419.99      17,680.01   S/L       15.00
5723     LOUNGE CHAIRS                1/06/15      6,800.00        0.00          0.00         906.66       453.33      1,359.99       5,440.01   S/L       15.00
5724     DINING CHAIRS                1/06/15      5,600.00        0.00          0.00         746.66       373.33      1,119.99       4,480.01   S/L       15.00
5725     ARM CHAIRS                   1/06/15      3,900.00        0.00          0.00         780.00       390.00      1,170.00       2,730.00   S/L       10.00
5726     ACCESSORIES                  1/06/15        850.00        0.00          0.00         170.00        85.00        255.00         595.00   S/L       10.00
5727     GUEST CHAIRS                 1/06/15        450.00        0.00          0.00          60.00        30.00         90.00         360.00   S/L       15.00
5728     BENCHES                      1/06/15      1,850.00        0.00          0.00         246.66       123.33        369.99       1,480.01   S/L       15.00
5729     TASK CHAIRS                  1/06/15      1,800.00        0.00          0.00         240.00       120.00        360.00       1,440.00   S/L       15.00
5730     ADJ HEIGHT DINING TABLES     1/06/15      6,400.00        0.00          0.00         853.34       426.67      1,280.01       5,119.99   S/L       15.00
5731     FLOOR LAMPS                  1/06/15      1,100.00        0.00          0.00         314.28       157.14        471.42         628.58   S/L        7.00
5732     PLANTS                       1/06/15      1,350.00        0.00          0.00         270.00       135.00        405.00         945.00   S/L       10.00
5733     TRESTLE TABLES               1/06/15      2,400.00        0.00          0.00         320.00       160.00        480.00       1,920.00   S/L       15.00
5734     ACTIVITY TABLES              1/06/15        500.00        0.00          0.00          66.66        33.33         99.99         400.01   S/L       15.00
5735     BARSTOOLS                    1/06/15      1,350.00        0.00          0.00         180.00        90.00        270.00       1,080.00   S/L       15.00
5736     CUBICLE CURTAINS             1/06/15        550.00        0.00          0.00         110.00        55.00        165.00         385.00   S/L       10.00
5737     ELECTRIC BEDS                1/06/15     45,000.00        0.00          0.00       9,000.00     4,500.00     13,500.00      31,500.00   S/L       10.00
5738     HEADBOARDS/FOOTBOARDS        1/06/15     18,000.00        0.00          0.00       3,600.00     1,800.00      5,400.00      12,600.00   S/L       10.00
5739     BEDSIDE TABLES-LOCKABLE      1/06/15     10,500.00        0.00          0.00       1,400.00       700.00      2,100.00       8,400.00   S/L       15.00
5740     OVER-BED TABLES              1/06/15      6,000.00        0.00          0.00         800.00       400.00      1,200.00       4,800.00   S/L       15.00
5741     RESIDENT CHAIRS              1/06/15     18,000.00        0.00          0.00       2,400.00     1,200.00      3,600.00      14,400.00   S/L       15.00
5742     DRESSERS                     1/06/15     16,500.00        0.00          0.00       2,200.00     1,100.00      3,300.00      13,200.00   S/L       15.00
5743     WARDROBES                    1/06/15     25,500.00        0.00          0.00       3,400.00     1,700.00      5,100.00      20,400.00   S/L       15.00
5744     SHOWER CURTAINS/HOOKS        1/06/15     10,500.00        0.00          0.00       3,000.00     1,500.00      4,500.00       6,000.00   S/L        7.00
   FURNITURE-2ND FLOOR HC                        241,300.00        0.00c         0.00      41,204.72    20,602.36     61,807.08     179,492.92
                      NEW HEALTHCARE-SNF 16,029,655.70             0.00c         0.00   1,368,406.59   781,540.95   2,149,947.54 13,879,708.16

Location: PINNACLE

   Group: CIP-LITIGATION
5897     SERVPRO-MOLD REMEDIATION 9/18/15         24,614.62        0.00          0.00           0.00         0.00          0.00      24,614.62   Memo       0.00
5898     HOFFMAN FLOORS             9/21/15        1,867.64        0.00          0.00           0.00         0.00          0.00       1,867.64   Memo       0.00
6389     RECONSTRUCTION EXPERTS     6/30/16       58,819.20        0.00          0.00           0.00         0.00          0.00      58,819.20   Memo       0.00
6408     RECONSTRUCTION EXPERTS     8/31/16        9,405.00        0.00          0.00           0.00         0.00          0.00       9,405.00   Memo       0.00
6502     RECONSTRUCTION EXPERTS     5/17/16        3,326.05        0.00          0.00           0.00         0.00          0.00       3,326.05   Memo       0.00
6517     SERVPRO                    1/26/17        1,992.43        0.00c         0.00           0.00         0.00          0.00       1,992.43   Memo       0.00
6533     RANDEL C. TAYLOR, INC.     2/20/17        1,500.00        0.00c         0.00           0.00         0.00          0.00       1,500.00   Memo       0.00
6534     BELFOR PROPERTY RESTORATION2/23/17        2,262.54        0.00c         0.00           0.00         0.00          0.00       2,262.54   Memo       0.00
6623     BELFOR PROPERTY RESTORATION6/26/17        4,304.39        0.00c         0.00           0.00         0.00          0.00       4,304.39   Memo       0.00
6703     HOFFMAN FLOORS            12/18/17          119.07        0.00c         0.00           0.00         0.00          0.00         119.07   Memo       0.00
6704     HOFFMAN FLOORS            12/18/17          906.80        0.00c         0.00           0.00         0.00          0.00         906.80   Memo       0.00
   CIP-LITIGATION                                109,117.74        0.00c         0.00           0.00         0.00          0.00     109,117.74
EDENHOME EDEN HOME, INC.                                                                                                                 03/03/2018 9:01 AM
                                                 Book Asset Detail              1/01/17 - 12/31/17                                                 Page 103
FYE: 12/31/2017

       d                               Date In     Book         Book Sec     Book Sal      Book Prior Book Current      Book          Book Net       Book    Book
Asset t         Property Description   Service     Cost         179 Exp c     Value       Depreciation Depreciation   End Depr       Book Value     Method   Period
    Location: PINNACLE (continued)

   Group: CIP-PINNACLE CUSTOM. FEES
6516     CUSTOMIZATION FEES          1/31/17        -1,899.90        0.00c         0.00           0.00         0.00           0.00      -1,899.90   Memo       0.00
6587     PROJECT 17-100 C105         4/30/17         1,899.90        0.00c         0.00           0.00         0.00           0.00       1,899.90   Memo       0.00
6603     LOWE'S BUSINESS ACCOUNT     5/24/17         1,974.13        0.00c         0.00           0.00         0.00           0.00       1,974.13   Memo       0.00
6604     CASH RECEIPT                5/31/17       -12,105.78        0.00c         0.00           0.00         0.00           0.00     -12,105.78   Memo       0.00
6619     LOWE'S BUSINESS ACCOUNT 17-116
                                     6/09/17            28.44        0.00c         0.00           0.00         0.00           0.00          28.44   Memo       0.00
6620     FIVE STAR PAINTING 17-116   6/05/17         2,073.04        0.00c         0.00           0.00         0.00           0.00       2,073.04   Memo       0.00
6621     HOFFMAN FLOORS 17-116       6/16/17         1,656.90        0.00c         0.00           0.00         0.00           0.00       1,656.90   Memo       0.00
6622     HOFFMAN FLOORS 17-116       6/16/17         1,325.30        0.00c         0.00           0.00         0.00           0.00       1,325.30   Memo       0.00
6626     CHRIS COLLINS               7/28/17           555.00        0.00c         0.00           0.00         0.00           0.00         555.00   Memo       0.00
6644     CUSTOMIZATION FEES          8/31/17        -4,398.07        0.00c         0.00           0.00         0.00           0.00      -4,398.07   Memo       0.00
6672     HOFFMANN FLOORS             8/30/17           157.56        0.00c         0.00           0.00         0.00           0.00         157.56   Memo       0.00
6673     HOFFMANN FLOORS             9/15/17         4,240.51        0.00c         0.00           0.00         0.00           0.00       4,240.51   Memo       0.00
   CIP-PINNACLE CUSTOM. FEES                        -4,492.97        0.00c         0.00           0.00         0.00           0.00      -4,492.97

   Group: EH- BUILDING
5068     BUILDING-WELLNESS CENTER 11/01/13       847,583.00          0.00          0.00     107,360.51    33,903.32     141,263.83     706,319.17   S/L       25.00
5069     STUCCO, DRYWALL-WELLNESS CENTER
                                    11/01/13     203,720.00          0.00          0.00      25,804.53     8,148.80      33,953.33     169,766.67   S/L       25.00
5070     FINISH CARPENTRY-WELLNESS CENTER
                                    11/01/13      13,209.00          0.00          0.00       2,788.57       880.60       3,669.17       9,539.83   S/L       15.00
5071     DOOR, FRAME, HARDWARE-WELLNESS
                                    11/01/13 CENTER
                                                  98,361.00          0.00          0.00      20,765.10     6,557.40      27,322.50      71,038.50   S/L       15.00
5072     WALL PROTECTION/CORNER GUARDS-WELLNESS
                                    11/01/13       7,530.00          0.00          0.00       2,384.50       753.00       3,137.50       4,392.50   S/L       10.00
5073     VINYL WALL COVERINGS-WELLNESS
                                    11/01/13
                                           CENTER56,485.00           0.00          0.00      17,886.92     5,648.50      23,535.42      32,949.58   S/L       10.00
5074     COUNTER TOPS-WELLNESS CENTER
                                    11/01/13      14,695.00          0.00          0.00       3,102.29       979.67       4,081.96      10,613.04   S/L       15.00
5075     MEMBRANE ROOFING-WELLNESS  11/01/13
                                       CENTER 139,664.00             0.00          0.00      44,226.93    13,966.40      58,193.33      81,470.67   S/L       10.00
5076     FLOORING/TILE-WELLNESS CENTER
                                    11/01/13     116,647.00          0.00          0.00      18,469.11     5,832.35      24,301.46      92,345.54   S/L       20.00
5077     RESILIENT FLOORING-WELLNESS11/01/13
                                      CENTER      38,547.00          0.00          0.00       6,103.28     1,927.35       8,030.63      30,516.37   S/L       20.00
5078     GLASS/GLAZING-WELLNESS CENTER
                                    11/01/13     157,817.00          0.00          0.00      19,990.15     6,312.68      26,302.83     131,514.17   S/L       25.00
5083     SWIMMING POOL-WELLNESS CENTER
                                     9/01/13     117,729.00          0.00          0.00      19,621.50     5,886.45      25,507.95      92,221.05   S/L       20.00
5084     FIRE PROTECTION SYSTEM-WELLNESS
                                    11/01/13CENTER
                                                 129,234.00          0.00          0.00      16,369.64     5,169.36      21,539.00     107,695.00   S/L       25.00
5085     PLUMBING-WELLNESS CENTER 11/01/13       382,112.00          0.00          0.00      48,400.85    15,284.48      63,685.33     318,426.67   S/L       25.00
5087     ELECTRICAL-WELLNESS CENTER11/01/13      798,090.00          0.00          0.00     126,364.25    39,904.50     166,268.75     631,821.25   S/L       20.00
5094     TERMITE CONTROL-PINNACLE 8/26/13         11,298.00          0.00          0.00       3,766.00     1,129.80       4,895.80       6,402.20   S/L       10.00
5095     FIRE PROTECTION SYSTEM-PINNACLE
                                     8/26/13     434,397.00          0.00          0.00      57,919.60    17,375.88      75,295.48     359,101.52   S/L       25.00
5096     DOOR, FRAME, HARDWARE-PINNACLE
                                     8/26/13     790,351.00          0.00          0.00     175,633.57    52,690.07     228,323.64     562,027.36   S/L       15.00
5097     VINYL WALL COVERINGS-PINNACLE
                                     8/26/13     656,782.00          0.00          0.00     218,927.33    65,678.20     284,605.53     372,176.47   S/L       10.00
5098     ELEVATORS-PINNACLE (3)      8/26/13     304,656.00          0.00          0.00      50,776.00    15,232.80      66,008.80     238,647.20   S/L       20.00
5099     GLASS/GLAZING-PINNACLE      8/26/13     594,999.00          0.00          0.00      79,333.20    23,799.96     103,133.16     491,865.84   S/L       25.00
5100     BUILDING-PINNACLE           8/26/13   5,952,199.40          0.00          0.00     810,873.72   238,087.98   1,048,961.70   4,903,237.70   S/L       25.00
5101     FLOORING-PINNACLE           8/26/13     392,851.00          0.00          0.00      65,475.17    19,642.55      85,117.72     307,733.28   S/L       20.00
5102     PLUMBING-PINNACLE           8/26/13   3,134,004.00          0.00          0.00     417,867.20   125,360.16     543,227.36   2,590,776.64   S/L       25.00
5103     ELECTRICAL-PINNACLE         8/26/13   3,014,674.00          0.00          0.00     502,445.67   150,733.70     653,179.37   2,361,494.63   S/L       20.00
5104     ROOFING-PINNACLE            8/26/13     110,753.00          0.00          0.00      36,917.67    11,075.30      47,992.97      62,760.03   S/L       10.00
5105     STONE COUNTERTOPS           8/26/13      33,629.00          0.00          0.00       7,473.10     2,241.93       9,715.03      23,913.97   S/L       15.00
5106     CABINETRY-PINNACLE          8/26/13     580,418.00          0.00          0.00     129,083.90    38,694.53     167,778.43     412,639.57   S/L       15.00
5195     NEW ROOFING                 2/24/14      11,027.00          0.00          0.00       3,124.32     1,102.70       4,227.02       6,799.98   S/L       10.00
5196     NEW ENLARGED TILE SHOWER 2/24/14          5,778.00          0.00          0.00         818.55       288.90       1,107.45       4,670.55   S/L       20.00
5278     COUNTERTOP INSTALLATION     4/23/14          98.39          0.00          0.00          17.49         6.56          24.05          74.34   S/L       15.00
5293     PATIO CONCRETE COATING      5/27/14         450.00          0.00          0.00         116.25        45.00         161.25         288.75   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                           03/03/2018 9:01 AM
                                               Book Asset Detail            1/01/17 - 12/31/17                                               Page 104
FYE: 12/31/2017

       d                                Date In     Book     Book Sec    Book Sal      Book Prior Book Current      Book        Book Net       Book    Book
Asset t         Property Description    Service     Cost     179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value     Method   Period
    Location: PINNACLE | Group: EH- BUILDING (continued)
5330     COMMERCIAL DUCT CLEANING 6/23/14             460.00      0.00         0.00         115.00        46.00       161.00         299.00   S/L       10.00
5427     GROUT WORK                    9/03/14        650.00      0.00         0.00         216.67        92.86       309.53         340.47   S/L        7.00
5502     NEW COUNTERTOPS              12/02/14      1,400.00      0.00         0.00         194.44        93.33       287.77       1,112.23   S/L       15.00
5504     PINNACLE BUILDING(GENERAL CONDITIONS)
                                       5/01/14  4,500,054.58      0.00         0.00     480,005.82   180,002.18   660,008.00   3,840,046.58   S/L       25.00
5505     BUILDING-WELLNESS CENTER 5/01/14          15,812.00      0.00         0.00       1,686.61       632.48     2,319.09      13,492.91   S/L       25.00
5506     ELECTRICAL-WELLNESS CENTER5/01/14          3,957.00      0.00         0.00         527.60       197.85       725.45       3,231.55   S/L       20.00
5507     PLUMBING-WELLNESS CENTER 5/01/14          11,956.00      0.00         0.00       1,275.31       478.24     1,753.55      10,202.45   S/L       25.00
5508     FIRE PROTECTION-WELLNESS CENTER
                                       5/01/14      3,746.00      0.00         0.00         399.57       149.84       549.41       3,196.59   S/L       25.00
5509     SWIMMING POOL-WELLNESS CENTER 5/01/14      1,625.00      0.00         0.00         216.67        81.25       297.92       1,327.08   S/L       20.00
5510     GLASS & GLAZING-WELLNESS CENTER
                                       5/01/14      2,228.00      0.00         0.00         237.65        89.12       326.77       1,901.23   S/L       25.00
5511     FLOORING-TILE, WELLNESS CENTER5/01/14        350.00      0.00         0.00          46.67        17.50        64.17         285.83   S/L       20.00
5512     MEMBRANE ROOFING-WELLNESS5/01/14CENTER     9,686.00      0.00         0.00       2,582.93       968.60     3,551.53       6,134.47   S/L       10.00
5513     COUNTER TOPS-WELLNESS CENTER  5/01/14      1,500.00      0.00         0.00         266.67       100.00       366.67       1,133.33   S/L       15.00
5514     DOOR,FRAME-WELLNESS CENTER5/01/14          1,110.00      0.00         0.00         197.33        74.00       271.33         838.67   S/L       15.00
5515     FINISH CARPENTRY-WELLNESS CENTER
                                       5/01/14      3,985.00      0.00         0.00         708.45       265.67       974.12       3,010.88   S/L       15.00
5516     DOOR, FRAME-WELLNESS CENTER   5/01/14     40,261.00      0.00         0.00       7,157.52     2,684.07     9,841.59      30,419.41   S/L       15.00
5522     ROOFING PINNACLE              5/01/14      2,500.00      0.00         0.00         666.67       250.00       916.67       1,583.33   S/L       10.00
5523     ELECTRICAL-PINNACLE           5/01/14    122,801.00      0.00         0.00      16,373.47     6,140.05    22,513.52     100,287.48   S/L       20.00
5524     PLUMBING PINNACLE             5/01/14      6,165.00      0.00         0.00         657.60       246.60       904.20       5,260.80   S/L       25.00
5525     FLOORING-PINNACLE             5/01/14     28,975.00      0.00         0.00       3,863.33     1,448.75     5,312.08      23,662.92   S/L       20.00
5526     TAPE, FINISH, PAINT, VINYL WALL
                                       5/01/14    172,395.00      0.00         0.00      45,972.00    17,239.50    63,211.50     109,183.50   S/L       10.00
5527     GLASS, GLAZING-PINNACLE       5/01/14     26,200.00      0.00         0.00       2,794.67     1,048.00     3,842.67      22,357.33   S/L       25.00
5528     FIRE PROTECTION SYSTEM-PINNACLE
                                       5/01/14     32,076.00      0.00         0.00       3,421.44     1,283.04     4,704.48      27,371.52   S/L       25.00
5529     BUILDING-PINNACLE             5/01/14     38,430.00      0.00         0.00       4,099.20     1,537.20     5,636.40      32,793.60   S/L       25.00
5530     STONE COUNTERTOPS             5/01/14     13,347.00      0.00         0.00       2,372.80       889.80     3,262.60      10,084.40   S/L       15.00
5533     DEFERRED MARKETING COSTS-PINNACLE
                                       5/01/14  1,931,212.33      0.00         0.00     408,469.86   178,485.43   586,955.29   1,344,257.04   S/L       10.82
5640     COUNTERTOPS, SINKS            4/13/15      1,450.00      0.00         0.00         253.75       145.00       398.75       1,051.25   S/L       10.00
5983     BUILDING DESIGN FOR PROJECT 8/01/15    1,490,830.88      0.00         0.00      52,800.26    37,270.77    90,071.03   1,400,759.85   S/L       40.00
5986     LAND CONTROL                  8/01/15     30,473.15      0.00         0.00       1,726.82     1,218.93     2,945.75      27,527.40   S/L       25.00
5989     MASTER PLAN DEVELOPMENT 8/01/15          479,867.45      0.00         0.00      27,192.49    19,194.70    46,387.19     433,480.26   S/L       25.00
5992     MASTER PLAN DEVELOPMENT-INTEREST
                                       8/01/15    223,162.75      0.00         0.00      12,645.89     8,926.51    21,572.40     201,590.35   S/L       25.00
5997     MASTER PLAN DEV COSTS-CONSULTANTS
                                       8/01/15    225,472.94      0.00         0.00      12,776.80     9,018.92    21,795.72     203,677.22   S/L       25.00
6003     SIGNAGE                       2/01/15     26,881.18      0.00         0.00       3,434.82     1,792.08     5,226.90      21,654.28   S/L       15.00
6064     INSTALLATION OF TELECOMMUNICATIONS
                                       8/01/15     18,250.00      0.00         0.00       1,723.61     1,216.67     2,940.28      15,309.72   S/L       15.00
6067     TESTING/INSPECTION SERVICES 8/01/15       71,509.77      0.00         0.00       2,532.63     1,787.74     4,320.37      67,189.40   S/L       40.00
6068     FLOOR COVERINGS FOR STORAGE   8/01/15      2,800.00      0.00         0.00         396.67       280.00       676.67       2,123.33   S/L       10.00
6069     SURVEILLANCE/ACCESS SYSTEM8/01/15        176,612.05      0.00         0.00      12,510.02     8,830.60    21,340.62     155,271.43   S/L       20.00
6076     NURSE CALL SYSTEM             8/01/15    133,108.00      0.00         0.00       9,428.48     6,655.40    16,083.88     117,024.12   S/L       20.00
6106     PROJECT PLANNING & DEVELOPMENT8/01/15  1,812,192.75      0.00         0.00      64,181.83    45,304.82   109,486.65   1,702,706.10   S/L       40.00
6107     PROJECT FINANCING             8/01/15    671,463.28      0.00         0.00      38,049.58    26,858.53    64,908.11     606,555.17   S/L       25.00
6121     PINNACLE RESIDENT UPGRADES 8/01/15
                                       AND INSTALLATION
                                                   14,270.45      0.00         0.00       1,347.76       951.36     2,299.12      11,971.33   S/L       15.00
6134     PROJECT TRANSPORTATIONS COSTS 8/01/15     45,353.97      0.00         0.00       4,283.43     3,023.60     7,307.03      38,046.94   S/L       15.00
6138     PROJECT FOOD MANAGEMENT COSTS 8/01/15    103,745.32      0.00         0.00       9,798.16     6,916.35    16,714.51      87,030.81   S/L       15.00
6139     CAPITALIZE MORRISON HOUSEKEEPING/LAUNDRY
                                       8/01/15     23,498.83
                                                          MANA    0.00         0.00       2,219.34     1,566.59     3,785.93      19,712.90   S/L       15.00
6143     PAINTING OF PINNACLE APARTMENT8/01/15      6,557.11      0.00         0.00         928.92       655.71     1,584.63       4,972.48   S/L       10.00
6146     CAPITALIZE TEMPORARY OFFICE8/01/15
                                        FOR PROJECT29,105.90      0.00         0.00       2,748.89     1,940.39     4,689.28      24,416.62   S/L       15.00
6149     TEMPORARY OFFICE FOR PROJECT  8/01/15     39,326.61      0.00         0.00       3,714.18     2,621.77     6,335.95      32,990.66   S/L       15.00
6160     CONTAINER RENTAL & GRAVEL FOR 8/01/15
                                            PARKING15,657.33
                                                     LOTS         0.00         0.00       1,478.75     1,043.82     2,522.57      13,134.76   S/L       15.00
6166     BUILDING PERMIT FOR PROJECT 8/01/15       74,803.49      0.00         0.00       4,238.86     2,992.14     7,231.00      67,572.49   S/L       25.00
EDENHOME EDEN HOME, INC.                                                                                                                  03/03/2018 9:01 AM
                                               Book Asset Detail               1/01/17 - 12/31/17                                                   Page 105
FYE: 12/31/2017

       d                                Date In     Book       Book Sec     Book Sal      Book Prior Book Current        Book         Book Net       Book    Book
Asset t         Property Description    Service     Cost       179 Exp c     Value       Depreciation Depreciation     End Depr      Book Value     Method   Period
    Location: PINNACLE | Group: EH- BUILDING (continued)
6175    FLOORING CORRECTIONS A202 8/01/15          7,169.16         0.00          0.00         677.08         477.94       1,155.02      6,014.14   S/L       15.00
6193    PROJECT MISCELLANEOUS DEVELOPMENT
                                      8/01/15   COSTS
                                                  69,833.78         0.00          0.00       2,473.28       1,745.84       4,219.12     65,614.66   S/L       40.00
6199    DEVELOPMENT COSTS - LEGAL FEES8/01/15     26,622.05         0.00          0.00       1,508.58       1,064.88       2,573.46     24,048.59   S/L       25.00
6200    MISC DEVELOPMENT COSTS        8/01/15      5,934.34         0.00          0.00         560.46         395.62         956.08      4,978.26   S/L       15.00
6205    CONSULTANT FEES FOR LICENSURE 8/01/15     16,921.19         0.00          0.00         599.29         423.03       1,022.32     15,898.87   S/L       40.00
6206    TITLE POLICY FOR 8.467 ACRES 8/01/15       1,021.62         0.00          0.00          48.24          34.05          82.29        939.33   S/L       30.00
6210    HOSPITALITY TRAINING          8/01/15     35,416.37         0.00          0.00       5,017.32       3,541.64       8,558.96     26,857.41   S/L       10.00
6236    MISC DIRECT CONSTR. COSTS     8/01/15    122,685.10         0.00          0.00      14,364.71       8,179.01      22,543.72    100,141.38   S/L       15.00
6237    MISC INDIRECT CONST. COSTS 8/01/15       178,165.24         0.00          0.00      16,826.71      11,877.68      28,704.39    149,460.85   S/L       15.00
6239    CAPITALIZED INTEREST          8/01/15  4,900,698.20         0.00          0.00     213,620.17     150,790.71     364,410.88 4,536,287.32    S/L       32.50
6245    PAINT-C104,C106,A102          1/19/16        370.96         0.00          0.00          68.01          74.19         142.20        228.76   S/L        5.00
6246    PAINT-A205,C411               1/27/16        305.80         0.00          0.00          56.06          61.16         117.22        188.58   S/L        5.00
6269    PAINT A102                    2/17/16        139.00         0.00          0.00          23.17          27.80          50.97         88.03   S/L        5.00
6270    REPAINT A205                  2/22/16        869.00         0.00          0.00         144.83         173.80         318.63        550.37   S/L        5.00
6271    REPAINT A102                  2/22/16      1,000.00         0.00          0.00         166.67         200.00         366.67        633.33   S/L        5.00
6272    PAINT A102                    2/23/16        139.00         0.00          0.00          23.17          27.80          50.97         88.03   S/L        5.00
6469    NEW CRICKET, FLASHING APT B401
                                     11/02/16      5,000.00         0.00          0.00          55.56         333.33         388.89      4,611.11   S/L       15.00
   EH- BUILDING                               37,211,353.72         0.00c         0.00   4,551,378.07   1,678,523.12   6,229,901.19 30,981,452.53

   Group: EH- DEFERRED MARKETING
6130     PROJECT MARKETING COSTS 8/01/15          110,000.00        0.00          0.00      12,986.11       9,166.67     22,152.78      87,847.22 S/L         12.00
   EH- DEFERRED MARKETING                         110,000.00        0.00c         0.00      12,986.11       9,166.67     22,152.78      87,847.22

   Group: EH-BLDG EQUIPMENT
5064     WINDOW TREATMENTS-3RD FLOOR11/01/13          500.00        0.00          0.00         158.33         50.00         208.33         291.67   S/L       10.00
5079     TOILET ACCESSORIES-WELLNESS11/01/13
                                      CENTER        4,410.00        0.00          0.00       1,396.50        441.00       1,837.50       2,572.50   S/L       10.00
5080     LOCKERS-WELLNESS CENTER 11/01/13           9,645.00        0.00          0.00       2,036.17        643.00       2,679.17       6,965.83   S/L       15.00
5081     FIRE EXTINGUISHERS/CABINETS-WELLNESS
                                    11/01/13       CENTER
                                                    1,375.00        0.00          0.00         435.42        137.50         572.92         802.08   S/L       10.00
5086     HVAC-WELLNESS CENTER       11/01/13      635,203.00        0.00          0.00     134,098.42     42,346.87     176,445.29     458,757.71   S/L       15.00
5088     FOOD SERVICE EQUIP          8/26/13          888.00        0.00          0.00         296.00         88.80         384.80         503.20   S/L       10.00
5089     FIRE EXTINGUISHERS/CABINETS-PINNACLE
                                     8/26/13        2,182.00        0.00          0.00         727.33        218.20         945.53       1,236.47   S/L       10.00
5090     BLINDS-PINNACLE             8/26/13       64,864.00        0.00          0.00      21,621.33      6,486.40      28,107.73      36,756.27   S/L       10.00
5091     RESIDENT STORAGE LOCKERS 8/26/13          37,464.00        0.00          0.00       8,325.33      2,497.60      10,822.93      26,641.07   S/L       15.00
5092     TOILET ACCESSORIES-PINNACLE 8/26/13       52,477.00        0.00          0.00      17,492.33      5,247.70      22,740.03      29,736.97   S/L       10.00
5093     APPLIANCES-PINNACLE         8/26/13      312,053.00        0.00          0.00     104,017.67     31,205.30     135,222.97     176,830.03   S/L       10.00
5110     WINDOW TREATMENTS-4TH FLOOR11/01/13        4,500.00        0.00          0.00       1,425.00        450.00       1,875.00       2,625.00   S/L       10.00
5119     WINDOW TREATMENTS-2ND FLOOR11/01/13          500.00        0.00          0.00         158.33         50.00         208.33         291.67   S/L       10.00
5125     WINDOW TREATMENTS-1ST FLOOR10/01/13       25,950.00        0.00          0.00       8,433.75      2,595.00      11,028.75      14,921.25   S/L       10.00
5197     LOWER CABINETS-A101         2/07/14          396.00        0.00          0.00          77.00         26.40         103.40         292.60   S/L       15.00
5245     COUNTERTOPS-PINNACLE        1/24/14        2,078.08        0.00          0.00         404.07        138.54         542.61       1,535.47   S/L       15.00
5362     ELEVATOR CALL BUTTON        7/09/14        2,155.52        0.00          0.00         538.88        215.55         754.43       1,401.09   S/L       10.00
5454     CARPET- UNIT 109           10/27/14        4,260.21        0.00          0.00         923.04        426.02       1,349.06       2,911.15   S/L       10.00
5517     BLINDS-PINNACLE             5/01/14        1,823.00        0.00          0.00         486.13        182.30         668.43       1,154.57   S/L       10.00
5518     APPLIANCES-PINNACLE         5/01/14        8,410.00        0.00          0.00       2,242.67        841.00       3,083.67       5,326.33   S/L       10.00
5519     FOOD SERVICE EQUIP.-PINNACLE5/01/14          350.00        0.00          0.00          93.33         35.00         128.33         221.67   S/L       10.00
5520     PARKING CONTROL EQUIP-PINNACLE
                                     5/01/14        8,185.00        0.00          0.00       2,182.67        818.50       3,001.17       5,183.83   S/L       10.00
5521     TOILET ACCESSORIES          5/01/14        3,040.00        0.00          0.00         810.67        304.00       1,114.67       1,925.33   S/L       10.00
5650     CABINET REPAIRS             5/18/15        2,540.00        0.00          0.00         402.17        254.00         656.17       1,883.83   S/L       10.00
EDENHOME EDEN HOME, INC.                                                                                                            03/03/2018 9:01 AM
                                                 Book Asset Detail           1/01/17 - 12/31/17                                               Page 106
FYE: 12/31/2017

       d                               Date In  Book        Book Sec      Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service  Cost          179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: PINNACLE | Group: EH-BLDG EQUIPMENT (continued)
5842    FLOORING- CARPET B406       6/09/15       3,882.51        0.00          0.00         614.73       388.25     1,002.98      2,879.53   S/L       10.00
5977    LOW VOLTAGE DESIGN FOR PROJECT
                                    8/01/15      11,122.52        0.00          0.00       1,050.46       741.50     1,791.96      9,330.56   S/L       15.00
6157    RELOCATION & REPAIR OF TELEPHONE
                                    8/01/15 CABLE18,187.91        0.00          0.00       1,717.75     1,212.53     2,930.28     15,257.63   S/L       15.00
6247    SHELVING                    1/26/16         100.64        0.00          0.00           9.23        10.06        19.29         81.35   S/L       10.00
6248    REFRIGERATOR-C211           1/29/16       1,196.05        0.00          0.00         109.64       119.61       229.25        966.80   S/L       10.00
6249    STACKABLE WASHER            1/29/16         899.55        0.00          0.00          82.46        89.96       172.42        727.13   S/L       10.00
6273    CARPET A102                 2/12/16       1,399.68        0.00          0.00         128.30       139.97       268.27      1,131.41   S/L       10.00
6274    CARPET C106                 2/12/16       1,268.46        0.00          0.00         116.28       126.85       243.13      1,025.33   S/L       10.00
6275    CARPET C104                 2/12/16       1,479.87        0.00          0.00         135.65       147.99       283.64      1,196.23   S/L       10.00
6276    CARPET C411                 2/12/16       2,077.74        0.00          0.00         190.46       207.77       398.23      1,679.51   S/L       10.00
6277    COUNTER TOP A102            2/22/16       1,100.00        0.00          0.00          91.67       110.00       201.67        898.33   S/L       10.00
6328    CARPET C302                 4/12/16       1,428.84        0.00          0.00         107.16       142.88       250.04      1,178.80   S/L       10.00
6356    COUNTER TOPS                1/25/16         248.17        0.00          0.00          22.75        24.82        47.57        200.60   S/L       10.00
6357    CARPET CLEANING             4/23/16         170.00        0.00          0.00          11.33        17.00        28.33        141.67   S/L       10.00
6358    DAMAGE IN TOWN HALL-LIGHTNING
                                    5/26/16         504.90        0.00          0.00          29.45        50.49        79.94        424.96   S/L       10.00
6470    CARPET-C111                11/09/16       1,373.84        0.00          0.00          22.90       137.38       160.28      1,213.56   S/L       10.00
6485    RECLASS                    12/01/16        -741.81        0.00          0.00           0.00         0.00         0.00       -741.81   Memo       0.00
   EH-BLDG EQUIPMENT                          1,230,947.68        0.00c         0.00     313,222.76    99,365.74   412,588.50    818,359.18

   Group: EH-COMPUTER SYSTEM
6169     NETWORK EQUIPMENT/CABLING8/01/15           9,301.25      0.00          0.00       1,317.68       930.13     2,247.81      7,053.44 S/L         10.00
6381     DELL SONIC FIREWALL      8/06/16           1,997.09      0.00          0.00         166.42       399.42       565.84      1,431.25 S/L          5.00
   EH-COMPUTER SYSTEM                              11,298.34      0.00c         0.00       1,484.10     1,329.55     2,813.65      8,484.69

   Group: EH-DEPARTMENTAL EQUIP
5082     FOOD SERVICE EQUIP          8/26/13      561,008.00      0.00          0.00     187,253.17    56,100.80   243,353.97    317,654.03   S/L       10.00
5279     GRAB BAR INSTALLATION       4/14/14          612.10      0.00          0.00         168.33        61.21       229.54        382.56   S/L       10.00
5282     DEPARTMENT EQUIPMENT        4/30/14          588.38      0.00          0.00         156.91        58.84       215.75        372.63   S/L       10.00
5294     GARAGE GATE OPENERS         5/23/14          325.20      0.00          0.00          84.01        32.52       116.53        208.67   S/L       10.00
5363     PEDICURE CHAIR              7/04/14          400.00      0.00          0.00         100.00        40.00       140.00        260.00   S/L       10.00
5364     REFRIGERATOR-UNIT C211      7/22/14        1,897.99      0.00          0.00         458.68       189.80       648.48      1,249.51   S/L       10.00
5413     MARATHON FITNESS            7/14/14          325.00      0.00          0.00          81.25        32.50       113.75        211.25   S/L       10.00
5455     5 MODEMS/ROUTERS           11/05/14          368.25      0.00          0.00         159.58        73.65       233.23        135.02   S/L        5.00
5589     NEW GE DISHWASHER-C412      1/05/15          426.55      0.00          0.00          85.32        42.66       127.98        298.57   S/L       10.00
6014     PRECOR FITNESS EQUIPMENT    2/01/15       38,192.88      0.00          0.00      10,457.58     5,456.13    15,913.71     22,279.17   S/L        7.00
6015     LUGGAGE CARTS               2/01/15        3,209.94      0.00          0.00       1,230.48       641.99     1,872.47      1,337.47   S/L        5.00
6194     KITCHEN SUPPLIES            8/01/15       26,943.52      0.00          0.00       2,544.66     1,796.23     4,340.89     22,602.63   S/L       15.00
6665     FULL POWER PEDICURE CHAIR TOP
                                     9/07/17        2,378.22      0.00c         0.00           0.00        79.27        79.27      2,298.95   S/L       10.00
   EH-DEPARTMENTAL EQUIP                          636,676.03      0.00c         0.00     202,779.97    64,605.60   267,385.57    369,290.46

   Group: EH-FURNITURE
5062     LOUNGE CHAIRS-3RD FLOOR      11/01/13      1,300.00      0.00          0.00         274.45        86.67       361.12        938.88   S/L       15.00
5063     LAMPS(2)-3RD FLOOR           11/01/13        500.00      0.00          0.00         226.19        71.43       297.62        202.38   S/L        7.00
5065     ARTWORK(56)-3RD FLOOR        11/01/13     14,900.00      0.00          0.00       3,145.55       993.33     4,138.88     10,761.12   S/L       15.00
5066     CONSOLES-3RD FLOOR           11/01/13      1,200.00      0.00          0.00         253.33        80.00       333.33        866.67   S/L       15.00
5067     BENCHES(4)-3RD FLOOR         11/01/13      4,800.00      0.00          0.00       1,013.33       320.00     1,333.33      3,466.67   S/L       15.00
5107     BUFFET-4TH FLOOR             11/01/13      1,500.00      0.00          0.00         316.67       100.00       416.67      1,083.33   S/L       15.00
EDENHOME EDEN HOME, INC.                                                                                                           03/03/2018 9:01 AM
                                              Book Asset Detail             1/01/17 - 12/31/17                                               Page 107
FYE: 12/31/2017

       d                               Date In     Book      Book Sec    Book Sal      Book Prior Book Current      Book        Book Net      Book    Book
Asset t         Property Description   Service     Cost      179 Exp c    Value       Depreciation Depreciation   End Depr     Book Value    Method   Period
    Location: PINNACLE | Group: EH-FURNITURE (continued)
5108     VARIOUS TABLES(3)-4TH FLOOR11/01/13      2,300.00        0.00         0.00         485.55       153.33       638.88      1,661.12   S/L       15.00
5109     ARTWORK(64)-4TH FLOOR       11/01/13    17,000.00        0.00         0.00       3,588.88     1,133.33     4,722.21     12,277.79   S/L       15.00
5111     ACCESSORIES-4TH FLOOR       11/01/13     1,900.00        0.00         0.00         601.67       190.00       791.67      1,108.33   S/L       10.00
5112     LOUNG CHAIRS(3)-4TH FLOOR 11/01/13       2,150.00        0.00         0.00         453.88       143.33       597.21      1,552.79   S/L       15.00
5113     LAMPS(6)-4TH FLOOR          11/01/13     1,500.00        0.00         0.00         678.58       214.29       892.87        607.13   S/L        7.00
5114     BENCHES(4)-4TH FLOOR        11/01/13     4,800.00        0.00         0.00       1,013.33       320.00     1,333.33      3,466.67   S/L       15.00
5115     CONSOLES-4TH FLOOR          11/01/13     2,700.00        0.00         0.00         570.00       180.00       750.00      1,950.00   S/L       15.00
5116     LOVESEAT-4TH FLOOR          11/01/13     2,500.00        0.00         0.00         659.71       208.33       868.04      1,631.96   S/L       12.00
5117     VARIOUS CHAIRS(19)=4TH FLOOR11/01/13     8,550.00        0.00         0.00       1,805.00       570.00     2,375.00      6,175.00   S/L       15.00
5118     ARTWORK(54)-2ND FLOOR       11/01/13    14,000.00        0.00         0.00       2,955.55       933.33     3,888.88     10,111.12   S/L       15.00
5120     LOUNG CHAIRS(2)-2ND FLOOR 11/01/13       1,300.00        0.00         0.00         274.45        86.67       361.12        938.88   S/L       15.00
5121     LAMPS(2)-2ND FLOOR          11/01/13       500.00        0.00         0.00         226.19        71.43       297.62        202.38   S/L        7.00
5122     BENCHES(4)-2ND FLOOR        11/01/13     4,800.00        0.00         0.00       1,013.33       320.00     1,333.33      3,466.67   S/L       15.00
5123     CONSOLES-2ND FLOOR          11/01/13     1,200.00        0.00         0.00         253.33        80.00       333.33        866.67   S/L       15.00
5124     ARTWORK(105)-1ST FLOOR      10/01/13    28,500.00        0.00         0.00       6,175.00     1,900.00     8,075.00     20,425.00   S/L       15.00
5126     TASK CHAIRS(8)-1ST FLOOR     8/26/13     3,700.00        0.00         0.00         822.23       246.67     1,068.90      2,631.10   S/L       15.00
5127     BISTRO CHAIRS(16)           10/01/13     5,600.00        0.00         0.00       1,213.32       373.33     1,586.65      4,013.35   S/L       15.00
5128     STACKING ARM CHAIRS(40)     11/01/13    10,000.00        0.00         0.00       3,166.67     1,000.00     4,166.67      5,833.33   S/L       10.00
5129     ACCESSORIES-1ST FLOOR       10/01/13     5,050.00        0.00         0.00       1,641.25       505.00     2,146.25      2,903.75   S/L       10.00
5130     LOUNG CHAIRS(22)-1ST FLOOR 11/01/13     18,500.00        0.00         0.00       3,905.55     1,233.33     5,138.88     13,361.12   S/L       15.00
5131     LATERAL FILE CABINETS,BOOKCASES(12)-1ST
                                      8/26/13     7,250.00
                                                  FLOOR           0.00         0.00       1,611.10       483.33     2,094.43      5,155.57   S/L       15.00
5132     DESK/BRIDEG(7)-ADMIN OFFICE 8/26/13      9,000.00        0.00         0.00       2,000.00       600.00     2,600.00      6,400.00   S/L       15.00
5133     OUTDOOR DINING FURNITURE-PINNACLE
                                     11/01/13    11,000.00        0.00         0.00       2,322.21       733.33     3,055.54      7,944.46   S/L       15.00
5134     VARIOUS TABLES(22)-1ST FLOOR11/01/13    15,350.00        0.00         0.00       3,240.55     1,023.33     4,263.88     11,086.12   S/L       15.00
5135     GUEST SUITE FURNITURE-1ST FLOOR
                                      9/01/13     3,900.00        0.00         0.00         866.67       260.00     1,126.67      2,773.33   S/L       15.00
5136     LAMPS(10)-1ST FLOOR         10/01/13     2,700.00        0.00         0.00       1,253.56       385.71     1,639.27      1,060.73   S/L        7.00
5137     CONSOLES-1ST FLOOR           9/01/13     8,200.00        0.00         0.00       1,822.23       546.67     2,368.90      5,831.10   S/L       15.00
5138     VARIOUS CHAIRS(57)-1ST FLOOR10/01/13    31,900.00        0.00         0.00       6,911.68     2,126.67     9,038.35     22,861.65   S/L       15.00
5139     SOFAS(2)-1ST FLOOR          11/01/13     5,000.00        0.00         0.00       1,319.45       416.67     1,736.12      3,263.88   S/L       12.00
5140     CONFERENCE TABLE-1ST FLOOR 8/26/13       2,500.00        0.00         0.00         555.57       166.67       722.24      1,777.76   S/L       15.00
5141     VISUAL BOARD-CONFERENCE ROOM 9/01/13     1,000.00        0.00         0.00         333.33       100.00       433.33        566.67   S/L       10.00
5142     THEATRE FURNITURE-1ST FLOOR9/01/13       5,350.00        0.00         0.00       1,188.90       356.67     1,545.57      3,804.43   S/L       15.00
5143     BENCHES(5)-1ST FLOOR        11/01/13     6,900.00        0.00         0.00       1,456.67       460.00     1,916.67      4,983.33   S/L       15.00
5183     DEPT. EQUIP-PINNACLE        12/01/13     3,458.32        0.00         0.00       1,523.32       494.05     2,017.37      1,440.95   S/L        7.00
5331     FURNITURE FOR DEMO UNIT      6/18/14     2,194.50        0.00         0.00         548.63       219.45       768.08      1,426.42   S/L       10.00
5980     INTERIOR DESIGN FOR PROJECT 8/01/15    111,625.20        0.00         0.00      15,813.57    11,162.52    26,976.09     84,649.11   S/L       10.00
6004     FREEZER/BEVERAGE CENTER/WINE 2/01/15
                                          COOLER 3,062.20         0.00         0.00       1,173.84       612.44     1,786.28      1,275.92   S/L        5.00
6005     REFRIDGERATOR                2/01/15     2,864.64        0.00         0.00       1,098.11       572.93     1,671.04      1,193.60   S/L        5.00
6019     CONSULTING/MANAGEMENT FEES   2/01/15    67,998.29        0.00         0.00      13,033.01     6,799.83    19,832.84     48,165.45   S/L       10.00
6024     RESIDENT UPGRADES            2/01/15     6,016.29        0.00         0.00       1,153.12       601.63     1,754.75      4,261.54   S/L       10.00
6037     ART WORK & CURTAINS          8/01/15     1,148.27        0.00         0.00         162.67       114.83       277.50        870.77   S/L       10.00
6103     FREIGHT & WAREHOUSING        1/06/15    64,200.00        0.00         0.00      12,840.00     6,420.00    19,260.00     44,940.00   S/L       10.00
6241     Reconciling item             8/01/15     5,133.04        0.00         0.00         727.18       513.30     1,240.48      3,892.56   S/L       10.00
6388     PINNACLE MODEL FURNITURE 7/01/16         3,368.43        0.00         0.00         168.42       336.84       505.26      2,863.17   S/L       10.00
6433     PAINT C212                   9/14/16       286.20        0.00         0.00           9.54        28.62        38.16        248.04   S/L       10.00
6456     CARPET-PI C212               9/30/16     1,956.24        0.00         0.00          48.91       195.62       244.53      1,711.71   S/L       10.00
6471     CARPET-B305                 11/09/16     1,635.42        0.00         0.00          27.26       163.54       190.80      1,444.62   S/L       10.00
6472     CARPET-C206                 11/10/16     1,166.00        0.00         0.00          19.43       116.60       136.03      1,029.97   S/L       10.00
6473     PAINT-C206                  11/14/16       278.00        0.00         0.00           9.27        55.60        64.87        213.13   S/L        5.00
EDENHOME EDEN HOME, INC.                                                                                                                       03/03/2018 9:01 AM
                                                     Book Asset Detail              1/01/17 - 12/31/17                                                   Page 108
FYE: 12/31/2017

       d                               Date In     Book             Book Sec     Book Sal      Book Prior Book Current        Book         Book Net       Book    Book
Asset t         Property Description   Service     Cost             179 Exp c     Value       Depreciation Depreciation     End Depr      Book Value     Method   Period
    Location: PINNACLE | Group: EH-FURNITURE (continued)
6474    LIGHT GLOBE-C206           11/30/16                 44.14        0.00          0.00           0.37          4.41           4.78          39.36   S/L       10.00
6515    CARPET A303                 1/25/17              1,279.20        0.00c         0.00           0.00        117.26         117.26       1,161.94   S/L       10.00
6532    CARPET-A208                 2/16/17              1,874.52        0.00c         0.00           0.00        156.21         156.21       1,718.31   S/L       10.00
6585    CARPET PI C105              2/15/17              1,270.94        0.00c         0.00           0.00        116.50         116.50       1,154.44   S/L       10.00
6586    CARPET PI C401              2/22/17              1,607.65        0.00c         0.00           0.00        133.97         133.97       1,473.68   S/L       10.00
6614    FLOOR COVERING PI A402      5/15/17              1,792.50        0.00c         0.00           0.00        119.50         119.50       1,673.00   S/L       10.00
6615    FLOOR COVERING PI B405      6/16/17              1,575.00        0.00c         0.00           0.00         78.75          78.75       1,496.25   S/L       10.00
6616    GRASS PALLETS-PI COURTYARD 6/05/17               1,720.00        0.00c         0.00           0.00        100.33         100.33       1,619.67   S/L       10.00
6617    GRASS PALLETS-PI COURTYARD 5/25/17               1,210.00        0.00c         0.00           0.00         70.58          70.58       1,139.42   S/L       10.00
6618    REFRIGERATOR-B405           6/23/17                939.55        0.00c         0.00           0.00         46.98          46.98         892.57   S/L       10.00
6643    C307 FLOORING               8/18/17                718.41        0.00c         0.00           0.00         23.95          23.95         694.46   S/L       10.00
6666    PINNACLE C401 CARPET REPAIR 8/22/17              1,051.74        0.00c         0.00           0.00         35.06          35.06       1,016.68   S/L       10.00
6667    PINNACLE A401 CARPET        8/30/17              1,515.00        0.00c         0.00           0.00         50.50          50.50       1,464.50   S/L       10.00
6668    PINNACLE A406 CARPET        8/30/17              1,890.00        0.00c         0.00           0.00         63.00          63.00       1,827.00   S/L       10.00
6669    PINNACLE C311 CARPET/VINYL 9/15/17               2,377.50        0.00c         0.00           0.00         79.25          79.25       2,298.25   S/L       10.00
6670    PINNACLE A401 MAKEREADY     8/15/17              1,901.13        0.00c         0.00           0.00         79.21          79.21       1,821.92   S/L       10.00
6671    PINNACLE C311 MAKEREADY     8/15/17              2,465.59        0.00c         0.00           0.00        102.73         102.73       2,362.86   S/L       10.00
6683    TRIM PAINTING-PI #C311     10/15/17                410.00        0.00c         0.00           0.00         14.64          14.64         395.36   S/L        7.00
6701    CARPET-PI C109             11/08/17              2,816.21        0.00c         0.00           0.00         46.94          46.94       2,769.27   S/L       10.00
6702    VINYL-C 109                11/08/17                911.52        0.00c         0.00           0.00         15.19          15.19         896.33   S/L       10.00
6718    PAINT-C106                 12/12/17                284.95        0.00c         0.00           0.00          4.75           4.75         280.20   S/L        5.00
   EH-FURNITURE                                        576,846.59        0.00c         0.00     109,971.56     49,040.36     159,011.92     417,834.67

   Group: EH-LAND IMPROVEMENTS
6027     WATER/SEWER IMPACT & FACILITY
                                    2/01/15
                                        FEES  86,508.39                  0.00          0.00       4,145.19       2,162.71      6,307.90      80,200.49 S/L         40.00
6163     EQUIPMENT RENTAL FOR LAND IMPROVEMENTS
                                    8/01/15    9,643.56                  0.00          0.00         546.47         385.74        932.21       8,711.35 S/L         25.00
6214     LAND IMPROVEMENTS FOR PROJECT
                                    8/01/15   18,759.09                  0.00          0.00       1,063.01         750.36      1,813.37      16,945.72 S/L         25.00
   EH-LAND IMPROVEMENTS                      114,911.04                  0.00c         0.00       5,754.67       3,298.81      9,053.48     105,857.56

   Group: EH-TRANSP. EQUIPMENT
6000     LINCOLN TOWN CAR                  2/01/15      24,700.70        0.00          0.00       9,468.60       4,940.14     14,408.74      10,291.96 S/L          5.00
6031     GOLF CARTS                        2/01/15      12,224.23        0.00          0.00       4,685.96       2,444.85      7,130.81       5,093.42 S/L          5.00
   EH-TRANSP. EQUIPMENT                                 36,924.93        0.00c         0.00      14,154.56       7,384.99     21,539.55      15,385.38

   Group: EV-LAND IMPROVEMENTS
6313     REMOVE TREE STUMPS                3/23/16       1,800.00        0.00          0.00        135.00         180.00         315.00       1,485.00 S/L         10.00
   EV-LAND IMPROVEMENTS                                  1,800.00        0.00c         0.00        135.00         180.00         315.00       1,485.00
                                      PINNACLE 40,035,383.10             0.00c         0.00   5,211,866.80   1,912,894.84   7,124,761.64 32,910,621.46


                                        Grand Total 89,255,863.48        0.00c         0.00 21,816,888.88    3,746,483.86 25,563,372.74 63,692,490.74
                   Less: Dispositions and Transfers    731,798.80        0.00          0.00    640,501.88            0.00    640,501.88     91,296.92
                                    Net Grand Total 88,524,064.68        0.00c         0.00 21,176,387.00    3,746,483.86 24,922,870.86 63,601,193.82
                                       Exhibit A-62

                                Licenses and Registrations

   •   Boiler Certificates of Operations
           o Texas Boiler Number TX2560403
           o Texas Boiler Number TX256402
           o Texas Boiler Number TX266808
           o Texas Boiler Number TX256443
           o Texas Boiler Number TX268015
           o Texas Boiler Number TX268016
           o Texas Boiler Number TX239515
           o Texas Boiler Number TX239516
   •   Texas Department of Aging and Disability Services – Assisted Living Facility License
           o Effective: 5/30/16
           o Expiration: 5/30/18
   •   Texas Department of Aging and Disability Services –Nursing Facility License
           o Effective: 12/14/15
           o Expiration: 12/14/18
   •   Texas Department of Aging and Disability Services – Assisted Living Facility Alzheimer
       Certificate
           o Effective: 2/10/17
           o Expiration: 2/10/19
   •   Centers for Medicare & Medicaid Services – Clinical Laboratory Improvement
       Amendments – Certificate of Waiver
           o Effective Date: 9/1/16
           o Expiration: 8/31/18
   •   Texas Cosmetology Salon – Eden Hill Legacy Salon
           o Expires: 12/2/18
   •   Texas Cosmetology Salon – The Spa at the IL
           o Expires: 6/16/18
   •   Certificate of Compliance for Elevators, Escalators, and Related Equipment
           o Decal Number 19422
           o Decal Number 23948
           o Decal Number 84063
           o Decal Number 84064
           o Decal Number 83695
           o Decal Number 83696
           o Decal Number 84066
   •   Texas Commission on Environmental Quality – Letter Approving Request for
       Modification of an Approved Organized Sewage Collection System

Texas Department of Insurance – Certificate of Authority – License No. 96463
                                                                                Exhibit G
Company Name                  Main Contact Name    Address                    City            State   Zip Code           Services Provided                  Renewal

Aetna                                              4400 NW Loop 410 Ste 500 San Antonio       TX                 78229 Medicare replacement plan
Airgas Southwest Inc                               21 Waterway Ave          Woodlands         TX                 77380 Supply Bio-Med Services              Three Years

Alice Stremel                 Alice Stremel        943 Hudson Lane            New Braunfels   TX                 78130 Psychological/Mental Health Services Perpetual
                                                   11233 Shadow Creek
Altus Hospice                 Mark Mullinax        Parkway STE 313            Pearland        TX                 77584 Hospice & Palliative Care            Every May
                                                   574 Highland Colony
American HealthTech           Theresa Chase        Parkway                    Ridgeland       MS                 39157 Software Licensing Agreement         Perpetual

Amerigroup Managed Mcd                                                                                                   Medicaid Managed Care contract

Aqua Oasis Pool Group         Samuel Homes         P.O. Box 312568            New Braunfels   tx                 78131 Pool Services                        Month to Month
AT&T Mobility                                      P.O. Box 6463                                                       Mobile phones

Autumn View Alliance          Mary Trevino, PHD    17460 IH35, #160-105       Schertz         TX             781544 Psychological/Mental Health Services Perpetual
Back to Basics Vending        Sally Wellmaker      3059 View Ridge            Spring Branch   TX              78070 Vending Machines                     Perpetual
BestCare Laboratory           Karim Maghareh       202 North Texas Ave        Webster         TX              77598 Clinical Diagnostic Tests

Bio-Medical Waste Solutions   Rusty Jackson        9665 Jade Avenue           Port Arthur     TX                 77640 Medical Waste Destruction            Every Oct
                                                   320 Interstate North
Birch Communications                               Parkway, SE                Atlanta         GA                 30339 Local Telephone - Fax Lines          Perpetual
Blue Cross Blue Shield
Canteen                       Marc Bowman          2400 Yorkmont Road         Charlotte       NC                 28217 Vending Machines                     Perpetual

Christus Continuning Care     Judith Johnson       4241 Woodcock, Ste A-100   San Antonio     TX                 78228   Hospice & Palliative Care          Perpetual
CIMA Hospice                  Bonnie Hobbs         1000 North Walnut          New Braunfels   TX                 78130
Compass Recycling             Matt                 P.O. Box 312268            New Braunfels   TX                 78130   Rental of Box Crusher              Every
Compassionate Care                                 102 Wonder World Dr        San Marcos      TX                 78666   Hospice & Palliative Care          Every April
Culligan                      Kurt Denson          918 N. Camp St             Seguin          TX                 78155   Emergency Water Supplies           Perpetual
Cummins                       Travis Neeley        P.O. Box 90027             Arlington       TX                 76004   Generator Maintenance              30 days
Cure Staffing                 Brandon Armstrong    7000 N Mopac STE 2101      Austin          TX                         Staffing Services                  Every March

Davita Dialysis Partners      Matthew Anchondo     900 Loop 337               New Braunfels   TX              78130 Outpatient Kidney Dialysis              Every November
Dell Financial Services                            P.O. Box 5292              Carol Stream    IL      60197-5292    computer lease
                                                                                                                                                            5 Years, 3 Year
Digital Media                 Tim Donnelly         782 Clinton Ave.           Bridgeport      CT               6604 Cable TV Services                       Extension
                                                                                                                    American Healthtech Software
Dixon Hughes Goodman          Don Poole            P.O. Box 602828            Charlotte       NC      28260-2828    Hosting                                 Perpetual
                                                   16302 Pleasantville Rd
DME Vendor MGT                Silvia Flores        Ste209                     San Antonio     TX              78233 Staffing Services
Ecolab                        Justin Goertz        P.O. Box 32027             New York        NY      10087-2027    Dish Machine Lease                      Annually
                                                                                                                                                            2 Years initial -
e-Solutions, Inc.             Gene Creach          401 West Frontier Lane     Olathe          KS      66061-7221         E-commerce billing solutions       annually
Family/Vista Care             Sharon Fischer, RN   1911 Corporate Dr.         San Marcos      TX      78666-6171         Hospice & Palliative Care          Perpetual
                                                                                    Exhibit G
Company Name                 Main Contact Name      Address                       City             State   Zip Code         Services Provided                   Renewal
Fresenius/NB Kidney          Cynthia McKirby        1561 IH 35 N                  New Braunfels    TX                 78130 Outpatient Kidney Dialysis          Every April

Girling/Lighthouse Hosp      Scott Graham           4335 Piedras Dr. W. Ste 100   San Antonio      TX              78228      Hospice& Palliative Care          Every Sept
Guido Calderon, M.D.         Guido Calderon, M.D.   P.O. Box 310682               New Braunfels    Tx              78131      Post Acute Nursing Consultant     Perpetual
Heart to Heart               Tammy Allen            2600 SW Military Dr           San Antonio      TX              78224      Hospice & Palliative Care         Perpetual
Heartland Hospice            Donna Court            5368 Fredericksburg           San Antonio      TX              78229      Hospice & Palliative Care         Perpetual
Hill Country Medical         William Reeves         774 Landa St.                 New Braunfels    TX              78130      Medical Director                  Perpetual
Hilltop Pharmacy             Russell Vollbrecht     631 Lakeview Blvd             New Braunfels    TX              78130      Long Term Care Pharmacy           Perpetual
Hope Hospice                 Charles Roark          611 N. Walnut                 New Braunfels    TX              78130      Hospice & Palliative Care         Perpetual
Humana                                              P.O. Box 1438                 Lousville        KY      40201-1438         Medicare replacement plan
Interim Hospice              Cynthia McCoy          1583 Common St                New Braunfels    TX              78130      Hospice and Palliative Care       Every February

                                                                                                                                                                5 Years, Annually
Inviacom                     Kevin Merrell          2022 Van Buren Ave            Indian Trail     NC                 28079 HSIA Network                        Thereafter
Invictus                     Kelly Cole             86 Gruene Park Dr             New Braunfels    TX                 78130 I.T. Services
John Gannon Outdoor
Advertising                  Susie Day              525 Park Grove                Katy             TX                 77450 Billboard on Union Street           Annually
Kair Medical                 Clay                   3215 Huffman Eastgate         Huffman          TX                 77336 Rental of Medical Equipment         Annually
                                                    12961 Park Central, Ste
Knight Office Supply         Matt Menger            1470                          San Antonio      TX                 78216 Office Equipment Rental & Maint     5 Years
                                                    5321 Industrial Oaks Blvd.,
Knight Security Systems      Rachel Young           ste 111                       Austin           TX                 78735 Security Network System             Perpetual
                                                    5321 Industrial Oaks Blvd.,
Knight Security Systems      Rachel Young           ste 111                       Austin           TX                 78735   Security Network System           Perpetual
Koetter Fire Protection      Kai Busbee-Smith       10722 Sentinel Sr.            San Antonio      TX                 78217   Fire Safety Services              Every March
Larry Bulahao, DPM           Larry Bulahao, DPM     8500 Village Drive            San Antonio      TX                 78217   Inpatient Podiatry Services       Every July
Libby & Libby                G. Neil Libby          207 Elmwwod Dr                New Braunfels    TX                 78130   Pharmaceutical Consultant         Perpetual
Mark Burns, M.D.             Mark Burns, M.D.       189 E. Austin St.             New Braunfels    TX                 78130   Geriatric Psychiatry Consultant   Perpetual
Matrixcare/Answers on                               11575 Heron Bay Blvd. Ste.
Demand                       Aaron Sokolow          200                           Coral Gables     Fla                33076 software support
Meredith Patterson           Meredith Patterson     60 Mission Drive              New Braunfels    TX                 78130 Education Classes                   Perpetual
Mobile Diagnostics                                  2700 Research STE200          Plano            TX                 75074 Clinical Diagnostic Tests
                                                    4445 E. Sam Houston
Mobile Modular               Tammy Crouse           Parkway South                 Pasadena         TX      77505-3912         Rental on Storage Units           1 Year renewable
                                                    5801 Peachtree Dunwoody
Morrisons Senior Living      Gerry Karam            Rd.                           Atlanta          GA                 30342 Dining Services Management

National Church Residences                          1240 Jefferson Ave            Seguin           TX                 78155   Transportation Services           Perpetual
NB Pest Control              Kenneth Dean           2230 Lakeline Dr              New Braunfels    TX                 78130   Pest Control                      Every April
NeighborCare Pharmacy                               12460 Network STE 101         San Antonio      TX                 78249   Infusion Therapy                  Perpetual
Nelson Vision                Steven Nelson, OD      20 Suniland                   Fredericksburg   tx                 78624   Eye Exams & Glasses               Every August
Nestle Water                 Kristie Nolen          3407 Steen Street             San Antonio      TX                 78219   Water Cooler Lease                Annually
New Century Hospice          Jerry Lyden            8207 Callaghan Rd             San Antonio      TX                 78230   Hospice & Palliative Care

NMA Credit Card Agreement    Chase Bank                                                                                       Credit Card Services              Perpetual
                                                                                    Exhibit G
Company Name                 Main Contact Name       Address                      City            State   Zip Code          Services Provided                   Renewal
                                                     16302 Pleasantville Rd
Nurses' Etc.                 Al Parker               Ste211                       San Antonio     TX                 78233 Staffing Services

On Shift PBJ                 Dan Curran              1621 Euclid Ave. #1400       Cleveland       OH                 44115 Payroll based Journal Reporting      Pepetual

One on One Sherpa            Katie Davis             3030 Locust St.              St. Louis       MO                 63103 Sofware and Training                 Month to Month
PiCCViC RN PLLC                                      3201 Cherry Ridge Dr         San Antonio     TX                 78230 insertion of picc lines
                                                     20658 Stone Oak Pkwy #
Pitney Bowes                                         104                          San Antonio     TX                 78258 Postage Machine Rental               Perpetual
                                                     507 North Sam Houston
Professional Imaging         Piper Harris            Parkway E                    Houston         TX                 77060 Modified Barium Swallow Study        Every July
RCS Management               Debra Griffith, COO     16535 Southpark Dr.          Westfield       IN                 46074 Supply Bio-Med Services              Every April
                                                                                                                                                                12 months,
Red Gap                                              504 Main Street              Fort Worth      TX                 76102 Advanced Digital Services            renewing

RehabCare Group East         Patricia M. Henry       7733 Forsyth Blvd Ste 1700   St. Louis       MO                 63105 PT, OT, ST Services                  Every March
Resident Salon Services      Bart Bancaldo           335 Washington Street        Braintree       MASS                     Licensed Cosmetologist
Safesite, Inc.               Jeff Gundy              19385 IH-35 North            Schertz         TX                 78154 Offsite Storage of Documents         Perpetual
Senior Smiles, PA            Gregory Kon             2550 S. IH 35 #215           Austin          TX                 78704 Dental Services & Staff Train        Perpetual

Smartlinx                                            7271-A Investment Drive      N. Charleston   SC                 29418 Software and License Agreement       Perpetual

Southern Cross Ambulance     Calixto Rivera, Lic-P   1718 Hwy 46 South            New Braunfels   TX      78131-1295    Ambulance Services                      Every Feb
SouthWaste                   Kurt Monch              20805 Old Lamm Rd.           Elmendorf       TX              78112 Clean Grease Trap                       30 days
SSI Group                    James Lyons             4721 Morrison Drive          Mobile          ALA             36609 electronic claims services
                                                                                                                                                                36 months,
Surequest                    Chris Sudderth          3300 Keller Springs Rd #205 Carrollton       TX                 75006 Online Software Dining Services      annually

TAC on Hold                  Vince                   P.O. Box 311024              New Braunfels   TX      78131-1024       Music and Ads on Telephone On Hold Annually
                                                                                                                                                              36 months,
Teletrac Subscription                                7391 Lincoln Way            Grden Grove      CA                 92841 Mobile Fleet Director              annually
Texas Chiller Systems        Chris Finger            9807 McCullough             San Antonio      TX                 78216 Preventative Maint chiller Serv    Annually
                                                     1001 W. San Antonio St, Ste
Texas Eye Associates         Tony Jacob, OD          2                           Lockhart         TX                 78644 Eye Exams & Glasses                  Every June

Texas Workforce Commission                           101 E 15th St, Room 514      Austin          TX                 78778 Reimbursing employer contract
                                                                                                                                                               5 Year - then
Thysenkrupp                  Steven Stantostasi      3660 Thousand Oaks Dr.       San Antonio     TX                 78247 Elevator Platinum Service Agreement annually
Time Warner Cable            Stonewall Felton                                                                              Cable Services                      Perpetual

                                                                                                                            Quality Improvement Participation
TMF Innovative Network                                                                                                      Agreement 3 Years
TXDOT                        Elba Martinez                                                                                  Public Transportation               5 Years

UTHSC Residency              Lois Bready, MD         Dept of Psychiatry at UTHSC San Antonio      TX                        Psychiatry Residency Services       Perpetual
                                                                              Exhibit G
Company Name                 Main Contact Name   Address                    City               State   Zip Code         Services Provided                    Renewal
Verisk                                           1716 Briarcrest, Ste 200   Bryan              TX                 77802 MVR Checks                           Perpetual
Via                          Lina Smith          800 W. Myrtle Street       San Antonio        TX                 78212 Public Transportation                5 years

Vigil Health Solutions                           136 E 8th St Ste 344       Port Angeles       WA                 98362 Software Maintenance Agreement
VITAS Hospice                Thomas Combs        4715 Fredericksburg        San Antonio        TX                 78229 Hospice & Palliative Care
                                                                                                                        Analyze & Treat Water for Boilers,
Water Consultants of Texas   Kent Byrd           P.O. Box 830               Rhome              TX                 76078 Chillers and Systems                 One year

Wellmed Networks, Inc.       Erica Hernandez     8637 Fredericksburg Rd.    SanAntonio         TX                 78240 Health Care Insurance                Perpetual
William Reeves               William Reeves      774 Landa St.              New Braunfels      TX                 78130 Medical Director                     Perpetual
                                                 7535 Benbrook Parkway,
WoundKair Concepts           Kimberly Anderson   STE 101                    Fort Worth         TX                 76126 Equipment Rental and Purchase        Every Sept
Yellow Pages                 Kenneth Johnson     13690 Riverport Drive      Maryland Heights   MO                 63043 Advertising                          12 months
CMS                          Novitas JH          P.O. Box 44137             Jacksonville       FL                 32231 Medicare Contract                    Perpetual
TDADS                                                                                                                   Medicaid Contract                    Perpetual
